Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 1 of 180




                EXHIBIT Q
             Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 2 of 180
Deposition of DANIEL PIPES                                            Lisa Barbounis v. Middle Eastern Forum, et. al.


                                                 - - -
   1                   IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
   2
                                                 - - -
   3
         LISA BARBOUNIS,            :                          CIVIL ACTION
   4              Plaintiff,        :
                                    :
   5              vs.               :
                                    :
   6     MIDDLE EAST FORUM, et al., :
                  Defendants.       :                          NO. 2:19-cv-05030-GAM
   7
                                                 - - -
   8
                                Tuesday, November 17, 2020
   9
                                                 - - -
 10

 11                          Videotaped deposition of DANIEL PIPES,
 12      taken pursuant to Notice and remotely via Zoom at
 13      1650 Market Street, Philadelphia, Pennsylvania,
 14      commencing at 10:08 a.m., and reported
 15      stenographically by Grace M. Baldino, Professional
 16      Shorthand Reporter and Notary Public in and for the
 17      Commonwealth of Pennsylvania.
 18
                                                 - - -
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                                        Everest Court Reporting LLC                                       Page: 1 (1)
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             Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 3 of 180
Deposition of DANIEL PIPES                                            Lisa Barbounis v. Middle Eastern Forum, et. al.


                                                 - - -
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 18                                              - - -
 19
         ALSO PRESENT:
 20
                             LUKE ZABROSKE, Videographer
 21                          LEIGH ANN BENSON, Esquire (Cozen O'Connor)
                             GREGG ROMAN, Defendant
 22                          MARC FINK, MEF Representative
                             LISA BARBOUNIS, Plaintiff
 23                          SIDNEY L. GOLD, Esquire
 24                                              - - -
                                        Everest Court Reporting LLC                                       Page: 2 (2)
                                 215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 4 of 180
Deposition of DANIEL PIPES                                            Lisa Barbounis v. Middle Eastern Forum, et. al.


                                                 - - -
   1                                             INDEX
   2                                             - - -
   3     Testimony of:            DANIEL PIPES
   4                                                                                      PAGE
   5     By Mr. Carson                . . . . . . . . . . . .                                7
   6

   7                                             - - -
   8                                           EXHIBITS
   9                                             - - -
 10      NUMBER              DESCRIPTION                                       PAGE MENTIONED
 11      Pipes-1             Bylaws                                                       51
 12      Pipes-2             Emails                                                       122
 13      Pipes-3             Screenshot                                                   63
 14      Pipes-4             Audio Recording                                              75
 15      Pipes-5             Emails                                                       176
 16      Pipes-6             Emails                                                       189
 17      Pipes-7             Emails                                                       218
 18      Pipes-8             Emails                                                       242
 19      Pipes-9             Emails                                                       --
 20      Pipes-10            Emails                                                       251
 21      Pipes-11            Audio Recording                                              275
 22      Pipes-12            Emails                                                       292
 23      Pipes-13            Emails                                                       316
 24      Pipes-14            Emails                                                       320
                                        Everest Court Reporting LLC                                       Page: 3 (3)
                                 215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 5 of 180
Deposition of DANIEL PIPES                                            Lisa Barbounis v. Middle Eastern Forum, et. al.


                                                 - - -
   1                                  EXHIBITS (cont'd)
   2                                             - - -
   3     NUMBER              DESCRIPTION                                       PAGE MENTIONED
   4     Pipes-15            Emails                                                       321
   5     Pipes-16            Emails                                                       336
   6     Pipes-17            Emails                                                       345
   7     Pipes-18            Emails                                                       347
   8     Pipes-19            Emails                                                       354
   9     Pipes-20            Letter                                                       365
 10      Pipes-21            Emails                                                       368
 11      Pipes-22            Emails                                                       371
 12      Pipes-23            Emails                                                       374
 13      Pipes-24            Emails                                                       374
 14      Pipes-25            Memorandum                                                   379
 15      Pipes-26            Emails                                                       406
 16      Pipes-27            Emails                                                       408
 17      Pipes-28            Emails                                                       417
 18      Pipes-29            Text Messages                                                428
 19

 20

 21

 22

 23

 24

                                        Everest Court Reporting LLC                                       Page: 4 (4)
                                 215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 6 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 5                                                        Page 7
                    ---                                                    ---
 1        (It is hereby stipulated and agreed by and     1               EXAMINATION
 2    among counsel for the respective parties that      2                 ---
 3    sealing, certification and filing are waived;      3 BY MR. CARSON:
 4    and that all objections, except as to the form     4     Q. Mr. Pipes, we're here today to take your
 5    of the question, be reserved until the time of     5 deposition in the matter of Lisa Barbounis vs. The
 6    trial.)                                            6 Middle East Forum, Gregg Roman, Daniel Pipes, which
 7                  ---                                  7 is you, and we're here today to take your
 8        THE VIDEOGRAPHER: We are now on the            8 deposition. Have you ever done a deposition before?
 9    record. Today's date is Tuesday, November          9     A. No.
10    17th, 2020, and the time is 10:08 a.m. EST.       10     Q. I'm sorry?
11    This is the recorded video deposition of Daniel   11     A. No.
12    Pipes in the matter of Lisa Barbounis versus      12     Q. Okay. So I think you probably watched
13    Middle East Forum, et al. in the United States    13 enough of these now that you can probably give me
14    District Court, Eastern District of               14 the instructions back to me, but I'm just gonna run
15    Pennsylvania, Code No. 2:19-CV-05030-GAM. My      15 through them really quickly anyway, and if you have
16    name is Luke Zabroske from Everest Court          16 any questions about the deposition, just speak up
17    Reporting. I am the video specialist. The         17 and ask, and we'll make sure we answer them for you.
18    court reporter today is Grace Baldino, also       18 So the first thing is that it's a question and
19    from Everest Court Reporting. All counsel         19 answer session. We're here today. I'm gonna ask
20    appearing today will be noted on the              20 questions. You're gonna provided responses. You
21    stenographic record. Will the court reporter      21 can provide any response that you want -- yes, no,
22    please swear in the witness.                      22 "I don't know," "I don't remember," or any other
23        THE COURT REPORTER: Due to the need for       23 responsive -- or any other responsive answer that
24    this deposition to take place remotely because    24 you care to provide today, but it's important that
                                               Page 6                                                         Page 8
                  ---                                                    ---
 1    of the Government’s order for social             1 all your answers be verbal. So nods and shrugs and
 2    distancing, the parties will stipulate that the  2 "uh-huhs" and "uh-uhs," you know, we all kind of do
 3    court reporter may swear in the witness          3 that sometimes. If you do, I may ask you to speak
 4    remotely via videoconference and that the        4 up and just say yes or no. It's just that we're
 5    witness has verified that he is, in fact,        5 trying to create a clear record, okay?
 6    Daniel Pipes. Will the attorneys please          6     A. Yes.
 7    indicate agreement by stating your name and      7     Q. Yes?
 8    your agreement on the record, beginning with     8     A. Yes.
 9    counsel for plaintiff.                           9     Q. Okay. So the second thing is if I ask you
10        MR. CARSON: I represent Lisa Barbounis.     10 a question and you answer the question, we're gonna
11    My name is Seth Carson.                         11 assume that you understood the question. If there's
12        MR. CAVALIER: Jon Cavalier at Cozen         12 any questions today that you don't understand, all
13    O'Connor representing the Middle East Forum. 13 you have to do is ask me to rephrase or repeat it,
14    We agree to that condition, and also I'll note  14 and we'll be happy to do that today, okay?
15    for the record the witness will read and sign.  15     A. Yes.
16        THE COURT REPORTER: Okay.                   16     Q. It's important that we don't speak over
17        MR. RIESER: William Rieser on behalf of     17 each other today. So, especially with Zoom, I think
18    Gregg Roman, and I agree to those conditions as 18 that software only can hear one person talking at a
19    well. Thank you.                                19 time or record one person talking at a time, so
20                ---                                 20 please do me a favor. Let me finish my answer. I
21        DANIEL PIPES, after having been first       21 promise I'll let you finish your -- let me finish my
22    remotely duly sworn, was examined and testified 22 question. I promise I'll let your finish your
23    as follows:                                     23 response, and we'll try not to drive the court
24                ---                                 24 reporter crazy today with interruptions, okay?

                                          Everest Court Reporting LLC                                   Page: 5 (5 - 8)
                                   215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 7 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                                 Page 9                                                       Page 11
                 ---                                                         ---
 1    A. Yes.                                              1    Q. The organization is a 501(c)(3); is that
 2    Q. You've been sworn in, so you're under             2 correct?
 3 oath. It's important that all your responses be to      3    A. Yes.
 4 the best -- honest and truthful to the best of your     4    Q. What is a 501(c)(3)?
 5 ability. Do you understand that?                        5    A. Nonprofit.
 6    A. I do.                                             6    Q. Are there different types of nonprofit
 7    Q. Can you please state your full name for           7 organizations?
 8 the record?                                             8    A. Yes.
 9    A. Daniel Pipes.                                     9    Q. Is there a 501(c)(4)?
10    Q. And, Mr. Pipes, where do you work?               10    A. Yes.
11    A. Middle East Forum.                               11    Q. Is there a 501(c)(2)?
12    Q. And how long have you worked with the            12    A. I don't know.
13 Middle East Forum?                                     13    Q. So what's the difference between a
14    A. Twenty-six years.                                14 501(c)(3) and a 501(c)(4)?
15    Q. How did the Middle East Forum come into          15    A. I don't know. It's a legal matter. You
16 existence?                                             16 can look it up.
17    A. I created it with a couple of colleagues.        17    Q. Is the difference have anything to do with
18    Q. Who did you create it with?                      18 solicitation or activities with politics?
19    A. Albert Wood, Amy Shargel.                        19    A. I'm a specialist on the Middle East, not
20    Q. Can you say those names again, please?           20 American tax law.
21    A. Albert Wood, Amy Shargel.                        21    Q. Do you know the answer?
22    Q. Amy Shardelle? Is that S-H-A-R-D-E-L-L-E?        22    A. No. I --
23    A. G-E-L.                                           23    Q. You don't know what -- so tell me what a
24    Q. Do Albert Wood and Amy Shargel still have        24 501(c)(3) is then.
                                                Page 10                                                        Page 12
                   ---                                                       ---
 1 any -- do they still work at the Forum in any           1     A. A nonprofit.
 2 capacity?                                               2     Q. Okay. So what type of nonprofit is it?
 3    A. No.                                               3 Are you guys allowed to do political work?
 4    Q. And when you created the organization 26          4     A. No.
 5 years ago, do you remember the date when it was         5     Q. Why not?
 6 created, by any chance?                                 6     A. Because our status as a 501(c)(3) does not
 7    A. January 24th.                                     7 allow us to do political work.
 8    Q. What year?                                        8     Q. Do you ever consider opening a 501(c)(4)?
 9    A. 1994.                                             9     A. Yes.
10    Q. 1994. And when you created the                   10     Q. When?
11 organization on January 24th, 1994, what was the       11     A. In late 2019, early two thousand --
12 type of entity that you created? What's it called?     12 sorry -- late 2018, early 2019.
13    A. Middle East Forum.                               13     Q. Why did you consider opening a 501(c)(4)?
14    Q. So is it called The Middle East Forum? Is        14     A. Because it's useful in itself and because
15 that the legal name?                                   15 it could be a way in which Gregg Roman could be
16    A. No.                                              16 helpful to our efforts with that, the complications
17    Q. It's Middle East Forum?                          17 that had arisen.
18    A. Yes.                                             18     Q. In other words, the 501(c)(4) was some --
19    Q. Okay. And is there a business                    19 strike that. When you were considering -- did you,
20 classification for the type of organization that is?   20 in fact, open a 501(c)(4)?
21        MR. CAVALIER: Object to form. You can           21     A. No.
22    answer, Daniel.                                     22     Q. Why?
23        THE WITNESS: 501(c)(3).                         23     A. Because he rejoined the 501(c)(3).
24 BY MR. CARSON:                                         24     Q. What do you mean by "he rejoined the
                                            Everest Court Reporting LLC                                  Page: 6 (9 - 12)
                                     215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 8 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 13                                                       Page 15
                 ---                                                     ---
 1 501(c)(3)"?                                            1              ---
 2    A. Not exactly rejoined. He became more           2       (Whereupon the court reporter read back
 3 active and more of a participant in the 501(c)(3).   3    the pertinent testimony.)
 4    Q. What do you mean, he became more active in 4                    ---
 5 the 501(c)(3)?                                       5 BY MR. CARSON:
 6    A. I was approached by Lisa Barbounis, who        6    Q. Yeah. What complications are you talking
 7 asked him to return -- asked me to have him return.  7 about?
 8 At that point, we proceeded in having him return     8    A. The -- the wish -- the fact that several
 9 more fully and scuttled the 501(c)(4) idea.          9 employees have problems with his management style.
10    Q. When did you scuttle the 501(c)(4) idea?      10    Q. So what does a 501(c)(4) have to do with
11    A. March 2019.                                   11 his management style?
12    Q. In March 2018, did you say?                   12    A. It would be a separate organization.
13    A. '19.                                          13    Q. Would it be underneath the Middle East
14    Q. '19. So what happened -- so you guys          14 Forum?
15 don't have any interest in doing work with politics 15    A. No.
16 anymore?                                            16    Q. Would it have anything to do with the
17        MR. CAVALIER: Object to form. You can        17 Middle East Forum?
18    answer.                                          18    A. No.
19        THE WITNESS: I don't know what you're        19    Q. It would be a completely separate
20    asking.                                          20 organization that has nothing to do with the Middle
21 BY MR. CARSON:                                      21 East Forum? That's your testimony?
22    Q. Sure. You testified earlier that the          22    A. That's what the law is, I believe, that a
23 reason why you were considering opening a 501(c)(4) 23 501(c)(4) is separate from a 501(c)(3), though many
24 was to allow Gregg to do work in politics, correct? 24 organizations have both. As far as I know, they're
                                               Page 14                                                        Page 16
                   ---                                                      ---
 1    A. No, I didn't say that.                           1 separate. We never did it, so I don't know the law.
 2    Q. Why did you consider opening a 501(c)(4)?        2 You can check the lawbooks.
 3        MR. CAVALIER: Object to form. You can           3    Q. I'm asking about your intention, though.
 4    answer.                                             4 Who was gonna be the -- who were gonna be the
 5        THE WITNESS: Because it seemed like a           5 members of the 501(c)(4) when you were considering
 6    good idea and looking for a way for Gregg to be     6 starting one?
 7    part of the organization without the                7    A. What do you mean by "members"?
 8    complications that had arisen.                      8    Q. Who were gonna be the officers?
 9 BY MR. CARSON:                                         9    A. I don't know. We never got that far.
10    Q. Without what complications? You gotta           10    Q. When you start a organization like a
11 speak up, Mr. Pipes.                                  11 501(c)(3), do you have to -- does an individual have
12        MR. CAVALIER: Seth, I can hear him fine.       12 to be listed to start the organization?
13        MR. CARSON: I can't, and I think --            13    A. Check the lawbooks. I don't know.
14        MR. CAVALIER: Can the court reporter hear      14    Q. Well, were you listed when you started the
15    him okay?                                          15 501(c)(3)?
16        THE COURT REPORTER: He's a little quiet        16        MR. CAVALIER: Object to form.
17    to me, too.                                        17        THE WITNESS: We did not start. We were
18        MR. CAVALIER: Okay. Daniel --                  18    planning --
19        MR. CARSON: You can't hear him fine,           19 BY MR. CARSON:
20    either, so just -- I mean, he has to speak up,     20    Q. Sorry?
21    period.                                            21    A. We were planning it. We did not start it.
22        THE WITNESS: What's your question?             22    Q. All right. So when you were planning on
23        MR. CARSON: Can you read back my               23 starting the 501(c)(4), was it your intention that
24    question, please? I don't remember.                24 the 501(c)(4) be connected to the 501(c)(3) in some

                                           Everest Court Reporting LLC                                 Page: 7 (13 - 16)
                                    215-341-3616 transcripts@everestdepo.com
             Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 9 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 17                                                       Page 19
                 ---                                                       ---
 1 capacity?                                           1    not a specialist on these laws. Check your
 2        MR. CAVALIER: Object to form.                2    lawbooks to find out what the --
 3        THE WITNESS: What does "connected" mean?     3 BY MR. CARSON:
 4        MR. CARSON: Involved with.                   4    Q. My question is about your intention --
 5        MR. CAVALIER: Same objection.                5    A. You're not to interrupt me, Mr. Carson.
 6        THE WITNESS: I don't know what "involved     6 You're not to interrupt me. Isn't that the rule of
 7    with" means.                                     7 this?
 8 BY MR. CARSON:                                      8    Q. My question is about your intention,
 9    Q. Well, do you know -- do you want me to        9 Mr. Pipes.
10 look up the definition of "involved"? What part    10    A. I thought I am answering, and when I
11 don't you understand?                              11 answer, you be quiet. Is that not the rule? Tell
12    A. I know English, but I don't know what you    12 me.
13 mean in this case.                                 13    Q. I'm asking about your intentions,
14    Q. Was there gonna be a relationship between    14 Mr. Pipes.
15 the 501(c)(3), the Middle East Forum that you are  15    A. Answer my question. Are you gonna
16 working with now, and the 501(c)(4)?               16 interrupt me, or you gonna let me speak?
17        MR. CAVALIER: Object to form. Asked and 17        Q. You can proceed. I don't answer your
18    answered.                                       18 questions today.
19        THE WITNESS: We were gonna --               19    A. Well, then, I'm not gonna answers yours.
20        MR. CARSON: What're you talking about,      20    Q. That's actually not how it works.
21    asked and answered? He said he doesn't know     21    A. Well, it's gonna work that way.
22    what I mean.                                    22    Q. If you need a break --
23        THE WITNESS: We were gonna follow the       23    A. You're not gonna interrupt me.
24    legal requirements, whatever those are, and I'm 24    Q. If you need to stop and talk to your
                                               Page 18                                                        Page 20
                  ---                                                   ---
 1     not capable of telling you what those are.      1 lawyer --
 2 BY MR. CARSON:                                      2    A. I don't need to stop. You're not gonna
 3     Q. You answer's nonresponsive. My question      3 interrupt me.
 4 is, did you have an intention for the 501(c)(4) to  4        MR. CAVALIER: Let him finish his answer,
 5 work with the 501(c)(3)?                            5    Seth. Daniel, to the extent you can answer the
 6         MR. CAVALIER: Object to form. Asked and 6        question, go ahead and try your best to answer
 7     answered. Argumentative. Dan, you can answer, 7      it again.
 8     and, again --                                   8        THE WITNESS: What is the question?
 9         MR. CARSON: Jon, if you keep doing it,      9 BY MR. CARSON:
10     we're gonna get on the phone with Judge Wolson 10    Q. The question is, was the 501(c)(4) gonna
11     quick. Please, you're not gonna interrupt my   11 be related in any way with this 501(c)(3)?
12     deposition all day with nonsense objections.   12    A. What does "related" mean?
13         MR. CAVALIER: The irony of that statement  13    Q. Involved with, related, connected to. Was
14     coming from --                                 14 there gonna be any relationship between the two
15         MR. CARSON: You're not -- you're just not 15 organizations?
16     gonna do it, all right? You're not gonna do    16        MR. CAVALIER: Same objection. Daniel --
17     it.                                            17 BY MR. CARSON:
18         MR. CAVALIER: Call the judge.              18    Q. Were they gonna work together? Were they
19         MR. CARSON: So just stop.                  19 gonna have the same staff? Was there any
20         MR. CAVALIER: Daniel, if you can answer 20 relationship between the two? It's a simple
21     the question, feel free to do so.              21 question. Yes or no?
22         THE WITNESS: We were planning it. There 22           MR. CAVALIER: Same objection. Daniel, to
23     are complicated laws about what you can and    23    the extent you can answer, go ahead.
24     can't do. We didn't go through with it. I'm    24        THE WITNESS: One, it never happened, and,
                                           Everest Court Reporting LLC                                 Page: 8 (17 - 20)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 10 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 21                                                       Page 23
                   ---                                                      ---
 1    two, I don't know the complex laws between --       1    threatened to stop the deposition three times
 2    of relations between threes and fours off the       2    in the first 20 minutes.
 3    top of my head. So I cannot answer that.            3        MR. CAVALIER: Don't answer the question,
 4 BY MR. CARSON:                                         4    Daniel. You're not under any kind of order
 5    Q. Well, do you remember when you were gonna        5    here today.
 6 open a 501(c)(4)? Do you remember that? Do you         6        MR. CARSON: Yes, he is.
 7 remember what your intentions were at that time?       7        MR. CAVALIER: Ask your question, Seth.
 8    A. Open a 501(c)(4).                                8    You're under an order. I'm under an order.
 9    Q. Did you have any intentions with regard to       9    Daniel Pipes is not under any orders --
10 the type of organization the 501(c)(4) was gonna      10        MR. CARSON: You're an agent of Mr. Pipes.
11 have with the 501(c)(3)? We're just wasting time --   11    That's a funny characterization of the court's
12                 ---                                   12    order, but I guess we can clear it up pretty
13        (Indistinguishable cross-talk.)                13    easily, but it would --
14                 ---                                   14        MR. CAVALIER: Well, I guess we should
15        THE WITNESS: Are you gonna interrupt me        15    probably not talk about compliance with court
16    again?                                             16    orders on the record. So if you have a
17        MR. CARSON: These aren't trick questions,      17    question --
18    Mr. Pipes. We're just wasting time by --           18        MR. CARSON: Got no problem talking about
19        MR. CAVALIER: Just let him try to answer       19    it.
20    the question.                                      20        MR. CAVALIER: Ask the question, and we'll
21        THE WITNESS: I will not be interrupted by      21    go forward.
22    you, Mr. Carson.                                   22        MR. CARSON: Read my last question.
23        MR. CARSON: Okay.                              23                 ---
24        THE WITNESS: I'm not interrupting you.         24        (Whereupon the court reporter read back
                                               Page 22                                                        Page 24
                  ---                                                     ---
 1     You don't interrupt me. Can I be clear on         1    the pertinent testimony.)
 2     that? I'm not gonna proceed with this if you      2                ---
 3     keep interrupting me. Do you understand?          3        THE WITNESS: Yes.
 4 BY MR. CARSON:                                        4 BY MR. CARSON:
 5     Q. You do know you're under court order           5    Q. Who was gonna be involved in the 501(c)(4)
 6 today, right, Mr. Pipes, to be here?                  6 besides Gregg Roman?
 7     A. You do understand that you're not supposed     7    A. [Inaudible].
 8 to interrupt me?                                      8    Q. Sorry?
 9     Q. Are you aware that there's a court order       9    A. Only him.
10 for you to be here today, Mr. Pipes?                 10    Q. How were you gonna pay Gregg Roman when he
11     A. I am.                                         11 started working with the 501(c)(4)?
12        MR. CAVALIER: I object to the --              12        MR. CAVALIER: Object to form. You can
13        THE WITNESS: Are you aware there's a          13    answer.
14     court order that requires you be here, too,      14 BY MR. CARSON:
15     Mr. Carson?                                      15    Q. How was he gonna be compensated?
16 BY MR. CARSON:                                       16    A. We did not get that far.
17     Q. Mr. Pipes, what do you know about the         17    Q. You didn't talk to anyone about how
18 court order today that has you appearing today for a 18 Mr. Roman was gonna be compensated when he began
19 deposition?                                          19 working with the 501(c)(4)?
20        MR. CAVALIER: Hold on a second. Hold on 20          A. No.
21     a second, Daniel. Don't answer that. That's a    21    Q. The answer is no?
22     gross mischaracterization of the order. It's     22    A. Yes.
23     completely irrelevant.                           23    Q. Okay. How far did you get?
24        MR. CARSON: It's not irrelevant. He now       24    A. We talked to potential donors.
                                           Everest Court Reporting LLC                                 Page: 9 (21 - 24)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 11 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 25                                                       Page 27
                   ---                                                    ---
 1    Q. What else did you do?                           1     A. What do you mean?
 2    A. We looked into the legalities.                  2     Q. Is he paid a salary? Is he paid by the
 3    Q. How did you look into legalities?               3 hour? Is he paid by the year?
 4    A. I don't remember.                               4     A. A salary.
 5    Q. What do you mean, you don't know?               5     Q. He's paid a salary? What's his salary?
 6    A. I --                                            6     A. I don't know.
 7    Q. How do you know you did it then?                7     Q. Who knows what his salary is?
 8    A. "I don't remember" is a simple English          8     A. The accountant.
 9 phrase that I think you understand.                   9     Q. Who's the accountant?
10    Q. Well, are you sure you looked into the         10     A. [Inaudible].
11 legalities if you don't remember how you did it?     11        THE COURT REPORTER: What was the --
12    A. I remember discussion about legalities.        12        THE WITNESS: The accountant. I don't
13    Q. Who was the discussion with? Who was --        13     remember the name of the accountant. Her name
14                 ---                                  14     is Amy, but I forget her last name and the
15        (Indistinguishable cross-talk.)               15     company.
16                 ---                                  16 BY MR. CARSON:
17        THE WITNESS: Gregg.                           17     Q. Amy? Is Amy an employee of the Middle
18 BY MR. CARSON:                                       18 East Forum?
19    Q. Who else was present when you held this        19     A. No. This is a different Amy from the
20 discussion?                                          20 first Amy. No, she's not employee. She works for
21    A. I don't remember.                              21 accounting company that does our accounting.
22    Q. Did you hold discussions about the             22     Q. Okay. Does the Middle East Forum have a
23 501(c)(4) and 501(c)(3) with anyone else besides     23 bookkeeper?
24 Gregg?                                               24     A. No. I mean, yes, the company. Not an
                                              Page 26                                                        Page 28
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 1     A. Marc Fink.                                     1 individual.
 2     Q. How about anybody else besides Gregg and       2     Q. What's the name of the company?
 3 Marc Fink?                                            3     A. I don't remember.
 4     A. I don't think so.                              4     Q. What do you mean, you don't -- can you
 5     Q. Did you hold discussions with Lisa             5 look it up? We can stop, and you can look it up.
 6 Barbounis about it?                                   6     A. I can look it up, yeah.
 7     A. Who is "you"?                                  7         MR. CAVALIER: We're not doing that, Seth.
 8     Q. You, Mr. Pipes, are you.                       8         MR. CARSON: Yeah. I need to know the
 9     A. I don't believe so, no.                        9     name of the company that does the bookkeeping.
10     Q. Did you hold discussions with Patricia        10         MR. CAVALIER: Then send an interrogatory
11 McNulty about it?                                    11     or ask another witness.
12     A. Believe so.                                   12         MR. CARSON: I'm asking --
13     Q. Did you hold discussions with Marnie Meyer    13 BY MR. CARSON:
14 about it?                                            14     Q. What's your -- what's your position with
15     A. Don't believe so.                             15 the Middle East Forum?
16     Q. How is Gregg Roman paid?                      16     A. President.
17        MR. CAVALIER: Object to form. You can         17     Q. So who decided to retain this company that
18     answer.                                          18 does the accounting?
19 BY MR. CARSON:                                       19     A. Let me make a point now that will be --
20     Q. I can set it up. Is Gregg Roman employee      20 that I'll be coming back to over and over again.
21 of the Middle East Forum?                            21 Middle East Forum has about 25 employees. Each one
22     A. Yes.                                          22 of them does a specialized task. I do not do what
23     Q. How is he paid? How does the Middle East      23 all the other 25 do. I can't do all the things they
24 Forum compensate Gregg Roman?                        24 do. I provide leadership. I provide intellectual

                                          Everest Court Reporting LLC                                Page: 10 (25 - 28)
                                   215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 12 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 29                                                       Page 31
                   ---                                                   ---
 1 underpinnings. I'm not engaged in the details of    1 Mr. Pipes?
 2 employment, finances, legal, office management,     2   A. I'm not answering that. I'm gonna finish
 3 technology, and so forth. So you will find on many 3 my statement.
 4 occasions, when you ask me specifics, I will not    4       MR. CAVALIER: Finish what -- finish your
 5 know. This does not mean I am not the CEO. This 5       answer, Daniel, and then we can move on.
 6 does not mean I don't make the ultimate decisions,  6       THE WITNESS: I am the head of the Middle
 7 but it does mean that others make many decisions    7   East Forum. I do not do all the jobs. There
 8 along the way and just check with -- sometimes on   8   are 25 --
 9 their own, and sometimes they check with me.        9 BY MR. CARSON:
10    Q. Are you the CEO?                             10   Q. Mr. Pipes, you said all this already.
11    A. Are you interrupting me again?               11   A. All right. But you --
12    Q. Are you the CEO?                             12   Q. Is there something that you wanna add to
13                 ---                                13 your answer?
14        (Indistinguishable cross-talk.)             14   A. Interrupting me again?
15                 ---                                15       MR. CAVALIER: Seth, if you keep
16        MR. CAVALIER: Hold on. Daniel, finish       16   interrupting him, we are gonna stop.
17    your answer.                                    17       MR. CARSON: I think we should. I think
18 BY MR. CARSON:                                     18   you should have a conversation with your client
19    Q. You don't have to finish your answer.        19   about how depositions --
20 Your answer is totally nonresponsive anyway.       20       MR. CAVALIER: No. I mean we're gonna
21    A. I can't believe it.                          21   stop   for the whole day.
22                 ---                                22       MR. CARSON: That's not gonna happen, Jon,
23        (Indistinguishable cross-talk.)             23   so don't even try threatening, okay, because
24                 ---                                24   it's --
                                              Page 30                                                        Page 32
                   ---                                                     ---
 1        THE COURT REPORTER: Guys, we gotta do one      1                 ---
 2    at a time, all right?                              2        (Indistinguishable cross-talk.)
 3 BY MR. CARSON:                                        3                 ---
 4    Q. Are you the CEO of the Middle East Forum?       4        MR. CAVALIER: -- and we'll move on.
 5    A. You gonna interrupt me?                         5 BY MR. CARSON:
 6    Q. Mr. Pipes, are you the CEO of the Middle        6    Q. Mr. Pipes, do you have something new to
 7 East Forum?                                           7 say to your answer, because you don't have to go and
 8    A. Are you gonna interrupt me, Mr. Carson?         8 repeat the whole thing again. We have the record.
 9                 ---                                   9 We can read it back if we need to.
10        (Indistinguishable cross-talk.)               10    A. I am not going to be interrupted. Is that
11                 ---                                  11 clear? And I wanna say what I wanna say.
12        MR. CARSON: I'm happy to give you guys        12    Q. Okay. Are you done?
13    time if you wanna sit down and have a             13    A. No, I'm not done.
14    conversation with your client about               14    Q. Okay. Do you wanna finish? Go ahead.
15    depositions.                                      15    A. I wanna finish.
16        THE WITNESS: I don't need any time. I         16    Q. Please only provide new information that
17    want you to --                                    17 you haven't --
18        MR. CAVALIER: I think he's entitled to        18    A. I will tell you what I want to tell you,
19    ask you not to interrupt him and let him finish   19 and you will listen. That's the deal.
20    his answer. I mean, that's what we've been        20    Q. Are you the CEO of the Middle East Forum,
21    doing. I let Lisa go on for pages of the          21 Mr. Pipes?
22    transcript.                                       22    A. As I was saying, I am the head of the
23 BY MR. CARSON:                                       23 organization, which means I provide leadership and,
24    Q. Are you the CEO of the Middle East Forum,      24 in many cases, take the ultimate decision, but I

                                          Everest Court Reporting LLC                                Page: 11 (29 - 32)
                                   215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 13 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 33                                                       Page 35
                   ---                                                   ---
 1 don't take all the decisions, and I don't know all   1    A. Amy's the person that the Forum works with
 2 that's going on. This does not mean I am unaware.     2 most closely.
 3 It means that I am filling my job as CEO, as the      3   Q. The person at the Forum who works with
 4 president. So when you ask me about the accounting    4 who?
 5 and how we decided it, Gregg, who is the COO, he      5   A. Most closely.
 6 chose the company, he told me about the various       6   Q. With what?
 7 companies, and he got my okay to go with a company    7   A. Most closely.
 8 whose name I don't remember.                          8   Q. Amy's the person at the Forum that you
 9     Q. So Gregg Roman knows who this accounting       9 work with most closely? That's your testimony?
10 company is? Is that your testimony?                  10       MR. CAVALIER: Objection. That's not what
11     A. You have to ask him.                          11   he said, Seth.
12     Q. Well, I'm asking you. Does Gregg Roman        12       MR. CARSON: I -- well, it'd be nice if I
13 know who they are?                                   13   could hear him, Jon.
14        MR. CAVALIER: Object to form.                 14       MR. CAVALIER: I can hear him fine.
15        THE WITNESS: I don't know what Gregg          15       MR. CARSON: Well, does it matter if you
16     Roman knows and doesn't know.                    16   can hear him fine if I can't?
17 BY MR. CARSON:                                       17       MR. CAVALIER: Turn your computer up. I
18     Q. Okay. Do you know who they are?               18   don't know what to tell you.
19     A. I told you I do not know --                   19       MR. CARSON: My computer's up all the way.
20        MR. CAVALIER: Object to form.                 20   You have to speak up, Mr. Pipes.
21 BY MR. CARSON:                                       21       THE WITNESS: Get a better computer, Mr.
22     Q. Have you ever worked with them before?        22   Carson.
23     A. What does "work with them before" mean?       23       MR. CARSON: If we're gonna have problem
24     Q. Have you ever worked with them before?        24   with the technology today, then we're gonna
                                              Page 34                                                        Page 36
                 ---                                                       ---
 1    A. I don't know what you mean. Be specific.       1     have to do something about it, but you have to
 2    Q. I'm not being specific. I'm being              2     speak up. You're whispering.
 3 general. In your entire life, have you ever worked   3        THE WITNESS: I'm speaking at normal
 4 with the accounting company who does the books for 4       voice.
 5 the Middle East Forum?                               5        MR. CARSON: No, you're not.
 6    A. Since they started working with us, yes.       6        MR. CAVALIER: I'm not gonna let you do
 7    Q. So when did they start working with you?       7     that, Seth.
 8    A. Early 2020.                                    8        MR. CARSON: Jon, stop telling me what
 9    Q. What's the date?                               9     you're gonna do and what you're not gonna do,
10    A. Early 2020.                                   10     okay? Seriously.
11    Q. Who chose them?                               11        MR. CAVALIER: All right. We're gonna
12    A. Gregg looked at several companies and, in     12     take a break.
13 the end, decided on this one, checked with me, so I 13        MR. CARSON: Maybe while on the break you
14 said okay.                                          14     can have your client speak up when he comes
15    Q. Do you have one person there, or do you       15     back because this is getting ridiculous. It's
16 have more than one person that you work with?       16     just ridiculous. This is not how depositions
17    A. I don't know.                                 17     are supposed --
18    Q. Who's the contact that you've talked with     18        MR. CAVALIER: There are lots of things
19 there?                                              19     that are ridiculous about this case, Seth.
20    A. I don't know.                                 20     We're going off the record.
21    Q. Is her name Amy?                              21        MR. CARSON: That's not an excuse, Jon.
22    A. I don't talk to anyone.                       22     Get your client in order, man.
23    Q. Well, who's Amy? When you testified about 23            THE VIDEOGRAPHER: We are now off the
24 Amy, who's that?                                    24     record.
                                          Everest Court Reporting LLC                                Page: 12 (33 - 36)
                                   215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 14 of 180
Deposition of DANIEL PIPES                                             Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 37                                                       Page 39
                  ---                                                    ---
 1                ---                                  1     A. What do you mean?
 2       (Whereupon there was a recess in the           2    Q. Where do you keep the donations after
 3    proceeding from 10:35 a.m. to 10:45 a.m.)         3 they're made?
 4                ---                                   4    A. We have a bank account.
 5       THE VIDEOGRAPHER: The time is 10:45 a.m.       5    Q. Okay. Do you guys invest the donations,
 6    Eastern Time. We are now on the record. Thank     6 or you just keep them all in a bank account? How
 7    you for your patience, guys. Apologize.           7 does that work?
 8 BY MR. CARSON:                                       8    A. A mix.
 9    Q. Who approved how much money Gregg Roman        9    Q. Did you say a mix?
10 was paid for the Middle East Forum?                 10    A. A mix.
11    A. I decided with the chairman of the            11    Q. So how much money does the Middle East
12 executive committee.                                12 Forum have invested?
13    Q. When did you make that decision?              13    A. I don't know.
14    A. I do it annually.                             14    Q. Well, when's the last time you checked?
15    Q. So you -- when did it happen last?            15    A. Month ago.
16    A. In late 2019 or early 2020.                   16    Q. I'm sorry?
17    Q. And how much money did you approve this       17    A. Month ago.
18 year?                                               18    Q. You checked a month ago?
19    A. I don't remember.                             19    A. Yeah. I looked at the account.
20    Q. For Gregg's salary?                           20    Q. Okay. So a month ago, what did it say?
21    A. I don't remember.                             21    A. I don't know. I do not memorize numbers.
22    Q. Okay. Why don't you remember?                 22    Q. Well, ballpark it approximately.
23       MR. CAVALIER: Object to form.                 23    A. I -- I can't.
24       THE WITNESS: We do a lot of the things,       24    Q. Why not?
                                             Page 38                                                        Page 40
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 1    and I do not recall them months and years        1     A. I don't remember. It's easy enough to
 2    later, the numbers.                               2 look up.
 3 BY MR. CARSON:                                       3    Q. Okay. So where would you go to look that
 4    Q. Do you get paid through the Middle East        4 up?
 5 Forum?                                               5    A. I would go to the company that has our
 6    A. I do get paid.                                 6 money invested.
 7    Q. How much do you get paid?                      7    Q. What company is that?
 8    A. I can't give you an exact number.              8    A. Raymond James.
 9    Q. Well, give me a ballpark.                      9    Q. Raymond James?
10    A. 240,000.                                      10    A. Yep, and PNC, and maybe others smaller
11    Q. $240,000 a year?                              11 amounts.
12    A. Yeah.                                         12    Q. How long have you been working with
13    Q. And how much money does the Middle East       13 Raymond James?
14 Forum take in donations every year?                 14    A. Four years.
15        MR. CAVALIER: Object to form.                15    Q. And the portfolio that you keep with
16        THE WITNESS: I can't remember.               16 Raymond James, does that include stocks and bonds?
17 BY MR. CARSON:                                      17    A. I believe so.
18    Q. Well, give me a ballpark.                     18    Q. How about you? What are you worth?
19    A. There's a 990 form that you can go and        19       MR. CAVALIER: Object to form.
20 look it up.                                         20       THE WITNESS: None of your business.
21    Q. What's a 990 form?                            21       MR. CARSON: No, it actually is our
22    A. It's an IRS form for nonprofits.              22    business. It goes to punitive damages.
23    Q. Does the Middle East Forum have an account    23       MR. CAVALIER: Personally? Daniel, you
24 where they keep the donations?                      24    don't have to answer that question.
                                         Everest Court Reporting LLC                                Page: 13 (37 - 40)
                                  215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 15 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 41                                                       Page 43
               ---                                                       ---
 1       MR. CARSON: No, he does have to answer         1   with everything at once, and we'll get all
 2    it.                                              2    those questions answered before the end of the
 3        MR. CAVALIER: He's not going to.             3    deposition, so I'll just keep a list here. I
 4        MR. CARSON: Well, then we're gonna call      4    mean, I'd be happy to send you the case law.
 5    Judge Wolson, okay?                              5        MR. CAVALIER: Okay.
 6        MR. CAVALIER: Hold up.                       6        MR. CARSON: It's well settled.
 7        MR. CARSON: That's no problem. We will.      7        MR. CAVALIER: I will look forward to it.
 8    It goes directly to punitive damages.            8        MR. CARSON: I mean, we -- I'll send it to
 9        MR. CAVALIER: Daniel Pipes' personal net     9    you on the next break. Maybe then we can
10    worth goes to punitive damages?                 10    resolve it without getting the judge involved,
11        MR. CARSON: It absolutely does. How can     11    but if the judge gets involved, in the Third
12    a jury calculate punitive damages, and how do   12    Circuit, these questions are highly relevant.
13    they know what's punitive unless they know what 13    I just had the same argument the other day in
14    he's worth? It absolutely go -- the case law    14    one so -- but, again, I'll give you the
15    is pretty clear.                                15    opportunity to give your client the right
16        MR. RIESER: Seth, you can't -- you have     16    advice.
17    no claim for punitive damages against --        17 BY MR. CARSON:
18        MR. CARSON: Yes, we do. He's a defendant 18       Q. How much money did the Middle East Forum
19    in the case, and we made a claim for punitive   19 receive in donations in 2019?
20    damages.                                        20    A. I don't know.
21        MR. CAVALIER: -- recognize that theory,     21    Q. Where is that listed?
22    Seth.                                           22    A. In the -- it will be listed in the 2019
23        MR. RIESER: Seth, under the PHRA there is 23 990, which is now being worked on.
24    no punitive damages, okay?                      24    Q. 2019 990?
                                              Page 42                                                        Page 44
                  ---                                                    ---
 1       MR. CARSON: First of all, under the            1     A. Yep.
 2    Philadelphia Fair Practice Ordinance, there are    2    Q. Do you notify members of the board about
 3    punitive damages.                                  3 Middle East Forum's stock portfolio, investment
 4       MR. CAVALIER: Not against --                    4 portfolio?
 5                ---                                    5    A. What do you mean by "members of the
 6       (Indistinguishable cross-talk.)                 6 board"?
 7                ---                                    7    Q. Well, the Middle East Forum has board
 8       MR. CARSON: Yeah, there are, and under          8 members; is that correct?
 9    the PHRA there's liquidated damages.               9    A. What do you mean by "board"?
10       MR. RIESER: Well, number one, there            10    Q. Board of directors.
11    isn't.                                            11    A. We don't have a board of directors.
12       MR. CARSON: Yeah, there is.                    12    Q. What do you guys have in place of a board
13       MR. RIESER: It has nothing to do with his      13 of directors?
14    net worth.                                        14    A. I don't know. What do you mean?
15       MR. CARSON: No, it absolutely does.            15    Q. You tell me. What do you think I mean?
16       MR. RIESER: It doesn't. Then call the          16    A. I don't know what you mean. You tell me
17    judge. It's stupid. Go ahead.                     17 what your question is.
18       MR. CARSON: It's not stupid.                   18    Q. My question is, does the Middle East Forum
19       MR. CAVALIER: He's not gonna answer your       19 have a board of directors?
20    questions about his personal net worth.           20    A. No.
21       MR. CARSON: I mean, it's not really a          21    Q. Does the Middle East Forum have a Board of
22    choice, but I'm just gonna make a list.           22 Governors?
23       MR. CAVALIER: Well, I'm instructing --         23    A. [Inaudible].
24       MR. CARSON: I'll call the judge and deal       24    Q. We can't hear you. You gotta speak up.
                                          Everest Court Reporting LLC                                Page: 14 (41 - 44)
                                   215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 16 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 45                                                       Page 47
                  ---                                                 ---
 1    A. Yes.                                           1   (Indistinguishable cross-talk.)
 2    Q. Who's on the Board of Governors?           2                 ---
 3    A. About 60, 70 people.                       3       THE   WITNESS:    Could the court reporter
 4    Q. Are there officers on the Board of         4   read me back what I said?
 5 Governors?                                       5                 ---
 6    A. No.                                        6       (Whereupon the court reporter read back
 7    Q. Does the Middle East Forum have corporate 7    the pertinent testimony.)
 8 officers?                                        8                 ---
 9    A. Yes.                                       9       (Indistinguishable cross-talk.)
10    Q. Who are they?                             10                 ---
11    A. Steven Levy and Lawrence Hollin and       11       THE   COURT    REPORTER: Guys, we gotta do one
12 myself, Gregg, and one or two others.           12   at a time here.
13    Q. Who are the other people?                 13 BY MR. CARSON:
14    A. I don't remember.                         14   Q. Are you the CEO, is the next --
15    Q. What's Steve Levy's position?             15       MR. CAVALIER: Daniel, do you wanna finish
16    A. He's chairman.                            16   your   prior answer?
17    Q. What's Lawrence Hollin's position?        17       THE WITNESS: I do.
18    A. I don't remember.                         18       MR. CAVALIER: Then go ahead and do it.
19    Q. What?                                     19       THE WITNESS: The important title is
20    A. I don't remember.                         20   president, and I have another title as -- in
21    Q. What's Daniel Pipes' position? Do you     21   the corporate structure but --
22 remember your position?                         22 BY MR. CARSON:
23    A. Might be president; might be something    23   Q. What's that title?
24 else.                                           24       MR. CAVALIER: Daniel, were you finished
                                              Page 46                                                        Page 48
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 1     Q. Well, what's your understanding of what it  1   your answer?
 2 is?                                                2 BY MR. CARSON:
 3     A. I just told you. I don't -- might be        3   Q. What's that title?
 4 president; might be something else.                4      MR. CAVALIER: Daniel, were you finished
 5     Q. Well, what might else [sic] it be if it's   5   your answer?
 6 not president?                                     6      THE WITNESS: Could the court reporter
 7     A. I don't -- it's not an important title.     7   read back to me what I said?
 8 My important title is I'm president of the         8      THE COURT REPORTER: Guys, we're not gonna
 9 organization, and I have --                        9   do this all day, just so you know, okay?
10     Q. Are you -- are you the CEO?                10      MR. CAVALIER: I agree with you, and I
11     A. -- interrupting me. You're inter --        11   apologize on behalf of --
12     Q. Are you the CEO?                           12      MR. CARSON: Then why don't you just --
13        MR. CAVALIER: Seth, let him finish his     13   why  don't you like -- please, just do what
14     answer.                                       14   everyone does before a deposition when they
15 BY MR. CARSON:                                    15   have a client, and explain to your client the
16     Q. Are you the CEO?                           16   way the deposition works.
17        MR. CAVALIER: Hold on a second. Daniel, 17         MR. CAVALIER: The way the deposition
18     were you finished your last answer?           18   works  is you ask your question. He --
19        MR. CARSON: He was finished.               19      MR. CARSON: I ask questions. He provides
20 BY MR. CARSON:                                    20   answers.
21     Q. Are you the CEO?                           21      MR. CAVALIER: If you're not gonna let him
22        MR. CAVALIER: Daniel, don't answer the     22   answer the question, there's no point for any
23     question.                                     23   of us to be here.
24                ---                                24 BY MR. CARSON:
                                          Everest Court Reporting LLC                                Page: 15 (45 - 48)
                                   215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 17 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 49                                                       Page 51
                   ---                                                    ---
 1     Q. Are you also the CEO? It's a simple --         1    Q. Are there MEF bylaws?
 2        MR. CAVALIER: That's not a question            2    A. Yes.
 3     pending. He wants to finish his answer --         3    Q. Is your other title listed in the MEF
 4        MR. CARSON: It is the question --              4 bylaws?
 5        MR. CAVALIER: -- finish his answer before      5    A. I don't know.
 6     we move on to the next question, Seth. No         6    Q. Do you wanna look at them?
 7     matter how many times you try to talk over him,   7    A. If you want me to.
 8     he's gonna finish his answers.                    8    Q. Sure, we can look at the MEF bylaws. Do
 9        MR. CARSON: That's good advice, Jon.           9 you see this document I put on the screen?
10 BY MR. CARSON:                                       10    A. Yep.
11     Q. Are you the CEO?                              11    Q. Okay. Are these the MEF bylaws?
12        MR. CAVALIER: Daniel, do you wanna finish 12        A. I don't know.
13     your prior answer?                               13    Q. We'll take a minute and review it.
14        THE WITNESS: I do.                            14       MR. CAVALIER: Seth, do you really want
15 BY MR. CARSON:                                       15    him to review the entire bylaws [inaudible] --
16     Q. Go ahead, Mr. Pipes. What's so important      16       MR. CARSON: I mean, the question I'm
17 that you need to get it out? Go ahead. Finish.       17    asking is, are these the bylaws?
18     A. The important title I have is as president    18       THE WITNESS: I can only --
19 of the Middle East Forum. I have perhaps that and    19                ---
20 perhaps some other title in the corporate structure. 20       (Indistinguishable cross-talk.)
21 I don't remember it. It's not important.             21                ---
22     Q. Is it CEO?                                    22 BY MR. CARSON:
23     A. It is not CEO.                                23    Q. You review it until you have enough
24     Q. Well, what is it?                             24 information to answer the question.
                                               Page 50                                                        Page 52
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 1     A. I don't know. It could be president; it        1    A. Then let me read the entire document.
 2 could be something else.                               2   Q. If you're gonna read the whole thing,
 3     Q. Well, what else do you think it might be?       3 we're gonna go off the record while you read it.
 4     A. I don't know.                                   4   A. Up to you.
 5     Q. Well, why do you think this other title         5       MR. CARSON: We're gonna go off the record
 6 exists then?                                           6   while we read this. We're not wasting time to
 7     A. There's a legal need for corporate              7   read the whole document.
 8 structure.                                             8       MR. CAVALIER: I disagree. We're not -- I
 9     Q. Is there a document to look at where this       9   mean, you wanna go off the record, we'll go off
10 other title is listed?                                10   the record, but you're not stopping the clock
11     A. I'm sure there is.                             11   while the witness reviews the document you put
12     Q. Well, what's that document?                    12   in front if him.
13     A. I don't know.                                  13       MR. CARSON: Yes, we are stopping the
14     Q. Is it the Middle East Forum charter?           14   clock.
15     A. I don't know. If you want to look up our       15                ---
16 paperwork, our public paperwork, be glad to make it   16       (Indistinguishable cross-talk.)
17 available to you.                                     17                ---
18     Q. That's not necessary. You already have         18       MR. CAVALIER: Seth, that's not how it
19 made it available.                                    19   works.
20     A. I deal with the Middle East, Mr. Carson.       20       MR. CARSON: Yeah, it is how it works.
21 I don't deal with the legalities of the Middle East   21       MR. CAVALIER: You want him to identify a
22 Forum. I can give you dates what happened in the      22   19-page document, he's gotta look at the
23 11th century. I cannot give you specifics of          23   document.
24 legalities of corporate governance of a 501(c)(3).    24       MR. CARSON: It's not 19 pages.
                                           Everest Court Reporting LLC                                Page: 16 (49 - 52)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 18 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 53                                                       Page 55
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 1                 ---                                    1       MR. CAVALIER: You're gonna call the
 2        (Indistinguishable cross-talk.)                 2   judge?
 3                 ---                                    3       MR. CARSON: Yes.
 4 BY MR. CARSON:                                         4       MR. CAVALIER: Because you don't want the
 5     Q. Have you ever seen this document before,        5   witness to be able to read the document you're
 6 Mr. Pipes?                                             6   presenting --
 7     A. I don't know. I have to see the whole of        7       MR. CARSON: No. We're not gonna spend an
 8 it before I --                                         8   hour where he reads a four-page document and
 9     Q. Well, let me ask you a question: How did        9   tell me we're on the clock.
10 these documents get to your attorney? Did you turn    10       MR. CAVALIER: Not gonna take an hour.
11 them over?                                            11       MR. CARSON: That's not gonna happen, all
12     A. I did not, no.                                 12   right, and we're also not gonna pretend like we
13     Q. Who turned them over?                          13   don't know that these are -- the document is
14     A. I don't know.                                  14   labeled "MEF Bylaws," so we're not playing
15     Q. Well, do you know that documents were          15   games today. So either you wanna talk to your
16 turned over to your attorneys in this case?           16   client, or I'm just gonna call the judge, and
17     A. No.                                            17   the judge will make a ruling.
18     Q. You don't know whether you turned              18       MR. CAVALIER: If you wanna call the judge
19 documents over to your attorneys in this case?        19   and tell him that you don't want the witness to
20     A. No.                                            20   be able to read the documents that you're
21     Q. Okay.                                          21   putting in front of him --
22     A. We have a legal counsel who handles these      22       MR. CARSON: I -- that's no problem.
23 things.                                               23       MR. CAVALIER: Feel free.
24     Q. Who handled the turning over of documents      24       THE VIDEOGRAPHER: Counsels, are we agreed
                                               Page 54                                                        Page 56
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 1 in this case?                                          1   to go off the record while --
 2     A. You interrupted me. Legal --                    2      MR. CARSON: No, let's stay on the record.
 3     Q. Who turned over the document -- handing         3      THE VIDEOGRAPHER: Sure thing, Seth.
 4 over the documents in this case? I didn't hear you.    4      THE DEPUTY: Good morning. Judge Wolson's
 5     A. I'd like to finish. My legal counsel            5   chambers. This is Jeannine.
 6 handles matters such as documents to lawyers and to    6      MR. CARSON: Yeah. This is Seth Carson.
 7 opposing counsel and so forth. I do not deal with      7   We're calling from a deposition in connection
 8 this. I will note again that we have 25 people at      8   with the Middle East Forum verse -- I'm
 9 the Forum, and we have specialized tasks, and I        9   sorry -- Lisa Barbounis verse the Middle East
10 don't do everything, and I don't know everything      10   Forum. We're just having an issue with the
11 that goes on. I make key decisions. I do not make     11   witness just being completely nonresponsive,
12 every single decision such as whether to hand over    12   refusing to even verify documents as simple as
13 bylaws to lawyers or not. So I don't know how these   13   the Middle East Forum bylaws. We're dealing
14 went -- if these are, in fact, our bylaws -- how      14   with the president of the Middle East Forum,
15 they went from us --                                  15   and I don't know what to do, but they're --
16     Q. Well, how would you tell if they were?         16   counsel's telling me that he needs to sit and
17     A. I would have to read this document, and        17   take -- to read, you know, documents that are
18 I'd have to compare it to the documents -- the        18   four or five pages long and that we need to
19 document in my possession that says --                19   stay on the record to do it, and that's gonna
20        MR. CARSON: Then we're gonna call the          20   count against the clock, and it's just -- we
21     judge, Jon. This is bullshit. We're gonna         21   only have one opportunity to do this
22     call the judge. We're not gonna spend an hour     22   deposition, and it's just getting out of
23     reading a document and staying on the clock, so   23   control.
24     I'm gonna get Judge Wolson on the phone.          24      THE DEPUTY: Okay. Unfortunately, the
                                           Everest Court Reporting LLC                                Page: 17 (53 - 56)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 19 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 57                                                       Page 59
                   ---                                                  ---
 1    judge is in the middle of a telephone           1    he wants to read this document, or we can keep
 2    conference. Can you hold on for just a moment? 2     going and we can --
 3        MR. CARSON: Sure.                           3         MR. CAVALIER: It's your deposition. To
 4        THE DEPUTY: Thanks.                         4    the extent you want him to review documents or
 5        MR. CARSON: Your client can take as much 5       to ask -- if you wanna ask him questions about
 6    time as he wants to read documents today, but   6    documents --
 7    we're just not gonna do it and count against    7         MR. CARSON: I'm gonna ask him questions
 8    the clock. Not gonna spend two hours looking    8    about this document, but first -- my first
 9    at doc -- because there's gonna be a lot of     9    question, is this the Middle East Forum bylaws?
10    documents that are coming up, and we're not    10    Your client says "I don't know," which is --
11    gonna do that every time. It's ridiculous, and 11    it's ridiculous.
12    I'm -- frankly, I'm sort of surprised that you 12         MR. CAVALIER: He needs to read the
13    would even suggest it.                         13    document to identify it.
14        THE DEPUTY: Mr. Carson?                    14         MR. CARSON: Right.
15        MR. CARSON: Yup.                           15         MR. CAVALIER: I don't know why that's
16        THE DEPUTY: Okay. As I said, the judge     16    such a controversial statement to you.
17    is in the middle of a Rule 16. I don't know if 17 BY MR. CARSON:
18    you wanna try calling back, I wanna say, maybe 18    Q. All right. Let's just time it just for
19    like 11:45?                                    19 fun. You go ahead, Mr. Pipes. Wanna read the
20        MR. CARSON: Yeah. I can keep asking -- 20 document before you confirm it? Is this the Middle
21    yeah. I can keep asking other questions, and   21 East Forum bylaws, is the question. Let us know
22    then we can call the judge back. It's just     22 when you're ready to answer.
23    like, you know, the first document that I put  23    A. I'm finished with this.
24    in front of the witness, you know, he said he  24    Q. So is it the MEF -- is it Middle East
                                               Page 58                                                        Page 60
                   ---                                                    ---
 1    needs to take his time and read the entire       1 Forum's bylaws?
 2    document before he answers any questions on it. 2      A. I'm finished with the first page.
 3    There's gonna be a lot of documents in the       3         MR. CAVALIER: Read the whole document.
 4    case, so I suggested that [inaudible] hours      4         THE WITNESS: No, no, no. First page, the
 5    while he confirms documents, that's fine. He     5     first section that you showed me. No, go back
 6    can take all the time he wants to do that, but   6     up. Come on.
 7    they're trying to say that it has to count       7         MR. CAVALIER: Still not all the way --
 8    against the clock, and that's -- you know what   8 BY MR. CARSON:
 9    I mean? It's just -- that's just patently        9     Q. Tell me where to go.
10    unfair, and it's clearly a strategy designed to 10     A. To the bottom -- look at the first page --
11    reduce the amount of questions that I'm         11     Q. You just said you read the first page.
12    permitted to ask today.                         12     A. First page in the sense of first screen.
13         MR. CAVALIER: For defense counsel, I'll    13     Q. This was the first screen, so I went down
14    just note that I disagree with everything       14 to the second screen.
15    Mr. Carson just said.                           15     A. No, no, no. Up. Okay.
16         MR. CARSON: Yeah, of course you do.        16     Q. Can you read Section I for the record out
17         THE DEPUTY: Okay. I would suggest that 17 loud, please? I'll highlight it for you. Can you
18    you both, you know, dial in around 11:45, and I 18 read the section out loud for the record?
19    could see if the judge can speak to you all at  19     A. Middle East Forum shall have two Boards of
20    one time.                                       20 Governors, one based in Philadelphia, and the other,
21         MR. CARSON: Thank you. We'll call back. 21 New York. Each shall consist of no less than 15
22    I'll just keep going for now. Thank you.        22 persons and no more than 45 persons or such other
23         THE DEPUTY: No problem. Thank you.         23 members -- or such other number of the members of
24         MR. CARSON: We can go off the record if 24 each board shall, from time to time, determine.
                                           Everest Court Reporting LLC                                Page: 18 (57 - 60)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 20 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                                Page 61                                                       Page 63
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 1     Q. So is that the Board of Governors that you       1    A. Yes.
 2 were just testifying to?                                2    Q. The website has a page that's listed,
 3        MR. CAVALIER: So, just so we're clear for        3 "Middle East Forum Board of Governors". Are you
 4     the record, are you withdrawing the question        4 aware of that?
 5     that the witness was answering and moving on to     5    A. Yes.
 6     other --                                            6    Q. And Gregg Roman's name is listed on that
 7 BY MR. CARSON:                                          7 page. Do you know that?
 8     Q. I'm asking you if this is the board of           8    A. No. I think that's wrong.
 9 directors -- the Board of Governors that we just        9    Q. Have you ever seen this web page before?
10 talked about.                                          10    A. Let me see the whole of it.
11     A. Well, we haven't verified that this is our      11    Q. Do you see here where it says "Middle East
12 bylaws, so if you're just asking me, in general, is    12 Forum Board of Governors"?
13 there a Board of Governors, yes, there is.             13    A. Yep.
14     Q. Does this document state that the Middle        14    Q. Do you see here where it says Gregg
15 East Forum shall have two Boards of Governors?         15 Roman's name underneath that?
16     A. I don't know what this document is. I --        16    A. Yup.
17     Q. Well, does this document say that? The          17    Q. So does that better help your memory of
18 Middle East Forum will have two Boards of Governors.   18 whether Gregg Roman's a member of the Board of
19 Is that what it says?                                  19 Governors?
20     A. This document says that. Whatever this          20    A. Well, I haven't verified this page, but if
21 document --                                            21 we just look at this page, it's quite clear that the
22     Q. Why does the Middle East Forum have two         22 top five names are officers, and the next 12 or so
23 Boards of Governors? What does that mean?              23 names are executive committee, and then comes the
24        MR. CAVALIER: Object to form. You can           24 Board of Governors. And if Gregg's name is on the
                                                Page 62                                                        Page 64
                  ---                                                        ---
 1     answer.                                             1 Board of Governors, that would be a surprise to me.
 2        THE WITNESS: Middle East Forum does not          2     Q. And I'll represent to you that this --
 3     have two Board of Governors.                        3 this is what your website looks like right now. I
 4 BY MR. CARSON:                                          4 just took a screenshot of it just now.
 5     Q. Well, how many Boards of Governors does          5     A. Well, I just explained to you that if it
 6 the Middle East Forum have?                             6 does -- it says that Gregg is secretary of the
 7     A. One.                                             7 organization, and the Board of Governors are below
 8     Q. So this document says one is based in            8 it.
 9 Philly, and the other's in New York. Was there ever     9     Q. And if we look at the Middle East Forum
10 a time when the Middle East Forum had two Boards of    10 bylaws, there is a section for officers, correct,
11 Governors?                                             11 right here?
12     A. Yes.                                            12     A. I don't know that this is the Middle East
13     Q. When did they go from having two to one?        13 Forum bylaws.
14     A. Five years ago.                                 14     Q. We can pretend it's not for now. Is there
15     Q. When did Gregg Roman become a member of         15 a section in this document that says "officers"?
16 the Board of Governors?                                16     A. Yes.
17     A. He didn't.                                      17     Q. You are aware that your attorneys turned
18     Q. Gregg Roman doesn't sit on the Board of         18 this over to us and represented that it's the Middle
19 Governors?                                             19 East Forum bylaws, correct?
20     A. No.                                             20     A. No.
21     Q. Is Gregg Roman a corporate officer?             21     Q. I'll represent to you that that's exactly
22     A. Yes.                                            22 what happened. Do you see this little number right
23     Q. You have a website online. Are you aware        23 here? Do you see this?
24 of that?                                               24     A. I do.
                                            Everest Court Reporting LLC                                Page: 19 (61 - 64)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 21 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                                Page 65                                                       Page 67
                   ---                                                       ---
 1     Q. Do you know what that's called? It's             1    responses to requests for production of
 2 called a Bates stamp. I'll represent to you that        2    documents, right?
 3 your attorneys put this number on this page and         3        MR. CAVALIER: Sure.
 4 turned it over to us in connection with our requests    4        MR. CARSON: So you do know that you
 5 in this case. Did you know that?                        5    represented that this is the Middle East Forum
 6     A. No.                                              6    bylaws, correct?
 7     Q. Your attorneys never talked to you about         7        MR. CAVALIER: Listen. I'm not -- the
 8 discovery?                                              8    discovery speaks for itself --
 9        MR. CAVALIER: Objection. Daniel, you             9                 ---
10     don't have to --                                   10        (Indistinguishable cross-talk.)
11                 ---                                    11                 ---
12        (Indistinguishable cross-talk.)                 12        MR. CARSON: I get it, I get it. It's
13                 ---                                    13    fine.
14        MR. CARSON: You can just say                    14 BY MR. CARSON:
15     "privileged," Jon. It's fine.                      15    Q. So you are aware that this document does
16        MR. CAVALIER: Yeah.                             16 have a section called "Officers," correct,
17        MR. CARSON: Objection, privilege.               17 Mr. Pipes?
18 BY MR. CARSON:                                         18    A. I see in front of me it says "Officers,"
19     Q. Okay. So did you ever work on producing         19 yes.
20 discovery in this case in any way?                     20    Q. And these -- chairman, vice chairman,
21     A. No.                                             21 president, vice president, secretary, treasurer, are
22        MR. CAVALIER: Object to form.                   22 those the offices that the Middle East Forum
23 BY MR. CARSON:                                         23 maintains for its officers?
24     Q. Did you ever have to respond to -- do you       24        MR. CAVALIER: Object to the form of the
                                                Page 66                                                        Page 68
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 1 know what interrogatories are?                          1    question.
 2    A. No.                                               2        THE WITNESS: I'd have to check.
 3    Q. Do you know what a request for production         3 BY MR. CARSON:
 4 of documents is?                                        4    Q. Where would you check?
 5    A. No.                                               5    A. I would check our documents.
 6    Q. So you've never responded to                      6    Q. Would you check with the Middle East Forum
 7 interrogatories, then? Is that your testimony?          7 bylaws?
 8        MR. CAVALIER: Objection.                         8    A. No. I would check to see what our current
 9 BY MR. CARSON:                                          9 officers are.
10    Q. Have you ever responded to                       10    Q. Well, what document would you check that
11 interrogatories?                                       11 would tell you that?
12    A. No.                                              12    A. I would check the internal documents of
13    Q. Have you ever responded to a request for         13 the Middle East Forum.
14 production of documents?                               14    Q. Well, what are the internal documents you
15    A. No.                                              15 would check? Please identify one.
16    Q. Well, do you see how this document here,         16    A. We keep lists of who is doing what.
17 which your attorneys are representing to us is the     17    Q. And is one of those lists have a job
18 Middle East Forum bylaws, do you see it has a          18 called -- a position called secretary?
19 section for "officers"?                                19    A. Yeah. I told you that. Gregg is the
20        MR. CAVALIER: I'm gonna object to the           20 secretary.
21    description of the document, but to the extent      21    Q. Okay. And Gregg is also the director of
22    you can answer the question, go ahead.              22 the Middle East Forum, correct?
23        MR. CARSON: You -- Jon, you do know that        23    A. Correct.
24    you guys gave us written requests -- written        24    Q. Is there any position at the Middle East
                                            Everest Court Reporting LLC                                Page: 20 (65 - 68)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 22 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 69                                                       Page 71
                  ---                                                      ---
 1 Forum that's higher than director in the corporate    1 of taking his penis out in front of her?
 2 structure?                                            2        MR. CAVALIER: I'm gonna object to the
 3     A. I'm the president of the -- making -- I'm      3     form there.
 4 the president. Yeah.                                  4 BY MR. CARSON:
 5     Q. So it's your testimony that you are            5     Q. We can listen to the recording if you'd
 6 positioned higher in the corporate structure than     6 like, Mr. Pipes.
 7 the director of the Middle East Forum?                7     A. I don't know that.
 8     A. Yes.                                           8     Q. We can do that on the record.
 9     Q. Is there anybody else who's positioned         9     A. If you like.
10 higher?                                              10     Q. Sorry? What's your answer?
11     A. The chairman is the highest position in       11     A. If you like.
12 the corporate structure.                             12     Q. Well, did you know that she accused Gregg
13     Q. Who's the chairman?                           13 Roman of taking his penis out in front of her at a
14     A. Steven Levy.                                  14 bar in Washington D.C.?
15     Q. So Steven Levy is positioned above you in     15        MR. CAVALIER: Object to the form.
16 the corporate structure; is that your testimony?     16        THE WITNESS: No, I don't.
17     A. Yes.                                          17 BY MR. CARSON:
18     Q. When did he become the chairman?              18     Q. You didn't know that?
19     A. I don't remember.                             19     A. No. I know that -- no, I don't know that.
20     Q. Well, how long have you worked with Steve     20     Q. If you knew that, would you have
21 Levy for?                                            21 investigated it?
22     A. I don't remember.                             22     A. I am not now or at any time in the next
23     Q. We can't hear you when you whisper,           23 few hours going to deal with hypotheticals. If
24 Mr. Pipes.                                           24 you --
                                              Page 70                                                        Page 72
                   ---                                                     ---
 1     A. I don't remember.                              1     Q. That's --
 2     Q. Did you start working with him this year?      2     A. Let me finish.
 3     A. No.                                            3     Q. That's not a choice you have today,
 4     Q. Did you start working with him last year?      4 Mr. Pipes.
 5     A. Earlier.                                       5     A. Let me finish.
 6     Q. Early last year is when you began working      6        MR. CAVALIER: Let him finish his answer.
 7 with Mr. Levy; is that your testimony?                7        MR. CARSON: His answer was, I'm not now
 8     A. I've worked with him for some years. I         8     gonna deal with hypotheticals today.
 9 cannot be precise when I first --                     9 BY MR. CARSON:
10     Q. Did you work with him at all times related    10     Q. That's not a choice that you have today,
11 to the allegations in this case?                     11 Mr. Pipes. You have to answer the questions
12     A. Yes.                                          12 honestly and truthfully to the best of your ability.
13     Q. Did you work with him while Tiffany Lee       13 You don't get to decide if there's an entire
14 was still an employee of the Middle East Forum?      14 category of questions that you're not gonna respond
15     A. Probably.                                     15 to.
16     Q. Did you work with him while Gabrielle         16                 ---
17 Bloom was still an employee of the Middle East       17        (Indistinguishable cross-talk.)
18 Forum?                                               18                 ---
19     A. I don't know who Gabrielle Bloom is.          19        MR. CARSON: So will not answer
20     Q. Do you know who Alana Goodman is?             20     hypotheticals. Okay.
21     A. I know the name as a reporter.                21 BY MR. CARSON:
22     Q. You know the name what?                       22     Q. Did you wanna tell me anything else about
23     A. As a reporter.                                23 how you will not answer hypotheticals?
24     Q. Do you know that she accused Gregg Roman      24        MR. CAVALIER: Is that a question?
                                          Everest Court Reporting LLC                                Page: 21 (69 - 72)
                                   215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 23 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                                Page 73                                                       Page 75
                  ---                                                        ---
 1         THE WITNESS: Read me back what I started        1        MR. CAVALIER: Object to form.
 2     to say.                                             2        THE WITNESS: If Gregg Roman said he would
 3 BY MR. CARSON:                                          3     give stories to a reporter, is that within the
 4     Q. You said, I will not now or today respond        4     purview? Yes.
 5 to hypotheticals. Is there something else you           5 BY MR. CARSON:
 6 wanted to say in response to that?                      6     Q. Because one of the jobs of the director of
 7     A. In each case, it's a matter of when,             7 the Middle East Forum is to work with the press; is
 8 where, who, and other specifics, and, therefore,        8 that correct?
 9 answering hypotheticals is a mistake, and I'm not       9     A. Correct.
10 gonna engage in it.                                    10     Q. If Gregg Roman said he's gonna trade those
11     Q. Well, at 11:45 we're gonna talk to the          11 stories for sex, is that something that's within the
12 judge, and if he instructs you to answer               12 purview of the director of the Middle East Forum?
13 hypotheticals, will you answer them?                   13     A. No.
14         MR. CAVALIER: Objection.                       14     Q. So if you found out that he was making
15         THE WITNESS: If you give me specifics          15 propositions to reporters to trade stories for sex,
16     about who, when, where, and every detail, then     16 is that something you think you should've
17     I can perhaps make a judgment, but I can't make    17 investigated?
18     a judgment [inaudible].                            18     A. Depends on the exact circumstances.
19 BY MR. CARSON:                                         19     Q. I'm gonna play a recording that was turned
20     Q. Another nonresponsive answer, okay. So if       20 over to your attorneys in the course and scope of
21 you would've known that there was an allegation --     21 discovery.
22 whether it was true or not, if you just would've       22                 ---
23 heard that there's an allegation that the director     23        (Whereupon an audio recording was played
24 of the Middle East Forum took his penis out in front   24     from 11:20 a.m. to 11:31 a.m.)
                                                Page 74                                                        Page 76
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 1 of a Washington Examiner reporter, is that something    1                ---
 2 that you think you should've investigated?              2 BY MR. CARSON:
 3    A. It depends on the specifics -- when,              3    Q. Have you ever heard that recording before,
 4 where, who, what the relations were, what the           4 Mr. Pipes?
 5 background is, and so forth. I'm not gonna make a       5    A. No.
 6 determination on the abstract.                          6    Q. Is that a recording that you would've been
 7    Q. Under what context would it be appropriate        7 interested in hearing?
 8 for the director of the Middle East Forum to take       8        MR. CAVALIER: Objection. Form,
 9 his penis out in front of a Washington Examiner         9    foundation.
10 reporter?                                              10 BY MR. CARSON:
11        MR. CAVALIER: Object to form. We're             11    Q. Is that something you wished you would've
12    getting close to starting to hear instructions      12 known that someone alleged?
13    from me not to answer, Seth.                        13        MR. CAVALIER: Same objections.
14        MR. CARSON: Yeah. Based on what,                14        THE WITNESS: I don't know if this is
15    privilege?                                          15    legal recording. I don't know if this is
16        MR. CAVALIER: No. Based on the fact that        16    legitimate recording. I don't know if this
17    these questions are ludicrous.                      17    person speaking was paid to act this out. I
18        MR. CARSON: They're not ludicrous.              18    know nothing about it.
19 BY MR. CARSON:                                         19 BY MR. CARSON:
20    Q. Mr. Pipes, tell me -- so I'll give you a         20    Q. Forgetting about the truth of anything
21 context. If Gregg Roman was telling a Washington       21 said, wouldn't that be something you'd wanna be
22 Examiner reporter that he would give her stories, is   22 aware of?
23 that something that would be within the purview of     23        MR. CAVALIER: Objection. Form,
24 the director of the Middle East Forum?                 24    foundation, incomplete hypothetical. You can
                                            Everest Court Reporting LLC                                Page: 22 (73 - 76)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 24 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 77                                                       Page 79
                   ---                                                      ---
 1     answer if you can.                                1 position, other than you, to make sure that the
 2        THE WITNESS: I'm the president of the          2 female employees who work for the Middle East Forum
 3     Middle East Forum.                                3 aren't subjected to illegal conduct?
 4 BY MR. CARSON:                                        4         MR. CAVALIER: Object to form, foundation.
 5     Q. Right.                                         5         THE WITNESS: I have yet [inaudible].
 6     A. Interrupt me.                                  6         THE COURT REPORTER: I'm sorry, Mr. Pipes.
 7     Q. You're the president of Middle East Forum. 7         I cannot hear you.
 8 Continue.                                             8         THE WITNESS: I have yet to be shown
 9     A. I am not the den mother of the Middle East     9     illegal conduct, and that illegal conduct is
10 Forum. The employees at the Forum engage in all 10          specific in time and place.
11 sorts of activities that I know nothing about that I 11 BY MR. CARSON:
12 probably wouldn't approve of. If this is accurate,   12     Q. Well --
13 I wouldn't approve of it. If I learned that Lisa     13     A. What illegal conduct have you shown me?
14 Barbounis goes and picks up men at a dinner, takes 14       Q. Is sexual harassment illegal conduct?
15 them back to her hotel room, and has sex with them 15       A. I don't know that what was described in
16 that night, probably wouldn't approve of that        16 that tape recording of unknown providence with
17 either. These are not my concerns. I do not deal     17 unknown people is illegal activity. If it is, I
18 with the personal lives of my staff. I don't know    18 would be concerned, but I didn't know about it, and
19 them in that way. I'm not concerned with their       19 I, at this point, have my doubts about its
20 activities. If they do something that I don't like   20 authenticity.
21 and I know about it, I'll tell them, but I am not    21     Q. Why do you have your doubts about its
22 den mother of the Middle East Forum.                 22 authenticity?
23     Q. But don't you have a legal duty to the        23     A. I told you before. I don't know if this
24 employees who've worked with Gregg Roman?            24 was paid for, if this was an actress. I don't know
                                               Page 78                                                        Page 80
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 1       MR. CAVALIER: Object to form, foundation. 1 if it was done legally in a place where one or both
 2 BY MR. CARSON:                                        2 of the speakers have to get an agreement. I don't
 3    Q. Don't you owe -- strike that. Don't you         3 know any of these things.
 4 have a responsibility, an ethical responsibility, to  4     Q. What would it take to find out, though?
 5 the employees who work with Gregg Roman?              5 You just pick up the phone and call Alana Goodman,
 6       MR. CAVALIER: Same objection.                   6 correct?
 7       THE WITNESS: [Inaudible].                       7     A. I don't know if this was Alana Goodman.
 8 BY MR. CARSON:                                        8     Q. Well, you heard her say that she referred
 9    Q. I'm sorry?                                      9 to herself as Alana in the recording. Like she
10    A. To do what?                                    10 said, Alana, tell him what you should have -- tell
11    Q. To protect them.                               11 him why you should have the story. You heard her
12       MR. CAVALIER: Same objection. Form.            12 say that, right? So we heard her first name.
13       THE WITNESS: [Inaudible].                      13     A. What are you asking me?
14 BY MR. CARSON:                                       14     Q. I'm asking you that to authenticate its --
15    Q. I'm sorry?                                     15 the veracity of the recording. It's just a simple
16    A. Protect whom from who?                         16 phone call from you to Alana Goodman, right?
17    Q. I'll try to make my point. Is there            17        MR. CAVALIER: Object to form, foundation.
18 anyone else who could fire Gregg Roman other than 18        You can answer.
19 you?                                                 19 BY MR. CARSON:
20    A. No.                                            20     Q. It's all right. You can --
21    Q. Is there anyone else who could discipline      21     A. I don't know if that's the case or not. I
22 Gregg Roman other than you?                          22 don't know if she would talk to me. I don't know if
23    A. No.                                            23 she would authenticate it. I don't know.
24    Q. So is there anyone else who's in a             24     Q. And the reason you don't know is because
                                           Everest Court Reporting LLC                                Page: 23 (77 - 80)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 25 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                                Page 81                                                       Page 83
                  ---                                                         ---
 1 you never tried?                                        1     you concocted, yes.
 2         MR. CAVALIER: Object, foundation. He            2 BY MR. CARSON:
 3     never heard the recording before today.             3     Q. What do you mean by "concocted"?
 4 BY MR. CARSON:                                          4     A. Imagined, made up.
 5     Q. You never tried calling Alana Goodman; is        5     Q. You think I used magic to make the
 6 that correct?                                           6 complaint?
 7     A. [Inaudible].                                     7     A. No. You used your imagination.
 8         THE COURT REPORTER: I can't hear you, Mr.       8     Q. Excuse me? We can't hear you.
 9     Pipes.                                              9     A. You used your imagination.
10         THE WITNESS: I have not called Alana           10     Q. You think that I used my imagination to
11     Goodman.                                           11 draft a complaint? That's your testimony?
12 BY MR. CARSON:                                         12     A. I do.
13     Q. Also, you're being recorded. This is a          13     Q. Why?
14 video dep, and I don't know if it's the green screen   14     A. You put things in that are clearly false.
15 effect you have going on, but it's -- we're not        15     Q. Like what?
16 getting a -- we're not getting a good video because    16     A. Like saying that I was the one who asked
17 of it, so we gotta [inaudible]. If you wanna use       17 Gregg to come back. It was my initiative -- my
18 the green screen, I think you gotta sit more so on     18 initiative -- to have Gregg come back in March 2019,
19 the chair. Have you ever read the charge of            19 omitting Lisa Barbounis' initiation on that. She
20 discrimination that Lisa Barbounis filed in this       20 simply disappeared.
21 case?                                                  21     Q. Mr. Pipes, did --
22     A. Yes.                                            22         MR. CAVALIER: He's not done his answer.
23     Q. Have you ever read the complaint Lisa           23 BY MR. CARSON:
24 Barbounis filed in this case?                          24     Q. Were you done? You can keep going if you
                                                Page 82                                                        Page 84
                ---                                                         ---
 1    A. Yes.                                              1 want.
 2    Q. So you do know about the allegations that         2    A. I'm done.
 3 Alana Goodman made, correct?                            3    Q. Yeah, I thought you were done.
 4        MR. CAVALIER: Object to form, foundation.        4        MR. CARSON: Please don't interrupt us
 5        MR. CARSON: Well, they are listed --             5    again, Jon, all right? You can put objections
 6        MR. CAVALIER: That's a                           6    on the record. That's what you're allowed to
 7    mischaracterization of the documents you just        7    do in --
 8    asked him about.                                     8        MR. CAVALIER: You keep interrupting the
 9        MR. CARSON: Well, the allegations are in         9    witness. I'm gonna keep letting him finish his
10    those documents, correct?                           10    answer.
11        MR. CAVALIER: Well, they're allegations         11        MR. CARSON: He just corrected you, Jon.
12    by Lisa Barbounis --                                12    He just said he wasn't interrupted.
13        MR. CARSON: Jon, why are you answering          13        MR. CAVALIER: One time out of 60.
14    for him?                                            14        MR. CARSON: Well, you know, if you're
15        MR. CAVALIER: I'm making an objection --        15    gonna interrupt, you gotta get it right all the
16                 ---                                    16    time.
17        (Indistinguishable cross-talk.)                 17 BY MR. CARSON:
18                 ---                                    18    Q. All right. So, Mr. Pipes, was Lisa in a
19        MR. CARSON: You're answering the                19 position to make a decision to have Gregg Roman
20    question.                                           20 return to the Middle East Forum?
21        THE COURT REPORTER: Guys, we gotta do one       21    A. I said "initiate". You had in that
22    at a time.                                          22 complaint that I initiated -- that I, on my own,
23        MR. CARSON: Don't answer questions.             23 with no role taken by Lisa Barbounis -- I had the
24        THE WITNESS: I read the complaint that          24 idea, implying -- and this is a very crucial point

                                            Everest Court Reporting LLC                                Page: 24 (81 - 84)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 26 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 85                                                       Page 87
                   ---                                                       ---
 1 to these lawsuits -- that I inflicted Gregg on Lisa    1        THE COURT REPORTER: Sir, I cannot hear
 2 and the others when, in fact, it was her idea. She     2     you.
 3 came to me. I held a meeting with all the staff,       3 BY MR. CARSON:
 4 with the administrative staff, and Lisa took the       4     Q. Can't hear what you're saying.
 5 lead and said we want Gregg back. I said good.         5     A. If you want all my objections, we have to
 6 Good idea. And everyone but Marnie was enthusiastic    6 pull out this document and go through it paragraph
 7 about it. Marnie didn't like it -- fair enough --      7 by paragraph, which is something I don't think you
 8 but it was Lisa who did it, and your concocted         8 want to do. So let me say that this was the initial
 9 complaint simply makes her disappear from that. It     9 trigger that told me that this is a false document,
10 has to be my decision. When I saw that, I realized    10 and it talked about something about me, not about
11 that this is a bogus case. I realized this is a       11 Gregg or anyone else. It was about me, and it was
12 case where you brought together five women to bring   12 false, false to the core, on a critical, critical
13 a lawsuit against the Middle East Forum for almost    13 [inaudible]. Therefore, I see this as a bogus
14 $31 million, and I realized that you are the one      14 undertaking that you've initiated.
15 behind it. Fine, okay. That's your work, but it's     15     Q. Are you finished?
16 a concoction. It's a fantasy. It's --                 16     A. I'm finished.
17     Q. Do you have any other reasons why you          17     Q. Okay. Please, if you can remember, and --
18 think it's a concoction besides that?                 18 listen. We can look at the complaint sometime
19     A. Oh, there are plenty more.                     19 today. But, right now, as you stand here today, I'm
20     Q. Well, go ahead. Tell us all the reasons        20 asking if you can think of any other reasons why you
21 why you think this case is a concoction.              21 think this is a concocted complaint besides the one
22     A. Because that was the first one that            22 you already testified to.
23 signaled to me that this is a falsehood.              23     A. I can.
24     Q. Well, what's the second one?                   24        MR. CAVALIER: Object to form. Dan, you
                                               Page 86                                                        Page 88
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 1     A. That's -- I'll stick with that.                1     can answer if you can.
 2     Q. Well, Mr. Pipes, this is your deposition,      2         THE WITNESS: I can, yes.
 3 so if you think that the complaint presents facts     3 BY MR. CARSON:
 4 that you don't agree with, I'd like you to say all    4     Q. You can?
 5 the reasons why you think that the complaint is       5     A. I can.
 6 concocted.                                            6     Q. Okay. So, please, what's -- give us
 7         MR. CAVALIER: Hold on a second. Hold on, 7 another reason.
 8     Daniel. Hold on. I'm gonna object to the          8     A. I believe that one suffices because that's
 9     form, and I'm gonna object to foundation.         9 what told me that this is a bogus undertaking,
10     Unless you revise the question, I'm gonna        10 that --
11     instruct him not to answer. You're asking him    11     Q. I'm gonna give you the opportunity -- I'm
12     to identify all the issues in a 500-paragraph    12 sorry. Are you finished?
13     complaint?                                       13     A. I'm finished.
14 BY MR. CARSON:                                       14     Q. I'm gonna give you the opportunity because
15     Q. I'm asking you to tell me all the reasons     15 if you think this is a concocted complaint, I want
16 why you think the complaint is concocted. So far,    16 you to be able to tell -- say on the record why. So
17 you've given me one. You said because the complaint 17 I'll give you the opportunity. Can you think of any
18 states that it was your decision to bring Ms. Bar -- 18 other reasons right now, other than the reason that
19 to bring Gregg Roman back.                           19 you provided us, why this is a concocted complaint?
20     A. Not that I -- my decision it was, yes, but    20     A. Yes.
21 that I originally -- you whitewashed her out of the  21     Q. So what is it?
22 story is the reason. All my doing when, in fact, it  22     A. I would rather stick with just this one,
23 was her initiative. That's all my -- all my          23 and if we wanna go through the document, we can go
24 problems [inaudible] --                              24 through it, and I'll give you all my complaints.

                                           Everest Court Reporting LLC                                Page: 25 (85 - 88)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 27 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 89                                                       Page 91
                  ---                                                     ---
 1 There are many, but I do not remember them all.       1    which we did, and I had the conclusion that
 2    Q. You can't remember any other ones right         2    with everyone's assent, happiness -- with
 3 now, right?                                           3    exception of Marnie Meyer -- he resumed some of
 4    A. I remember this one specifically as the         4    his duties that were ended in November, five
 5 most important, as the one that most directly         5    months earlier.
 6 involved me.                                          6        THE COURT REPORTER: Seth, are you
 7    Q. So let's talk about that one since it's         7    talking? I'm going off the stenographic
 8 the only one that you're able to testify about right  8    record. I can't hear you at all.
 9 now. Did Lisa Barbounis have the authority to bring   9                ---
10 Gregg Roman back to the Middle East Forum after he   10        (Discussion was held off the record.)
11 was ejected in November of 2018?                     11                ---
12        MR. CAVALIER: I'm gonna object to the         12 BY MR. CARSON:
13    form.                                             13    Q. The question that I asked that I don't
14 BY MR. CARSON:                                       14 think anyone heard is, isn't it true that the
15    Q. I can set it up. Was Gregg Roman ejected       15 decision for some of those restrictions to be
16 from the Middle East Forum in November of 2018? And 16 lifted, that was ultimately your decision, right?
17 by "ejected," I mean physically not allowed to show  17    A. Yes.
18 up at the office anymore.                            18    Q. And so the problem you have with the
19        MR. CAVALIER: Same objection.                 19 complaint is that you don't think it adequately
20        THE WITNESS: Yes.                             20 explained that you made that decision at the
21 BY MR. CARSON:                                       21 suggestion of Lisa Barbounis; is that correct?
22    Q. So after -- were there other conditions of     22        MR. CAVALIER: Object to form. You can
23 Gregg Roman's continued employment with the Middle   23    answer.
24 East Forum in November 2018 other than not being     24        THE WITNESS: I didn't -- I didn't use the
                                              Page 90                                                        Page 92
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 1 able to visit the office anymore?                     1    word -- I wouldn't use the word "adequate". It
 2     A. Yes.                                           2    hid, it disguised, it made disappear the
 3     Q. At some point in time, you lifted those        3    critical fact that Lisa Barbounis, with the
 4 restrictions, correct?                                4    enthusiastic support of Tricia McNulty, wanted
 5     A. Some of them.                                  5    Gregg back in the office. The narrative is
 6     Q. And it's your testimony that you lifted        6    entirely different if they came to me in
 7 those restrictions at the suggestion of Lisa          7    November and I excluded him, and then I
 8 Barbounis, correct?                                   8    unilaterally brought him back in -- partially
 9        MR. CAVALIER: Object to form.                  9    brought him back in March, to their dismay, as
10 BY MR. CARSON:                                       10    your complaint suggests. That's one version,
11     Q. Is that your testimony?                       11    and the other is that they, particularly Lisa
12     A. Yes.                                          12    Barbounis, initiated this, and Tricia McNulty
13     Q. Use whatever word you want -- suggested,      13    enthusiastically agreed to it. It's a very
14 initiated.                                           14    different story. You distorted the history of
15     A. She initiated it. She came to my office       15    what happened, and when I saw that, I realized
16 and said, I think we need Gregg back.                16    that this is a falsehood, that this is a tissue
17     Q. Okay. So --                                   17    of lies.
18     A. [Inaudible].                                  18 BY MR. CARSON:
19        THE COURT REPORTER: Sir, I can't hear         19    Q. Based on that, you decided that none of
20     you.                                             20 these women were ever subjected to any inappropriate
21        THE WITNESS: I said, oh, that's a             21 conduct?
22     surprise. Let's pursue this. Let's have a        22    A. I didn't -- I didn't reach that
23     meeting of all the administrative staff          23 conclusion. I reached the conclusion that this is
24     tomorrow and pursue this and discuss this,       24 an untrustworthy document and that their testimony

                                          Everest Court Reporting LLC                                Page: 26 (89 - 92)
                                   215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 28 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 93                                                       Page 95
                   ---                                                      ---
 1 and your writing it up were dishonest.                 1 and, indeed, the only report I heard about that was
 2    Q. When Mr. Roman was brought back to the           2 from Marnie Meyer in a memo, handwritten memo, she
 3 Middle East Forum, did any of the women still          3 wrote to me on the 1st of November, in which she
 4 require or ask that certain conditions be -- remain    4 said that she thought there was something weird that
 5 in place to -- for the -- period -- that certain       5 happened in Israel and that she asked Lisa,
 6 conditions remain in place?                            6 point-blank, "Did Gregg hit on you" -- quote,
 7        MR. CAVALIER: Object to form.                   7 unquote -- and Lisa -- Marnie reports, quote, "Lisa
 8        THE WITNESS: I don't remember that any          8 said no," unquoted. So the very first report I had,
 9    did. I do remember that I did keep certain          9 I've ever heard, of anything going on denied that
10    conditions in place. The basic problem, as I       10 this was, in fact, a sexual encounter of some sort
11    understood it, is that Gregg had become too        11 in Israel. Then I dealt with it. I dealt with it
12    close to his staff. I have been the head of an     12 quickly and thoroughly, and there were no more
13    organization now for 34 years, and I have          13 complaints until you, Mr. Carson, turned up and came
14    always kept my distance. It did not seem to me     14 up with five [inaudible] to demand $31 million from
15    a good idea to become friends and to have close    15 the Middle East Forum. We were doing just --
16    relations with my staff, so I have kept away.      16     Q. Wait, wait. I don't -- can you hear that,
17    He did not do that. He became friends with         17 because I can't hear him. I heard you say "until
18    them, and that led to all sorts of                 18 you, Mr. Carson," and then he broke up.
19    complications, and all that I did in November      19     A. You found five plaintiffs and demanded
20    of 2018 was say, no more friendship -- not that    20 $31 million -- 30,800,000-some dollars -- and we
21    [inaudible] -- but end this. No more               21 have these lawsuits. But it is clear to me that
22    fraternizing. You are not to do this. And he       22 these are concocted accusations. Lisa is quoted in
23    didn't do it. And, indeed, the point of the        23 November 2018 saying to Marnie -- no -- she is --
24    March meeting was that everyone said they had      24 Marnie quotes her in November saying, back in March
                                               Page 94                                                        Page 96
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 1     no complaints about him since November, no        1 or April, Lisa said no, there was no problem. So I
 2     complaints. Let me make that point. Before        2 am very skeptical about this entire thing. Let me
 3     November 1st, 2018, I never heard any             3 go further and say that Marnie reported to me back
 4     complaints about him, and we had five, six days 4 in November 2018, Lisa said that -- Lisa said that
 5     of intense discussion, and I said he's on         5 Gregg had touched her with his foot on her backside.
 6     probation, and if I hear any complaints and if    6 Marnie said that Gregg -- she couldn't remember, but
 7     I -- I will look at them very closely, and if I   7 Gregg -- her conversation with Gregg ended with her
 8     find that he has done -- he has trespassed,       8 saying to Gregg, "Gregg, I'm not going to sleep with
 9     he's out. I heard nothing, and after March --     9 you". Tricia reported to me that Gregg was too
10 BY MR. CARSON:                                       10 close to her on a couch in a room full of people.
11     Q. Can you just say the time that you're         11 So, yeah, Lisa's is a problem, except that I had it
12 talking about? You heard nothing from when till      12 already from Marnie that she had denied that back
13 when?                                                13 when it happened. Marnie's was clearly not an
14     A. I heard nothing before November 1st. I        14 issue. It was, "I said to him I wasn't gonna sleep
15 heard nothing after November, say, 5th or 6th. I     15 with him". It's hardly a major topic. And Tricia
16 heard nothing after March -- before March 9th, after 16 said that he was too close to her on a crowded
17 March 9th. All the complaints came in the early      17 couch. Laterally, she said that he tried to touch
18 part of November 2018. There were otherwise no       18 her bottom. She didn't tell me that. She changed
19 complaints against him so -- also, it's worth noting 19 her story afterwards. So with all this evidence
20 that, in 2018, I was hearing complaints, in          20 coming from the plaintiffs themselves, I'm very
21 particular from Lisa Barbounis, about the trip to    21 skeptical of this, and I -- and then you brought in
22 Israel that happened, I think, in March or April of  22 two others, Delaney Yonchek and Caitriona Brady,
23 that year, seven or eight months earlier. I had not  23 both of whom had no complaints whatsoever through
24 heard about it at the time. She did not come to me,  24 this entire process until you convinced them that,

                                           Everest Court Reporting LLC                                Page: 27 (93 - 96)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 29 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                                Page 97                                                       Page 99
                   ---                                                       ---
 1 oh, Gregg sexually assaulted them. That's what you      1 million dollars at some point? Not admitted -- I'm
 2 put in the complaint, and then they denied it in        2 sorry -- strike that. So they represented that
 3 their depositions. So this is all manufactured.         3 they'd be willing to settle for a number under a
 4 Mr. Carson, you're good at your work. You can turn      4 million dollars for all of them; did you know that?
 5 nothing into something. You can turn no problems        5     A. Later, they did come down, yes, but the
 6 into a giant problem that convulses the lives of        6 initial figure was enormous, and given the two facts
 7 both the plaintiffs and the defendants.                 7 that this would break all of us financially and was
 8 Congratulations on your excellent work.                 8 based on a tissue of lies, I decided to [inaudible].
 9     Q. Are you sure that Caitriona Brady and            9         THE COURT REPORTER: You decided what?
10 Delaney Yonchek claimed that they were sexually        10         THE WITNESS: To fight it, and that's what
11 assaulted in their complaints?                         11     we are doing.
12     A. It's in there. Yeah.                            12 BY MR. CARSON:
13     Q. I'll represent to you it's not in there.        13     Q. Well, do you know that when the offer to
14 They never made those claims to me, and they never     14 resolve these cases, all of them, for somewhere
15 made those claims in their complaints or their         15 south of a million dollars, that was before any of
16 charges.                                               16 the complaints were filed in the court?
17     A. We can check, but you have --                   17     A. I do not.
18     Q. When you said -- I'm sorry. Go ahead.           18     Q. You didn't know that, okay. So at some
19     A. We can check it. Maybe I have the wording       19 point in time you reached out to Lisa Barbounis and
20 wrong.                                                 20 asked her to meet you at 30th Street Station; is
21     Q. When you say $31,000 -- I'm sorry -- when       21 that correct?
22 you say $31 million, I think you might be referring    22     A. Yes.
23 to something called a 26(f) report. Do you know        23     Q. And when you were there, you told Lisa
24 what that is?                                          24 Barbounis that you two have the same problem. Do
                                                Page 98                                                       Page 100
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 1     A. I do not.                                        1 you remember that?
 2     Q. So I don't want you to tell me anything          2     A. What are you referring to?
 3 your attorneys told you, but have you ever seen a       3     Q. You said to Lisa that you and Lisa have
 4 document from the plaintiff where they -- where         4 the same problem. Do you remember that?
 5 anyone -- where anyone asks for $31 million?            5         MR. CAVALIER: Form.
 6     A. I saw additions of nine, nine, nine,             6         THE WITNESS: No.
 7 three-something -- millions, these all are -- and       7 BY MR. CARSON:
 8 some other amount, and it came out to 30 million,       8     Q. I was just wondering if, by that
 9 eight-hundred-some thousand -- 33,000.                  9 "problem," you were referring to me since you just
10     Q. There's a document that a plaintiff has to      10 testified that I'm the reason why these cases are --
11 fill out and a defendant has to fill out in a case     11 were brought.
12 called a 26(f) report, which is a -- it's -- it's in   12     A. Yeah. Now that you explain, yes, I do
13 the Federal Rules of Civil Procedure under like        13 believe you are a mutual problem. Yes.
14 self-reporting disclosures. Do you know anything       14     Q. Okay. That's a new one.
15 about that?                                            15     A. You have [inaudible] --
16     A. I do not. I was given this figure from          16                  ---
17 legal source, and I'm just using it. I have the        17         (Indistinguishable cross-talk.)
18 numbers that add up to 31, but I don't -- I don't      18                  ---
19 know the details.                                      19         THE WITNESS: You have made our lives
20     Q. So did you know that all the plaintiffs,        20     difficult.
21 all together, represented that they would be willing   21 BY MR. CARSON:
22 to resolve these matters for a number between a        22     Q. Okay.
23 hundred thousand and a million? So they admitted       23     A. She told me, said, "My life is a wreck.
24 that, all together, the cases aren't even worth a      24 My future is in question". She didn't name you, but

                                            Everest Court Reporting LLC                              Page: 28 (97 - 100)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 30 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 101                                                      Page 103
                    ---                                                     ---
 1 the implication was very clear. Had these --           1         MR. CAVALIER: Object to form. You can
 2                  ---                                   2     answer.
 3        (Indistinguishable cross-talk.)                 3         THE WITNESS: I believe it was
 4                  ---                                   4     November 1st. After receiving the memo from
 5 BY MR. CARSON:                                         5     Marnie, I asked everyone to be in the office,
 6     Q. -- conversation with you about it, but          6     and I interviewed everyone one-on-one.
 7 we're not permitted to do that. Can we take a          7 BY MR. CARSON:
 8 five-minute bathroom break, just a little -- I'm       8     Q. So do you remember when you received that
 9 sorry. Finish. Go ahead.                               9 memo from Marnie?
10     A. She said to me that her life is disrupted      10     A. November 1st, 2018. Morning.
11 and her future is in question because of these        11     Q. And how did you receive that memo?
12 lawsuits, and I ascribe these lawsuits to you.        12     A. Email.
13     Q. Okay. I think that -- isn't another way        13     Q. And by the memo, I think you're referring
14 to look at it is that it's because of the -- you      14 to -- like it was a few pages, a handwritten
15 know, the unlawful conduct that they were subjected   15 statement by Marnie Meyer?
16 to that caused them to bring the lawsuits?            16     A. That's right.
17        MR. CAVALIER: Is that a question?              17     Q. And, based on that email, you interviewed
18        MR. CARSON: Yeah. You don't have to            18 who?
19     answer that. Do you guys mind if we do like a     19     A. Everyone in the office.
20     five-minute bathroom break?                       20     Q. So that -- that would include --
21        MR. CAVALIER: I'd rather do ten.               21 interviewed -- you interviewed Marnie Meyer?
22        MR. CARSON: That's fine, Jon.                  22     A. Yes.
23        MR. CAVALIER: All right, great. Thanks,        23     Q. And did you interview Patricia McNulty?
24     Seth. So 12:10, back on?                          24     A. Yes.
                                              Page 102                                                       Page 104
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 1        MR. CARSON: Okay. Thank you, guys. I            1     Q. And Lisa Barbounis?
 2    just -- I have a little emergency I gotta go        2     A. Yes.
 3    take care of.                                       3     Q. Did you interview Matthew Bennett?
 4        THE VIDEOGRAPHER: We are now off the            4     A. Yes.
 5    record.                                             5     Q. And did you interview Caitriona Brady?
 6                 ---                                    6     A. Yes.
 7        (Whereupon there was a recess in the            7     Q. Delaney Yonchek?
 8    proceeding from 11:58 a.m. to 12:15 p.m.)           8     A. Yes.
 9                 ---                                    9     Q. Did you interview Thelma Prosser?
10        THE VIDEOGRAPHER: The time is 12:15            10     A. Yes.
11    Eastern Time, and we are now on the record.        11     Q. And did you -- can you think of anyone
12        THE COURT REPORTER: Seth, you're muted,        12 else that you interviewed?
13    by the way.                                        13     A. Gregg, Stacey [phonetic].
14 BY MR. CARSON:                                        14     Q. Anybody else?
15    Q. Okay. So let's try to get back to some of       15     A. Gary, maybe. I'm not sure. Gary Gambill.
16 that testimony that we just went over. So you spoke   16     Q. Gary?
17 about hearing everything in or around the beginning   17     A. Gambill.
18 of November 2018. Do you remember that? And by        18     Q. Gambill.
19 "everything," I mean the allegations that are the     19     A. Maybe.
20 subject matter in this case.                          20     Q. So that's ten people. Other than those
21    A. Yes.                                            21 ten people, is there anyone else that you can think
22    Q. And can you pin down exactly what the date      22 of that you interviewed? It's okay -- if you leave
23 is when you first heard the allegations of Lisa       23 someone out, it's not the end of the world.
24 Barbounis?                                            24     A. No.
                                           Everest Court Reporting LLC                             Page: 29 (101 - 104)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 31 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 105                                                      Page 107
                  ---                                                  ---
 1    Q. The interview with -- who did you           1     Q. Did she describe any other sexually
 2 interview first; do you remember?                 2 inappropriate conduct?
 3    A. No.                                         3     A. No.
 4    Q. Do you remember -- these interviews, did    4         MR. CAVALIER: I'm gonna object to form on
 5 they take place over the phone, in person?        5     the last question.
 6    A. In person, one-on-one in their offices.     6 BY MR. CARSON:
 7    Q. You visited each of their offices?          7     Q. Did she say that Gregg Roman brushed
 8    A. I did.                                      8 against her in the office?
 9    Q. And tell me, please, what Lisa Barbounis    9     A. No.
10 reported.                                        10     Q. Did she say that Gregg Roman showed her
11        MR. CAVALIER: Object to form. You can     11 inappropriate photos?
12    answer.                                       12     A. No.
13 BY MR. CARSON:                                   13     Q. Did she say whether Gregg Roman forced her
14    Q. What did she say?                          14 to sit inappropriately close to him, other than the
15    A. She gave me a exposition of her complaints 15 couch incident?
16 about Gregg as a manager, as her supervisor.     16     A. She did complain that he wanted her by his
17    Q. And what precisely did she say about Gregg 17 side. I don't know if it was inappropriate, but she
18 as a supervisor?                                 18 was being called into his office -- the witness is
19    A. Too demanding, too inquisitive, watching   19 doing something to be there -- and she thought it
20 everybody, manipulative.                         20 was a waste of time. She didn't like it. She
21    Q. I didn't hear the last one.                21 thought he was wasting her time.
22    A. Manipulative.                              22     Q. Regarding the other complaints regarding
23    Q. Anything else?                             23 Gregg Roman being manipulative or -- did you ever
24    A. I can't remember exactly if it was she,    24 hear complaints about Gregg Roman like that before?
                                             Page 106                                                       Page 108
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 1 but make-work that wasn't serious. Range of issues. 1      A. Before November 1st, I heard no complaints
 2    Q. Did she talk about any inappropriate           2 at all about Gregg from anyone.
 3 conduct in terms of, you know, sexual harassment?    3     Q. How about from Tiffany Lee?
 4    A. Yes.                                           4     A. [Inaudible].
 5    Q. What did she say about that?                   5          THE COURT REPORTER: I can't hear you,
 6    A. She told me about the trip to Israel, and      6     sir.
 7 she showed me her screenshots of her text to her     7          THE WITNESS: From anyone. She complained
 8 husband, and I don't know who else, and she          8     after she left. Active employees, I never
 9 [inaudible].                                         9     heard from anyone.
10        THE COURT REPORTER: I didn't hear that       10 BY   MR. CARSON:
11    last part.                                       11     Q. Why do you make a distinction between
12        THE WITNESS: She told me what happened 12 reports of active employees verse current employees?
13    there.                                           13          MR. CAVALIER: Object to form.
14 BY MR. CARSON:                                      14          THE WITNESS: After Tiffany Lee was
15    Q. What did she say happened?                    15     terminated, she then went to Derek Smith Law
16    A. She said that they had a Airbnb together      16     Group and found a lawyer who would concoct --
17 and that, late one evening, he had stretched out on 17     Caroline Miller's the name, I believe -- who
18 the couch and said something to the effect of, now  18     would concoct a claim against the Forum based
19 we are close, and now I can put my feet on your --  19     on inaccurate use of text. We exposed them,
20 against your body.                                  20     and Tiffany Lee disappeared, but she had no
21    Q. Did she say where on her body that he         21     complaints whatsoever while she was an active
22 put -- where he put his feet?                       22     employee.
23    A. On her back and on her -- on her bottom       23 BY MR. CARSON:
24 and back.                                           24     Q. I didn't hear the last part of that.
                                          Everest Court Reporting LLC                             Page: 30 (105 - 108)
                                   215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 32 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 109                                                       Page 111
                   ---                                                      ---
 1     A. She had no complaints about anybody, about       1 so [inaudible].
 2 Gregg, while she was an active employee.                2    Q. Why -- what was Lara's position?
 3     Q. Did you consider that -- did you consider        3    A. Lara was assistant to Gregg.
 4 Tiffany Lee's charge of discrimination in any way       4    Q. An assistant to who?
 5 when you heard about these allegations from Patricia    5    A. Gregg.
 6 McNulty and Lisa Barbounis and Marnie Meyer?            6    Q. And what's Lara's last name?
 7     A. No. I thought about the Derek Smith Law          7    A. I don't remember.
 8 Firm -- Law Group --                                    8    Q. What about Laura? Laura's last name is
 9     Q. Why is that?                                     9 Frank?
10     A. -- to those two cases and a third case          10    A. Could be, yeah.
11 also concocted complaints against us. I don't know     11    Q. Laura Frank, what was her job?
12 what it is about Derek Smith Law Group, why you have   12    A. Director of development, I believe.
13 it in for the Middle East Forum, but anybody who's     13    Q. Did Lara and Laura talk to each other
14 unhappy about anything or has any aspirations to       14 during work using any electronic messaging apps that
15 anything turns to the Derek Smith Law Group --         15 you know of?
16 Caroline Miller, Ken Lobitz [phonetic], Seth Carson,   16        MR. CAVALIER: Object to form.
17 Erica Shikunov. Everybody wants to get at us with      17        THE COURT REPORTER: I didn't get the
18 the Derek Smith Law Firm. You tell me why.             18    answer.
19     Q. If -- well, I didn't work here when             19        THE WITNESS: That's all they did is
20 Tiffany Lee filed a charge, so I don't have any        20    message each other on Slack, which we have.
21 knowledge related to that, but I guess my question     21    Endless, endless discussions hating Gregg,
22 is, other than Tiffany Lee and the plaintiffs in       22    hating me. Nasty, snarky, endless, endless,
23 this case, is there another allegation or charge       23    endless.
24 that was filed against the Middle East Forum?          24 BY MR. CARSON:
                                              Page 110                                                        Page 112
                  ---                                                     ---
 1    A. Not filed, but I believe a letter was sent     1    Q. And you still have those messages, right?
 2 from Smith Law Group about Lara [phonetic] and       2    A. I'm not sure.
 3 Laura, who were also terminated because they were    3    Q. Well, you just said "which we have".
 4 poor employees. When they started talking about the  4    A. Which we -- which I read at the time.
 5 case against us, we showed them what we knew about   5 Presumably, it's somewhere.
 6 them, and they dropped it. But that's four           6        MR. CARSON: I'm gonna ask that you guys
 7 different instances of turning to lawyers who        7    turn those messages over in response to our
 8 presently or had been at the Derek Smith Law Group.  8    discovery requests.
 9    Q. What were the -- what were the complaints      9        MR. CAVALIER: If we have them in our
10 that Lara and Laura made?                           10    possession, custody, or control and there's a
11    A. You're interrupting me. I guess the Derek     11    responsive request, we will do so.
12 Smith Law Group doesn't like what we do.            12        MR. CARSON: I mean, we definitely
13    Q. I don't think anyone here knows what you      13    requested them in our request for production of
14 guys do, but what were the complaints that Lara and 14    documents. So there's Slack messages which --
15 Laura made?                                         15    just testifying to having.
16    A. I don't remember. They were minor, and I      16        THE WITNESS: No. I testified that I read
17 don't know if I ever saw them. They're not on my    17    them at the time.
18 hard drive. I don't know what they were.            18 BY MR. CARSON:
19    Q. Was it related to sexual harassment?          19    Q. A minute ago, you said "which we have,"
20    A. I don't know.                                 20 so --
21    Q. Just the allegations. I'm not saying --       21    A. I'm correcting it and saying I read it at
22 I'm not giving any credence to them.                22 the time, which is middle of 2017 --
23    A. I don't know. Just remember they started      23    Q. Right.
24 making noises, and then they wanted money from us, 24     A. -- years ago. I don't know if I have them
                                           Everest Court Reporting LLC                              Page: 31 (109 - 112)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 33 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 113                                                      Page 115
                  ---                                                     ---
 1 now. [Inaudible] --                                  1    A. -- heard from me on this, both in person.
 2       MR. CAVALIER: If we have responsive            2 At the time, I remember, he was sitting in my
 3    documents that are responsive and not             3 office, and he said, "Matt, get over here," and I
 4    privileged to the request you issued we will      4 said, "You can't treat him like that." Other times,
 5    produce them.                                     5 there are two written documents -- I mean, there are
 6       MR. CARSON: We'll deal with that.              6 other times I said it in person, but the two
 7 BY MR. CARSON:                                       7 documents, we have emails from me to Gregg
 8    Q. So what did these messages say about Gregg     8 lacerating him, being too tough, too bossy. I
 9 Roman?                                               9 called him a drill sergeant. You don't behave like
10    A. Just they were nasty.                         10 this. You get the best out of people by working
11    Q. They were nasty?                              11 with them and not bossing them [inaudible]. I was
12    A. Nasty.                                        12 the one who complained. Matt never said a word
13    Q. Why were they nasty?                          13 [inaudible] --
14    A. Have to ask them.                             14        THE COURT REPORTER: It's really hard to
15    Q. Why did you think they were nasty?            15    hear you, Mr. Pipes. Please speak up.
16    A. I have no idea. I didn't know them. I         16        THE WITNESS: -- anyone else. I, on my
17 found their vituperation against him and myself and 17    own, complained that he was too bossy. I
18 maybe others to be surprising, but there it was.    18    complained to him. He heard it through me.
19    Q. How many people other than the -- other       19 BY MR. CARSON:
20 than Tiffany Lee and Lara and Laura and Delaney and 20    Q. So Matt didn't complain; Gregg -- you
21 Caitriona and Marnie and Patricia McNulty and Lisa  21 complained?
22 Barbounis have complained about Gregg Roman?        22    A. I complained, and I complained number of
23    A. Nobody.                                       23 times, and I kept on complaining. He's a brilliant
24    Q. No one else?                                  24 administrator. He knows the subject, but he was too
                                              Page 114                                                       Page 116
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 1    A. Not to me. Not to my knowledge.                  1 tough, too bossy. I didn't like it, didn't think
 2    Q. No one else complained that Gregg Roman          2 it's the way one should treat one's colleagues. So
 3 disparages other employees?                            3 that was my complaint. My complaint. Nobody came
 4    A. I am president. I am not omniscient              4 to me. I, on my own, from what I witnessed,
 5 voyeur of what everyone is doing and saying.           5 particularly vis-à-vis Matt, was displeased with his
 6    Q. Well --                                          6 bossiness. So I understood when they said he's too
 7    A. -- not to me.                                    7 bossy. I said, yeah, I understand. I saw -- I
 8    Q. I'm not suggesting that omniscience is           8 didn't see it with the others, but I saw it with
 9 required. I'm asking if you ever heard any other       9 Matt.
10 employee of the Middle East Forum make complaints     10     Q. You ever seen Gregg take his penis out in
11 about the way Gregg Roman behaved in his -- in his    11 front of a female employee?
12 role as director of the Middle East Forum.            12         MR. CAVALIER: Object to form.
13    A. Yes. And two years ago Matt complained as       13 BY MR. CARSON:
14 well, Matt Bennett.                                   14     Q. Yes or no?
15    Q. Matt Bennett made complaints, too?              15     A. No.
16    A. Yeah.                                           16     Q. You ever seen Gregg rub his body against a
17    Q. What were Matt Bennett's complaints?            17 female employee?
18    A. Again, Gregg was too tough. He was              18     A. No. I never saw any kind of harassment of
19 bossing them around. And I might add that the only    19 any sort.
20 bossiness I saw on Gregg's part was vis-à-vis Matt,   20     Q. Did Gregg ever -- strike that. Did you
21 not the plaintiffs.                                   21 ever -- did you know that one of the complaints that
22    Q. Did anyone else besides Matt Bennett --         22 the women were making is that they weren't allowed
23    A. Don't interrupt me. And he --                   23 to come to you directly, that Gregg had a policy
24    Q. Okay.                                           24 whereby people weren't allowed to talk to you or

                                           Everest Court Reporting LLC                             Page: 32 (113 - 116)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 34 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 117                                                      Page 119
                   ---                                                     ---
 1 report things to you? Did you know that?              1     have any problems.
 2    A. I know it's in the complaint, to which my       2 BY MR. CARSON:
 3 response is, I told every new employee two things:    3     Q. Are you listed in that -- in that employee
 4 The number one rule is no surprises. If something's   4 manual for -- as part of the reporting process?
 5 going wrong, come to me early, not when it's a        5     A. As the president, not by name, yes. There
 6 full-bloomed crisis. Number two, my door is open,     6 was also a process by which employees unhappy about
 7 both literally and figuratively. Come to me if you    7 something would turn to the director of human
 8 have any problems. So it is very hard for me to       8 resources, being Marnie Meyer, and I believe, in
 9 believe that they were concerned about coming to me   9 some cases, people did do that, but I don't know
10 with their problems since I had specifically invited 10 details, but they did do that.
11 them to come to me with their problems.              11     Q. Other than Matt Bennett, Lisa Barbounis,
12    Q. But they told you that, too, right, that       12 Caitriona Brady, Delaney Yonchek, Laura Frank,
13 they -- that Gregg maintained this policy which      13 Lara -- we'll say Lara, last name unknown, since I
14 blocked them from coming to you or which was -- they 14 don't know it off the top of my head -- Patricia
15 believed blocked them from coming to you?            15 McNulty, did anyone else -- did any other employees
16    A. They did tell me that, yes.                    16 complain to you about the way Gregg Roman behaved?
17    Q. Does the Middle East Forum maintain a          17     A. No. I -- in November 2018, there was this
18 policy to prevent discrimination and harassment in   18 crisis in the office, and I then approached the
19 the workplace?                                       19 out-of-office staff and asked them if they had
20    A. Yes, and we've held workshops for              20 problems with Gregg. I think I approached all the
21 refreshers on those subjects.                        21 project directors at the time, and all said things
22    Q. When's the last time you've held one of        22 were fine. One said few things I don't like, but
23 these workshops?                                     23 nothing particularly deep. So they gave him a clean
24    A. I think it was in 2018.                        24 bill of health, so he was an office issue, not a
                                              Page 118                                                       Page 120
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 1     Q. In 2018?                                        1 Forum-wide issue. Outside the office did not
 2     A. Yes.                                            2 have --
 3     Q. Was that in response to the reports that        3    Q. They all gave him a clean bill of health?
 4 are the subject matter of this case?                   4    A. Yeah. Well, except for one who had a few
 5     A. No. It was ahead of it, sometime in the         5 issues, yes.
 6 early part of the year.                                6    Q. What was the one's complaints?
 7     Q. The policy that Middle East Forum               7    A. Something on the lines of piling on too
 8 maintains to prevent discrimination and harassment     8 much -- two different projects. Before one ended,
 9 in the workplace, is that a written policy?            9 the next one started.
10     A. Yes. It's in the personnel manual.             10    Q. I'm sorry. I didn't hear you.
11     Q. It's in the personnel manual?                  11    A. Something on the lines of, before one
12     A. Yes.                                           12 project was finished, the next one was started.
13     Q. Where does it say that employees should        13    Q. Other than that one complaint, was there
14 complain about discrimination and harassment or       14 any other complaints?
15 report discrimination and harassment?                 15    A. No.
16     A. [Inaudible].                                   16    Q. The project directors -- strike that.
17        THE COURT REPORTER: I cannot hear you,         17 Just a moment, please. I'm just finding a document.
18     Mr. Pipes.                                        18 Just a minute, please, while I pull this up. Sorry.
19        THE WITNESS: I don't have the personal         19 Just an indulgence for a second. Okay. All right.
20     [inaudible] cite to you paragraph, but I know     20 So do you see this document right here, which is --
21     that it's part of my policy, it's fairly          21 wait. I gotta keep a list of exhibits. So Exhibit
22     extensive in there, and I also know that I told   22 No. 1 was -- Exhibit 1 we'll call Pipes-1, I guess,
23     every employee as the employee started there      23 and Pipes-1 was the --
24     would be no surprises, and come to me if you      24        THE VIDEOGRAPHER: It was the Middle
                                           Everest Court Reporting LLC                             Page: 33 (117 - 120)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 35 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 121                                                      Page 123
                 ---                                                     ---
 1    East --                                            1   A. It does, yeah.
 2                   ---                               2     Q. -- project director said about Gregg?
 3       (Indistinguishable cross-talk.)               3     A. Yep.
 4                   ---                               4     Q. They did not give him a clean bill of
 5       MR. CARSON: Yeah. And so Pipes-2 will be      5 health, correct?
 6    MEF Docs, and we'll say 975, 976, 977, and 978.  6     A. Well, I mean, they all had something to
 7    So MEF Docs --                                   7 say, but I asked the project directors about their
 8       THE VIDEOGRAPHER: And then, Counsel,          8 willingness to work with you. Five out of the six
 9    would you like to mark for exhibit the           9 were happy to do so. So that's what I mean by clean
10    screenshot of the website or the recording you  10 bill of health. Were they happy about everything?
11    played?                                         11 No, but they were happy to work with him, and that's
12       MR. CARSON: Oh, yeah. So, yeah, let's        12 a clean bill of health. One had his doubts.
13    just -- it'll be out of order, but Pipes --     13     Q. One had his doubts?
14    Pipes-3 will just be the --                     14     A. Wasn't so happy about working with him,
15       THE VIDEOGRAPHER: The screenshots, sir?      15 but --
16       MR. CARSON: Pipes-3 will be the              16     Q. Who was the one who didn't wanna work with
17    screenshot of the website.                      17 him?
18       THE VIDEOGRAPHER: All right. And Pipes-4 18         A. I don't remember.
19    will be the recording concerning Gregg?         19     Q. Well, who are the project directors? What
20       MR. CARSON: Pipes-4 is the recording.        20 are their names?
21       THE VIDEOGRAPHER: Okay. And then,            21        MR. CAVALIER: Object to form.
22    Counsel, just going forward, would you like me  22        THE WITNESS: Back then, I'm not sure. I
23    to maintain the order of exhibition in the      23     have to check.
24    labeling?                                       24 BY MR. CARSON:
                                              Page 122                                                       Page 124
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 1        MR. CARSON: Sure.                             1    Q. That's what we're talking about here.
 2        THE VIDEOGRAPHER: -- do it like that.         2 These are the project directors, correct?
 3        MR. CARSON: All right. Thank you. So          3    A. Right, but this is over two years ago, and
 4    Pipes-2 is MEF Docs 975 to 978.                   4 I have to go check who was doing what when. And --
 5        THE VIDEOGRAPHER: Gotcha.                     5    Q. Go ahead. You wanna add something?
 6 BY MR. CARSON:                                       6    A. No.
 7    Q. So, Mr. Pipes, this is an email that, it       7    Q. So, just pointing out a couple things, you
 8 looks like, was sent by you to Gregg Roman on        8 say here that four of them made critical comments,
 9 November 8, 2018 at 9:02 a.m. Do you see that right 9 right?
10 here?                                               10    A. Yep.
11    A. Mm-hmm.                                       11    Q. And you sent this email to Gregg to make
12    Q. Okay.                                         12 him aware of these comments; is that right?
13    A. Yes.                                          13    A. And to select in-office staff, yes.
14    Q. So just take a minute and you can read it,    14    Q. So why didn't you -- it says, "I listed
15 and I'll ask you questions about it when you're     15 the harsh criticisms of you from in-office staff but
16 done.                                               16 have not collected these in a systematic way." Why
17    A. Okay. Okay. Okay.                             17 didn't you collect them in a systematic way?
18    Q. Sorry. You guys are on my screen. I was       18    A. Finish the sentence.
19 gonna check my email.                               19    Q. I see what it says. Says, "Because you
20    A. Okay.                                         20 will not be working with them going forward," but
21    Q. So...                                         21 why does that matter?
22    A. Okay. Okay. Okay. Read it.                    22    A. He knew what they had to say. I didn't
23    Q. Does that give you a better recollection      23 have to memorialize it because they weren't gonna be
24 of what the --                                      24 working together.

                                           Everest Court Reporting LLC                             Page: 34 (121 - 124)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 36 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 125                                                      Page 127
                   ---                                                    ---
 1    Q. So nowhere are your conversations with          1    Q. Well, don't you think it's important to
 2 the -- you know, ten people that we listed earlier    2 document it, like to keep a record of who's saying
 3 that you spoke to in the beginning of November 2018,  3 what? I understand why you might not have wanted
 4 nowhere are those conversations memorialized the way 4 Gregg to read it, but why wouldn't you keep records
 5 these conversations are, right?                       5 like that?
 6        MR. CAVALIER: Object to form, foundation.      6    A. Because go to the top, and you'll see that
 7    You can answer.                                    7 I gave them assurance of confidentiality.
 8        THE WITNESS: I took notes, but because         8    Q. Sorry?
 9    everything was solved to apparently everyone's     9    A. This information was sent to me on
10    satisfaction, I did not -- I'm not sure if I      10 assurances of confidentiality.
11    still have those notes. It didn't seem            11    Q. You thought -- you would -- what about
12    important. We had --                              12 with yourself? Wouldn't you want those records for
13 BY MR. CARSON:                                       13 yourself?
14    Q. What did you do --                             14    A. I offered confidentiality. I maintain
15    A. We dealt with the issue, and maybe I have      15 that confidentiality in this note, which went not
16 them somewhere; maybe I don't. I don't know.         16 only to Gregg, but also to select in-office staff.
17    Q. I asked on the record that the notes from      17 So it went to several people, and I thought it best
18 those meetings -- search your records, and if you    18 not to provide specific names, and there is no name
19 have them, that you turn those over in response to   19 in here other than Gregg's.
20 our first set of -- first request for production of  20    Q. So this person is saying something more
21 documents. Meetings. How did you keep those notes, 21 calculated and toxic --
22 you handwrote them during the meetings?              22    A. Yes.
23    A. Handwrote them during the meetings, yeah.      23    Q. -- first blank -- sorry. Did you --
24    Q. Again, please check your records and turn      24    A. Well, this is the accusation that he was
                                               Page 126                                                       Page 128
                   ---                                                       ---
 1 them over if you can find them. So one person said      1 manipulative, yes. This is what I heard from
 2 that he -- "I have often had to listen -- both on       2 in-office and heard it from outside of the office,
 3 the phone and in person -- as Gregg expressed           3 too, yes.
 4 unpleasant views toward other members of staff. He      4    Q. Well, he names two people that are the
 5 often denounces or spoken ill of other project          5 most frequent targets of Gregg, right?
 6 directors or office staff before pointedly asking me    6    A. He or she does, yes.
 7 what I thought of them. I could only speak in their     7    Q. So don't you think it's important what
 8 defense or offer a noncommittal response. This does     8 those names are if they're relevant to this case?
 9 not seem to have been ordinary office politics, but     9        MR. CAVALIER: Object to form, foundation.
10 something more calculated and toxic. First XX, and     10        THE WITNESS: I assured them of
11 then XX" -- what's the XX there and the XX? Why        11    confidentiality.
12 does it say XX?                                        12 BY MR. CARSON:
13    A. Names of individuals.                            13    Q. But your word that you'll keep it
14    Q. You didn't want Gregg to know who was            14 confidential isn't a reason not to disclose that in
15 making the statements; is that right?                  15 this case. You understand that, right?
16    A. No. The whole thing is anonymous.                16    A. I don't know. This is two years ago. I
17    Q. Well, whose names were there before you          17 have no idea who these people are.
18 X'd them out?                                          18    Q. You just forget?
19    A. I have no idea.                                  19    A. Yes. I mean, I move on. I deal with the
20    Q. Well, how do we figure that out?                 20 Middle East. I don't spend my time thinking about
21    A. I don't know.                                    21 office -- the office.
22    Q. Well, do you have any notes anywhere that        22    Q. You don't --
23 we could look to?                                      23    A. I dealt with it -- let me finish -- I
24    A. I don't know.                                    24 dealt with it. I dealt with it satisfactorily.

                                            Everest Court Reporting LLC                             Page: 35 (125 - 128)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 37 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 129                                                      Page 131
                  ---                                                        ---
 1 Everyone in the office literally signed on who was      1    he has no second chance.
 2 concerned. All three of the complainants signed on,     2 BY MR. CARSON:
 3 like written documents saying they're fine with it.     3    Q. But they did let you know, and you didn't
 4 They weren't happy about every aspect, but they were    4 do anything about it, right?
 5 fine with it. Gregg was fine with it. We moved on.      5       MR. CAVALIER: Object to form, foundation.
 6 I did not think about these things after that. I        6       THE WITNESS: They did not let me know.
 7 have not thought about them for two years. We           7    They let me know in early November about things
 8 solved the problem. I --                                8    that had happened months and months earlier.
 9     Q. Did any of them complain after they gave         9    Prior to November there were no complaints
10 you that agreement?                                    10    about anything of a sexual nature or anything
11     A. I told you not a single complaint before        11    else, for that matter, that I can recall. I
12 November 1st or after November 6th, 7th, or so. Not    12    mean, not everybody finds him wonderful in
13 a single one.                                          13    every way, but I do not recall any serious
14     Q. You're sure of that?                            14    complaints about Gregg before or after that
15     A. Well, I don't remember any. I can't tell        15    week in the middle of -- at the beginning of
16 you for sure. I might've forgotten something, but I    16    November 2018.
17 don't remember any complaints, certainly nothing of    17 BY MR. CARSON:
18 a sexual nature, nothing that would cause me to fire   18    Q. No complaints about retaliation?
19 Gregg, which I said I would do if there was anything   19    A. No complaints about retaliation.
20 of a sexual nature.                                    20    Q. No complaints, period, actually?
21     Q. What about retaliation? Would you fire          21    A. No complaints, period, yes. That's
22 Gregg if he retaliated against the employees who       22 correct. If there were some and I forgot, then
23 reported him?                                          23 remind me, but I remember nothing. I remember a
24        MR. CAVALIER: Object to form.                   24 clean bill, and I remember Tricia, in particular,
                                               Page 130                                                       Page 132
                   ---                                                     ---
 1         THE WITNESS: He had no opportunity to         1 saying at the March meeting he's been great. I have
 2    retaliate.                                         2 no complaints. She said it explicitly. I have no
 3 BY MR. CARSON:                                        3 complaints.
 4    Q. We can't -- did you hear that, because I        4    Q. Tricia definitely didn't make any
 5 didn't.                                               5 complaints to you?
 6    A. There was no opportunity for him to             6    A. Definitely.
 7 retaliate. He was out of their lives. Between         7    Q. In fact, she said the opposite. She said
 8 November and March, he had almost no contact with     8 everything's great?
 9 them. Only after March did he do so.                  9    A. She said I have no problems with Gregg
10    Q. Well, he was still the director of the         10 since November, the last five months.
11 Middle East Forum that whole time, right?            11    Q. And if she was complaining to you, you
12    A. He had the same title but very different       12 would've fired Gregg?
13 job responsibilities. I'm sure you have the email I  13    A. If I had a complaint, particularly of a
14 sent to him describing his new responsibilities, and 14 sexual -- not any complaint would get him fired --
15 you'll see that he had no -- essentially,            15 but a complaint of a sexual nature, then, yes, I
16 effectively, no contact, just some emails once in a  16 would've fired him immediately.
17 while. I took him out of their lives, and they were  17    Q. Well, what happened with Alana Goodman,
18 content.                                             18 that's of a sexual nature, right?
19    Q. They were content unless they were             19        MR. CAVALIER: Object to form, foundation.
20 complaining about it the whole time to you, right?   20        THE WITNESS: If it happened. I don't
21         MR. CAVALIER: Objection.                     21    know when it happened. I was not aware of it.
22         THE WITNESS: I specifically said at the      22    There was not a complaint, so it was not part
23    meeting and in other context if you have any      23    of my decision making.
24    problems with Gregg, let me know. I told them     24 BY MR. CARSON:
                                            Everest Court Reporting LLC                             Page: 36 (129 - 132)
                                     215-341-3616 transcripts@everestdepo.com
              Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 38 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 133                                                      Page 135
                   ---                                                   ---
 1    Q. Well, now you're aware of it today. Are       1    A. No idea. You have to ask them.
 2 you gonna fire Gregg?                               2    Q. Well, they told you that, didn't they?
 3    A. I am not gonna engage in hypotheticals.       3    A. I have no memory of that.
 4    Q. Well, are you gonna call Alana Goodman        4    Q. Can you understand why it might've been
 5 after this and talk to her about the recording you  5 hard for some of them to come to you?
 6 heard today?                                        6    A. Not at all.
 7    A. I am not going to take your bait.             7    Q. You don't understand that?
 8    Q. Are you gonna investigate it?                 8    A. No. I said come to me if you have any
 9    A. I am not going to take your bait.             9 problems. Don't hit me with surprises. Let me know
10    Q. It's not bait. It's a question, and you      10 when there's a problem brewing. If something had
11 have to answer it. Are you gonna investigate the   11 happened in Israel in early 2018, it was incumbent
12 recording you just heard today?                    12 upon Lisa to come to me and tell me about it, and
13        MR. CAVALIER: Object to form, foundation. 13 she didn't do so.
14        THE WITNESS: I am not the Middle East       14    Q. Would you characterize yourself as having
15    Forum den mother. I am not looking into         15 a welcoming personality?
16    people's private lives, and if I did, I would   16    A. I am not going to take your bait,
17    have no time for the Middle East, which is what 17 Mr. Carson.
18    I work on.                                      18    Q. I'm just -- I mean, the allegations in
19 BY MR. CARSON:                                     19 this case are very personal to these women, right?
20    Q. You would have what?                         20    A. Yes, and they came to me November. They
21    A. No time for the Middle East, which is what   21 could've come to me in -- in a timely manner. They
22 I work on.                                         22 didn't, in particular the AIPAC and the Israel
23    Q. You don't have time to investigate this      23 events. I don't remember when the Marnie
24 stuff because you're not their den mother; is that 24 conversation was, how much earlier, but these were
                                              Page 134                                                       Page 136
                  ---                                                    ---
 1   right?                                              in the spring, and they came to me in the fall, some
                                                         1
 2        MR. CAVALIER: Object to form. Object to 2 six, seven, eight months later. That was wrong on
 3    characterization.                                3 their part. And, as indicated earlier, the initial
 4        MR. CARSON: I'm repeating your client's      4 information I had was Marnie's report, and Lisa
 5    testimony, Jon. I understand why you wanna       5 said, no, Gregg had not hit on her. So what am I to
 6    object, though. Trust me.                        6 think? Eight months, and the first report is that
 7        THE WITNESS: I am a Middle East              7 she said no.
 8    specialist. I am the head of an organization.    8     Q. Well, you did --
 9    I deal with the organization. As you can see,    9     A. -- seriously. I took it seriously, and I
10    in early November I had a problem, I dealt with 10 took  radical steps. I investigated, mediated, got
11    it expeditiously, I investigated it, and I      11 everyone into agreement, and removed Gregg from his
12    mediated it, and everyone was content with it,  12 office role, retained his external role with the
13    and I moved on, and they moved on. At least,    13 projects, with fundraising, with dealing with the
14    it appeared. I called them. To their faces, I   14 media and the like. So I dealt with it fully and
15    said you are my heroes and my angels. We're     15 satisfactorily to everyone's -- to everyone's
16    gonna work together. We're gonna fix this.      16 satisfaction. So why, in June 2019, we get hit with
17    And they said yes, and then you pop up and      17 five EEOC and then lawsuits is a little strange
18    cause a problem.                                18 since everyone said it was fine, and the two who
19 BY MR. CARSON:                                     19 were not part of this didn't say a word, not a word.
20    Q. What was the last thing you said?            20     Q. Well, Caitriona Brady did, right?
21    A. And then you pop up five months later, and   21     A. No, not a word.
22 everything falls apart.                            22     Q. You don't think she was upset if Gregg --
23    Q. All right. So you understood that these      23 you don't think she was upset if Gregg Roman was
24 women looked up to you, right, personally?         24 telling people that Marnie got her job by giving --

                                           Everest Court Reporting LLC                             Page: 37 (133 - 136)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 39 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 137                                                      Page 139
                   ---                                                 ---
 1 by trading sexual favors with her father?          1     Q. And Gregg denied it?
 2        MR. CAVALIER: Object to form, foundation. 2       A. Gregg denied it.
 3        THE WITNESS: In the first place, I'm not    3     Q. Was there any other reason besides Gregg's
 4    gonna attempt to ascertain how she felt. It's   4 denial that you didn't believe it came from Gregg?
 5    not my business. But, secondly, there was this  5     A. I don't know where it came from. It may
 6    rumor that Marnie ascribed to Gregg. Marnie     6 have come from Gregg; it may have come from Marnie;
 7    has been proven to be a liar since then. I      7 it may have come from Brady; it may have come from
 8    have no reason to believe what Marnie has said  8 Lisa. I have no idea.
 9    to them about that. Let me put it               9     Q. You think Marnie started the rumor about
10    differently --                                 10 herself?
11        MR. CARSON: Can you hear, because I'm      11     A. [Inaudible].
12    having a really hard time.                     12       THE COURT REPORTER: What was that, sir?
13        THE COURT REPORTER: It's very tough.       13       THE WITNESS: They were playing so many
14        THE WITNESS: Okay. First, I have no way    14     games. I don't know what they were --
15    of explaining to you what Brady's mental state 15 BY MR. CARSON:
16    was. I have no idea, and I'm not gonna answer  16     Q. Who was playing games?
17    that. Secondly, that rumor, we have never      17     A. All of these people.
18    found out where it came from. Marnie ascribed  18     Q. Who are you talking about when you say
19    it to Gregg. I have no reason to believe that  19 that?
20    that is the case. I don't know where it came   20     A. Marnie, Lisa, Tricia, Matt. Playing
21    from, but I have no reason to believe that     21 games. The very first --
22    Gregg was the source of it. So --              22     Q. Marnie, Tricia, Lisa, Matt. Who else?
23 BY MR. CARSON:                                    23     A. Those four. The very first memo, the
24    Q. Why, because -- go ahead. You can finish.   24 handwritten  memo, was all about the games. Matt's
                                              Page 138                                                       Page 140
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 1    A. Finished.                                     1 doing this to push Lisa to take a job she can't
 2    Q. Why, because Gregg denied it? That's why      2 handle so that Tricia can take over her job. I
 3 you don't think it came from him?                   3 mean, I had no idea this was taking place, and then
 4    A. Because there's a tissue of lies about        4 after -- after that, it kept on going. Matt wanted
 5 this.                                               5 the directorship. Marnie wanted the directorship.
 6    Q. Where'd that --                               6 Lisa wanted directorship. Everybody was after
 7    A. Tissue of lies.                               7 Gregg's position, playing games. I don't know
 8    Q. Where'd that tissue of lies begin?            8 what -- I don't know what the specific tactics were,
 9    A. Where'd it begin? I don't know where it       9 but I know that they were playing games.
10 began. There's just so many of them.               10    Q. Earlier you said you didn't know what
11    Q. Well, when is the first time you heard       11 Brady's mental state was, right?
12 about this rumor? And by "rumor," I think we're    12    A. Yes.
13 both talking about the same thing. There was a     13    Q. That's Caitriona Brady?
14 rumor that Gregg Roman said that Caitriona Brady's 14    A. Correct.
15 father had traded sexual favors with Marnie.       15    Q. Why are you questioning her mental state?
16    A. No. The rumor was that Marnie's -- that      16        MR. CAVALIER: Object to form. Object to
17 Marnie had sexual relations with Brady's father in 17    the characterization.
18 order to get a job.                                18 BY MR. CARSON:
19    Q. Okay.                                        19    Q. Why are you questioning her mental state?
20    A. Wasn't Gregg's rumor. It was a rumor.        20    A. You asked me if she did not feel this or
21    Q. Let's just characterize it as a rumor for    21 that, and I said I have no idea what she felt. I
22 now. So you did hear that Gregg started the rumor, 22 did not talk to her about it, and I'm not gonna
23 correct?                                           23 guess at what she was feeling.
24    A. Marnie told me that. Yes.                    24    Q. You didn't talk to her about it?
                                           Everest Court Reporting LLC                             Page: 38 (137 - 140)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 40 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 141                                                      Page 143
                   ---                                                     ---
 1     A. I talked to her not at all about this.         1    Q. Okay. So --
 2     Q. Don't you think that you owed it to her to     2    A. Or, I should say, in the case of the staff
 3 talk to her about it?                                 3 who are not in the office, I wrote to them.
 4        MR. CAVALIER: Object to form, foundation. 4         Q. Fair enough.
 5        THE WITNESS: If she had wanted to talk to      5    A. Personal communication between me and
 6     me, she could've come to me. [Inaudible] that     6 them, one-to-one, which I then shared with Marc, and
 7     I was looking to see if he had done anything      7 we worked out resolutions and solutions.
 8     wrong after November and that I was eager to      8    Q. As far as the -- as far as the -- the
 9     learn of any -- anything wrong he did,            9 rumor about Caitriona Brady's father and Marnie
10     particularly in the sexual area. Nobody came     10 Meyer, that wasn't done that week, correct? That
11     to me.                                           11 was done at a later date?
12 BY MR. CARSON:                                       12    A. That was well into 2019. Yes.
13     Q. How long did your investigation take?         13    Q. And did you investigate that in any way?
14     A. Investigation of what?                        14    A. I tried, but I hit a brick wall.
15     Q. You testified earlier that, as part of the    15 Everything was contradictory. At a certain point, I
16 investigation, you interviewed everyone in the       16 just couldn't figure out who was saying what to
17 office. How long did that investigation take?        17 whom.
18     A. It dominated a week of mine from the 1st      18    Q. Wasn't it true that everyone was telling
19 of November till the 7th or 8th or so. This letter   19 you Gregg Roman said it except Gregg Roman?
20 that you have up here is dated, I think, the 8th, so 20    A. No.
21 that's a full week from the 1st. Something on the    21    Q. What did Lisa tell you about it? Did you
22 order of [inaudible].                                22 interview Lisa?
23     Q. Sorry. I didn't hear the last thing you       23    A. I did, and I can't tell you specifically
24 said.                                                24 who said what, but I remember that some thought it
                                              Page 142                                                       Page 144
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 1     A. Something on the order of a week. Nothing     1 was Marnie who had come up with it; some thought
 2 else. Talked to Marc incessantly, talked to others   2 Lisa who had come up with it; and some thought Gregg
 3 at great length, asked lots of questions, discussed  3 had come up with it.
 4 with Marc what steps to take. Marc was my legal      4     Q. Who thought Lisa came up with it?
 5 and -- my legal confidant who worked with me on      5     A. I can't remember the specifics.
 6 fixing this.                                         6     Q. Just Gregg Roman, right?
 7     Q. Who was your legal confidant? Oh, Marc        7         MR. CAVALIER: Object to form.
 8 Fink, your house counsel, correct?                   8         THE WITNESS: I -- I don't know.
 9     A. Yes.                                          9 BY MR. CARSON:
10     Q. Yeah. You don't have to tell me what he      10     Q. Did you send Lisa any emails about it
11 said. Let me think. So when you say that it took a  11 letting her know that we interview -- you conducted
12 week, was that to do all the interviews or what --  12 this investigation?
13 why did it take a week? What did you do throughout 13      A. [Inaudible].
14 that week?                                          14         THE COURT REPORTER: I can't rem -- I
15     A. Interviewed, I discussed with Marc, I came   15     can't hear you, sir.
16 up with different ideas. Essentially, it was a week 16         THE WITNESS: I don't think so. Don't
17 intensely talking to Marc, gathering information,   17     remember if she should, but I don't think so.
18 and figuring out solutions.                         18         MR. CARSON: I really need to take a
19     Q. Did you look at any phone records during     19     bathroom break. I'm sorry. I can't -- just go
20 the course of the investigation?                    20     off the record for a minute, guys. I'm sorry
21     A. I did not. I talked to people.               21     about that.
22     Q. Did you read emails or Slacks or Telegrams 22           THE VIDEOGRAPHER: All right. The time
23 or WhatsApps or anything like that?                 23     is --
24     A. Nothing. I only talked to people.            24         MR. CARSON: I'll do as long as you want
                                           Everest Court Reporting LLC                             Page: 39 (141 - 144)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 41 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 145                                                      Page 147
                  ---                                                  ---
 1    Jon, but I only need like three minutes. I      1 don't fire him?
 2    just gotta run to the bathroom.                 2        MR. CAVALIER: Object to form.
 3        MR. CAVALIER: If we're gonna break --       3        THE WITNESS: No.
 4    like I always say, if we're gonna break, I'd    4 BY MR. CARSON:
 5    rather break for at least ten just so it can    5    Q. I mean, a lot of women have complained
 6    actually be a break.                            6 about Gregg Roman's misconduct now, right?
 7        MR. CARSON: Yeah, that's fine. All          7    A. Thanks to the Derek Smith Law Group, yes.
 8    right. So we'll come back in like 1:21 or       8    Q. Well, are we responsible for Samantha
 9    something like that.                            9 Mandeles complaining about him?
10        MR. CAVALIER: That works.                  10    A. Don't know about that.
11        THE VIDEOGRAPHER: The time is 1:11, and    11    Q. I'm sorry?
12    we are off the record.                         12    A. I don't know about that.
13                ---                                13    Q. Are we responsible for Lea Merville
14        (Whereupon there was a recess in the       14 [phonetic] complaining about him?
15    proceeding from 1:11 p.m. to 1:24 p.m.)        15        MR. CAVALIER: Object to form.
16                ---                                16        THE WITNESS: Don't know about that.
17        THE VIDEOGRAPHER: It is 1:24 a.m. --       17 BY MR. CARSON:
18    excuse me -- p.m. Eastern Time, and we are now 18    Q. You don't what?
19    on the record.                                 19    A. I don't know about that.
20 BY MR. CARSON:                                    20    Q. Did you ever talk to Lea Merville?
21    Q. Mr. Pipes, did Gregg Roman ever tell you    21    A. No.
22 that he could destroy you?                        22    Q. You never called her in your entire life?
23    A. No.                                         23    A. I think I met her when she began as an
24    Q. Did he ever tell anyone else that?          24 intern.
                                             Page 146                                                       Page 148
                  ---                                                  ---
 1         MR. CAVALIER: Object to form.              1     Q. Well, when you interviewed her during your
 2         THE WITNESS: Ask him.                      2 investigation into the reports of sexual misconduct,
 3         THE COURT REPORTER: Sorry, Seth. What      3 what did she say?
 4     was the question?                              4     A. I did not --
 5         MR. CARSON: Did he ever tell anybody else  5         MR. CAVALIER: Object to form, foundation.
 6     that?                                          6 BY MR. CARSON:
 7         MR. CAVALIER: Object to form.              7     Q. Why didn't you interview her?
 8         THE WITNESS: Ask him.                      8     A. She did not complain. She was not an
 9 BY MR. CARSON:                                     9 employee, and she did not complain.
10     Q. And you said "ask him". Did anyone ever    10     Q. Didn't your director of human resources
11 tell you that he said that?                       11 include her in a written complaint that was
12     A. No, not that I remember.                   12 submitted to you in November?
13     Q. Do you know why Gregg Roman would think he 13     A. What Seth [sic] does with his personal
14 can destroy you?                                  14 life is not my concern. My concern was that there
15         MR. CAVALIER: Object to form, foundation. 15 was a large-scale complaint from many staff in the
16     If you can answer it, go for it.              16 office about Gregg.
17         THE WITNESS: No.                          17     Q. Did you just say when Seth does?
18 BY MR. CARSON:                                    18     A. I did not.
19     Q. Are you worried about him being able to    19     Q. Did he say when Seth does?
20 destroy you?                                      20     A. I did not. I said large-scale.
21         MR. CAVALIER: Same objection.             21     Q. Okay.
22         THE WITNESS: No.                          22     A. Large-scale complaint.
23 BY MR. CARSON:                                    23     Q. I think you meant if Gregg does. I just
24     Q. Is that why, no matter what he does, you   24 wasn't [inaudible]. So, for the record, if you said
                                          Everest Court Reporting LLC                             Page: 40 (145 - 148)
                                   215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 42 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 149                                                      Page 151
                  ---                                                      ---
 1 Seth, I think you meant Gregg. What Gregg does --       1   it?
 2     A. I was not talking about you. I was               2        MR. CAVALIER: Object to form and
 3 talking about Gregg.                                    3     foundation.
 4     Q. So don't you find it disturbing, though,         4        THE WITNESS: I don't know.
 5 the allegation that was made in connection with Lea     5 BY MR. CARSON:
 6 Merville?                                               6     Q. I mean, there was a recording we heard
 7        MR. CAVALIER: Object to form.                    7 today where a Washington Examiner reporter said that
 8        THE WITNESS: What allegation?                    8 Gregg Roman tried to lure her to his hotel room to
 9 BY MR. CARSON:                                          9 trade sex for stories, right? That's what we heard
10     Q. Well, there was an allegation that he           10 today?
11 subjected Lea Merville to quid pro quo sexual          11        MR. CAVALIER: Object to the
12 harassment, right?                                     12     categorization, the lack of foundation, the
13        THE COURT REPORTER: What was that, Seth?        13     description of the recording, and essentially
14        MR. CARSON: Quid pro -- he subjected Lea        14     everything else you just said, but to the
15     Merville to quid pro quo sexual harassment.        15     extent you can answer --
16        MR. CAVALIER: Object to form and                16        MR. CARSON: Yeah, of course. I know.
17     foundation.                                        17     Just object to the whole question because why
18        THE WITNESS: That there are rumors going        18     answer when this has nothing to do --
19     around are not my concern. If Lea Merville         19     everything to do with the case.
20     came to me and said there was a problem, I         20 BY MR. CARSON:
21     would've dealt with that. I'm not gonna deal       21     Q. Okay. So she said that he told her, I
22     with rumors.                                       22 have a killer story. She said -- she said, Alana,
23 BY MR. CARSON:                                         23 tell him why you should have the story. You and me
24     Q. When the director of human resources comes      24 should be in an arrangement. He then whipped out
                                               Page 150                                                       Page 152
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 1 to you, it rises above being just a rumor at that       1 his penis. She was embarrassed for him. He then
 2 point, correct?                                         2 screamed across the -- across the -- you know, from
 3        MR. CAVALIER: Object to form.                    3 outside what room number he's in and said, you have
 4        THE WITNESS: That is a hypothetical.             4 30 minutes to be here. I mean, it's the exact same
 5 BY MR. CARSON:                                          5 thing that Lea Merville was -- what was reported in
 6     Q. Well, it's not a hypothetical. Marnie            6 connection with Lea Merville, right?
 7 Meyer, in fact, came to you and included allegations    7        MR. CAVALIER: Object to form, foundation,
 8 about Lea Merville in a written report to you           8    lack of authenticity.
 9 submitted to you in November 2018, correct?             9                 ---
10     A. Yes.                                            10        (Indistinguishable cross-talk.)
11     Q. And the allegations concerning Lea              11                 ---
12 Merville was that Gregg Roman lured her to a hotel     12        THE WITNESS: I believe we're dealing with
13 room because she needed a document signed?             13    a legal process, and a legal process is not
14     A. If Lea Merville had come to me and              14    about hearsay; it's about individuals speaking
15 complained, I would've dealt with it. There was a      15    on the record for themselves. Neither Alana
16 rumor that Marnie Meyer retold to me. I did not pay    16    Goodman nor Lea Merville has ever contacted me
17 attention. I paid attention to my staff who had a      17    for anything related to Gregg, and, therefore,
18 large complaint about Gregg. They were very unhappy    18    they were not my concern. My concern were the
19 with him for a whole range of reasons. I put           19    employees of the Middle East Forum who
20 everything else aside, and I devoted a week to         20    complained to me in person about specifics, and
21 dealing with this to their satisfaction.               21    I put everything else aside in my life and
22     Q. The allegation that Lea -- that concerned       22    spent a week to deal with those issues. I
23 Lea Merville is eerily similar to the allegation       23    investigated them and I mitigated them to their
24 that we listened to today on the recording, isn't      24    entire satisfaction. They signed documents
                                            Everest Court Reporting LLC                             Page: 41 (149 - 152)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 43 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 153                                                      Page 155
                   ---                                                     ---
 1    indicating they were happy with the resolution.    1 a close personal relationship in which they told
 2    Gregg signed a document saying he was happy        2 each other all sorts of things about their lives,
 3    with the resolution. He was content with           3 including their bodily issues, sexual issues, their
 4    the -- "happy" is too strong a word. Everyone      4 relationships with all sorts of people and the like.
 5    was content with the resolution. May not be        5 That is their business, not mine.
 6    ideal, but it was content -- they were             6     Q. Are they on equal footing?
 7    contented with it. I did not need to go into       7     A. They were supervisor and supervisee. They
 8    other matters, and I will not be baited into       8 became friends, and that was a mistake. That's at
 9    getting into those matters here. I dealt with      9 the heart of this, that Gregg should not have done
10    the issues in front of me effectively, to         10 that. He made a mistake.
11    everyone's contentment.                           11     Q. It's more than just supervisor and
12 BY MR. CARSON:                                       12 supervisee, though, right, because Gregg Roman's
13    Q. The matters we're talking about are the        13 also a corporate officer of the entity, the Middle
14 subject of this case, though, aren't they?           14 East Forum, correct?
15        MR. CAVALIER: Object to form.                 15     A. What is your question?
16        THE WITNESS: As I understand, there are       16     Q. Do you know what proxy liability is?
17    three plaintiffs at this point. None of them      17     A. No, I don't.
18    are named Lea Merville or Alana Goodman.          18        MR. CAVALIER: Object to form.
19 BY MR. CARSON:                                       19 BY MR. CARSON:
20    Q. But they told you when they made their         20     Q. Well, Gregg Roman is a corporate officer
21 complaints in November of 2018 that Lea Merville     21 of the Middle East Forum, so the conduct and
22 had -- had said these things, correct?               22 comments that he made, those conduct and comments
23        MR. CAVALIER: Object to form.                 23 are from the Middle East Forum.
24        THE WITNESS: Marnie repeated a rumor          24        MR. CAVALIER: Is that a --
                                             Page 154                                                       Page 156
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 1    about this. Yes.                                 1 BY MR. CARSON:
 2 BY MR. CARSON:                                      2    Q. That's the relationship [inaudible],
 3    Q. And Daniel -- strike that. And Lisa           3 correct?
 4 Barbounis, my client, said that, as part of the     4    A. I have no idea.
 5 sexual harassment that she was subjected to, Gregg  5       MR. CAVALIER: Object to the --
 6 Roman described in detail him having sex with Lea   6       THE WITNESS: No, I don't. I know the
 7 Merville. That's why it's relevant to this case.    7    Middle East.
 8 Do you understand?                                  8 BY MR. CARSON:
 9        MR. CAVALIER: Object to form, if that's a    9    Q. Do you equate your job as having a
10    question.                                       10 responsibility to the women who work with Gregg
11 BY MR. CARSON:                                     11 Roman?
12    Q. Do you understand that that's the            12       MR. CAVALIER: Object to form.
13 relevancy of this case? When your supervisor       13 BY MR. CARSON:
14 decides he's gonna tell the person that he's in    14    Q. Strike that. Let me ask a better
15 charge of intimate details about his sexual life,  15 question: Do you have a responsibility to the women
16 that's sexual harassment, right?                   16 who work at the Middle East Forum?
17        MR. CAVALIER: Object to form. Object to 17        A. No. I have a responsibility to the
18    calling for a legal conclusion as well.         18 employees of the Middle East Forum, whatever their
19        MR. CARSON: You don't need to say           19 gender might be.
20    [inaudible].                                    20    Q. But if a lot of women are complaining
21 BY MR. CARSON:                                     21 about sexual misconduct in their employment, don't
22    Q. It's sexual harassment. It's unwelcome       22 you have a responsibility to -- to those women?
23 sexual comments, right?                            23    A. I had three complaints on November 1st
24    A. From what I understand, Lisa and Gregg had   24 about Gregg in a sexual context. I investigated
                                          Everest Court Reporting LLC                             Page: 42 (153 - 156)
                                   215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 44 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 157                                                      Page 159
                    ---                                                      ---
 1 them, and I mitigated them to their satisfaction.       1     Q. Is the Middle East Forum a victim in this
 2         MR. CARSON: Sorry. Can you read -- I'm          2 case?
 3     sorry -- I just got distracted. Can you read        3     A. Of course it is. Of course it is. $31
 4     back his answer?                                    4 million for what, for made up stuff? Tricia McNulty
 5                  ---                                    5 tells me that he sat too close to her, and then the
 6         (Whereupon the court reporter read back         6 complaint comes in. Oh, he tried to touch her
 7     the pertinent testimony.)                           7 bottom. Oh, really? Somehow it magically changed
 8                  ---                                    8 between November and June. Wonder how that
 9         THE WITNESS: I investigated them, and I         9 happened. Sex trafficking? Oh, where did that come
10     mitigated them to their satisfaction.              10 from? Sexual assault? Where did all these things
11 BY MR. CARSON:                                         11 come from? Who came up with sex trafficking?
12     Q. You don't see yourself as having some           12 Mr. Carson, who came up with sex trafficking?
13 particularized responsibility to make sure the women   13     Q. The United States Congress, Mr. Pipes.
14 at the Middle East Forum who complained about sexual   14     A. United States Congress did not apply to
15 harassment are protected?                              15 Gregg Roman; Seth Carson did.
16         MR. CAVALIER: Object to form. Asked and        16     Q. Have you ever read the statute because --
17     answered.                                          17     A. I've read what you have produced and what
18         THE WITNESS: Yes, and, accordingly, I          18 words you put into their mouths.
19     removed Gregg from the office and from any         19     Q. Have you ever read the sex trafficking
20     direct contact with them in a physical presence    20 statute --
21     in their life, and I protected them entirely.      21                 ---
22     They were content with that protection until       22        (Indistinguishable cross-talk.)
23     you came along five months later and decided it    23                 ---
24     wasn't good enough.                                24        THE WITNESS: I do not need to know about
                                               Page 158                                                       Page 160
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 1 BY MR. CARSON:                                       1     the details of sex trafficking laws. I need to
 2     Q. I know. It's my fault. I get it. It's         2     know that that's what you claimed.
 3 not your fault in any way, correct?                  3 BY MR. CARSON:
 4     A. They signed documents saying they were        4     Q. So you don't know whether it applies to
 5 content with it. Nobody complained after that        5 this situation or not, do you?
 6 point, after they signed the documents.              6     A. I know perfectly well that you make things
 7     Q. So you don't feel responsible for anything    7 up as you need to claim your $31 million, of which
 8 at all?                                              8 you get, what, 40 percent? How much does that come
 9         MR. CAVALIER: Object to form.                9 to, Mr. Carson? That seems to come to about $14
10                  ---                                10 million for you. That's a nice payday.
11         (Indistinguishable cross-talk.)             11     Q. That's what you think --
12                  ---                                12     A. Good luck with that, Mr. Carson. I'll let
13         THE WITNESS: I investigated and I           13 you know that we're not gonna be paying you. We're
14     mitigated the problem to everyone's             14 gonna fight you tooth and nail, as you can see.
15     satisfaction. All four individuals directly     15     Q. Right. And then --
16     involved were content with my resolution of it. 16     A. Good luck with your $14 million.
17     I thought everything was fine. They indicated   17     Q. If there's a judgment, you'll end up
18     everything was fine. I refer you to the         18 paying   it, correct?
19     photographs of May 19th, 2019 at our gala in    19     A. And so far, let me point out, Mr. Carson,
20     New York -- big smiles in a chorus line with    20 you have paid us, not we have paid you. Due to your
21     Gregg and others. Everything was fine, and      21 mistakes, you have paid us, and, indeed, just a few
22     then all of a sudden we got big problems. Why? 22 minutes ago, you got another problem with Judge
23     Well, Derek Smith Law Group entered the scene. 23 Wolson, didn't you?
24 BY MR. CARSON:                                      24     Q. How much money have you received from our
                                            Everest Court Reporting LLC                             Page: 43 (157 - 160)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 45 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 161                                                      Page 163
                 ---                                                      ---
 1 firm?                                                  1  A. I don't know why. Something to do with
 2    A. Something on the order of $5,000.              2 her busyness or something, but --
 3    Q. And that was profit for you guys?              3    Q. Isn't it -- go ahead. You wanna finish?
 4    A. No.                                            4    A. But he invited Lisa to go to Israel to do
 5        MR. CAVALIER: Object to form.                 5 work with him. That was not sex trafficking.
 6        THE WITNESS: It was the money that we had 6        Q. Isn't it -- did you know that she went?
 7    to pay our lawyers because of your -- your        7    A. I know that she went now. At the time, I
 8    actions.                                          8 did not.
 9 BY MR. CARSON:                                       9    Q. He hid it from you, correct?
10    Q. So how much money have you made from our 10         A. He hid it from me. And, by the way, so
11 firm?                                               11 did Lisa hide it from me. The two of them were
12        MR. CAVALIER: Object to form.                12 complicit in hiding it from me.
13        THE WITNESS: -- $5,000.                      13    Q. Well, Lisa was following instructions,
14 BY MR. CARSON:                                      14 though, right?
15    Q. You've made $5,000?                           15    A. Lisa hid it from me. Gregg hid it from
16    A. We didn't make it. We paid it to our          16 me,  and I --
17 lawyers because they had to spend time dealing with 17    Q. Lisa was following the instructions of her
18 the things you raised wrongly.                      18 supervisor?
19    Q. When did you pay it to your lawyer?           19    A. Lisa hid it. She was upset by -- if she
20        MR. CAVALIER: Object to form. Hold up,       20 had a problem with it, she could've come to me. As
21    hold up. Do not answer any questions about       21 you have pointed out repeatedly, I was the ultimate
22    bills or payments or --                          22 authority. And when she did come to me on November
23        MR. CARSON: He raised the issue, Jon, not    23 1st, I took action. So why didn't she come to me
24    me.                                              24 back in March or April when she had a problem?
                                              Page 162                                                       Page 164
                  ---                                                      ---
 1        MR. CAVALIER: The instruction stands.           1     Q. Wasn't she just following the instructions
 2        THE WITNESS: So far, you have paid us.          2 of her supervisor?
 3    We have not paid you. I remind you of that.         3     A. She hid it from me. She was complicit in
 4    And you have more problems on your docket,          4 hiding it from me, and when she decided no longer
 5    don't you? Daily reports to the judge.              5 could it be complicit, it was eight months -- seven,
 6    Remember those, Mr. Carson.                         6 eight months later. How come she didn't do it at
 7 BY MR. CARSON:                                         7 the time, Mr. Carson? Maybe because nothing
 8    Q. I'm gonna direct you back to the question        8 happened at the time, and she was only looking for a
 9 that we were discussing a moment ago in connection     9 vehicle with which to come to me en masse, all three
10 with the sex trafficking statute. Have you ever       10 of them, and find a reason to get my attention.
11 reviewed that statute before?                         11 They felt safety in numbers, safety in arguing for
12    A. I deal with the Middle East, Mr. Carson.        12 sexual harassment. I don't know why. There was no
13 I don't read sex trafficking statutes, but I know     13 indication that I would not take it seriously
14 what the term means, and I know that Gregg did not    14 individually back in the spring, but that's what
15 engage in sex trafficking.                            15 they chose to do. So she was complicit. They both
16    Q. Well, if you lure someone across national       16 did something wrong, and I've admonished Gregg.
17 borders in order to try to engage them in sexual      17     Q. What did Gregg do wrong?
18 intercourse, isn't that what the statute states?      18     A. He hid it from me.
19    A. Only a perverted mind like your own would       19     Q. Isn't the reason that he didn't want
20 come up with an interpretation like that. He went     20 Marnie -- isn't the reason Marnie didn't wanna go is
21 there to work. He asked Matt Bennett first, he        21 because Gregg told her that she would have to share
22 asked Marnie Meyer second, and he asked Lisa          22 a room with him?
23 Barbounis third.                                      23        MR. CAVALIER: Object to form.
24    Q. Why didn't Marnie Meyer wanna go?               24        THE WITNESS: Ask her. Don't ask me her
                                           Everest Court Reporting LLC                             Page: 44 (161 - 164)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 46 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 165                                                      Page 167
                 ---                                                        ---
 1    reasoning.                                         1    we're definitely gonna call the judge if you
 2 BY MR. CARSON:                                       2     make that instruction.
 3    Q. Sorry?                                         3          THE WITNESS: I think I --
 4    A. Ask her, not me.                               4          MR. CARSON: Not a choice. You can't
 5    Q. Well, isn't that her plea?                     5     instruct someone not to answer based on lack of
 6    A. I don't know.                                  6     foundation.
 7    Q. You don't know what her claims are in her      7                   ---
 8 case?                                                8          (Indistinguishable cross-talk.)
 9       MR. CAVALIER: Object to form.                  9                   ---
10       THE WITNESS: -- talking about Lisa            10          MR. CAVALIER: You're mischaracterizing --
11    Barbounis now.                                   11     you're mischaracterizing the allegations --
12 BY MR. CARSON:                                      12          MR. CARSON: Here is where you try to help
13    Q. But you testified that he didn't try to       13     him testify. Go ahead, Jon. Tell him what to
14 lure her there for sex.                             14     say.
15    A. That's correct. He took her there to do       15          MR. CAVALIER: You're asking me to explain
16 work, and apparently she did do work.               16     my objection. I have to do that.
17    Q. But the work could only be done if they       17          MR. CARSON: -- to say. Take a minute.
18 shared a hotel room together or an Airbnb together? 18     I'll allow you to tell him what to say. Go
19       MR. CAVALIER: Object to form, foundation. 19         ahead.
20       THE WITNESS: I know nothing about their 20                MR. CAVALIER: I stand on the instruction.
21    arrangements and why they had the arrangements 21            THE WITNESS: I can answer. Jon, I would
22    they did. Ask --                                 22     like to --
23 BY MR. CARSON:                                      23          MR. CARSON: What does it indicate to --
24    Q. Well, isn't it evidence of the reason why     24                   ---
                                             Page 166                                                       Page 168
                    ---                                                    ---
 1 he wanted to bring her, that Marnie Meyer wouldn't    1        (Indistinguishable cross-talk.)
 2 go unless -- that he wouldn't let Marnie Meyer go     2                 ---
 3 unless she shared a room with him?                    3        THE COURT REPORTER: Guys, come on.
 4        MR. CAVALIER: Object to form.                  4 BY MR. CARSON:
 5 BY MR. CARSON:                                        5      Q. The question that I asked was, what does
 6    Q. Doesn't that indicate something to you,         6 it indicate to you that he didn't want Marnie to go
 7 Mr. Pipes?                                            7 unless she shared a room with him?
 8    A. Ask Marnie Meyer.                               8      A. It indicates to me that Marnie was
 9    Q. The question's not directed to Marnie           9 building a case against Gregg to show that he had
10 Meyer. It's directed to you. What do you think it    10 behaved badly. And so, at a later date, she decided
11 indicates -- I'll strike that. I'll ask another      11 to give this as an explanation. Whether or not that
12 question. What do you think it indicates that he     12 was the explanation at the time, I do not know
13 would only allow her to come if she shared a room    13 because she did not tell me. If she were upset
14 with him?                                            14 about being invited to Israel with Gregg to share an
15        MR. CAVALIER: Are you asking a                15 Airbnb -- if that was, in fact, the case -- she
16    hypothetical?                                     16 should've told me in February, March, April,
17        MR. CARSON: No.                               17 whenever it was when she got that offer. She did
18        MR. CAVALIER: Then I'm objecting on lack      18 not. She came to me in November, and she did not
19    of foundation, and I'm instructing him not to     19 mention that to me. That came up later when you,
20    answer it.                                        20 Mr. Carson, entered the case, and you decided to
21        MR. CARSON: You can't instruct him not to     21 find all sorts of reasons to impugn Gregg Roman, so
22    answer.                                           22 I --
23        MR. CAVALIER: I just did.                     23      Q. Sure about that?
24        MR. CARSON: Well, you have to answer or       24      A. Hm?
                                          Everest Court Reporting LLC                             Page: 45 (165 - 168)
                                   215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 47 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 169                                                      Page 171
                   ---                                                       ---
 1    Q. You sure?                                        1  Mr. Roman of putting his foot up her butt?
 2    A. I'm not sure of the dates, but I know that        2    A. Yes, yes, of course.
 3 she didn't tell me that in November. That came --       3    Q. Can you understand why it might be hard
 4    Q. It wasn't in the letter?                          4 for women to report sexual misconduct?
 5    A. In the letter, I don't think so, no.              5        MR. CAVALIER: Object to form.
 6    Q. Well, we'll have plenty of time to look at        6        THE WITNESS: I have a question why it's
 7 the letter today but --                                 7    hard to report it in March, and it's possible
 8    A. In any case, she did not come to me at the        8    to report it in November. They did report it,
 9 time in February, March, April, whenever it took        9    and I acted expeditiously and satisfactorily.
10 place and tell me, Gregg made an inappropriate offer   10    So they had no complaints about my actions, so
11 to me to go to Israel and to stay in a hotel room      11    I don't understand why -- okay, it's difficult
12 with him -- in an Airbnb with him. She did not do      12    to bring up these personal issues, sexual
13 that. She was complicit as well in hiding this from    13    issues, of course. But if it's possible to
14 me. I did not know about it until she wrote me that    14    bring it up in November, why couldn't they have
15 memo in early November. Of that I am positive. I       15    brought it up in the spring? Why couldn't
16 knew nothing of this trip. I knew the trip -- I        16    Marnie and Lisa have come to me together and
17 knew Gregg went. I knew nothing about Lisa going       17    said, oh, we have a problem with Gregg because
18 there. I knew nothing about Marnie being invited.      18    he invited us to an Airbnb, and he wanted to
19 I knew nothing about the Airbnb. I knew nothing        19    keep it secret from you. Why didn't they do
20 about the alleged assault. Call it what you will.      20    that? What kind of credibility do they have
21 Knew nothing until November. So all of them were       21    when they -- don't interrupt me -- when they
22 complicit in hiding this from me, and then later --    22    don't deal with it expeditiously, but wait
23 months, months later, eight months later -- they       23    eight months and wait to recruit another
24 decide, oh, Gregg did all these things, and Marnie     24    person, and then five months after that --
                                               Page 170                                                       Page 172
                   ---                                                    ---
 1 even tells me that she asked Lisa, did Gregg hit on 1     no -- eight months after that, recruit two
 2 you in Israel, and Lisa -- quote, "Lisa said no,"    2    more, and they go to you, or you go to them.
 3 unquote. So what am I supposed to take seriously?    3    Who knows? But now safety in numbers sort of
 4    Q. Did you ever read that email?                  4    thing. Well, no, no. They should've reported
 5    A. What do you mean?                              5    this back in the spring when it took place and
 6         MR. CAVALIER: Object to form. What           6    told me, and if it was so difficult, how come
 7    email?                                            7    they could do it in November? What's the
 8 BY MR. CARSON:                                       8    difference between the spring and the fall?
 9    Q. I don't know. Are you testifying you got       9    So --
10 on email?                                           10 BY MR. CARSON:
11    A. No one said that.                             11    Q. Why don't you answer your own question?
12    Q. When did Marnie ask Lisa if something         12 Can you think of anything?
13 happened in Israel and she said --                  13    A. I am not going to try and interpret their
14    A. -- the handwritten note -- one wants to       14 minds. All I know is that they waited a long time,
15 call it -- email, note -- of November 1st, 2018.    15 and they concocted stories for my benefit, and I
16    Q. So on November 1st Marnie said that she       16 took them at face value, and I took expeditious
17 asked Lisa if something happened in Israel and that 17 steps to clear up that problem from their lives,
18 Lisa said no?                                       18 which I did, and they signed documents saying they
19    A. Exactly. "Lisa said no." Three words.         19 were content with my [inaudible]. So they have no
20 Exact.                                              20 grounds to stand on, you have no grounds to stand
21    Q. Did you learn anything else on                21 on, and you should just close this whole damn thing
22 November 1st?                                       22 down.
23    A. Yes. Lots of things.                          23    Q. Can you think of any reasons why they
24    Q. Did you learn that Lisa had accused           24 reported it in November 2018?
                                            Everest Court Reporting LLC                             Page: 46 (169 - 172)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 48 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 173                                                      Page 175
                    ---                                                 ---
 1     A. You ask them, not me, why they did it.       1    A. Something along those lines, yes.
 2     Q. Well, you keep saying that they concocted.   2    Q. She say that she'll stab him?
 3 What do you mean by "concocted"? You mean made the 3     A. She has said that she will stab him, yes.
 4 whole thing up?                                     4 She has often said that she wants to kill him and
 5     A. They made things up, yes. Lisa told          5 stab him. She loathed him.
 6 Marnie that she had not been hit on by Gregg. I     6    Q. She often told you that she wants to kill
 7 learned that November 1st in the morning. That      7 him?
 8 afternoon, I went in and Lisa told me she had been  8    A. Yeah. She said --
 9 hit on by Gregg. Excuse me.                         9    Q. How often did she say that?
10                  ---                               10    A. No, no. She didn't tell me. She wrote
11         (Indistinguishable cross-talk.)            11 that in her emails, in her texts and so forth.
12                  ---                               12 Yeah. That's her --
13         THE WITNESS: -- she would've come to me    13        MR. CARSON: Can you hear? I'm having a
14     at the time and told me. She would not have    14    tough time --
15     waited eight months. I do not believe it, no.  15        THE COURT REPORTER: It's tough.
16     I acted as though -- I acted on face value. I  16        MR. CARSON: Are you getting it all?
17     took it very seriously, and I took him out of  17        THE WITNESS: I'm speaking very loud. I'm
18     their lives.                                   18    sorry.
19 BY MR. CARSON:                                     19        THE COURT REPORTER: Yeah, it's very quiet
20     Q. Did you read any text messages that Lisa    20    on my end, so please speak up.
21 sent while she was in Israel?                      21 BY MR. CARSON:
22     A. She showed me her text messages, and none   22    Q. You just have a naturally quiet voice,
23 of them indicated that he had assaulted her. She   23 Mr. Pipes. We're not trying to be --
24 said she was uncomfortable, et cetera, et cetera,  24    A. Okay.
                                             Page 174                                                       Page 176
                    ---                                                   ---
 1 or, at least, that's what the text messages that she  1     Q. All right. Let's -- let's take a minute
 2 showed me said. Were they actually sent at the time   2 and go through some stuff. Okay. Do you see this
 3 from Israel? I don't know. I did not look at the      3 document here I just put in front of you?
 4 metadata. She just showed me text messages            4     A. Yep.
 5 allegedly from her to her husband. I took them at     5     Q. Do you remember writing this on 11/2/18?
 6 face value. I did not do an inquiry. I did not ask    6     A. No.
 7 for the metadata or anything like that. I just took   7     Q. Wanna take a minute and read through it
 8 everything at face value. Though, now, two years      8 real quick?
 9 later, I'm gonna say, show me the metadata. Show me 9       A. Okay. Okay.
10 [inaudible]. Show me that this actually happened.    10     Q. Do you remember writing it now?
11 But, in fact, if you look even at what she showed,   11     A. No, I don't remember writing it, but I
12 she didn't ever allude to any kind of assault. She   12 recognize it, yeah.
13 was weirded out. She was uncomfortable. He was       13     Q. So all three women on 11/1/2018 made
14 talking about this and that, but nothing -- the      14 allegations of unwanted sexual advances, correct?
15 striking thing about her text messages, they don't   15     A. Correct.
16 actually refer to his touching her. They don't       16     Q. What you said in the letter?
17 refer to it. So, yeah, clearly, if those text        17     A. Yep, reporting.
18 messages are valid, she was uneasy in the            18     Q. So on November 1st, 2018 Lisa was one of
19 circumstance but --                                  19 the women who made allegations of unwanted --
20     Q. Did she say she was scared?                   20     A. Yes, of course.
21     A. I don't remember the exact words, but,        21     Q. -- advances, right?
22 yeah, she was uneasy.                                22     A. Yes.
23     Q. Did she say she wanted to sleep with a        23     Q. Because you also said that she said no on
24 knife under her pillow?                              24 11/1/18, so I'm just trying to understand.

                                          Everest Court Reporting LLC                             Page: 47 (173 - 176)
                                   215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 49 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 177                                                      Page 179
                   ---                                                    ---
 1        MR. CAVALIER: Objection.                       1    A. Yeah.
 2    Mischaracterization.                               2    Q. So you investigated it in one day?
 3        THE WITNESS: I did not say that. I said        3    A. Yes.
 4    that the handwritten email from Marnie to me       4    Q. And here is what I found. These women who
 5    that I read early in the morning on                5 work for you made unwelcome -- strike that -- say
 6    November 1st quoted Lisa -- paraphrased Lisa as    6 that you made unwanted sexual advances -- I can read
 7    saying no in answer to the question, did Gregg     7 this to myself. Hang on a second. So my next
 8    make advances on you. But, as you can see, I       8 question is, Gregg Roman said that he acknowledges
 9    took their testimonies, I confronted Gregg with    9 his conduct was not acceptable, right?
10    it, and I dealt with it. You have it all right    10    A. Yes.
11    here in black and white.                          11    Q. What about his conduct wasn't acceptable?
12 BY MR. CARSON:                                       12    A. Ask them.
13    Q. Well --                                        13    Q. Well, he said it to you during your
14    A. -- have in black and white is that they        14 investigation, so I'm asking you.
15 said they were satisfied with this solution.         15    A. Ask him. Ask them. I mean, I'm reporter
16    Q. So I haven't seen --                           16 here. I'm not mind reader.
17    A. -- they came back and said, oh, no, we're      17    Q. Well --
18 not satisfied. We want $31 million.                  18    A. Investigator.
19    Q. I haven't seen the email you keep              19    Q. If he said that his conduct was not
20 referring to, so I'll ask that you please produce    20 acceptable, then why are you trying to say that
21 the November 1st, 2018 email from Marnie Meyer where 21 everything's made up in this case?
22 Marnie Meyer writes that Lisa denied being           22        MR. CAVALIER: Object to form. Object to
23 sexually -- being subjected to sexual harassment.    23    the mischaracterization.
24    A. I can send it to you right now. I don't        24 BY MR. CARSON:
                                              Page 178                                                       Page 180
                   ---                                                    ---
 1 know what the protocol is, but I can send it.        1     Q. You can answer.
 2    Q. Well, when we get a break -- I mean, you       2     A. He acknowledged, broadly speaking, that he
 3 guys -- can you hear him? I didn't hear what he      3 made a mistake in having close friendships with his
 4 just said.                                           4 staff, with the people reporting to him.
 5    A. I said I can send it to you. I don't know      5     Q. His friendships weren't acceptable? I'm
 6 what the protocols are, but I have it, and I can     6 sorry. Go ahead.
 7 send it to you.                                      7     A. He acknowledged that that was a mistake.
 8    Q. Well, maybe on a break you can --              8 He now understands -- he understands for two years
 9        MR. CAVALIER: Seth, you have the Marnie 9 now that it's a mistake to have close personal
10    Meyer note.                                      10 relations with people who you are supervising at
11        MR. CARSON: Is that what he's referring      11 work. This is a bad idea. I didn't know about it.
12    to, the handwritten --                           12 I didn't know he was so close to them. I knew he
13        MR. CAVALIER: Yes. I believe the             13 went to lunch with them, but I didn't know he had
14    handwritten note was put -- was attached to an   14 drinks, and I didn't know he went off to Israel. I
15    email that was sent to Daniel. I think that's    15 didn't know about all these things. When I learned
16    the discrepancy here.                            16 about it, I came down on him and said this is wrong.
17        MR. CARSON: If that's what he's referring    17 You made a mistake. And he said, yeah, I made a
18    to, I have it.                                   18 mistake.
19        THE WITNESS: Handwritten note attached to 19        Q. Well, he said that his conduct was not
20    photograph and sent to you by email.             20 acceptable, was what he said, right?
21 BY MR. CARSON:                                      21     A. Yeah. I've just explained to you that
22    Q. Okay. So it says here -- it says,             22 having close relations with people you supervise is
23 accordingly, you investigated this matter yesterday 23 not acceptable.
24 immediately upon learning of it. Do you see that?   24     Q. Why isn't it acceptable, because of the
                                           Everest Court Reporting LLC                             Page: 48 (177 - 180)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 50 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 181                                                      Page 183
                   ---                                                      ---
 1 power dynamic?                                         1 I don't know if AIPAC was before that or after that,
 2        MR. CAVALIER: Object to form.                   2 but I'm sure they could've found some other reason
 3        THE WITNESS: It's --                            3 to -- some other person to come up with a reason.
 4 BY MR. CARSON:                                         4 They had numbers. They had two of them, and there
 5    Q. Is that why?                                     5 was no indication whatsoever that either of them
 6    A. It's wrong for supervisors to be close to        6 would be fired. That was just a fear they had. No
 7 their -- the people they supervise.                    7 indication. And, for that matter, no indication
 8    Q. And why?                                         8 anytime after that. I didn't fire anybody. I had
 9    A. -- maintain -- because it complicates            9 no hint of firing anybody. I had no intention to
10 things in all sorts of ways, as we can see right      10 fire anyone. I called them my angels and my heroes,
11 here. Not a good idea. Do what you want on your       11 and I wanted it to work.
12 time. Stay away from close relations with people      12     Q. Gregg acknowledged that his conduct put
13 you supervise.                                        13 these women in a difficult position, correct?
14    Q. Were you Lisa Barbounis' supervisor at          14     A. Yes.
15 this time?                                            15     Q. So maybe that's the position they put him
16    A. I was not.                                      16 in is whether or not to -- well, you tell me. What
17    Q. So if Gregg Roman, her supervisor, directs      17 was the difficult position?
18 her to do something, and then she doesn't tell you    18     A. I just explained it to you.
19 about it, why would you think that she's complicit?   19     Q. Right, agreed. Okay. "You put this in
20    A. Why are we going over this again?               20 the context of calling yourself a 'social junkie'
21        MR. CAVALIER: Yeah. Object to --               21 who seeks constant social interaction." Did he
22        THE WITNESS: -- came to me in November.        22 explain what he meant by that?
23    Why didn't she come to me in, let's say, March     23     A. I think it's self-evident, isn't it?
24    when the -- I don't remember when it was --        24     Q. I do, actually. So are you aware -- have
                                              Page 182                                                       Page 184
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 1    let's say March was when the Israel trip was.       1 you ever done any research into people who have --
 2    Why did she not come to me? Why did she hide        2 who commit serial sexual misconduct?
 3    the whole trip from me? Why did Marnie not          3    A. I have not. Mr. Carson, I've told you
 4    tell me about what she was offered to do in         4 repeatedly I specialize in the Middle East, not
 5    Israel? Why did they wait eight months?             5 these matters. This is your area, not mine.
 6 BY MR. CARSON:                                         6    Q. Well, since you have someone like Gregg
 7    Q. Is it possible she was --                        7 Roman working for you, do you think maybe you
 8    A. Obviously, they were not scared because          8 should've done some research like that?
 9 they came to me, but they waited eight months.         9       MR. CAVALIER: Hey, Seth. Come on, man.
10 Isn't that a little suspicious, Mr. Carson?           10    I mean, really?
11    Q. No, not at all. Not even a little bit.          11       MR. CARSON: No. It's a serious question.
12    A. I see. So waiting eight months to come          12       THE WITNESS: I was approached by three
13 with allegations is perfectly normal and enhances     13    employees with complaints -- far-reaching
14 their credibility, does it?                           14    complaints about all sorts of topics. I
15    Q. Yes.                                            15    investigated and mitigated. I did not do
16    A. Okay.                                           16    research into their personalities. I did not
17    Q. The reason why is because if they were          17    do psychological research. I did not do legal
18 scared of losing their jobs, maybe they felt some     18    research. I did research into what is going
19 sort of safety in numbers by telling you the          19    on, and I mitigated it to their satisfaction.
20 complaints all at the same time. Did you ever         20    I don't see why you are suggesting that I
21 consider that?                                        21    should also have gone into all sorts of arcane
22    A. They had numbers. As I pointed out to you       22    research about psychology. No. I dealt with
23 previously, Marnie and Lisa knew of each other's      23    the problem in front of me. I'm a Middle East
24 offers to go to Israel. They could've come to me.     24    specialist. I'm the head of an organization.
                                           Everest Court Reporting LLC                             Page: 49 (181 - 184)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 51 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 185                                                      Page 187
                   ---                                                       ---
 1     I deal with problems when they arise. I did        1     organization. That's what I do, and I deal
 2     that here. I spent a week on it. I mitigated       2     with the problem, and I move on, and I think
 3     it to everyone's contentment. What more do you     3     this is a perfect example of dealing with a
 4     want?                                              4     problem and moving on.
 5 BY MR. CARSON:                                         5 BY MR. CARSON:
 6     Q. I wasn't suggesting that you seek out           6     Q. Well, I do, too, Mr. Pipes.
 7 arcane psychological research, but maybe current       7     A. Thank you.
 8 psychological research, maybe talk to an expert.       8     Q. The moving on part is the problem, though,
 9 Did you ever consider doing that?                      9 right? You moved on before the issues were actually
10         MR. CAVALIER: Object to form.                 10 dealt with, correct?
11         THE WITNESS: I did not need to talk to an     11     A. No. I dealt with all the issues. All
12     expert. I needed to talk to the individuals       12 four of the principals in this issue were content
13     who come to me and complain and listen to them    13 with the resolution I came up with. And, if you
14     carefully and figure out a solution.              14 don't know it, I have signed documents by all four
15 BY MR. CARSON:                                        15 of them to that effect. Yes, they didn't like one
16     Q. Well, based on some of the complaints that     16 or another aspect of it, but they signed it and
17 we heard today, it does appear Mr. Roman has an MO,   17 moved on. There were no complaints, not a single
18 doesn't it?                                           18 complaint. If there had been, I would've acted on
19         MR. CAVALIER: Object to form.                 19 it.
20         THE WITNESS: I know nothing about             20     Q. Other than November 2018?
21     Mr. Roman's private life.                         21     A. After the beginning of November. It was
22 BY MR. CARSON:                                        22 all consolidated in this one week. Nothing before,
23     Q. Isn't it your job to know something about      23 and nothing after.
24 it?                                                   24     Q. You definitely made that clear today. So
                                              Page 186                                                       Page 188
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 1        MR. CAVALIER: Object --                      1 you never had another credible unwanted allegation
 2        THE WITNESS: It is not my job to know        2 of sexual advances by Mr. Roman to a female staffer?
 3    about Mr. Roman's or any other employee's        3 See this sentence here? I can ask a better
 4    private life. I am only concerned if what they   4 question. You write here that you acknowledge
 5    do affects the Middle East Forum. So we had      5 that -- you're telling Gregg that he acknowledges
 6    another instance of that, I might remind you,    6 that, in the future, if there's another credible
 7    where Lisa Barbounis was going off to Britain,   7 unwanted sexual advance --
 8    and she was engaged in activities which are      8    A. It doesn't say --
 9    harmful to the Middle East Forum. She can go     9                 ---
10    where she wants and do what she wants, but she  10        (Indistinguishable    cross-talk.)
11    can't engage in activities which are harmful to 11                 ---
12    us, and so I protested them repeatedly. So      12        THE WITNESS: A credible. Not another
13    whenever -- whether it be Gregg or Lisa or      13    credible. A credible.
14    anyone else engages in activity which I deem    14 BY MR. CARSON:
15    harmful, particularly in conjunction with Marc 15     Q. I'm sorry. Say that again, Mr. Pipes.
16    on a legal basis, harmful to what we -- our     16    A. You misread that. You said another
17    work, I will bring it up. But if it's not       17 credible unwanted sexual advance, implying that I
18    harmful, Lisa can do what she wants. If it's    18 accepted the accusations against him were credible.
19    not harmful, Gregg can do what he wants. I am 19 I didn't write that. I wrote, if there is a future
20    not their den mother. I'm the head of an        20 case of a credible unwanted sexual advance, then I
21    organization. I'm concerned about the efficacy 21 will fire you, but I didn't imply that -- I took
22    and credibility of the organization. I have to  22 seriously that I believed them. I took them
23    raise funds for the organization. I'm           23 seriously, but it's a fine line. I took it
24    responsible for the employees of the            24 seriously and acted upon these complaints, but I did

                                           Everest Court Reporting LLC                             Page: 50 (185 - 188)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 52 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 189                                                      Page 191
                  ---                                                     ---
 1 not actually believe them.                           1 about it.
 2    Q. You never believed them, correct?              2     Q. You might be a faster reader than me. Are
 3    A. No. Well, I mean, what is there to             3 you --
 4 believe about a sexual advance when a woman says to 4      A. "On November 1st, I confirmed with you
 5 a man, I'm not gonna sleep with you? That is not     5 that I was aware of certain indiscretions between"
 6 exactly...                                           6 -- da, da, da, da -- "during a trip to Israel in
 7    Q. Mr. Pipes, what about that she felt the        7 May."
 8 need to point that out, though?                      8     Q. Take a minute and just read it to
 9    A. Well, that's not our case here, is it?         9 yourself, and tell me when you're ready.
10    Q. So Mr. Pipes agreed to the -- strike that.    10     A. Okay.
11 So Mr. Roman agreed to the new structure governing 11         MR. CAVALIER: Seth, if you got a natural
12 the employee, the employment relationship between   12     break point coming up, it's almost --
13 Mr. Roman and the female staffers, right?           13        MR. CARSON: Wanna do it now? You wanna
14    A. Yes. You have, I'm sure, the agreement        14     just do it now?
15 between -- signed agreement between Gregg and me. 15          MR. CAVALIER: -- 2:15. We can if you
16    Q. It looks like this is an email from           16     want to. I'm just thinking maybe we break for
17 Ms. McNulty, and it's addressed to you, and Marc    17     a half hour for lunch.
18 Fink is cc'd on it, and I think she's actually      18        MR. CARSON: Yeah. We can just do it now,
19 responding to an email that you wrote her. So you   19     whatever. We'll do this document when we get
20 see on Sunday, November 4th at -- strike that. On   20     back.
21 Sunday, November 4th, 2018 at 11:34 p.m., you sent  21        MR. CAVALIER: That works for me. You
22 an email with the subject line, "Allegations and    22     okay with that, Daniel?
23 consequences," correct?                             23        THE WITNESS: Yeah.
24    A. Correct, except it's a.m., not p.m.           24        THE VIDEOGRAPHER: All right. So it is
                                              Page 190                                                       Page 192
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 1     Q. Thank you -- a.m. -- and you sent -- you       1     2:10 p.m., and we are off the record.
 2 copied and pasted and sent this exact email to        2                 ---
 3 Ms. McNulty, Ms. Meyer, and Ms. Barbounis, correct? 3          (Whereupon there was a recess in the
 4     A. Correct.                                       4     proceeding from 2:10 p.m. to 2:49 p.m.)
 5     Q. And you -- I mean, I can show them to you,     5                 ---
 6 but I'll represent to you you sent all three of them  6        THE VIDEOGRAPHER: The time is 2:49 p.m.
 7 at 11:34 a.m. on November 4th. Do you remember        7     Eastern Time, and we are on the record.
 8 that?                                                 8 BY MR. CARSON:
 9     A. Yep. I don't know if I remember, but,          9     Q. All right. Let's do it. Do it to it.
10 yeah, I see it.                                      10 All right. So we left off, we were looking at this
11     Q. And I think that later the same day --        11 document, which looks like an email -- like we said
12 that evening, Ms. McNulty replied.                   12 before, it's an email. You sent this email to
13     A. Mm-hmm. Well, thank you for pointing this     13 Tricia in the morning, and then she replied. Just
14 out because it shows that she, too, is complicit --  14 tell me whenever you're ready.
15                  ---                                 15     A. Ready. I am ready.
16         (Indistinguishable cross-talk.)              16     Q. So today you testified that the only thing
17                  ---                                 17 that was reported to you by Patricia McNulty was
18         THE WITNESS: She also was aware of it, so    18 that Gregg sat too close to her on the couch. Do
19     all three were complicit.                        19 you remember that?
20 BY MR. CARSON:                                       20     A. Yep.
21     Q. Wait. What are we talking about now?          21     Q. So this email seems to describe a much
22 What are they complicit in?                          22 more significant incident. Don't you agree?
23     A. Hiding the trip to Israel and not saying      23     A. Well, this is the next day.
24 anything -- one, hiding it, and, two, not telling me 24     Q. Sorry?
                                           Everest Court Reporting LLC                             Page: 51 (189 - 192)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 53 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 193                                                      Page 195
                  ---                                                       ---
 1    A. This is the next day. This is not what           1        MR. CARSON: We're gonna wait for an
 2 she told me in her office. "Gregg put his arm           2   answer.
 3 around Lisa and myself and pulled me into him."         3       MR. CAVALIER: Then we're gonna be waiting
 4 Yeah, that is different from her initial testimony.     4   a long time.
 5    Q. Initial what?                                     5       MR. CARSON: Fine. Go off the record
 6    A. It's different from her initial statement         6   while we wait.
 7 to me.                                                  7       MR. CAVALIER: I disagree. Ask your next
 8    Q. Did you read this?                                8   question or call the judge. You wanna call
 9    A. I read it, yeah. It's not what she told           9   Judge Wolson and tell him you want Daniel
10 me on the first -- first time we spoke.                10   Pipes, the president of the Middle East Forum,
11    Q. I mean, what she describes is that he            11   to answer the question about where a woman's
12 abruptly asked the three men to leave. "At that        12   vagina is?
13 point, as the men were trying to wrap up the           13       MR. CARSON: Yeah, because it's
14 conversation with Matt, Gregg put his arm around       14   relevant --
15 Lisa and myself and pulled me into him so that I was   15                ---
16 almost in his lap and began whispering in my ear       16       (Indistinguishable cross-talk.)
17 that no other men should be in the room."              17                ---
18    A. Yep. I see it. That's not what she told          18       MR. CARSON: Jon, sorry, but it's relevant
19 me the day before.                                     19   to the case. The director of the Middle East
20    Q. Yeah, and her complaint alleges that he          20   Forum put his hand underneath my client's butt
21 put his hand underneath her to make that move.         21   right next to her vagina, so it's relevant.
22    A. Right, so she added the first round here         22       MR. CAVALIER: You can ask the next
23 and the second round about the hand under her.         23   question, or you can call the judge.
24    Q. Oh, so these are -- she's lying, right?          24 BY MR. CARSON:
                                               Page 194                                                       Page 196
                   ---                                                      ---
 1     A. She's inconsistent. I don't know what the       1     Q. You do understand that a woman's vagina is
 2 truth is. I wasn't there, but it's inconsistent.        2 underneath her, right? Underneath her, right next
 3     Q. Do you know --                                   3 to her butt?
 4     A. Also point out to you that -- No. 1 below,       4        MR. CAVALIER: Same objection, same
 5 because I witnessed his -- da, da, da, da, da --        5    instruction.
 6 nature, I worry more -- I -- well, she worries more     6        MR. CARSON: We're gonna call the judge if
 7 about his vindictive, manipulative, and volatile        7    I can't ask questions about this.
 8 nature more than sexual advances. So the sexual         8        MR. CAVALIER: Call the judge, please.
 9 advances were always secondary matter. It was the       9    Call Judge Wolson and tell him that you're
10 management of his team that she was unhappy about      10    asking these questions. I --
11 and everyone was unhappy about and I was unhappy       11        MR. CARSON: They're good questions, Jon.
12 about. Yeah.                                           12        MR. CAVALIER: Then call the judge.
13     Q. Do you know where a woman's vagina is?          13        MR. CARSON: He's gonna be instructed to
14        MR. CAVALIER: Hold on. Really?                  14    answer.
15        MR. CARSON: Yes. Do you know where a --         15        MR. CAVALIER: Call the judge.
16        MR. CAVALIER: Don't answer that, Daniel.        16 BY MR. CARSON:
17                 ---                                    17    Q. You do know that, right, Mr. Pipes?
18        (Indistinguishable cross-talk.)                 18        MR. CAVALIER: Ask legitimate questions of
19                 ---                                    19    this witness --
20        MR. CARSON: You're not cutting anything         20 BY MR. CARSON:
21     off, so stop threatening, and, second, he has      21    Q. You do know that, right? So you
22     to answer the question.                            22 understand why it might be a sensitive subject for
23        MR. CAVALIER: No, he doesn't. Don't             23 her to describe what Mr. Roman did to her, right?
24     answer the question.                               24 You understand that?

                                            Everest Court Reporting LLC                             Page: 52 (193 - 196)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 54 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 197                                                      Page 199
                   ---                                                      ---
 1        MR. CAVALIER: You can answer that               1     A. I don't know. Show me.
 2    question, Daniel.                                   2     Q. You asked her for a written statement, no?
 3        THE WITNESS: Ask it again.                      3     A. Show me. Show me --
 4        MR. CARSON: You can read back my                4     Q. Sure, I'd be happy to show you. I mean,
 5    question.                                           5 do you remember asking her for a written statement?
 6                 ---                                    6     A. I do not remember notes I sent two years
 7        (Whereupon the court reporter read back         7 ago. You have to show them to me. I see no request
 8    the pertinent testimony.)                           8 for more information. I see three questions. None
 9                 ---                                    9 of them inquire about -- ask for more information.
10        THE WITNESS: Yes. It's a sensitive             10 She offered it.
11    subject, and it was sensitive in April, and it     11     Q. You never asked her to provide more
12    was sensitive in November, and there's no          12 information?
13    reason in my mind that she should bring it up      13     A. Not in this letter.
14    only, what, seven months later.                    14     Q. Did you ever ask her in any other letters?
15 BY MR. CARSON:                                        15     A. I went around the day before and I
16    Q. Brought it up because she was asking you        16 inquired, what's going on? Tell me everything, and
17 for help, right?                                      17 she told me that he was too close to her on the
18    A. Yeah.                                           18 couch. That was it. I remember that distinctly.
19    Q. And you didn't help her, did you?               19 This increased the complaint, and your imaginary
20    A. Of course I did. I --                           20 complaint increased it further, that he put his hand
21    Q. What did you do, Mr. Pipes?                     21 under her, I think. That wasn't here, and it
22    A. Removed Gregg from her life.                    22 certainly wasn't the first day. So she elaborated
23    Q. Forever?                                        23 on it. What the truth is, I don't know. I just
24    A. Until she was happy to have him back.           24 know that having three different versions of the
                                              Page 198                                                       Page 200
                  ---                                                      ---
 1    Q. She was happy to have him back throughout        1 same thing makes me skeptical.
 2 the entire time after he came back?                    2     Q. You don't know what the truth is, right?
 3    A. And when the issue came up in March 9th,         3     A. Of course I don't, but I see three
 4 she said, I have no problems with Gregg.               4 different versions of it. I can read two, and the
 5    Q. Did she ever complain?                           5 third one I remember.
 6    A. No.                                              6     Q. Why don't you try reading this sentence
 7    Q. Never?                                           7 here, Mr. Pipes?
 8    A. Not after this, and not before this. This        8     A. I didn't ask for more, just what you told
 9 was the one time.                                      9 me already, and she elaborated on what she told me
10    Q. Okay.                                           10 the day before.
11    A. And I will point out that her note says         11     Q. Did you ask her about the elaboration?
12 that she's more worried about his personality,        12     A. No, I did not. I did not go into --
13 manipulative and so forth, than about sexual          13     Q. Did you ask her any other questions after
14 advances. This was not the issue. It was put          14 that?
15 aside.                                                15     A. You're interrupting me.
16    Q. But you were wrong when you said that she       16        MR. CAVALIER: Gonna let him answer?
17 only said that Gregg Roman was close to her on the    17        THE WITNESS: I did not go into any --
18 couch, right? That was wrong?                         18        MR. CARSON: He answered. He said, no, I
19    A. I'm not wrong. I'm reporting to you what        19     did not.
20 I was told by her on November 1st. The first          20 BY MR. CARSON:
21 escalation was November 2nd, and the second came in   21     Q. Did you ask him about any other questions
22 your imaginary complaints.                            22 after that?
23    Q. You asked her for a more detailed report,       23     A. I took at face value the complaints
24 correct?                                              24 against Gregg, I noted them, and I acted upon them.

                                           Everest Court Reporting LLC                             Page: 53 (197 - 200)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 55 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 201                                                      Page 203
                   ---                                                   ---
 1    Q. You still take them at face value?             1        THE WITNESS: And that they were ginned
 2    A. I took them at face value then. I have         2     up --
 3 learned a lot since then. I didn't know that         3 BY MR. CARSON:
 4 there'd be a third round where she would claim that  4     Q. I asked you a yes or no question,
 5 he put his hand under her at this time.              5 Mr. Pipes.
 6    Q. Well, how do you think he pulled her onto      6     A. I am allowed to answer as I wish, I
 7 her?                                                 7 believe; am I not?
 8    A. You're interrupting me again.                  8     Q. Actually, not true, but go ahead. You can
 9    Q. How do you think he pulled her onto her?       9 finish your response. It was a yes or no question.
10    A. Could I finish --                             10     A. What is your question?
11    Q. Answer both questions at the same time.       11     Q. I said, today, you know that they're
12    A. No. I'll finish one, and then you will        12 false?
13 proceed.                                            13     A. Yes.
14    Q. Do it in the order you wanna do it,           14     Q. So you do know what happened then?
15 Mr. Pipes.                                          15     A. I know it didn't happen.
16    A. I've lost my train of thought. Could I        16     Q. What didn't happen?
17 ask the court reporter from where I was?            17     A. What these inconsistent, variable
18                 ---                                 18 accusations claim happened.
19        (Whereupon the court reporter read back      19     Q. So Gregg Roman never pulled Tricia onto
20    the pertinent testimony.)                        20 his lap?
21                 ---                                 21     A. I don't know.
22        THE WITNESS: I have learned a great deal 22         Q. That never happened?
23    about these complaints in the two years since.   23     A. I know that she gave three different
24    I've been made aware of all sorts of             24 accounts of it, and I find that implausible.
                                              Page 202                                                       Page 204
                   ---                                                      ---
 1    interactions. I can't give you chapter and          1     Q. None of the counts contradict each other,
 2    verse, but I've become aware of a far more          2 Mr. Pipes, do they?
 3    elaborate ruse than I was aware of at the time.     3     A. They do.
 4    I just took it at face value at the time. Now,      4     Q. How? Tell me the contradictions.
 5    no, I do not. Now I'm highly skeptical.             5     A. The first time was that he was just too
 6 BY MR. CARSON:                                         6 close to her, which I found odd. That's why I
 7    Q. You've learned that Gregg Roman is a             7 remember it so clearly. Too close to her?
 8 sexual predator, correct?                              8 That's -- in a room full of people on, apparently,
 9        MR. CAVALIER: Object to form.                   9 couch full of people? Okay. You say so. I
10        THE WITNESS: I've learned that the             10 didn't -- I didn't argue with her. I just took it,
11    accusations against him are false.                 11 and I removed him from her life, or at least almost
12 BY MR. CARSON:                                        12 entirely from her life, so she had only a few
13    Q. I thought you just said you don't know if       13 electronic communications with [inaudible].
14 they're false.                                        14     Q. Mr. Pipes, how is that a contradiction?
15    A. I didn't know then. I just took it at           15 If he pulled her onto his lap, wouldn't that be too
16 face value in early November 2018.                    16 close?
17    Q. So now you know they're false?                  17     A. No. That would be different.
18    A. Move ahead to November 2020, and I have         18     Q. It's not too close if he pulls her onto
19 had a lot more information. I have looked at it far   19 his lap? That's okay?
20 more in detail, and I came to the conclusion these    20     A. No. I didn't say it's okay. I said it's
21 are false and --                                      21 a different complaint. She --
22    Q. So you know what happened?                      22     Q. But it's not a contradiction, is it?
23    A. Let me finish --                                23     A. She mentioned nothing about pulling him to
24        MR. CAVALIER: Let him finish his answer.       24 her on her lap, and she mentioned nothing about

                                           Everest Court Reporting LLC                             Page: 54 (201 - 204)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 56 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 205                                                      Page 207
                   ---                                                     ---
 1 putting his hand under her in the initial statement    1    A. Lisa was on the other side and couldn't
 2 she made to me.                                        2 see. She has made that clear.
 3     Q. And if he wrapped his hand around her and       3    Q. Has she made that clear? Were you at her
 4 pulled her onto his lap by using her backside,         4 deposition the other day?
 5 that's not a contradiction either, right? There's      5    A. I was.
 6 never been a contradiction in Ms. McNulty's            6    Q. So you heard her testimony that she was
 7 statements, has there?                                 7 looking right at him, correct?
 8     A. An inconsistency.                               8    A. I believe --
 9                 ---                                    9       MR. CAVALIER: Object to the
10        (Indistinguishable cross-talk.)                10    categorization and description.
11                 ---                                   11       MR. CARSON: I'm describing my client's
12        THE COURT REPORTER: One at a time, guys.       12    testimony at her deposition.
13        THE WITNESS: It is a very substantial          13                ---
14     inconsistency that puts her statements into       14       (Indistinguishable cross-talk.)
15     doubt in my mind.                                 15                ---
16 BY MR. CARSON:                                        16       THE WITNESS: -- where Gregg's hand was.
17     Q. There's never been a single                    17 BY MR. CARSON:
18 inconsistency --                                      18    Q. So you've heard Lisa swear under oath that
19        MR. CAVALIER: Objection. Asked and             19 she watched him pull Patricia onto his lap, correct?
20     answered. Daniel, you've answered this            20       MR. CAVALIER: Object to form.
21     already. Seth, move on.                           21       THE COURT REPORTER: What was the answer?
22 BY MR. CARSON:                                        22       THE WITNESS: Yes.
23     Q. Right?                                         23 BY MR. CARSON:
24     A. Right what?                                    24    Q. You heard him, right? You heard her
                                              Page 206                                                       Page 208
                   ---                                                       ---
 1     Q. There's never been a single inconsistency,      1 testify to that, correct?
 2 has there?                                             2     A. Yup.
 3     A. I've just pointed out two inconsist --          3     Q. She also corroborated to you at the time,
 4 three inconsistencies.                                 4 right, back in November?
 5     Q. How? What are they?                             5     A. Who?
 6        MR. CAVALIER: Objection. Asked and              6     Q. Lisa.
 7     answered.                                          7     A. I don't remember. Show me.
 8        THE WITNESS: First one was that he was          8     Q. Well, wouldn't she have been a witness
 9     just too close; second one was that he pulled      9 that you could've talked to about this incident?
10     her onto his lap; third one was he put his hand   10     A. I spoke to Tricia about Tricia, Lisa about
11     under her as well as the first two.               11 Lisa, and Marnie about Marnie.
12 BY MR. CARSON:                                        12     Q. So you didn't care about talking about --
13     Q. So according to you, because of those, it      13 getting witness statements?
14 never happened, right?                                14         MR. CAVALIER: Object to form.
15     A. I didn't say that. I said her testimony        15         THE WITNESS: I asked --
16 is not credible with me because she has changed her   16 BY MR. CARSON:
17 testimony over time.                                  17     Q. Did you care about getting witness
18     Q. You don't like -- strike that. You             18 statements?
19 weren't there, were you?                              19         MR. CAVALIER: Seth, listen. You're not
20     A. No, I wasn't.                                  20     on television. You're not in front of a jury.
21     Q. So you don't know whether this happened,       21     If you wanna ask questions, let him answer the
22 do you?                                               22     questions.
23     A. I have no idea what happened.                  23 BY MR. CARSON:
24     Q. Did Lisa corroborate it?                       24     Q. Did you care about getting witness
                                           Everest Court Reporting LLC                             Page: 55 (205 - 208)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 57 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 209                                                      Page 211
                    ---                                                      ---
 1 statements?                                            1 them up.
 2     A. I got witness statements.                       2     Q. So you --
 3     Q. I thought you just said you talked to --        3     A. Let me finish. I didn't inquire. I took
 4                  ---                                   4 it at face value that these were text messages that
 5         (Indistinguishable cross-talk.)                5 she sent at that time, in that place, made no
 6                  ---                                   6 inquiry. I took all three of their statements at
 7         THE COURT REPORTER: Guys, just so you          7 face value and took drastic, radical action to
 8     know, every time there's an interruption, it's     8 mediate their problems, and they were content with
 9     gonna be a very unclear record.                    9 it. And I ask again, why are we here discussing
10         MR. CAVALIER: I mean, this whole              10 this when everybody was happy with it, and nobody
11     thing's --                                        11 had a complaint after that? What grounds are there
12         THE WITNESS: I cared about witness            12 to be discontent? They said -- and look at this
13     statements, and I collected witness statements.   13 very note that you point out to me from Tricia that
14     I did not ask each about the other. I asked       14 says that the least of my -- more or less, my main
15     each about herself and herself alone, and it      15 problem is not sexual harassment and sexual things.
16     wasn't just the sexual topic; it was the whole    16 It's other things. Gregg's being a bad --
17     range of displeasure with Gregg's behavior as a   17                  ---
18     manager, and I took this all in, I took notes     18         (Indistinguishable cross-talk.)
19     on it, which I may or may not have, and I --      19                  ---
20 BY MR. CARSON:                                        20         THE WITNESS: That was the gist of it.
21     Q. You gotta speak up.                            21     Yes, there was a sexual component. It was
22     A. I investigated it, and I mitigated it, and     22     minor. It was put aside. Look at Stacey
23 everybody was satisfied with it. So why are we        23     Roman's notes on the meeting on the 5th of
24 talking about it now?                                 24     November. It was all about this and that and
                                              Page 210                                                       Page 212
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 1     Q. So you didn't try to corroborate any of     1     the other. Not a word about sexual --
 2 the allegations that any of these women made? Is   2 BY MR. CARSON:
 3 that your testimony?                               3     Q. I asked you a yes or no question.
 4     A. I took their allegations at face value and  4     A. All right, and I can answer as I wish.
 5 acted upon them.                                   5     Q. So -- but you can't just talk for five to
 6     Q. So trying to get to the bottom of it and    6 ten minutes without --
 7 find out if these things really happened wasn't    7     A. I believe I can, and I will do so if I
 8 really a concern of yours, was it?                 8 want to.
 9        MR. CAVALIER: Object to form.               9     Q. Actually, you're not going to. So -- so
10        THE WITNESS: I took their allegations at   10 Mr. Pipes, your -- the way you reacted to these
11     face value and did --                         11 allegations, you reacted as if all of them were
12 BY MR. CARSON:                                    12 true? Is that your testimony, yes or no?
13     Q. Don't you wanna know if Gregg did it?      13     A. I reacted to them, yes.
14        MR. CAVALIER: Seth, how many times you 14         Q. So if Gregg Roman stuck his foot up Lisa's
15     gonna interrupt the guy?                      15 ass, and if Gregg Roman had sex with an 18-year-old
16        MR. CARSON: He answered my question.       16 intern and lured her to his room to get something
17 BY MR. CARSON:                                    17 signed in the course and scope of his position as
18     Q. Don't you wanna know if Gregg did it?      18 director, and if Gregg Roman put his hand under
19     A. I took at face value that he did it. I     19 Patricia's butt and dragged her onto his lap and
20 listened to them, and I acted upon it. I did not  20 started whispering inappropriate things in her ear,
21 engage in a forensic investigation into it beyond 21 your response was to let him maintain his
22 that. I did not, for example, look at Lisa's text 22 directorship?
23 messages in context. I just looked at them on her 23        MR. CAVALIER: Object to form across the
24 phone, and she showed me. Now, she could've made 24      board.
                                           Everest Court Reporting LLC                             Page: 56 (209 - 212)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 58 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 213                                                      Page 215
                   ---                                                     ---
 1        MR. CARSON: Your objection's noted.              1    hypothetical --
 2 BY MR. CARSON:                                          2 BY MR. CARSON:
 3    Q. You can answer.                                   3    Q. That's not your business?
 4    A. Lea Merville is not at issue here.                4        MR. CAVALIER: You can answer if you can.
 5    Q. Yeah, I know. She wasn't an issue for you         5        THE WITNESS: If Lisa Barbounis goes to a
 6 ever, right?                                            6    member of the MEF staff and lures her to his --
 7    A. No. She never came to me.                         7    to her room for sex, it's also not my business.
 8    Q. You never did anything about Lea -- the           8    Yeah, these are not my business.
 9 issues that dealt with -- that pertained to Lea         9 BY MR. CARSON:
10 Merville, correct?                                     10    Q. So you're comparing consensual sex -- Lisa
11    A. I never did. She never came to me.               11 Barbounis' decision to have consensual sex with
12    Q. It never did --                                  12 someone to quid pro quo sexual harassment? That's
13    A. -- true and what's not true. I don't know        13 your --
14 what her views are. I don't know if she -- anything    14        MR. CAVALIER: Object to form, and object
15 happened. I don't know if she want it to happen. I     15    to the mischaracterization of --
16 know nothing.                                          16 BY MR. CARSON:
17    Q. Could you have called her?                       17    Q. Are you comparing those two things?
18    A. Not my business. I had three employees           18    A. No.
19 who were unhappy and put matters aforth [sic] --       19    Q. Then why do you keep saying that,
20 without the sex part -- four employees who were        20 Mr. Pipes? What does Lisa Barbounis' decision to
21 unhappy, and I had to deal with it.                    21 have sex with someone have to do with anything in
22    Q. Did you just say it's not your business?         22 this case?
23    A. What relations Gregg has with others who         23    A. These are both actions -- sexual actions
24 don't protest to me, no, it's not my business.         24 that people doing on their own private time, and no
                                               Page 214                                                       Page 216
                    ---                                                       ---
 1     Q. So it only becomes your business if              1 one has come to me to complain about it, and,
 2 someone complains to you directly? Is that your         2 therefore, it's not my business. I am --
 3 testimony?                                              3    Q. So you're only responsible --
 4         MR. CAVALIER: Object to form.                   4    A. Let me finish.
 5         THE WITNESS: There could be other               5    Q. You just --
 6     conditions, but what we're talking about now is     6    A. Let me finish.
 7     three employees who came to me with specific        7    Q. Go ahead, Mr. Pipes. Finish your answer.
 8     allegations, and I dealt with them.                 8    A. I am president of the Middle East Forum.
 9                  ---                                    9 I am not their chaperones.
10         (Indistinguishable cross-talk.)                10    Q. You're not their den mother, right?
11                  ---                                   11    A. I'm not their den mother. Thank you. I
12         THE WITNESS: I have now, since then,           12 am not concerned unless someone comes to me -- I
13     engaged in lawsuits that seem to pretend that I    13 have a big job. I have to raise money. I have to
14     didn't deal with them.                             14 engage in scholarship. I have to oversee the
15 BY MR. CARSON:                                         15 institution, and I do not go inquire of people, how
16     Q. So if Gregg Roman entices a 18-year-old         16 are you feeling today? Any problems? No. They
17 intern to a hotel room and says, you'll come to my     17 come to me. I made it clear from the beginning. No
18 hotel room if -- and I'll sign your document, that's   18 surprises, open door, come to me. Any problems,
19 not your business?                                     19 come to me, and they came to me and --
20         MR. CAVALIER: Object to form. Object to        20    Q. If they don't come to you, it's not your
21     lack of foundation --                              21 business?
22 BY MR. CARSON:                                         22    A. Right. What am I -- I don't delve into
23     Q. That's not your business?                       23 their private lives.
24         MR. CAVALIER: -- incomplete                    24    Q. It's not your problem?
                                            Everest Court Reporting LLC                             Page: 57 (213 - 216)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 59 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 217                                                      Page 219
                  ---                                                       ---
 1     A. It's not --                                     1    Q. Did you think these situations warranted a
 2     Q. Right?                                          2 personal response?
 3     A. -- something I know about.                      3    A. Yes.
 4     Q. You're too important of a person?               4    Q. So why did you send them the exact same
 5        MR. CAVALIER: Object.                           5 email? You sent Marnie the same email, too. Why?
 6        THE WITNESS: I have a job. My job is to         6    A. Because I wanted to have a single
 7     pay close attention to my employees if they        7 arrangement with everyone, and everyone was content
 8     have a problem.                                    8 with it. There were no special circumstances for
 9 BY MR. CARSON:                                         9 one or the other person.
10     Q. Whose job it is [sic] to make sure that        10    Q. Shouldn't there have been special
11 Gregg Roman doesn't violate the rights of women who   11 circumstances since each one of them was alleging
12 work for the Middle East Forum? Isn't that your       12 special conduct -- different conduct?
13 job, too, Mr. Pipes?                                  13    A. No.
14     A. My job is to be concerned with the welfare     14    Q. No, okay. So Ms. Barbounis tells you that
15 of my employees, whatever gender they may be and      15 she's not at all happy with Mr. Roman's response to
16 whatever their issues may be, and I take concern. I   16 the allegations, correct?
17 think you have Exhibit A in front of you. When I      17    A. I have to read it. I note his
18 was presented with a problem, I dealt with it         18 inappropriate behavior is the least of my concerns.
19 expeditiously and successfully. The issue was         19 More troubling is the deceit and abusive behavior I
20 closed until certain people wandered in and raised    20 witness and experience on a weekly basis, which
21 it and asked for $31 million.                         21 increased after the Israel incident. And this is,
22     Q. You would characterize the way you handled     22 rather, what Tricia said -- least of her concerns,
23 this as successful?                                   23 that this was a minor matter -- and then they go on
24     A. I certainly would.                             24 about all the bad things that Gregg did as a
                                              Page 218                                                       Page 220
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 1     Q. Sitting here today?                          1 manager. Right, understood. That's what I heard
 2     A. Yes, very successful. I have --              2 loud and clear.
 3     Q. I applaud your honesty.                      3    Q. So, Mr. Pipes, you decided to interpret
 4     A. -- four written -- signed documents          4 that sentence as minimizing the sexual misconduct
 5 saying, go ahead, I'm content. You have them right 5 and not outlining the seriousness of the deceit and
 6 here in front of you. They all signed --            6 the abusive behavior?
 7     Q. Mr. Pipes, I'm gonna direct your attention   7        MR. CAVALIER: Object to form.
 8 to another exhibit. It's marked 0005 to 6. Let's    8 BY MR. CARSON:
 9 just take it up to 7. All right. And, again, see    9    Q. Why? Why did you decide to interpret it
10 this email? It's the exact same email you sent to  10 that way?
11 Patricia McNulty?                                  11    A. I'm reading her words. His, quote,
12     A. Yup.                                        12 "inappropriate behavior," unquote, is the least of
13     Q. You didn't draft a separate email for her.  13 my concern.
14 You sent the same -- you didn't draft a separate   14    Q. Compared to the deceit and the abusive
15 email for Lisa. You sent her the same email you    15 behavior, she said.
16 sent Ms. McNulty, correct?                         16    A. Least of my concern. Least of my concern.
17     A. Correct.                                    17 That was not her major issue. Tricia said roughly
18     Q. And you sent it the exact same time,        18 the same thing. Marnie, I believe, said roughly the
19 correct?                                           19 same thing. All our discussions --
20     A. Yep.                                        20    Q. Mr. Pipes --
21     Q. You didn't think these situations           21    A. Let me finish.
22 warranted a personal response?                     22    Q. Right. You're gonna answer the
23        MR. CAVALIER: Object to form.               23 question --
24 BY MR. CARSON:                                     24    A. Let me finish.
                                           Everest Court Reporting LLC                             Page: 58 (217 - 220)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 60 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 221                                                      Page 223
                   ---                                                 ---
 1                 ---                               1 you're answering right now? You don't even know
 2        (Indistinguishable cross-talk.)            2 what you're answering.
 3                 ---                               3         MR. CAVALIER: Seth, this is gonna take a
 4        THE COURT REPORTER: Okay. Guys, this is 4        long time, and you're gonna have a really
 5    my last time, okay? From here on out, it's     5     jumbled record if you don't let him answer the
 6    gonna be whatever comes out, comes out.        6     question --
 7        MR. CAVALIER: I'm amazed you've managed 7            MR. CARSON: I strike my last question.
 8    to go this long, Grace.                        8     I'm moving on.
 9        THE COURT REPORTER: Me, too.               9         MR. CAVALIER: If you want different
10                 ---                              10     answers, ask different questions. Otherwise,
11        (Indistinguishable cross-talk.)           11     let him --
12                 ---                              12         MR. CARSON: -- yes or no question. Every
13        THE WITNESS: -- I get to talk and then    13     time I ask a question, your client decides he's
14    you wait till --                              14     gonna go off on a speech about god knows what.
15        MR. CARSON: You have to answer the        15     So we're gonna get a clear record, and we're
16    questions I ask.                              16     gonna focus on the questions that I'm asking.
17        THE WITNESS: No, I don't.                 17         MR. CAVALIER: Clear record went out the
18        MR. CAVALIER: He is answering the         18     window long ago.
19    questions.                                    19 BY MR. CARSON:
20        MR. CARSON: You actually do, Mr. Pipes.   20     Q. So, anyway, Mr. Pipes, why do you not
21    I ask the questions. You answer the questions 21 highlight the deceit and the abusive behavior? Why
22    I ask.                                        22 are you attributing that to his management style?
23        MR. CAVALIER: He's allowed to give his    23 It doesn't say anything about that in this email,
24    complete answer, Seth. You know that.         24 does it?
                                               Page 222                                                       Page 224
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 1        MR. CARSON: Can't answer whatever                1      A. I'm gonna resume where I was interrupted.
 2    question that you wish I asked.                      2      Q. Mr. Pipes, forget about the last question.
 3        MR. CAVALIER: He's allowed to expound on         3 I'll withdraw it. More troubling is the deceit and
 4    his answer. You don't have the right to demand       4 the abusive behavior, it says.
 5    a yes or no from him. If he feels the complete       5      A. I'm gonna resume my prior answer.
 6    answer needs to explain, then he can explain         6      Q. You don't have to. It's not --
 7    it. He took an oath to tell the whole truth.         7      A. I'm going to.
 8 BY MR. CARSON:                                          8      Q. I withdrew the question. There's no
 9    Q. So my next question is this.                      9 question pending.
10    A. I am not gonna deal with your next               10      A. I wanna finish what I was saying.
11 question. I'm gonna deal with what I was saying.       11      Q. You just wanna go off on a speech?
12    Q. Do you know what you were saying?                12         MR. CARSON: We're gonna go off the
13    A. Yes, I know what I was saying.                   13      record, then, if he's gonna just go off on a
14    Q. Go ahead. Finish.                                14      speech. There's no question, Jon.
15    A. Lisa said here in words I'll, again,             15         MR. CAVALIER: Daniel, let him ask the
16 quote, his inappropriate behavior is the least of my   16      next question. If he's withdrawing the prior
17 concern. Tricia said something similar. Marnie         17      question, there's no point in finishing your
18 said something similar. The emphasis of all three      18      answer. He can withdraw the question if he
19 was -- and Matt as well -- was on his being a bad      19      wants to.
20 manager. Deceit, abuse, manipulation, and so forth.    20 BY MR. CARSON:
21 Yes, they had a lot of complaints about him.           21      Q. "More troubling is the deceit and the
22    Q. Why do you --                                    22 abusive behavior." What does that have to do with
23    A. Let me finish.                                   23 management style?
24    Q. Mr. Pipes, do you know what question             24      A. That was her complaint about his
                                            Everest Court Reporting LLC                             Page: 59 (221 - 224)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 61 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 225                                                      Page 227
                  ---                                                    ---
 1 management.                                            1   Q. Where?
 2     Q. Where does it say that?                       2     A. "More troubling is the deceit and abusive
 3     A. That's what it's about.                       3 behavior I witnessed and experienced on a weekly
 4     Q. Why? Where does it say it?                    4 basis, which increased after the Israel incident."
 5     A. She was working with him, and she found       5     Q. Why do you think that's about his
 6 his management to be deceitful, abusive, and much    6 management style?
 7 else. She had a long list of complaints, and others  7     A. Because he was her manager.
 8 have other complaints, and this is what you will --  8     Q. Couldn't she have been talking about
 9 if you look at my letter to Gregg, I dealt with it.  9 sexual misconduct when she said that?
10 I dealt with all the problems in his being the      10     A. No. She just said that sexual misconduct,
11 supervisor of all these personnel. He did a bad     11 which she referred to as "inappropriate behavior,"
12 job.                                                12 was the least of her concerns. No. She was
13     Q. Does she say that she's talking about his    13 concerned with him as a manager, as was Tricia, as
14 management style?                                   14 was Marnie, as was Matt, and as was I.
15     A. Let me finish. He has many virtues, he       15     Q. That's how you interpreted this letter?
16 has many skills, but he was a bad manager, and I    16     A. That's how I interpreted this letter.
17 didn't argue with them. I accepted that he was --   17     Q. Did you ever ask Lisa what she meant by
18     Q. Okay. Thank you, Mr. Pipes.                  18 it?
19     A. Let me finish.                               19     A. We had long discussion. This is a summary
20     Q. Mr. Pipes, you're not just gonna go off on   20 of our long discussion.
21 a speech. I didn't ask anything about his           21     Q. Did you have a discussion after she
22 management style. My question was, where does it 22 sent --
23 say in here that she's talking about his management 23     A. Don't interrupt me. And our long
24 style? You're not gonna go off on a speech every    24 discussion was about her many grievances with Gregg
                                              Page 226                                                       Page 228
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 1 time I ask a question, all right? You have to          1 as a manager.
 2 answer the questions I ask.                            2     Q. When was that discussion?
 3     A. -- the rules of a deposition and what I'm       3     A. November 1st.
 4 allowed --                                             4     Q. So this email was sent on November 4th, so
 5        MR. CARSON: Jon, can you please explain         5 did you ever have a discussion with her about this
 6     to your client that he has to answer --            6 email?
 7        MR. CAVALIER: Seth, if you ask him              7     A. I don't think so. I don't remember.
 8     open-ended --                                      8     Q. You never followed up with her to talk to
 9        MR. CARSON: It wasn't an open-ended             9 her about the deceit and the abuse?
10     question. Jon, I said, where does it say in       10        MR. CAVALIER: Object to form.
11     this email that he's talking about management     11        THE WITNESS: I dealt with this by
12     style?                                            12     removing him from her -- being her manager. I
13        MR. CAVALIER: He's trying to --                13     did what she wanted. I took Gregg out of her,
14        MR. CARSON: It's a yes or no question.         14     Tricia's, and Marnie's lives, and, to some
15     He points out the answer as pointing out          15     extent, Matt's as well.
16     something in the email that he's referencing.     16     Q. Did you deal with the comment that if Lisa
17        THE WITNESS: "Where" is not a yes or no        17 crosses Gregg, he's gonna slit her throat?
18     question.                                         18     A. She told me about this, and she also told
19        MR. CAVALIER: He's trying to explain to        19 me that she threatened to slit him, slit his throat
20     you where he learned the information.             20 if he didn't behave. So, yeah, this is the way she
21 BY MR. CARSON:                                        21 talks.
22     Q. Does it say in this email that she's           22     Q. But she's not the one who said that.
23 talking about his management style, yes or no?        23 Gregg said that, according to her, right?
24     A. Yes.                                           24     A. Gregg talks that way, too.
                                           Everest Court Reporting LLC                             Page: 60 (225 - 228)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 62 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 229                                                      Page 231
                    ---                                                    ---
 1     Q. That's how Gregg talks, right? He              1 which this is only one.
 2 threatens to slit people's throats?                   2    Q. Do you believe those things?
 3     A. I am not --                                    3        MR. CAVALIER: Object to form.
 4         MR. CAVALIER: Object to form.                 4        THE WITNESS: He did acknowledge that he
 5         THE WITNESS: -- other than this one or        5    said nasty things about me, yeah. And,
 6     this. I don't know about this, but the point      6    therefore, I'll add I put him on probation and
 7     is that this is a summary of what our             7    said, any serious mistakes you make, you're
 8     discussions have been, and we moved on.           8    gone. And I also, I might add, looked for
 9 BY MR. CARSON:                                        9    someone to replace him right there in November.
10     Q. She --                                        10 BY MR. CARSON:
11     A. -- put down on the record her -- her          11    Q. And while he was on probation, he never
12 complaints, her problems, and she agreed at the end  12 once -- you never once got any complaints about him,
13 of it to the arrangement I had suggested, and we all 13 right?
14 moved on, and there was no more discussion of this.  14    A. Correct. I remember --
15 Zero. We --                                          15    Q. Sure.
16     Q. Do you agree with Gregg --                    16    A. So, yes, he made lots of mistakes before
17     A. Let me finish. We addressed it intensely      17 November 1st.
18 for a week, and then we moved on and never discussed 18    Q. You're not in focus.
19 it again, except with the minor exception of         19    A. Lots of mistakes. And, at the same time,
20 March 9th when we alluded to it, and everybody said, 20 he's very skilled, so I said, stop making the
21 no problem. Otherwise, it never came up until your   21 mistakes. I'll limit -- I'll reduce your
22 concocted lawsuits.                                  22 remuneration. I'll take away all these perks and
23     Q. Yeah. You said that about 30 times today.     23 benefits you have. Show me what you can do, that
24 On November 5th, 2018, you had a meeting, correct?   24 you are -- continue to be skilled and behave
                                              Page 230                                                       Page 232
                  ---                                                      ---
 1     A. On which date?                                 1 yourself and not do this again, and he did.
 2     Q. On November 5th, 2018, you had a meeting? 2          Q. Did you ever take away any perks or
 3     A. Yes.                                           3 benefits from Gregg Roman?
 4     Q. Right, and then after that you moved on;       4     A. Yes, lots. You have a letter.
 5 is that right?                                        5     Q. Which ones did you take away?
 6     A. Yeah. Within a few days.                       6     A. You have the letter. You showed me the
 7     Q. Can't hear you.                                7 letter --
 8     A. Within a few days, yes. I mean, I asked        8     Q. He didn't lose any money, right? You
 9 the project directors as well.                        9 didn't take away his salary?
10     Q. Take a minute and read the rest of the        10     A. He did. He lost something in the order of
11 paragraph.                                           11 $27,000.
12     A. Which one?                                    12     Q. How much?
13     Q. This one, and you can read the one below,     13     A. $27,000.
14 too. Let me know when you want me to move down. 14          Q. How did he lose $27,000?
15 Well, I can ask, do you agree with Gregg that MEF is 15     A. The medical insurance I took away.
16 better without you?                                  16     Q. You took it away from everyone because you
17        MR. CAVALIER: Object to form.                 17 said it's not your policy to do that, right?
18 BY MR. CARSON:                                       18     A. No. I didn't take away from -- it all
19     Q. Says here that Gregg claims MEF is better     19 from anyone, and I only took it all away from him.
20 without you. Do you agree with that, Mr. Pipes?      20     Q. Gregg Roman bought that policy for the
21     A. No, I don't.                                  21 office without your permission, correct?
22     Q. Do you ever talk to Gregg about that?         22     A. Correct.
23     A. I raised with him, in general, the nasty      23     Q. Right?
24 things that I was told that he said about me, of     24     A. Right.
                                           Everest Court Reporting LLC                             Page: 61 (229 - 232)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 63 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 233                                                      Page 235
                   ---                                                       ---
 1    Q. You didn't want him to do that. He went          1     Q. Well, could Gregg Roman do anything that
 2 rogue and did it on his own, right?                    2 could lead to his termination? Is there anything --
 3    A. Right, so I punished him by taking the --        3 is there way you would ever consider firing him?
 4    Q. Right. Had nothing to do with the sexual         4         MR. CAVALIER: Same objection.
 5 harassment, right?                                     5         THE WITNESS: I -- you saw the letter to
 6    A. No. The sexual harassment meant that he          6     him, and I said, if there's anything along
 7 was excluded from the office. Other problems --        7     these lines, you will be fired immediately.
 8 spending money --                                      8 BY MR. CARSON:
 9    Q. You keep going out of focus, Mr. Pipes,          9     Q. Well, today we know there is something
10 something about your green screen effect. We need a   10 along those lines, correct?
11 clear record of the video for the courtroom, so you   11         MR. CAVALIER: Object to form.
12 gotta like move your chair up or something like       12         THE WITNESS: Post November. If there's
13 that. Yeah, there you go.                             13     anything post November 5th, 6th, he would be
14                 ---                                   14     fired. He did not --
15        (Indistinguishable cross-talk.)                15                  ---
16                 ---                                   16         (Indistinguishable cross-talk.)
17 BY MR. CARSON:                                        17                  ---
18    Q. Did you talk to Thelma Prosser about what       18         THE WITNESS: Nobody complained, and
19 she meant when she said that Gregg was borderline     19     therefore he --
20 unbearable?                                           20 BY MR. CARSON:
21        MR. CAVALIER: Object to form.                  21     Q. You gotta speak up.
22        THE WITNESS: I went around and talked to       22     A. Nobody complained after November 5th or so
23    everyone about everything that was on their        23 and --
24    minds November 1st. Whether I went back to         24     Q. Alana Goodman.
                                              Page 234                                                       Page 236
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 1    them again, I don't think so. Whether she       1     A. Alana Goodman did not complain to me.
 2    mentioned that on November 1st, I can't         2     Q. So you can pick up the phone and call her
 3    remember, but I got a complete download of all  3 and find out if Gregg is using his position as the
 4    these many, many complaints about Gregg, which 4 director of the Middle East Forum to try to force
 5    were generally quite consistent that he was     5 reporters to have sex with him, right?
 6    doing lots of things wrong as director of the   6         MR. CAVALIER: Object to -- oh, he's gonna
 7    Middle East Forum, and I excluded him from the 7      call everybody in the world just to ask
 8    office for the sake of getting him out of the   8     about --
 9    women's hair so there wouldn't be any           9                  ---
10    allegations and so forth, protect him as well  10         (Indistinguishable   cross-talk.)
11    as them. And, on the other hand, I took away   11                  ---
12    all sorts of perks and powers because of his   12         MR. CARSON: -- complain that Gregg Roman
13    mistakes as director. So I addressed both      13     is trying -- yelling at them across a bar to go
14    issues simultaneously and, as you know, got    14     to his hotel room in 30 minutes or he's gonna
15    the --                                         15     give the story to somebody else.
16 BY MR. CARSON:                                    16 BY MR. CARSON:
17    Q. Gotta speak up.                             17     Q. How about just call those people,
18    A. As you know, I got the agreement of the     18 Mr.  Pipes? Did you ever consider that?
19 principals involved.                              19         MR. CAVALIER: Object to form. Object to
20    Q. What would it take to fire Gregg Roman?     20     foundation. Object to the hypothetical.
21        MR. CAVALIER: Object to form. Object to 21 BY MR. CARSON:
22    the incomplete hypothetical.                   22     Q. You know about it now. You just listened
23        THE WITNESS: Hypothetical.                 23 to the recording. Have you ever considered it?
24 BY MR. CARSON:                                    24 What do you consider --

                                           Everest Court Reporting LLC                             Page: 62 (233 - 236)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 64 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 237                                                      Page 239
                  ---                                                        ---
 1    A. I heard a recording. I don't know its             1        THE WITNESS: Yes.
 2 providence. I don't know if it's a paid actress. I      2 BY MR. CARSON:
 3 don't know anything about it.                           3     Q. You really think that?
 4    Q. Do you know who Alana Goodman is?                 4     A. I handled these objections -- I handled
 5    A. I told you I --                                   5 these complaints expeditiously and satisfactorily.
 6    Q. Is she an actress?                                6 I can't imagine why anyone would not be -- would not
 7        MR. CAVALIER: Object to the form.                7 come away from this pleased with what I did since
 8        THE WITNESS: I don't know if she's an            8 the principals were pleased with what I did.
 9    actress or not, but I don't know who was             9     Q. Do you think they're still pleased today?
10    speaking there. I know nothing about this. If       10     A. Well, you got your hands on them, and you
11    Alana Goodman wants to complain about something     11 got them to ask for $31 million. Of course not.
12    that happened some years ago, let her come to       12                 ---
13    me. I am not in the business of investigating       13        (Indistinguishable cross-talk.)
14    my employee's personal life.                        14                 ---
15 BY MR. CARSON:                                         15        THE WITNESS: They were content. They
16    Q. Yeah. You're not in the business of              16     wrote -- they signed agreements that this was
17 making your workplace safe for the female employees,   17     fine.
18 correct?                                               18 BY MR. CARSON:
19        MR. CAVALIER: Object to form. Object to         19     Q. You think I called them to sign them up
20    argumentative. You don't have to answer that,       20 for their cases? That's how you think it works?
21    Daniel.                                             21     A. I don't know what happened. $31 million
22        MR. CARSON: Yeah, he does.                      22 will certainly influence a lot of people's memories,
23 BY MR. CARSON:                                         23 including yours. How much are you getting, 14
24    Q. Are you in the business of making your           24 million out of it, 13 million? Good amount, Mr. --
                                               Page 238                                                       Page 240
                  ---                                                        ---
 1 workplace safe for the female employees who work        1     Q. Mr. Pipes, if you wanna pay me 14 million,
 2 there?                                                  2 that's fine, but I can assure you I will never get
 3        MR. CAVALIER: Again, same objection. You         3 $14 million out of this case or anything --
 4    can answer it if you want to, Daniel, but you        4     A. We can agree on that, Mr. Carson. You're
 5    don't have to. It's argumentative.                   5 not gonna get --
 6 BY MR. CARSON:                                          6     Q. I think we can. Off the record I can tell
 7    Q. No. You do have to.                               7 you what I really think about that, but, anyway,
 8    A. I'm in the business of making the                 8 let's keep going. So one of the things that Lisa
 9 workplace safe for all the employees, and, indeed,      9 writes in this email to you is that she would be
10 we have gone to great lengths to make the workplace    10 willing to participate in any investigation of Gregg
11 safe. As you've heard, we have all sorts of            11 Roman, correct?
12 safeguards in place to protect everyone from           12     A. Where?
13 dangers. Yes, it's a very high priority for me, and    13     Q. Just take a minute and read. Do you see
14 we have done so. And, indeed, in this case --          14 what I highlighted there?
15    Q. You gotta speak up.                              15         MR. CAVALIER: Seth, I'd ask, if you're
16    A. Where there was an allegation -- where           16     gonna ask about a sentence referencing
17 there were allegations against Gregg, I dealt with     17     aforementioned instances, that you position the
18 them immediately and radically until the               18     document so that we can see the aforementioned
19 satisfaction of those who complained.                  19     instances.
20    Q. You think a female employee would feel           20         MR. CARSON: We just read the rest of the
21 comfortable reporting sexual harassment today after    21     document. I just got done scrolling down.
22 the way you've handled the last ten reports?           22     It's the same email we're talking about the
23        MR. CAVALIER: Object to the incomplete          23     last hour.
24    hypothetical. You can answer.                       24         MR. CAVALIER: If you're gonna ask him
                                            Everest Court Reporting LLC                             Page: 63 (237 - 240)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 65 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 241                                                      Page 243
                   ---                                                       ---
 1     questions about it, he should be able to see        1    A. I agree. I see it, yes.
 2     it, right?                                          2    Q. Okay. And you sent them all at 11:34.
 3 BY MR. CARSON:                                          3 This one says 11:34, too, and that's a.m., correct?
 4     Q. -- need me to scroll back up, let me know,       4    A. It's a.m., yup.
 5 but I'm also talking about this. It says, "I am         5    Q. Okay. And then Marnie responds, right,
 6 satisfied with the speed of the inquiry yet             6 and she's worried about Gregg having access to
 7 disappointed in the discovery aspect of the             7 emails and passwords. Do you see that?
 8 incident. I will, as requested, submit a separate       8    A. Yep.
 9 detailed description of the events that occurred on     9    Q. And then, down here -- this is part of the
10 March 14 in addition to all corroborating evidence."   10 same exhibit -- it's a memorandum. Now, I think
11 So she does tell you that she's willing to continue    11 that this is a memorandum that you sent to the
12 to help you corroborate the allegations made, right?   12 entire office. This looks like one of those things
13 It's what she said. It's what the document says.       13 where you have like a group email. Is that what
14     A. Yeah.                                           14 this is?
15     Q. But there was no investigation done after       15    A. Yep.
16 this letter was sent, correct?                         16    Q. Can you speak up, please, Mr. Pipes?
17          MR. CAVALIER: Object to form.                 17    A. Yes, yes.
18 BY MR. CARSON:                                         18    Q. And this email is -- looks like it was
19     Q. Did you investigate anything after this         19 sent on November 4th and -- "I am again addressing
20 letter? Remember, it's dated November 4th.             20 this memo to everyone who works at MEF," and,
21     A. The issue was closed.                           21 basically, you're announcing the staff meeting that
22     Q. The issue was closed. That's right.             22 occurred on November 5th, 2018, right?
23 Okay. We can move on to the next exhibit. Where        23    A. Yes.
24 are we? All right. So, just to round it out, I         24    Q. And Gregg Roman was initially invited to
                                               Page 242                                                       Page 244
                  ---                                                         ---
 1 won't spend a lot of time on it because I'm sure        1 that meeting, correct?
 2 you'll get questions on it from another lawyer at       2      A. Correct.
 3 some point. So exhibit number -- I don't know what      3      Q. And then you disinvited him when you
 4 number we're on.                                        4 realized it would make the women uncomfortable?
 5        THE VIDEOGRAPHER: Sorry, counsel. We             5         MR. CAVALIER: Object to form.
 6    are -- I'm at Pipes-8. So we just finished           6         THE COURT REPORTER: I can't hear you, Mr.
 7    Pipes-7, which were pages five through seven of      7      Pipes.
 8    the large Bates-marked document.                     8         THE WITNESS: Legal privilege.
 9        MR. CARSON: All right. So 11 -- the next         9         THE COURT REPORTER: What was that?
10    one will be 11 -- 11 through 15, I guess.           10         THE WITNESS: Legal privilege.
11        THE VIDEOGRAPHER: All right. Thank you.         11         MR. CAVALIER: You're saying the reason
12    And we'll mark it as Pipes-8 for exhibition.        12      that you disinvited Gregg Roman has to do with
13 BY MR. CARSON:                                         13      legal, so we're gonna object to that and not
14    Q. All right. So this is an email. This is          14      answer the question under --
15 the same email that we already looked at for the       15 BY MR. CARSON:
16 other two women. He sent it at 11:34 where you talk    16      Q. No. I think what you're trying to say is
17 about the investigation you did yesterday. Do you      17 Marc told you, but I'm not asking what Marc told
18 recall that?                                           18 you. I'm asking, why did you decide not to -- if
19    A. I don't recall it, but I see it.                 19 the only answer is that you're following the advice
20    Q. I'm sorry?                                       20 of counsel, I guess you don't have to answer, but
21    A. I don't recall it, but I see it.                 21 I'll ask this for the record: Why did you tell
22    Q. Wait. What don't -- you don't recall --          22 Gregg not to come to the meeting?
23 remember we talked -- you sent this one to Lisa and    23         MR. CAVALIER: We're gonna assert to
24 Tricia, too?                                           24      privilege to that, Seth.
                                            Everest Court Reporting LLC                             Page: 64 (241 - 244)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 66 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 245                                                      Page 247
                  ---                                                     ---
 1        MR. CARSON: Well, he has to decide            1     can move on.
 2     whether that's true.                             2        MR. CAVALIER: Okay.
 3        THE WITNESS: Yeah, legal privilege.           3        THE WITNESS: Give me a moment. Give me a
 4 BY MR. CARSON:                                       4     moment.
 5     Q. Did you think it was appropriate to invite    5 BY MR. CARSON:
 6 him in the first place?                              6     Q. Go ahead.
 7     A. Legal privilege.                              7     A. I initially invited him -- go back to that
 8     Q. That's not legally privileged. I'm not        8 memo. The key section here was, "I am sending you a
 9 asking about any communication between you and       9 new NDA," and I included Gregg because I wanted him
10 counsel.                                            10 to sign the NDA. I actually never had any intention
11     A. Yeah, it was.                                11 of his appearing, but I did want to get his NDA,
12     Q. Well, it was appropriate?                    12 and, therefore, I made it seem to him that he was
13     A. This was -- these decisions to invite him    13 coming so it made it more likely he would sign it,
14 and then not to invite him --                       14 but I had no intention of his being there.
15     Q. We can't hear you, Mr. Pipes.                15     Q. Wasn't it already signed?
16     A. The decisions to invite him and then not     16     A. No. There wasn't clear that -- no, didn't
17 to invite him were based on conversations with Marc 17 happen.
18 Fink.                                               18     Q. Didn't you send an email to everyone
19     Q. I'm asking in your opinion. You're the       19 saying he's no longer coming anymore?
20 director of the Middle East Forum. It's your job to 20     A. Yes, subsequently, when he did sign it.
21 enforce MEF policy, especially their                21     Q. Mr. Pipes, I'm gonna move on. The -- the
22 anti-discrimination policy. So I'm asking, based on 22 next exhibit I'll show you is -- so, I guess, since
23 that, do you think it's appropriate to make the     23 you brought up the NDA, I'll just -- why did you
24 women who are accusing someone of sexual harassment 24 want everyone to sign an NDA before the
                                              Page 246                                                       Page 248
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 1 face the harasser directly?                            1 November 5th, 2018 meeting?
 2         MR. CAVALIER: Object to form.                  2         MR. CAVALIER: To the extent you can
 3         THE WITNESS: He wasn't there, so it's a        3     answer that question without talking about
 4    hypothetical question.                              4     legal advice, you can answer it. If you need
 5 BY MR. CARSON:                                         5     to rely on legal advice to answer the question,
 6    Q. I think your actions speak for themselves,       6     we're gonna assert to privilege.
 7 so I'll move on.                                       7         THE WITNESS: I believe we had NDAs from
 8    A. Well, let me think.                              8     everyone but -- but Gregg, so --
 9    Q. You can answer.                                  9 BY MR. CARSON:
10    A. All right. I guess I'll tell you.               10     Q. Where did you --
11         MR. CARSON: Jon, you wanna jump in?           11     A. I sent it to everyone to de-emphasize the
12         MR. CAVALIER: If you want to answer --        12 fact that, actually, the only person we really cared
13    there's no question pending, Daniel, but --        13 about was Gregg.
14         THE WITNESS: Well, I didn't answer            14     Q. But, like, I guess my question is, I would
15    before.                                            15 be concerned about the chilling effect that an NDA
16         MR. CARSON: I just wanna be fair to you.      16 might have on future reports. Did you consider that
17         THE WITNESS: And I did command privilege,     17 at all?
18    but --                                             18     A. No.
19         MR. CAVALIER: Just -- just so -- you          19     Q. There were some new stipulations in that
20    can't talk about anything substantive that you     20 NDA, right?
21    talked about with Marc.                            21     A. Yes.
22         MR. CARSON: Yeah. I can move on --            22     Q. Do you know what they were off the top of
23         MR. CAVALIER: -- want to. You still can.      23 your head?
24         MR. CARSON: This is not a big deal. We        24     A. No.
                                           Everest Court Reporting LLC                             Page: 65 (245 - 248)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 67 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 249                                                      Page 251
                    ---                                                   ---
 1     Q. Do you know what you guys were talking        1      Q. Do you know for a fact that Gregg ever
 2 about in this here? I think it's trying to figure    2 lost his key and his card? Strike that. Do you
 3 out -- I'll bring your attention to this.            3 know for a fact that Gregg Roman's key and card were
 4     A. Self-explanatory, no?                         4 actually physically taken away from him?
 5     Q. Well, it says, "Marnie, Marc, and I have      5      A. Yes.
 6 been working on this." Do you know what "this" is    6      Q. How do you know that?
 7 when you guys -- what "this" is there?               7      A. He -- I was told that -- I asked for it to
 8     A. Well, it says the letter to GR, new terms     8 be handed in, and it was handed in.
 9 of employment.                                       9      Q. Marnie Meyer told you that?
10     Q. So that was like trying to figure out what   10      A. I can't be specific. It's two years ago.
11 his terms of employment would be post November 5th, 11 I know, to my satisfaction, his key was removed, and
12 2018?                                               12 when he did come to the office to take away his
13     A. And I discussed it with various people,      13 personal effects, I was there, went downstairs and
14 including --                                        14 let him in, and watched as he packed up and took his
15     Q. No. It wasn't a real question that time.     15 stuff out.
16 I just didn't know. Thank you, though.              16      Q. All right. So I guess I will show it to
17     A. Marnie was part of the discussion.           17 you. So the next document is 17. It's right here.
18     Q. All right. So I'll wait to do that. Did      18 We're on it now. So 17 and, I guess, 18 will be a
19 you ever take Gregg Roman's key away from him?      19 document, and this document is dated March 11th, and
20     A. Personally, no, but someone did.             20 it's from Tricia McNulty. So you testified earlier
21     Q. How does that work? Like is there            21 that Ms. McNulty was happy to have Gregg come back;
22 actually -- like I don't have a key to my office. I 22 is that correct?
23 have like a card that gets me in everywhere. Do you 23      A. Correct.
24 have cards, or do you have like a physical key that 24      Q. Did Ms. McNulty or Ms. Barbounis or anyone
                                              Page 250                                                       Page 252
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 1 you took from him?                                     1 want conditions on that, on him coming back?
 2    A. Card. Card was taken from him.                   2     A. Yeah. They reiterated the conditions that
 3    Q. So was Gregg Roman's privileges to come to       3 we had agreed on.
 4 the office like physically taken away, as in, if he    4     Q. Okay. And so then, I guess, based on
 5 wanted to come, he wouldn't have been able to          5 that, I think this is what we're talking about. Can
 6 because he didn't have a key or card anymore; is       6 you just review this -- this email? Just let me
 7 that right?                                            7 know when you're done.
 8    A. Yes.                                             8     A. Okay.
 9    Q. Yeah?                                            9     Q. All right. So this is an email that
10    A. Yes.                                            10 Ms. McNulty sent you on March 11, 2019; is that
11    Q. When did that happen?                           11 correct?
12    A. Immediately.                                    12     A. That's what it says.
13    Q. Do you know who did that?                       13     Q. And do you remember receiving this email?
14        THE COURT REPORTER: I didn't catch what        14     A. I do not.
15    Mr. --                                             15     Q. But you did receive it?
16 BY MR. CARSON:                                        16     A. I assume it's valid, yeah.
17    Q. Daniel, I think the court reporter is           17     Q. Okay. And I'll represent to you it was
18 having a tough time hearing you.                      18 produced by your lawyers and was marked by your
19    A. Marnie, I believe, is head of human             19 attorneys D0000017. And it says, "My understanding
20 resources.                                            20 of the meeting outcome is that Gregg will serve as
21    Q. So Marnie would've done that, the               21 the Forum's director once again with certain
22 actual -- physically making sure he doesn't have      22 parameters in place. At a minimum, the first six
23 access anymore?                                       23 months will essentially be a probationary period
24    A. I believe so.                                   24 with Daniel looking over Gregg's shoulder to be sure

                                           Everest Court Reporting LLC                             Page: 66 (249 - 252)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 68 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 253                                                      Page 255
                   ---                                                      ---
 1 no improprieties are being made." So Ms. McNulty        1 at any time should they wish to raise concerns and
 2 said -- she allowed for him to return as long as        2 that, unlike before, there can be no directive to
 3 certain parameters remained in place, correct?          3 discuss anything with Daniel," right?
 4    A. Yep.                                              4     A. Yup, that's what it says.
 5        MR. CAVALIER: Object to form.                    5     Q. Sorry. Can you say that louder?
 6 BY MR. CARSON:                                          6     A. That's what it says.
 7    Q. She -- she acquiesced to his return as            7     Q. So, again, it references that, before,
 8 long as certain parameters were in place, correct?      8 Gregg Roman maintained a policy where people weren't
 9    A. No.                                               9 allowed to come to you, right?
10    Q. What do you mean, no?                            10        MR. CAVALIER: Object to form. Object to
11    A. The verb "acquiesce".                            11     the categorization.
12    Q. What's the word you would use?                   12 BY MR. CARSON:
13    A. Look at No. 2: "I think there should be          13     Q. Well, that's what she's talking about,
14 no problem with Gregg being in the office." That       14 correct?
15 was not an acquiescence. That was an agreement.        15     A. That is what she's saying, yes.
16    Q. Okay. She agreed that he could return as         16     Q. Did you disagree that he did that? Did he
17 long as certain parameters remained in place, right?   17 ever disagree he did that?
18    A. Right.                                           18        MR. CAVALIER: Object to form.
19    Q. Okay. We'll use the word "agreement".            19        THE WITNESS: All I know is they did come
20 And one of those parameters was that it be a           20     to me, and I acted promptly and effectively, so
21 probationary period, right?                            21     this whole thing doesn't make much sense to me.
22    A. Right.                                           22 BY MR. CARSON:
23    Q. And --                                           23     Q. Did you --
24    A. All this confirms the discussion we had on       24     A. They did come, and they got the relief
                                               Page 254                                                       Page 256
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 1 the 9th of March. This is not breaking ground; this     1 they sought.
 2 is confirming the points we --                          2     Q. Did you know that Gregg Roman dissuaded
 3     Q. Can you speak up just a little?                  3 employees from going to you before November 1st,
 4     A. -- the points that Gregg had agreed upon         4 2018?
 5 as well at the meeting. He was there at that            5        MR. CAVALIER: Object to form. Lack of
 6 meeting on March 9th. We all agreed.                    6     foundation.
 7     Q. Where was the meeting on March 9th?              7 BY MR. CARSON:
 8     A. At the office.                                   8     Q. Did you know that he did that?
 9     Q. It was in your office?                           9     A. Well, I didn't know that there were
10     A. The Middle East Forum office, yes.              10 allegations that he did that. Whether he did it or
11     Q. In the what?                                    11 not, I don't know, but there were definitely
12     A. Middle East Forum office, yes.                  12 allegations that he told staff to bring their
13     Q. Middle East Forum office, okay. And --          13 complaints to him and not to me.
14 and who was at that meeting? Was it you, Gregg,        14     Q. Well, did you ever talk to him about it?
15 Lisa, Patricia, Marc?                                  15     A. I don't remember. What I did make clear
16     A. Marnie, Thelma. I forget whether it was         16 is that, henceforth, you are welcome to tell me --
17 Delaney or Caitriona. One of them was there, and       17 said it again, and, indeed, Tricia's note reflects
18 one wasn't.                                            18 that -- that, in the future, we are free to come to
19     Q. Okay.                                           19 you.
20     A. Matt was there. Essentially, everyone           20     Q. Did you make it clear to Gregg Roman that
21 except either Caitriona or Delaney was not there,      21 he wasn't permitted to do that anymore?
22 and Marc was on the telephone.                         22     A. Definitely. Well, I mean, I don't know if
23     Q. Okay. So it says, "Gregg knows that those       23 he ever did, but definitely he couldn't do that in
24 in the office are allowed to talk to Daniel directly   24 the future. It was a whole different regime

                                            Everest Court Reporting LLC                             Page: 67 (253 - 256)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 69 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 257                                                      Page 259
                   ---                                                     ---
 1 starting in November. Everything changed concerning    1 BY MR. CARSON:
 2 Gregg. He was no longer in the office, no longer       2    Q. You think that's a minor detail?
 3 managing the office --                                 3    A. That was a minor detail in the whole
 4    Q. It was just a yes or no question,                4 panoply of complaints. That was one of many
 5 Mr. Pipes. I asked, did you make it clear to Gregg     5 complaints against Gregg.
 6 Roman that he could not tell employees that they       6    Q. Well, couldn't that explain why no one
 7 weren't allowed to come to you?                        7 came to you for eight months? You keep talking
 8        MR. CAVALIER: Object to form.                   8 about how -- I don't know why they didn't come to me
 9        THE WITNESS: I will answer as I see fit.        9 for eight months. I can't believe they didn't come
10 BY MR. CARSON:                                        10 to me for eight months. So, in that context, it's
11    Q. It's just -- did you ever talk to him           11 not very minor if there was a policy that they
12 about it? It's a simple question.                     12 weren't allowed to go to you, right?
13    A. I will answer as I see fit, and I did.          13    A. No.
14    Q. Can you please say yes or no as part of         14        MR. CAVALIER: Object to form.
15 your answer?                                          15        THE WITNESS: Makes no sense. First of
16        MR. CAVALIER: He already did.                  16    all, they knew from me that my door was open, I
17        THE WITNESS: -- answer as I see fit.           17    wanted no surprises, and, secondly, they did
18 BY MR. CARSON:                                        18    come to me, and they got satisfaction.
19    Q. Well, I didn't hear you. Was your answer        19 BY MR. CARSON:
20 yes or no to that?                                    20    Q. Okay. They got satisfaction until I
21    A. You're not gonna tell me how to answer.         21 called them and started a conspiracy against your
22    Q. I didn't hear --                                22 business, right?
23                 ---                                   23    A. Thank you for acknowledging that.
24        (Indistinguishable cross-talk.)                24    Q. That's what you think happened, right?
                                              Page 258                                                       Page 260
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 1                ---                                     1     A. Yeah.
 2 BY MR. CARSON:                                         2     Q. That's what you believe, right?
 3    Q. Did you say yes or no to that question?          3     A. Yeah. $17 million divided four, five ways
 4    A. I didn't answer that question. I already         4 is a lot of money.
 5 answered --                                            5     Q. Did you ever threaten Lisa Barbounis with
 6    Q. Okay. So can we try to answer that               6 a RICO case?
 7 question, then? Did you ever talk to Gregg Roman       7        MR. CAVALIER: Object to form.
 8 about that? Did you ever tell him, hey, I don't        8        THE WITNESS: I'm glad you raised that.
 9 know whether you did this in the past, but, going      9                 ---
10 forward, you can't do that anymore? Did you ever      10        (Indistinguishable cross-talk.)
11 say that?                                             11                 ---
12        MR. CAVALIER: Object to form, but you can      12        THE WITNESS: -- explain what happened,
13    answer that question, Daniel.                      13     and you're just gonna have to listen to me.
14        THE WITNESS: That's too specific. I do         14 BY MR. CARSON:
15    not know what -- I do not remember what exactly    15     Q. I will --
16    I said. I do know that I told him that this        16     A. I did not --
17    was -- your management of the office personnel     17     Q. I will allow you to explain, but can you
18    was terrible. You're not gonna happen --           18 please say yes or no as part of your answer? Did
19    you're not gonna be managing it henceforth.        19 you ever --
20    There's wholesale changes. Among those, any        20     A. No, I did not. Let me explain.
21    possibility of his telling anyone not to talk      21     Q. Okay. Go ahead.
22    to me, but that was a minor detail of a much       22     A. We met twice on October 12th and October
23    larger picture. Whether I brought up that          23 14th, a month ago.
24    minor detail specifically or not, I don't know.    24     Q. Speak up a little, please.
                                           Everest Court Reporting LLC                             Page: 68 (257 - 260)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 70 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 261                                                      Page 263
                   ---                                                      ---
 1     A. And that first time I referenced the RICO        1        MR. CAVALIER: Object to form.
 2 case. She expressed complete ignorance of it. So        2        THE WITNESS: No, I did not.
 3 the second time, on October 14th, I brought with me     3 BY MR. CARSON:
 4 a printout of the letter that you received,             4    Q. Did you request the email? Did you ask
 5 Mr. Carson, and presumably had passed on to your        5 them to confirm with you that Gregg could come back?
 6 client, dated September 29th, informing you of the      6    A. No.
 7 RICO case. I did not threaten her with it. I            7    Q. You never said to them, hey, I need you
 8 informed her, since you apparently did not, that        8 guys to send me an email if he's gonna come back?
 9 there's a RICO case that had been initiated against     9 You gotta send me an email saying that.
10 her. So, no, there was no threat. It was               10    A. No.
11 information, strange information that I should have    11    Q. So your testimony is that they
12 to provide to her since the letter went to you and,    12 unilaterally both decided to send you an email
13 presumably, you received it, and you didn't pass it    13 confirming that it was okay if he came back on their
14 on to her. So, no, there was no threat whatsoever.     14 own?
15 All I said was, this is underway. I hope we can        15    A. No.
16 reconcile our differences so that this can -- this     16        MR. CAVALIER: Object to form.
17 and everything else can be stopped. She knew about     17 BY MR. CAVALIER:
18 the employment claim; she knew about the               18    Q. Well, which one is it?
19 counterclaim; she knew about the trade secrets         19        MR. CAVALIER: Object to form.
20 claim. She did not know about the RICO claim.          20        THE WITNESS: Mr. Carson, if you look in
21 Therefore, I thought it would be useful for her to     21    front of you, it says, from Marc Fink. It's
22 know about that. That she portrayed it to you as a     22    not from me.
23 threat shows, once again, her -- how shall I put       23 BY MR. CARSON:
24 it -- lack of veracity. There was no threat. It        24    Q. I wasn't referencing anything right now.
                                               Page 262                                                       Page 264
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 1 was informational. Here, Lisa, is the letter that       1 I was just asking you a question.
 2 was sent about two weeks ago to your counsel, which,    2    A. You, you, you, you. No, it wasn't me.
 3 for some reason, he didn't make available to you,       3    Q. I was talking about this one, actually,
 4 and then she portrayed that as a threat. No. No         4 the email that she sent on March 11th. That was
 5 threat. But I said, if we don't quit, we will have      5 after a meeting you held on March 9th, right?
 6 to go forward with it, and I don't wanna. I'd           6    A. I believe it's addressed to Marc Fink, not
 7 rather bury this whole thing. We can do this now,       7 to me.
 8 you and I. She said no. She can -- subsequently,        8    Q. Right, okay, and you're cc'd on it, right?
 9 she wrote me and said, no, she's gonna continue with    9    A. I was cc'd.
10 it. So we are continuing with it as well.              10    Q. And she's saying -- she's confirming a
11     Q. Did you use the word "scuttle"? Did you         11 meeting, right?
12 say you'd scuttle the RICO case?                       12    A. Mm-hmm.
13     A. I do not remember what verbs I used. I          13    Q. So isn't it true that she was asked to
14 can tell you that I suggested that if we reached an    14 send this email and that Lisa was asked to send a
15 agreement between her and the Middle East Forum, all   15 similar email?
16 these cases would be closed, including three that I    16    A. Yes.
17 mentioned and the fourth -- the three that she knew    17    Q. Okay. Thank you. All right. So the next
18 about and the fourth that she did not know about.      18 exhibit will be -- do you think Ms. Barbounis has
19     Q. So you asked Ms. McNulty and Ms. Barbounis      19 stolen anything from you?
20 to send you an email saying that it was okay if        20    A. Yes.
21 Gregg came back to the Forum, right?                   21    Q. What?
22        MR. CAVALIER: Object to form.                   22    A. Trade secrets.
23 BY MR. CARSON:                                         23    Q. What are the trade secrets you think she
24     Q. You requested that email, right?                24 stole?

                                            Everest Court Reporting LLC                             Page: 69 (261 - 264)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 71 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 265                                                      Page 267
                    ---                                                    ---
 1     A. A donor list, Middle East Forum internal      1 she sent information from our donor list to at least
 2 discussions, Forum projects. I don't know what       2 one other nonprofit looking to raise funds.
 3 else.                                                3     Q. Who?
 4     Q. Please just talk a little louder. So when     4     A. Amy Mekelburg. And we know that she used
 5 you say "a donor list," what do you mean by that,    5 our information to try and help the Rebel to raise
 6 you know? Like what -- like you think she still has  6 money from --
 7 a list of donors' names? Is that what you're         7     Q. What's a Rebel?
 8 saying?                                              8     A. It's a media organization in Canada.
 9         MR. CAVALIER: Seth -- one second, Daniel,    9                  ---
10     before you answer -- you're going off into      10         (Indistinguishable cross-talk.)
11     another case.                                   11                  ---
12         MR. CARSON: No, I'm not. You guys have a 12 BY MR. CARSON:
13     counterclaim in this case that's based on this  13     Q. Are you talking about Tommy Robinson?
14     stuff.                                          14     A. No, no.
15         MR. CAVALIER: To the extent you stay        15     Q. Okay.
16     within this case, we'll let you go. I just      16     A. We have reason to believe -- we have
17     wanted to let you know that I don't wanna get   17 specifics that she used information of ours to help,
18     into a full-blown discussion of --              18 and perhaps herself, gain income by helping other
19         MR. CARSON: Yeah, I don't either. I have    19 nonprofits. So, no, the fact that I have not heard
20     two more hours -- two and a half more hours,    20 from donors saying, oh, Lisa contacted me, no, that
21     whatever it is, so I'm trying to --             21 wasn't the issue. The issue was that she was giving
22         MR. CAVALIER: All right. So long as         22 it to others, and others would use it, and our
23     we're on the same page, I'll certainly grant    23 donors know that Amy Mekelburg got their names from
24     you a little leeway.                            24 us.
                                               Page 266                                                       Page 268
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 1 BY MR. CARSON:                                          1     Q. Well, do you know if Amy Mekelburg ever
 2     Q. So -- [unintelligible] -- you think she          2 tried to contact a donor?
 3 has a list of the names and donors' names and phone     3     A. I don't. I know that Lisa gave our
 4 numbers? What're we talking about?                      4 information to Amy Mekelburg, and that is stealing.
 5     A. Yes.                                             5     Q. What information do you think she gave?
 6     Q. Has any of these donors ever told you that       6     A. Our donor list.
 7 she contacted them?                                     7     Q. You think she sent a donor list to Amy
 8     A. No.                                              8 Mekelburg?
 9     Q. So if she had a list of donors that just         9     A. I do.
10 happen to be on a hard drive somewhere and she never   10     Q. Do you think she stole anything else?
11 contacted them, do you have a problem with that?       11     A. She stole media contacts.
12     A. Yes.                                            12     Q. What media contacts?
13        MR. CAVALIER: Object to form.                   13     A. That was her job, to deal with the media.
14 BY MR. CARSON:                                         14     Q. What media contacts did she steal?
15     Q. Do you think that she did something wrong       15     A. She stole the list of media contacts.
16 if she -- she did work with the donor list when she    16     Q. That's your information? Other people's
17 worked with the Middle East Forum, right?              17 contact information belongs to you?
18     A. Yes.                                            18     A. Of course. When it's put together into a
19     Q. That was a yes, right?                          19 list, it becomes privileged trade secret
20     A. Yes.                                            20 information.
21     Q. You think she ever stole anything else          21     Q. A list of public information about
22 besides donor list?                                    22 contacts in the media is trade secrets?
23     A. Well, let's not leave that subject yet.         23          MR. CAVALIER: Object to the
24 We know that she sent it to at least one other --      24     characterization of the document. Object to
                                            Everest Court Reporting LLC                             Page: 70 (265 - 268)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 72 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 269                                                      Page 271
                  ---                                                   ---
 1    form.                                            1                ---
 2       THE WITNESS: Same goes with the donors.       2 BY MR. CARSON:
 3    The donors are generally not secret, but         3    Q. What's your counterclaim, Mr. Pipes? Why
 4    knowing who to go to and what their views are    4 did you counterclaim in this case?
 5    and what their positions are. Likewise, with     5       MR. CAVALIER: Seth, he -- if you can
 6    the media, to know who to go to at a             6    answer that off the top of your head, Daniel.
 7    publication or television station is, yeah,      7       THE WITNESS: I can. I'm --
 8    important information [inaudible] and she took   8       MR. CAVALIER: Go for it.
 9    that from us.                                    9       THE WITNESS: I'm here to discuss my being
10 BY MR. CARSON:                                     10    the head of the Forum, my being Gregg's
11    Q. You think that you own information about     11    supervisor. I am not prepared to talk about
12 how to contact TV stations and newspapers? That's  12    the counterclaim.
13 your --                                            13 BY MR. CARSON:
14       MR. CAVALIER: Object to the                  14    Q. It doesn't matter whether you're prepared.
15    categorization of the testimony. And, Seth, by  15 That's not my problem, Mr. Pipes. We're gonna talk
16    the way, I gave you a little leeway, but I just 16 about this because it's your counterclaim, and
17    wanna remind you the trade secret issues are in 17 unless you're gonna agree that we can do another
18    a separate --                                   18 deposition, talk about the counterclaim --
19                ---                                 19       MR. CAVALIER: To be clear, we are -- you
20       (Indistinguishable cross-talk.)              20    can ask whatever you want about the
21                ---                                 21    counterclaims, but they are -- the trade
22       MR. CAVALIER: There are no counterclaims     22    secrets theft allegations are not part of these
23    about any theft in this case. [Inaudible]       23    counterclaims. It's a totally separate case.
24    trade secrets.                                  24       MR. CARSON: Read your counterclaim a
                                             Page 270                                                       Page 272
                    ---                                                  ---
 1        MR. CARSON: I'm following his answer         1    little more closely, but, Jon, is the $7,500
 2    [inaudible].                                     2    part of the counterclaim?
 3 BY MR. CARSON:                                      3         MR. CAVALIER: Nobody has alleged that
 4    Q. But, I mean, look. Did she steal anything     4    Lisa Barbounis stole $7,000 from the Middle
 5 else besides the names and phone numbers of public 5     East Forum.
 6 information in the media?                           6         MR. CARSON: Well, tell me what your
 7        MR. CAVALIER: Object to form.                7    counterclaim is based on --
 8 BY MR. CARSON:                                      8         MR. CAVALIER: My counterclaim is based on
 9    Q. Mr. Pipes, I'm trying to --                   9    breach of duty of loyalty for her failure to
10    A. -- to discuss this today. I thought we       10    disclose that she knew about the theft or
11 were talking about the employment case.            11    reported to the Middle East Forum, it's civil
12    Q. We are, but you made a counterclaim in       12    conspiracy based on her interactions with
13 this case, so it's the same case. So --            13    Daniel Thomas around that misappropriation, and
14        MR. CAVALIER: Hold on. Seth, hold on.       14    it's fraudulent misrepresentation relating to
15    There's no counterclaim for theft of trade      15    what she told MEF she was doing while she was
16    secrets or theft of anything.                   16    getting paid by them while she was off doing
17        MR. CARSON: Yeah, there is, actually.       17    other things. There's no trade secret
18    Read your counterclaim.                         18    allegations in these counterclaims. I'm
19        MR. CAVALIER: I'm looking at it right       19    looking at it right here.
20    now.                                            20 BY MR. CARSON:
21        MR. CARSON: Look at it a little closer.     21    Q. Does that help you, Mr. Pipes? I allowed
22        MR. CAVALIER: Seth --                       22 Mr. Cavalier to do that because I thought it might
23                  ---                               23 help focus the issues.
24        (Indistinguishable cross-talk.)             24    A. Okay, yep. It helps remind me, yeah.
                                          Everest Court Reporting LLC                             Page: 71 (269 - 272)
                                   215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 73 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 273                                                      Page 275
                   ---                                                    ---
 1    Q. So you think that Ms. Barbounis broke the      1     A. Danny Thomas.
 2 law because she didn't tell you about $7,500? Is      2    Q. Do you know whether Danny Thomas actually
 3 that what you think?                                  3 took the money?
 4        MR. CAVALIER: I'll object to the form.         4    A. Yes. We were told. He admitted it.
 5        THE WITNESS: I don't know if it's              5    Q. He admitted it? Is that your testimony?
 6    breaking the law or not.                           6    A. I believe so.
 7 BY MR. CARSON:                                        7    Q. Did he also say whether Gregg Roman
 8    Q. Well, you sued her and accused her of           8 offered to pay him money for admitting it?
 9 breaking the law, right?                              9    A. He did not say that.
10        MR. CAVALIER: Again, object to the form.      10       MR. CAVALIER: Object to form.
11    I think you're confusing the difference between   11 BY MR. CARSON:
12    criminal law and a civil violation.               12    Q. Did you ever listen to a recording where
13 BY MR. CARSON:                                       13 he said that?
14    Q. Do you know the difference between             14    A. I listened to a recording, and he did not
15 criminal law and a civil violation?                  15 say that.
16    A. I do.                                          16    Q. Oh, he didn't?
17    Q. So -- sorry. What was your answer?             17    A. He didn't.
18    A. I do, yes.                                     18    Q. Do you wanna listen to it right now?
19    Q. You understand that when I say "break the      19    A. Sure.
20 law," I'm -- I've said it many times today. Gregg    20                ---
21 Roman broke the law when he violated Title VII in    21       (Whereupon audio recording was played.)
22 the [unintelligible] Philadelphia Fair Practice      22                ---
23 Ordinance. You're accusing Ms. Barbounis of          23 BY MR. CARSON:
24 breaking the law by violating the duty of loyalty.   24    Q. You heard him just say, "So Gregg
                                             Page 274                                                       Page 276
                   ---                                                  ---
 1 Do you understand that?                           1 contacted me," correct?
 2    A. Okay.                                       2         MR. CAVALIER: I'm gonna object to the
 3    Q. So why do you think Ms. Barbounis           3    fact that that sounds incomprehensible to me,
 4 violated -- what's her duty of loyalty? What      4    but to the extent --
 5 information do you have about that?               5 BY MR. CARSON:
 6    A. She knew about the theft of the $7,000 and  6    Q. You heard him just say, "So Gregg
 7 didn't report it.                                 7 contacted me," correct?
 8    Q. Why do you think she knew about it?         8    A. I heard those words spoken. I don't know
 9    A. Because we have texts between her and       9 who spoke them.
10 others that indicate that.                       10    Q. Okay.
11    Q. Do you know if $7,000 was ever really      11                  ---
12 stolen from you?                                 12         (Whereupon audio recording was played.)
13    A. We have her text to tell us that as well   13                  ---
14 as other people's information.                   14 BY MR. CARSON:
15    Q. Have you ever confirmed whether that money 15    Q. "He gave me a little wink and said, 'When
16 was ever really stolen from you?                 16 this is all over'" -- "He said, 'Help us do
17    A. It was stolen in the sense that it was     17 this'" -- so did you ever hear that recording
18 meant for one purpose and used for another.      18 before?
19                 ---                              19         MR. CAVALIER: Again, I'm just gonna
20        (Indistinguishable cross-talk.)           20    object to the fact that I find it
21                 ---                              21    incomprehensible but --
22 BY MR. CARSON:                                   22 BY MR. CARSON:
23    Q. What purpose was it used -- who stole the  23    Q. Did you ever hear that recording before?
24 money?                                           24    A. I did not.
                                          Everest Court Reporting LLC                             Page: 72 (273 - 276)
                                   215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 74 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 277                                                      Page 279
                  ---                                                     ---
 1    Q. You never listened to that recording            1                ---
 2 before? Do you think it's troubling that he's         2 BY MR. CARSON:
 3 saying, "I'm gonna fuckin' testify against that       3     Q. That's the question. Are you aware of
 4 cunt"? Like do you think that's credible?             4 anyone asking for money to be returned?
 5    A. I have no idea who's speaking, and I don't      5     A. No.
 6 know what the subject is.                             6     Q. Mr. Pipes, if Danny Thomas never really
 7    Q. I mean, you testify all day about               7 stole money, then is there anything that Lisa did
 8 credibility, Mr. Pipes.                               8 wrong?
 9    A. I didn't even understand half of it, so         9        MR. CAVALIER: Object to the hypothetical,
10 provide a transcript, and let's go over it.          10     lack of foundation.
11    Q. We'd be happy --                               11 BY MR. CARSON:
12                ---                                   12     Q. I mean, it's the basis for your
13       (Indistinguishable cross-talk.)                13 counterclaim is that money was stolen from you,
14                ---                                   14 right?
15       THE WITNESS: -- who spoke this and so          15     A. There are -- I don't know.
16    forth. I have no idea what this is.               16     Q. Well, have you ever seen any evidence that
17 BY MR. CARSON:                                       17 money was stolen from you?
18    Q. Have you ever had a conversation with him?     18     A. What do you mean by "evidence"?
19    A. With who?                                      19     Q. Have you ever seen any evidence that Danny
20       MR. CAVALIER: Object to form.                  20 Thomas actually took money that was donated for a
21 BY MR. CARSON:                                       21 Tommy Robinson campaign and that he spent on
22    Q. Danny Thomas.                                  22 something else? Has anyone ever provided evidence
23    A. No.                                            23 of that?
24    Q. Have you ever asked him to return the          24        MR. CAVALIER: Object to form.
                                             Page 278                                                       Page 280
                  ---                                                     ---
 1 money?                                                1 BY MR. CARSON:
 2       MR. CAVALIER: Object to form.                   2    Q. What was that evidence?
 3       THE WITNESS: No.                                3    A. The many texts going back and forth
 4 BY MR. CARSON:                                        4 between him and Lisa, maybe others, about this
 5    Q. Why -- if you think he stole money from         5 misappropriated money.
 6 you, why haven't you asked him to return it?          6    Q. Are you talking about the texts where he
 7    A. I have not dealt with the specifics of          7 says, I never stole money?
 8 this. Gregg has. You have to ask him.                 8        MR. CAVALIER: Object to form.
 9    Q. Nobody's asked him to return the money,         9        THE WITNESS: No. I'm talking about where
10 though, right?                                       10    they discussed the money that he had taken that
11       MR. CAVALIER: Object to form.                  11    was meant for other purposes.
12       THE WITNESS: All I can tell you is that I      12 BY MR. CARSON:
13    did not authorize any payment of money to Danny   13    Q. You saw text messages where Danny Thomas
14    Thomas, and I would not. It's --                  14 and Lisa Barbounis discussed money that Danny Thomas
15       MR. CARSON: You have to speak up. Can          15 stole?
16    you hear him, because I can't hear him at all.    16    A. Yes.
17       THE COURT REPORTER: It's very quiet.           17    Q. Really?
18       MR. CARSON: I mean, you just --                18    A. I believe so.
19    Mr. Pipes, we're doing this on a video            19    Q. What did they say?
20    recording, so you just gotta make it so we can    20    A. I don't memorize these things. I'm sure
21    hear you, man. Can you read the last question?    21 we can produce it for you quickly enough.
22                ---                                   22    Q. I would love to see those text messages.
23       (Whereupon the court reporter read back        23 You saw text messages where Danny Thomas and Lisa
24    the pertinent testimony.)                         24 are talking about seven -- how much was it that was

                                          Everest Court Reporting LLC                             Page: 73 (277 - 280)
                                   215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 75 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 281                                                      Page 283
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 1 supposedly stolen?                                1 $7,000?
 2     A. $7,000.                                    2        MR. CAVALIER: Gonna object as asked and
 3     Q. You saw text messages where they're        3    answered.
 4 talking about $7,000, and they both are agreeing  4        THE WITNESS: Provide me the documents,
 5 that he took the money?                           5    and I will then tell you -- give you an answer,
 6     A. I believe so. Be happy to find you the --  6    but I can't --
 7     Q. Yeah, no. Please, I would ask, if you      7 BY MR. CARSON:
 8 have those text messages, I'd ask you to please   8    Q. What document should I provide you that
 9 produce them.                                     9 will help you answer that question?
10     A. Okay.                                     10    A. Counterclaim. Provide me with the
11     Q. Because I've never seen a text message    11 counterclaim.
12 like that.                                       12    Q. It's your counterclaim.
13     A. Okay.                                     13    A. Right, but I --
14     Q. I'll move on. Is that the only basis of   14    Q. You want me to show you your counterclaim
15 your counterclaim is this $7,000?                15 so you can answer a question about your
16         MR. CAVALIER: Object to the form and the 16 counterclaim?
17     characterization of the counterclaim.        17    A. I did not memorize it. It's a long,
18         MR. CARSON: I'm asking what the basis of 18 complicated document with many legal aspects which I
19     it is.                                       19 cannot recite to you.
20         MR. CAVALIER: You're asking him what the 20    Q. So, sitting here right now, you don't know
21     basis of the counterclaim is. That involves  21 of any other basis for the counterclaim other than
22     all kinds of legal conclusions and analysis. 22 the 7,000 --
23     If you wanna --                              23        MR. CAVALIER: Object to form. Object to
24                 ---                              24    the miscategorization of testimony. He's
                                              Page 282                                                       Page 284
                     ---                                                   ---
 1          (Indistinguishable cross-talk.)              1    answered the question to the best of his
 2                   ---                                 2    ability, Seth.
 3 BY MR. CARSON:                                        3        MR. CARSON: Actually, he hasn't.
 4      Q. Is there any other reason why you decided     4 BY MR. CARSON:
 5 to make a counterclaim against Lisa Barbounis other   5    Q. But just clear it up. Sitting here right
 6 than the $7,000 that --                               6 now, without looking at the counterclaim, without
 7          MR. CAVALIER: Object to form. Are you        7 reading it, do you know of any other basis for the
 8      talking about just the breach of fiduciary duty  8 counterclaim other than the $7,000?
 9      claim, or you talking about the other            9    A. Sitting here --
10      counterclaim?                                   10        MR. CAVALIER: Object to form.
11 BY MR. CARSON:                                       11        THE WITNESS: I'm not gonna be trapped by
12      Q. All of them. Is there any other claims?      12    you.
13 Are any of them based on anything other than the     13 BY MR. CARSON:
14 $7,000?                                              14    Q. It's not a trap.
15      A. It's a long document that I have not         15    A. Let me finish --
16 memorized, so if you want me to go back and review 16      Q. Your lawyer entered his objection. Just
17 it, I --                                             17 answer the question, yes or no. It's simple. We
18                   ---                                18 can move on.
19          (Indistinguishable cross-talk.)             19    A. Sitting here right now, I am not gonna be
20                   ---                                20 trapped by you into giving an incomplete version of
21 BY MR. CARSON:                                       21 the counterclaim. It's in black and white. I can
22      Q. Testify to the best of your knowledge        22 read it, I can bone up on it, I can recite it to
23 right now. To your knowledge, is there any other     23 you, but I can't do it for you right now. I'm
24 basis for any of the counterclaims other than the    24 focused on the timeline of what happened, and that's

                                           Everest Court Reporting LLC                             Page: 74 (281 - 284)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 76 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 285                                                      Page 287
                  ---                                                     ---
 1 what I can speak about with confidence. The           1        THE WITNESS: She appeared in photographs
 2 counterclaim I'm not prepared to talk about.          2    and in other media in Britain being part of the
 3     Q. Lisa Barbounis had your permission to work     3    Tommy Robinson campaign. They didn't care
 4 with Tommy Robinson, correct, on her own time?        4    whether she was paid or not, and I don't care
 5        MR. CAVALIER: Object to form.                  5    if she was paid or not. I care --
 6        THE WITNESS: When?                             6 BY MR. CARSON:
 7        MR. CAVALIER: -- date range on that?           7    Q. I can't hear you.
 8 BY MR. CARSON:                                        8    A. It didn't matter that she was paid or not.
 9     Q. Anytime. She had your permission at            9 It mattered that she was portrayed in British
10 sometime in your life to work with Tommy Robinson? 10 media -- prominent British media -- as part of the
11     A. Until she abused it, yes.                     11 Tommy Robinson campaign.
12     Q. You said to her, you can do what you want     12    Q. But at the time that those pictures were
13 on your own time, right?                             13 taken, she did have your permission to be there,
14     A. Until she abused that, and then I took it     14 right?
15 away.                                                15    A. She had my permission to be there. She
16     Q. You actually said to her, I'm hesitant to     16 did not have my permission to be engaged in the
17 tell you what to do on your own time. You can do     17 campaign and to be publicly associated with the
18 what you like, right?                                18 campaign as a Middle East Forum employee.
19     A. Until she abused that, and I took it away.    19    Q. Right, but she did have your permission to
20     Q. Is there any basis -- is there any policy     20 do that on her own time at that time?
21 in the Middle East Forum maintained that an employee 21        MR. CAVALIER: Object to form.
22 of the Middle East Forum isn't allowed to have a     22        THE WITNESS: I don't know which time
23 second job?                                          23    you're speaking about --
24     A. No, but there is a policy that we cannot      24                ---
                                              Page 286                                                       Page 288
                  ---                                                     ---
 1 be involved in politics, and when British media      1        (Indistinguishable cross-talk.)
 2 portray a Middle East Forum employee as working on   2                 ---
 3 the Tommy Robinson campaign, red lights go off all   3        THE WITNESS: -- I don't remember
 4 over the place, and I had to stop that.              4    [inaudible] was before or after, but,
 5    Q. So -- but she's allowed to work on             5    initially, she had it, and then I took it away.
 6 politics as long as it's not related to her job at   6 BY MR. CARSON:
 7 the Middle East Forum, right?                        7    Q. But the problem you had with her is that
 8    A. That was the initial point. Later, I said      8 her picture was taken, and you were worried about
 9 you gotta stop it entirely because you've crossed    9 the exposure it might have or the blowback it might
10 the line.                                           10 have on the Middle East Forum, correct?
11    Q. And after you said that she has to --         11    A. No.
12 well, when did you say she has to stop it entirely? 12    Q. Okay. Then what were you worried about?
13    A. You have the dates. Sometime --               13    A. Legal consequences.
14    Q. You know when?                                14    Q. The blowback, the -- aren't we saying the
15    A. I don't remember the exact date, but in       15 same thing, Mr. Pipes?
16 the spring of 2019.                                 16    A. I don't know what "blowback" means. I
17    Q. Do you know if she ever was paid by Tommy 17 know that this is legally unacceptable for us to --
18 Robinson?                                           18    Q. Blowback, consequences, repercussions.
19    A. I do not.                                     19 All means the same thing. So would you like me to
20    Q. Sorry? I didn't hear you.                     20 use the word "consequences"? Were you worried about
21    A. No, I don't know.                             21 the consequences that her picture in the paper might
22    Q. She just did some volunteer work for the      22 have? I think it was The Guardian, correct?
23 guy, right?                                         23    A. I believe so.
24        MR. CAVALIER: Object to form.                24    Q. So you were worried about the consequences
                                           Everest Court Reporting LLC                             Page: 75 (285 - 288)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 77 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 289                                                      Page 291
                  ---                                                         ---
 1 that picture might have on the Middle East Forum; is    1                  ---
 2 that right?                                             2         (Indistinguishable cross-talk.)
 3     A. Correct.                                         3                  ---
 4     Q. But at the time that picture was taken,          4         THE WITNESS: No. She lied to me. The
 5 she did have your permission to work with him on her    5     first time she -- let me finish. The first lie
 6 own time, right?                                        6     was to tell me that she went to Britain with
 7     A. I'm not sure.                                    7     her children, and her second lie was to tell,
 8     Q. Did you fire her after that?                     8     subsequently, that I agreed to that lie, that I
 9     A. I never fired her.                               9     was in on that lie with her.
10     Q. Sorry?                                          10 BY MR. CARSON:
11     A. I never fired her.                              11     Q. Well, maybe she thought you knew that she
12     Q. Right. You knew that the picture was            12 wasn't there with her kids, right?
13 taken, you talked to her about it, and she continued   13     A. Didn't know that. She knew that she lied
14 her employment thereafter, correct?                    14 to me about taking her children, and then she
15     A. She continued her employment, and then she      15 pretended that I had agreed to that lie, that I
16 continued her working with Tommy Robinson against my   16 connived in that lie with her, that I was party to
17 wishes.                                                17 that lie, so a double lie. First, the children, and
18     Q. But are you --                                  18 then my agreements. Lies, lies, lies. Your clients
19     A. -- so far as to lie to me -- let me             19 tell lies, Mr. Carson.
20 finish. She went so far as to lie to me that she       20     Q. Mr. Pipes, have you counted the number of
21 took her children to Britain when she didn't, and      21 inconsistencies in your testimony today?
22 then she lied further and pretended that I'd agreed    22         MR. CAVALIER: Object to form. Daniel,
23 with her and connived with her to say that she'd       23     you don't have to answer that.
24 taken her children to Britain when she --              24 BY MR. CARSON:
                                               Page 290                                                       Page 292
                  ---                                                      ---
 1     Q. We can't hear you.                             1     Q. You don't have to answer that, but I'd be
 2     A. -- when I had --                               2 careful telling other people that they're lying. So
 3         MR. CARSON: Can you hear him?                 3 let's just keep going. Speaking of lies -- all
 4         THE COURT REPORTER: Little bit.               4 right. So let's look at a document that's dated --
 5 BY MR. CARSON:                                        5 it's gonna be 21 and 22 and 23, all right? And I
 6     Q. Mr. Pipes, it's really hard to hear you        6 forgot we're on a screen share, so that's all the
 7 today. Like you have to just speak up and talk        7 discovery. All right. So 22, 23. All right,
 8 loud. I don't know what else to tell you. It's        8 ready? Here is Document No. 22. Do you see when
 9 literally almost impossible to hear what you're       9 this email was sent? It was -- here's a date right
10 saying. You were talking about a picture that was    10 here.
11 taken, and then you were talking about Ms. Barbounis 11     A. Yep.
12 telling you that she was there with her kids, right? 12     Q. That's after November 5th, 2018, right?
13     A. Right.                                        13     A. Right.
14     Q. Yes?                                          14     Q. It's afterwards, right? And it's from
15     A. Yes.                                          15 Tricia to you, correct?
16     Q. Okay. So wasn't she telling you that to       16     A. Yup.
17 give the Middle East Forum cover to help the Middle 17      Q. You wanna take a minute and read this?
18 East Forum?                                          18     A. Okay. Okay.
19         MR. CAVALIER: Object to form.                19     Q. So these are complaints about Gregg Roman
20         THE WITNESS: No.                             20 made after November 5th, 2018, correct?
21 BY MR. CARSON:                                       21     A. Correct.
22     Q. Because you were worried about her being      22     Q. Didn't you testify there were none?
23 there and associated with the Middle East Forum, she 23     A. Correct.
24 was saying, hey, I was just there with my kids?      24     Q. Didn't you specifically testify there were
                                            Everest Court Reporting LLC                             Page: 76 (289 - 292)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 78 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 293                                                      Page 295
                   ---                                                     ---
 1 absolutely none from Tricia McNulty?                 1     A. I don't know.
 2     A. Right.                                        2     Q. Don't you find it a little disturbing that
 3     Q. Okay. Well, let's start counting, then,       3 when Gregg Roman doesn't know who the person is
 4 since we're gonna talk about this next. So number    4 who's alleging the harassment, he guesses and gets
 5 one would be the April 23rd, 2019 email from         5 it wrong?
 6 McNulty, okay? And this email actually has a lot of 6          MR. CAVALIER: Object to form. Object to
 7 complaints in it; it's not just one complaint,       7     the mis --
 8 right?                                               8 BY MR. CARSON:
 9     A. Yep.                                          9     Q. How many women does someone have to harass
10     Q. It talks about a complaint that Marnie       10 where, when someone accuses them of harassment, they
11 made. It talks about a complaint that Caitriona     11 can't even guess the right person?
12 Brady made, right?                                  12         MR. CAVALIER: Object to form. Object as
13     A. Right.                                       13     argumentative. Daniel, I don't even know if
14     Q. So what did you do about this? Did you       14     that's an actual question, but, to the extent
15 investigate this?                                   15     it is, you don't have to answer it --
16     A. Yes.                                         16 BY   MR. CARSON:
17     Q. Did you fire Gregg Roman?                    17     Q. It's at least two, right? Can't be one,
18     A. No.                                          18 correct?
19     Q. Why not?                                     19         MR. CAVALIER: Object because I don't
20     A. Why should I?                                20     understand what the question is.
21     Q. I don't know. Maybe because retaliation      21 BY MR. CARSON:
22 is against the law, correct?                        22     Q. Right. In order to not know who the
23        MR. CAVALIER: Object to form. You don't 23 person is making the allegation of harassment, you'd
24     have to answer that if you don't want to.       24 have to harass multiple people; is that right?
                                              Page 294                                                       Page 296
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 1 BY MR. CARSON:                                        1       MR. CAVALIER: Object to the hypothetical.
 2    Q. Retaliation is against the law, right? Do       2    Object to form.
 3 you know it's against the law?                        3       MR. CARSON: You can answer.
 4    A. I don't see retaliation.                        4       MR. CAVALIER: Object as argumentative.
 5    Q. Well, if Gregg Roman is responding to all       5 BY MR. CARSON:
 6 the reports of discrimination and harassment by       6    Q. Go ahead. You can answer.
 7 subjecting the women who made the reports to further  7    A. I don't know the law.
 8 harassment, that would be retaliation, correct?       8       THE COURT REPORTER: What was that, sir?
 9        MR. CAVALIER: Object to the hypothetical.      9       THE WITNESS: I don't know the law in
10    Object to --                                      10    detail.
11 BY MR. CARSON:                                       11 BY MR. CARSON:
12    Q. That your understanding of what                12    Q. Mr. Pipes, who's Gabrielle Bloom?
13 retaliation is?                                      13    A. I don't know.
14    A. Hypothetical.                                  14    Q. Well, did you check to see whether money
15        MR. CAVALIER: Same objections.                15 was paid to her?
16 BY MR. CARSON:                                       16    A. I investigated this at the time.
17    Q. Well, tell me your understanding of            17    Q. Did you find that money was paid to her
18 retaliation.                                         18 from the Middle East Forum?
19    A. I'm not a legal specialist.                    19    A. I don't remember.
20    Q. Okay. But do you understand that               20    Q. You don't know whether money was paid to
21 retaliation is against the law?                      21 her?
22    A. Yes.                                           22       MR. CAVALIER: Object to form.
23    Q. And does MEF have a policy prohibiting         23 BY MR. CARSON:
24 retaliation?                                         24    Q. Was it hush money?
                                           Everest Court Reporting LLC                             Page: 77 (293 - 296)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 79 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 297                                                      Page 299
                   ---                                                       ---
 1     A. I did not authorize any money going to           1    Daniel. Object to form. Object, lack of
 2 Gabrielle Bloom.                                        2    foundation. Object, argumentative.
 3     Q. How much money got paid to her?                  3 BY MR. CARSON:
 4        MR. CAVALIER: Object to form. That's not         4    Q. I didn't try to create a foundation.
 5     what he said.                                       5 Whether true or not, that's ten women's names who
 6 BY MR. CARSON:                                          6 could possibly be linked to harassment by Gregg
 7     Q. How much money did MEF issue to Ms. Bloom        7 Roman, right?
 8 that wasn't on a W-2?                                   8        MR. CAVALIER: Question you're asking him
 9        MR. CAVALIER: Object to form.                    9    is, did you just name ten people?
10        THE WITNESS: I know of no such money.           10 BY MR. CARSON:
11 BY MR. CARSON:                                         11    Q. Yes. Did I just name ten women?
12     Q. Sorry?                                          12    A. Yes, and I congratulate you on finding all
13     A. I know of no such money.                        13 these different women to --
14     Q. Well, you did say that you investigated         14    Q. Right, and [unintelligible] --
15 whether money went to her, correct?                    15                 ---
16     A. I don't remember any money going to her.        16        (Indistinguishable cross-talk.)
17     Q. My question was, did you investigate            17                 ---
18 whether the Middle East Forum issued money to          18        THE WITNESS: Let me finish.
19 Gabrielle Bloom?                                       19 BY MR. CARSON:
20     A. I looked into it and did not find any           20    Q. I said, did I name ten women? That was
21 money.                                                 21 the question. You said yes.
22     Q. Did you ever try to call Gabrielle Bloom        22    A. But I get to answer the way I want to
23 to talk to her?                                        23 answer.
24     A. She did not contact me to complain, so,         24    Q. No, actually, you don't.
                                               Page 298                                                       Page 300
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 1 no.                                                     1     A. You can't stop me.
 2     Q. That's part of your policy where you won't       2     Q. I asked you if that was ten. Do you wanna
 3 investigate anything unless [inaudible] comes to you    3 expand on your answer of whether ten equals ten? Go
 4 first, correct?                                         4 ahead. Tell me what you have to say about the
 5         MR. CAVALIER: Object to form.                   5 number ten.
 6         THE WITNESS: My concern here, as in other       6     A. [Inaudible]. Very kind of you to allow me
 7     cases, was the welfare of the employees who         7 to speak.
 8     worked with me -- in this case, Marnie, Matt        8     Q. Go ahead, go ahead.
 9     Bennett, and Tricia McNulty -- and that's who I     9     A. Yes, and I congratulate you on [inaudible]
10     focused on.                                        10 bring up against the Forum and Gregg. It was --
11 BY MR. CARSON:                                         11     Q. We can't hear you.
12     Q. Aren't you concerned when there is --           12        THE COURT REPORTER: Yeah. Can you start
13 let's just count it now, right? There's Patricia       13     your answer again, please, Mr. Pipes?
14 McNulty, right; there's Lisa Barbounis; there's Lea    14 BY MR. CARSON:
15 Merville; there's Delaney Yonchek; there's Caitriona   15     Q. We can't hear you at all.
16 Brady; there's Marnie Meyer; there's Tiffany Lee;      16     A. I said fine work, Mr. Carson, on finding
17 there's Laura Frank; there's Lara -- we don't know     17 ten women to name as you just did.
18 her last name -- and now there's Gabrielle Bloom;      18     Q. That's your answer?
19 one, two, three, four, five, six, seven, eight,        19     A. That's my answer.
20 nine -- ten women who might have been harassed by      20     Q. You're welcome. Thank you for saying fine
21 Gregg Roman by this point. Whether true or not,        21 work. But the point, Mr. Pipes, is that this is ten
22 that's ten women who may have been harassed by him,    22 names that you are now in possession of. By
23 correct?                                               23 April 23rd, 2019, you had all ten of these women's
24         MR. CAVALIER: Object to form. Hold on,         24 names in front of you, right?

                                            Everest Court Reporting LLC                             Page: 78 (297 - 300)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 80 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 301                                                      Page 303
                  ---                                                      ---
 1    A. I'm not sure.                                    1    A. No, she's not.
 2    Q. Sorry?                                           2    Q. That's not inappropriate conduct to spread
 3    A. I'm not sure. I haven't counted them.            3 a rumor about someone's father having sex? Nothing
 4    Q. Well, you definitely had Gabrielle Bloom's       4 wrong with that?
 5 name in front of you, right?                           5    A. I thought your list was --
 6    A. Right.                                           6        MR. CAVALIER: Object to form.
 7    Q. Yeah?                                            7        THE WITNESS: -- women who allege that
 8    A. Yeah.                                            8    Gregg had misbehaved with.
 9    Q. You had Caitriona Brady's name in front of       9 BY MR. CARSON:
10 you. That name's in this email, correct?              10    Q. Oh. Well, if you want that list, that's
11    A. Right.                                          11 fine. We can take two names off, so now we have
12    Q. You had --                                      12 eight women who said that. So you wanna do that?
13    A. Well, no, no, no. There was no allegation       13 I'm fine with doing that. Let's take off Delaney
14 against -- by Caitriona against Gregg, no.            14 Yonchek, and let's take off Caitriona Brady. So now
15    Q. You don't think she's upset that Gregg          15 there's eight women by April of 2019 who allege
16 Roman is telling people that her dad and her boss     16 sexual misconduct, right, and you're aware of all of
17 had sex?                                              17 them by April 2019, right?
18    A. She was upset but --                            18        MR. CAVALIER: Object to form. Object to
19       MR. CAVALIER: I think you mis -- I think        19    lack of foundation.
20    you mischaracterized the rumor.                    20        THE WITNESS: I'm aware of what exactly?
21       MR. CARSON: Yeah, no. It's worse than           21 BY MR. CARSON:
22    what I said. It's that Marnie Meyer got her        22    Q. That there's eight women who potentially
23    job because her dad had sex with her.              23 were harassed by Gregg Roman by April of 2019,
24       MR. CAVALIER: I think you still got the         24 sexually --
                                              Page 302                                                       Page 304
                   ---                                                     ---
 1    parties a little mixed up, but, Daniel, if you     1     A. Where does it say that Gabrielle Bloom was
 2    can answer the question, go ahead.                 2 sexually harassed?
 3                 ---                                   3     Q. "I received a phone call from Matt Bennett
 4        (Indistinguishable cross-talk.)                4 last night. He started the conversation with
 5                 ---                                   5 pleasantries, but then began to discuss current MEF
 6 BY MR. CARSON:                                        6 internal operations. He is apparently speaking to
 7    Q. Caitriona Brady's dad and Marnie Meyer          7 Gregg every two days, knew that Gary was back, and
 8 having sex is the rumor.                              8 also that Marnie had made another allegation against
 9    A. Caitriona did not allege, until you got         9 Gregg, which Gregg was very upset about because he
10 your hands on her, that Gregg did anything against   10 didn't know what the allegation was. They were
11 her --                                               11 apparently concerned that Marnie might have gone out
12    Q. -- sent this email. I didn't talk to them      12 to find an old intern by the name of Gabrielle
13 in April 2019.                                       13 Bloom. The story there, as I was told, was that
14    A. Show me in the email where Caitriona says      14 Gabrielle Bloom would be able to testify about a
15 that Gregg did something sexually inappropriate with 15 personal relationship with Gregg Roman." Right?
16 Caitriona.                                           16     A. Do I hear anything here about sexual
17    Q. That's not what I said.                        17 misbehavior?
18    A. What did you say?                              18     Q. That's not the point, Mr. Pipes. The
19    Q. I said that Caitriona Brady is upset that      19 point is you were in possession of another name that
20 Gregg is talking about her father and Marnie Meyer   20 you could've investigated.
21 having sex.                                          21        MR. CAVALIER: Object to form.
22    A. Agreed on that, but what is the list of --     22        THE WITNESS: -- investigating that Gregg
23 how do you --                                        23     may or may not have had sexual relationship
24    Q. Well, Caitriona's one of them, right?          24     with Gabrielle Bloom. Any --
                                           Everest Court Reporting LLC                             Page: 79 (301 - 304)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 81 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 305                                                      Page 307
                   ---                                                        ---
 1                 ---                                     1    Q. And he was wrong, actually. Gregg thought
 2        (Indistinguishable cross-talk.)                  2 that, when the allegation came up, it was Gabrielle
 3                 ---                                     3 Bloom, but it wasn't, right? It was Caitriona Brady
 4        THE WITNESS: -- that Lisa Barbounis had a        4 and her father and Marnie Meyer, correct?
 5    sexual relationship with a member of the MEF         5    A. No idea what you're talking about.
 6    staff. I don't do this.                              6    Q. What?
 7                 ---                                     7    A. I don't know what you're talking about.
 8        (Indistinguishable cross-talk.)                  8    Q. Well, what allegation was brought up to
 9                 ---                                     9 you at this time? What were they talking about,
10        THE WITNESS: -- Gabrielle -- there's no         10 Mr. Pipes? Says it right here.
11    allegation of sexual misbehavior here.              11    A. There was a rumor about Marnie and
12    Gabrielle Bloom did not come to me. Why is          12 Caitriona's father. I tried to investigate it. I
13    this my concern? It's not my concern. Marnie        13 bumped up quickly against a brick wall of
14    is going off and doing research to find who         14 contradictory allegations, and I remember concluding
15    Gregg may or may not have had sex with. Really      15 that I just can't. I can't. It's not a murder. I
16    not my issue.                                       16 don't have to devote weeks of my life to this. I
17 BY MR. CARSON:                                         17 just couldn't figure out what went on, and I
18    Q. But you did testify earlier there's a            18 announced to everyone that I just -- I'm --
19 difference between friends and a                       19    Q. You weren't doing anything?
20 supervisor/supervisee relationship, correct?           20    A. No. I did.
21    A. Correct.                                         21         MR. CAVALIER: Object to form.
22    Q. And Gregg is the supervisor of Gabrielle         22         THE WITNESS: I went as far as I could,
23 Bloom, correct?                                        23    and I couldn't go further and figure out what
24    A. I'm not sure --                                  24    was at the bottom of this, who had initiated
                                               Page 306                                                       Page 308
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 1       MR. CAVALIER: Object to form.                     1     this rumor, whether it was true or not, who had
 2       THE WITNESS: I don't think so.                    2     initiated. I couldn't find out anything, and
 3 BY MR. CARSON:                                          3     eventually I just told everyone I am not doing
 4     Q. Well, Gregg was the director of the Middle       4     this.
 5 East Forum, and Gabrielle Bloom was an intern,          5 BY MR. CARSON:
 6 correct?                                                6     Q. So Patricia's also reporting to you that
 7     A. That's what it says here. I don't know           7 Gregg Roman is slandering her, right, and the
 8 what Gabrielle Bloom is.                                8 other -- and Lisa?
 9     Q. And you don't know because you never             9     A. Yeah, and I looked into that as well, and
10 looked into it, right?                                 10 this was Matt telling her what Gregg's comments
11     A. Right.                                          11 were. So it, again, was the complex matter. Matt
12     Q. Didn't you say in an email back in              12 and Gregg have a long and difficult -- not
13 November if there's another credible allegation of     13 difficult, but --
14 sexual harassment by him that he'd be fired? So        14     Q. We can't hear you.
15 when you hear another name, don't you go out and try   15     A. Matt and Gregg have a long relationship
16 to look into it?                                       16 going back many years, I think to college. They
17     A. There's no allegation of sexual                 17 have their ups and downs. Matt was very angry at
18 misbehavior here.                                      18 Gregg. Matt wanted Gregg's job. Matt was full of
19     Q. That's your testimony. It's fine.               19 high emotions, as you heard when he testified, when
20     A. But will you show me where this allegation      20 he deposed the other day -- lost a child, all sorts
21 of sexual misbehavior here, because I don't see it.    21 of things going on -- and he had a particular
22     Q. If you're comfortable with that testimony,      22 friendship with Tricia, and I looked into this, and
23 then we can move on.                                   23 I couldn't tell what the truth was. And, again,
24     A. I am comfortable with that testimony.           24 this is not a murder.

                                            Everest Court Reporting LLC                             Page: 80 (305 - 308)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 82 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 309                                                      Page 311
                   ---                                                      ---
 1     Q. Not that serious.                               1    A. Let me finish. Don't characterize --
 2     A. It wasn't a murder. I could only go so          2 don't put words in my mouth.
 3 far to try and figure out who said what. I quizzed     3    Q. Is that what you're saying? Was it --
 4 Tricia. I quizzed Matt. I quizzed Gregg. I tried       4    A. Let me finish. Why do you continuously
 5 to find out who said what to who and when, and I       5 interrupt me?
 6 ended up with no resolution. At a certain point, I     6    Q. Mr. Pipes, I asked you another yes or no
 7 gave up, as with the other thing, because I was        7 question. You go on and on and on, and you're not
 8 getting such contrary stories. I never imagined a      8 answering the question that we're asking, but go
 9 place of work would be such a hotbed of personal --    9 ahead. Take your time. Tell us why -- why you --
10 intense personal relations of vulgarity, of           10 why you accept Gregg's word every time he denies it.
11 backstabbing, and so forth. I was unaware that this   11        MR. CAVALIER: Object to form.
12 was taking place, and when I became aware, as with    12        THE WITNESS: You are mischaracterizing
13 this note, I did my best to investigate, and I just   13    what I just said. I did not --
14 couldn't track these things down -- who's saying      14 BY MR. CARSON:
15 what? Where does the rumor come from? Who actually    15    Q. It was just a question.
16 said what? Is this-and-that making it up? Did         16    A. Well, it's a "when did you stop beating
17 Gregg actually say this? Did Tricia exaggerate it?    17 your wife" question. No, I can't answer that
18 I couldn't figure it out in the end.                  18 question. I'm not gonna answer that question. The
19     Q. Do you think Tricia was exaggerating?          19 question is, why do you always accept Gregg's word?
20     A. I don't know.                                  20 No, I don't accept Gregg's word. I --
21     Q. Does she sound like she is in this letter?     21    Q. Just give me an example [inaudible] --
22     A. I don't know what the actual story was.        22    A. I am giving you an example. I made two
23     Q. Well, the only -- everyone is saying the       23 inquiries into the two issues here, one about
24 same thing but Gregg, though, right? It's basically   24 Gabrielle Bloom, and one about the rumor. In both
                                              Page 310                                                       Page 312
                  ---                                                       ---
 1 everyone accusing Gregg of doing something, Gregg      1 cases, I came up against contradictory
 2 denies it, and you accept Gregg's word every time.     2 information -- what Marnie was saying, what Lisa was
 3 That's the pattern, right?                             3 saying, what Gregg was saying in the first case,
 4        MR. CAVALIER: Object to form.                   4 what Gregg was saying, what Matt was saying, what
 5    Argumentative.                                      5 Tricia was saying in the second case -- were all
 6 BY MR. CARSON:                                         6 different. As this was not an issue that was
 7    Q. It's not argumentative. Is that the              7 potentially a fireable issue, as this was not --
 8 pattern?                                               8 this was staff gunning for -- gunning for Gregg's
 9    A. No, it's not the pattern. I did not              9 job, disliking each other, allying with each other,
10 accept Gregg's word. I --                             10 at a certain point, I threw up my hands in disgust
11    Q. When haven't you accepted his word? Give        11 with this office environment and tried to tell them
12 me an example of when you haven't.                    12 to just deal with their work and stop this intense
13    A. Let me finish.                                  13 interpersonal relations between the staff and stop
14        THE COURT REPORTER: Guys, I'm not getting      14 this already.
15    much, just so you know.                            15     Q. So it's your testimony that you spoke to
16        THE WITNESS: I did not accept Gregg's          16 Matt, Lisa, Tricia, and Gregg in connection with
17    word. I found contradictory. I did not             17 this incident?
18    endorse Gregg at expense of the others. I did      18     A. Which incident?
19    not endorse the others at Gregg's expense. I       19     Q. The one that you just said, what Matt was
20    came away unable to discern the truth, and, as     20 saying, what Lisa was saying, what Gregg was saying,
21    it wasn't a matter of enormous import, but         21 what -- you know, what Tricia saying. So did you --
22    rather backstabbing going on --                    22 you spoke to them all again after this email?
23 BY MR. CARSON:                                        23     A. I can't tell you exactly who I spoke to in
24    Q. It was minor.                                   24 every single case, but I went around and tried to

                                           Everest Court Reporting LLC                             Page: 81 (309 - 312)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 83 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 313                                                      Page 315
                  ---                                                         ---
 1 collect information from the pertinent staff about      1 think Matt had various issues and had affections for
 2 what was going on, and I could not figure it out.       2 some and anger at others and was -- mind you, back
 3 This was not the case as of November of a lot of        3 then, he was purveying all sorts of information,
 4 people coming and saying roughly the same thing and     4 some of it true, some of it not true.
 5 my taking action on it. This was a mess of              5     Q. So you're [inaudible] that Matt lied?
 6 contradictions between virtually every person that      6     A. Let me finish.
 7 came to me. Disagreement on almost every topic.         7     Q. Is that your conclusion, that Matt lied?
 8    Q. Tricia closes by saying, "I know that             8     A. No, I'm not concluded. I'm talking. Man,
 9 everyone is concerned that Gregg is back to his old     9 you're so impolite. I concluded --
10 ways, but I truly wanted to believe that he had        10     Q. This isn't a conversation, Mr. Pipes.
11 learned a lesson. The things I was told last night     11 It's a question and answer session --
12 make me believe otherwise," right? I read that         12         MR. CAVALIER: I'll tell you what, I'm
13 correctly?                                             13     gonna ask for a break while there's no question
14    A. You did.                                         14     pending because I need one.
15    Q. So did you do another investigation to           15         MR. CARSON: There is no question pending,
16 determine whether Gregg was back to his old ways?      16     and you're client's just waxing poetic.
17    A. What are his old ways? His old ways --           17         MR. CAVALIER: Well, that's even better.
18    Q. I think she's referencing the things that        18     If there's no question pending, we can take a
19 got him thrown out of the office, no?                  19     break.
20    A. This -- frankly, I think Matt, who left --       20         MR. CARSON: Perfectly fine.
21 Matt -- we haven't talked about Matt. Matt's a good    21         THE VIDEOGRAPHER: All right. So both
22 man, but he had a difficult time, as explained the     22     counsels agree to a break and --
23 other day in his deposition, and he wanted to be       23         MR. CARSON: -- Jon, maybe you could just
24 director, and he was angry at Gregg way back in        24     have a conversation with your client about
                                               Page 314                                                       Page 316
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 1 November. He was -- he wanted to be director. He        1    quickly getting through this.
 2 was annoyed with me for not making him director. I      2                 ---
 3 told him on many occasions that he had a year in        3        (Indistinguishable cross-talk.)
 4 which to prove himself, from November to November,      4                 ---
 5 '18 to '19. Let him show me what he can do, and I       5        THE COURT REPORTER: Luke, what time is
 6 will consider it. By March, he had decided he           6    it?
 7 didn't wanna do that anymore. He was fed up. He         7        THE VIDEOGRAPHER: The time is 4:49, and
 8 was displeased. He started all sorts of rumors.         8    we are off the record.
 9 [Inaudible]. The day he left, he gave me a call and     9                 ---
10 told me that Marnie wants to be director instead of    10        (Whereupon there was a recess in the
11 Gregg. Is it true? Is it not true? I don't know.       11    proceeding from 4:49 p.m. to 5:08 p.m.)
12 Did I do an investigation to it? No. These             12                 ---
13 statements, rumors, allegations were zooming all       13        THE VIDEOGRAPHER: The time is 5:08 p.m.
14 around the place, and I was, on the one hand, very     14    Eastern Time, and we are now back on the
15 fed up with them; on the other, I could not spend my   15    record.
16 entire time looking into whether Marnie really does    16 BY MR. CARSON:
17 wanna become director or not. I just --                17    Q. Mr. Pipes, do you see this email to Lisa
18    Q. We haven't seen any allegations against          18 Barbounis from you sent on June 5th, 2019?
19 Matt, only Gregg Roman.                                19    A. Yep.
20        MR. CAVALIER: Object to form.                   20    Q. You did tell Lisa in this email that she
21 BY MR. CARSON:                                         21 could work on her own time on the Tommy Robinson
22    Q. Right? Why do you think Matt Bennett's           22 stuff, correct?
23 the problem, not Gregg Roman?                          23    A. Yup.
24    A. I think I just explained to you why I            24    Q. Yes?
                                            Everest Court Reporting LLC                             Page: 82 (313 - 316)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 84 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 317                                                      Page 319
                    ---                                                   ---
 1     A. I did say it, yeah.                             1   that?
 2     Q. You did say it, yes? We can't hear you.         2        MR. CAVALIER: Object to form.
 3 Is that what you said?                                 3        THE WITNESS: No, I don't see that. I see
 4     A. Yes.                                            4    where she lied about taking her children to
 5     Q. Do you know that Lisa Barbounis is a            5    Britain.
 6 elected Republican official in Philadelphia?           6 BY MR. CARSON:
 7     A. I learned this in this email. Yes.              7    Q. You don't see it?
 8     Q. So she is allowed to do political work on       8    A. No, I don't. Now I see both. I see --
 9 her own time, correct?                                 9    Q. "I leave it to your good sense not to get
10        MR. CAVALIER: Object to form.                  10 entangled in anything MEF issues" [as read]. Do you
11 BY MR. CARSON:                                        11 see that?
12     Q. By nature of her being a public-elected        12        MR. CAVALIER: I'm gonna let the record
13 official, that's political, right?                    13    reflect that you scrolled the document up so he
14     A. No.                                            14    could see the part you were referring to.
15     Q. No? Being an elected official is not           15        THE WITNESS: Now that you scroll the
16 political?                                            16    document up, I can see it, and I can also see
17     A. Serving as elected official is not             17    the lie that Lisa told me about taking her
18 political. It depends -- I mean, not necessarily.     18    children with her to the UK.
19 Depends what the office is. I don't know what the     19 BY MR. CARSON:
20 office --                                             20    Q. Right. I think we've already testified
21     Q. We can't hear you.                             21 about that today.
22     A. I don't know what her office is. I don't       22    A. Thank you for pointing it out.
23 know if it's political or not.                        23    Q. So on June 5th, 2019 there's an email from
24     Q. After you found out that she was an            24 Marnie Meyer, right?
                                              Page 318                                                       Page 320
                   ---                                                      ---
 1 elected public official as a Republican, did you       1    A. Yep.
 2 tell her she had to stop doing that at any time?       2    Q. And she tells you that she's disappointed
 3     A. [Inaudible].                                    3 that conditions that were implemented after the
 4     Q. I'm sorry. We can't hear you.                   4 November 5th meeting with Gregg Roman weren't being
 5     A. Go up, and you have my reply to her.            5 adhered to, correct?
 6     Q. Well, I'm just asking, did you ever tell        6    A. Wrong.
 7 her that she had to stop?                              7    Q. Was she disappointed?
 8     A. Go up, and you'll see my reply.                 8    A. There's no reference here to November --
 9     Q. I'm not referencing a document. I'm             9    Q. Wasn't one of the conditions that he
10 asking you a question right now.                      10 wouldn't deal with the finances?
11     A. I'm referencing a document.                    11    A. He -- his -- in November '18, yes; in
12     Q. What?                                          12 March '19, no.
13     A. I'm referencing a document.                    13    Q. So isn't she upset? "Daniel, I am upset
14     Q. Well, that's not how it works.                 14 by your response due to the fact that you assured me
15     A. Well, you just --                              15 that Gregg's continued employment with MEF would not
16     Q. Did you ever tell Lisa that she had to         16 involve finances" [as read]. Right? She's
17 stop being an elected public official as a            17 complaining that the conditions for Gregg Roman's
18 Republican? That's my question. Yes or no? It's       18 continued employment aren't being adhered to.
19 just a yes or no question.                            19 That's what she's complaining about; isn't that
20     A. No.                                            20 right?
21     Q. And, actually, just to reiterate, on           21    A. That is correct, but it is not what I told
22 June 24th, which is document D000024, you told her,   22 her, as I explained above. Removed him from
23 "I leave it in your good sense not to get entangled   23 day-to-day finances; I did not remove him from the
24 in anything related to MEF issues," right? See        24 audit. I couldn't. There's no one else who can do

                                           Everest Court Reporting LLC                             Page: 83 (317 - 320)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 85 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 321                                                      Page 323
                   ---                                                    ---
 1 it, and I told her that at all times, that Gregg has  1      THE WITNESS: She's simply repeating what
 2 to do the audit.                                      2   she'd said a couple of days -- weeks before.
 3     Q. Document No. 26 is the next document.          3 BY MR. CARSON:
 4 Document 26 is another email. This one is dated --    4   Q. Yeah, exactly. She made another complaint
 5 so now we have this number, too -- June 10th, 2019. 5 weeks before, right?
 6 This is an email from Patricia McNulty to you,        6   A. Let's go back to that earlier complaint
 7 correct?                                              7 now that you --
 8     A. Yes.                                           8   Q. We're gonna stay on --
 9     Q. Wanna take a minute and look at it?            9   A. No. I'm gonna bring up the other thing.
10     A. Okay.                                         10   Q. Nope, you're not.
11     Q. This is another complaint made after          11   A. Yes, I am.
12 November 5th, 2018 about Gregg Roman, correct?       12      MR. CARSON: All right. Then we're gonna
13     A. Wrong.                                        13   go off the record, all right? We're off the
14     Q. It's not?                                     14   record.
15     A. No.                                           15      THE VIDEOGRAPHER: Counsel, do we have an
16     Q. Okay. So when she says, "We agreed I do       16   agreement   about whether or not we are off the
17 not report to Gregg but directly to you, as his      17   record?
18 continued abusive and deceitful behavior is more     18      MR. CAVALIER: No. I have no idea why
19 than I should have to endure." So she's not          19   we're going off the record.
20 complaining about Gregg Roman there?                 20      MR. CARSON: Because your client decided
21     A. No. She's just giving her usual dislike       21   that he's gonna stop and look through his own
22 of Gregg at this point. It's not a complaint. Show   22   documents. We're not doing that on my time.
23 me a --                                              23      MR. CAVALIER: I don't remember him saying
24     Q. Abuse and deceit, that's just normal --       24   he wanted   to look through other documents.
                                               Page 322                                                       Page 324
                  ---                                                        ---
 1                ---                                      1        MR. CARSON: What'd he just say?
 2       (Indistinguishable cross-talk.)                   2        MR. CAVALIER: That he wanted to relate
 3                ---                                      3     his answer back to the prior complaint --
 4 BY MR. CARSON:                                          4        MR. CARSON: We're not looking at this
 5    Q. Sorry?                                            5     document right now. We're not looking at
 6    A. Show me a complaint.                              6     previous documents.
 7    Q. She's saying that he's -- "his continued          7        MR. CAVALIER: I'm not talking about a
 8 abusive and deceitful behavior".                        8     previous document. He just said -- you asked
 9    A. Right. That's --                                  9     him a question about this, what you --
10    Q. Aren't you concerned that he's being             10                 ---
11 abusive and deceitful and that it's happening after    11        (Indistinguishable cross-talk.)
12 they reported him for sexual harassment?               12                 ---
13       MR. CAVALIER: Object to form.                    13 BY MR. CARSON:
14       THE WITNESS: There is no allegation of           14     Q. You ready to continue, Mr. Pipes?
15    sexual harassment here.                             15     A. When you let me speak.
16 BY MR. CARSON:                                         16     Q. There's no question pending. There's
17    Q. Do you know what retaliation is?                 17 nothing for you to say.
18    A. I do.                                            18     A. I haven't finished my answer.
19    Q. It's an allegation of retaliation, right?        19     Q. There's no question pending.
20       MR. CAVALIER: Object to form.                    20     A. I didn't finish my answer.
21 BY MR. CARSON:                                         21     Q. There's no question pending, Mr. Pipes.
22    Q. Does she have to use a magic word to             22 Okay. So we're gonna continue when you're ready.
23 complain about retaliation?                            23 If you're not ready, we're gonna go off the record.
24       MR. CAVALIER: Object to form.                    24 Which one do you wanna do?

                                            Everest Court Reporting LLC                             Page: 84 (321 - 324)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 86 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 325                                                      Page 327
                   ---                                                 ---
 1    A. I wanna finish my answer.                   1    it if you can, Daniel.
 2    Q. There's no question, Mr. Pipes. What are    2        THE WITNESS: I don't do legal things.
 3 you gonna --                                      3    I'm a Middle East specialist.
 4                 ---                               4 BY MR. CARSON:
 5        (Indistinguishable cross-talk.)            5    Q. Do you -- what does someone have to say in
 6                 ---                               6 order for it to be retaliation, in order for them to
 7        MR. CARSON: Look, we're gonna go off the 7 report retaliation? What do they have to say to
 8    record because I'm gonna get up and walk away  8 you?
 9    and --                                         9        MR. CAVALIER: Same objection.
10        MR. CAVALIER: Are you withdrawing your 10           THE WITNESS: Hypothetical.
11    last question?                                11 BY MR. CARSON:
12        MR. CARSON: There's no question pending. 12     Q. Mr. Pipes, you have to answer the
13    He wasn't answering a question.               13 question. What do they have to say to you?
14        MR. CAVALIER: Yes, he was.                14    A. Hypothetical. I do not know what they
15        MR. CARSON: All right. What's the         15 have to say to me.
16    question pending?                             16    Q. Are you in charge of --
17        MR. CAVALIER: You're gonna have to ask 17                    ---
18    the court reporter since --                   18        (Indistinguishable cross-talk.)
19        MR. CARSON: Go ahead. What's the          19                 ---
20    question?                                     20        THE WITNESS: Let me speak.
21                 ---                              21 BY MR. CARSON:
22        (Discussion was held off the stenographic 22    Q. Mr. Pipes, you just said you're not
23    record.)                                      23 answering hypothetical. Are you in charge of
24                 ---                              24 enforcing MEF policy to prohibit discrimination and
                                              Page 326                                                       Page 328
                   ---                                                    ---
 1       THE COURT REPORTER: There's no question.         1 harassment in the workplace? Is that part of your
 2       MR. CARSON: There's no question pending,         2 job responsibility?
 3    so what are we doing, Jon?                          3    A. When?
 4       MR. CAVALIER: You asked a question               4    Q. Anytime between 2017 and the present. Has
 5    before --                                           5 that been your job responsibility?
 6       MR. CARSON: The court reporter just said         6    A. When we had someone in charge of human
 7    there's no question pending.                        7 resources, no. As the ultimate decision maker, but,
 8       MR. CAVALIER: If you're acknowledging for        8 no --
 9    the record that there's no pending question or      9    Q. Okay. You are the president of the Middle
10    you withdraw the question, we can --               10 East Forum, correct?
11       MR. CARSON: I'm not withdrawing the             11    A. Yes.
12    question because there's no question pending,      12    Q. So you are, quote, unquote, the ultimate
13    which now I've said it and the court reporter      13 decision maker?
14    said it. So are we ready?                          14    A. Yeah, but I don't --
15       MR. CAVALIER: So ask the question.              15    Q. So you're aware of whether the Middle East
16 BY MR. CARSON:                                        16 Forum maintains a [unintelligible] --
17    Q. Are we ready to continue, Mr. Pipes?            17        THE COURT REPORTER: Sorry. Say that
18    A. If you let me finish my answer.                 18    slower.
19    Q. There's no question pending, Mr. Pipes.         19 BY MR. CARSON:
20 There's nothing to be finished. Mr. Pipes, is there   20    Q. Are you aware of whether the Middle East
21 a magic word that people have to say in order to      21 Forum maintains a policy to prohibit retaliation?
22 report retaliation?                                   22    A. I am not.
23       MR. CAVALIER: Object to form. Object to         23    Q. You're not aware whether they have one?
24    calling for a legal conclusion. You can answer     24    A. No.
                                           Everest Court Reporting LLC                             Page: 85 (325 - 328)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 87 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 329                                                      Page 331
                   ---                                                       ---
 1    Q. Okay. That's fine. So, here, you're not          1     retaliation? It's not a difficult question.
 2 concerned -- when Ms. McNulty says that there's         2        MR. CAVALIER: That's not a question that
 3 continued abusive and deceitful behavior regarding      3    you asked before.
 4 Gregg Roman, you're not concerned that she might be     4        MR. CARSON: It's a yes or no question.
 5 reporting retaliation, correct, or are you?             5    It's simple.
 6        MR. CAVALIER: Object to form.                    6        MR. CAVALIER: That's a different
 7        THE WITNESS: When did I stop beating my          7    question --
 8    wife? I'm not gonna answer those questions.          8                 ---
 9    I'm gonna give my answer.                            9        (Indistinguishable cross-talk.)
10 BY MR. CARSON:                                         10                 ---
11    Q. No, you're not.                                  11 BY MR. CARSON:
12    A. I'm going to give you my answer --               12    Q. Yes or no, Mr. Pipes, were you concerned?
13    Q. If I ask a yes or no question, you don't         13        MR. CAVALIER: You can answer that
14 get to just say whatever you want. That's not the      14    question, Daniel.
15 way this works.                                        15        THE WITNESS: No.
16        MR. CAVALIER: Seth, when you load the           16 BY MR. CARSON:
17    question, it causes problems for the witness.       17    Q. How about when she said, "It's more than I
18 BY MR. CARSON:                                         18 should have to endure"? Were you concerned about
19    Q. I'm asking you, are you concerned, when          19 that?
20 she reports continued abusive and deceitful            20    A. No, and I'll tell you why I was wasn't.
21 behavior, that it implicates retaliation, yes or no?   21    Q. You don't have to. It was a yes or no
22 Are you concerned?                                     22 question.
23        MR. CAVALIER: Same objection.                   23    A. I'm going to.
24        THE WITNESS: I'm not gonna answer a             24    Q. I didn't ask you why.
                                               Page 330                                                       Page 332
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 1    loaded question. I'll answer the question the   1     A. I'm going to tell you why.
 2    way I wanna answer it.                          2     Q. No, Mr. Pipes. There's no question
 3 BY MR. CARSON:                                     3 pending.
 4    Q. You don't get to choose what questions you   4     A. Well, that's the next thing I'm gonna do
 5 answer.                                            5 is --
 6    A. I am. Either you wanna hear my answer, or 6                    ---
 7 you don't get an answer. Do it your way.           7        (Indistinguishable cross-talk.)
 8        MR. CARSON: All right. If your client's     8                 ---
 9    not gonna answer questions, we're gonna stop    9 BY MR. CARSON:
10    and file a motion, Jon, okay, because this is  10     Q. Mr. Pipes, there's no question pending,
11    ridiculous.                                    11 and we're gonna stop the deposition, and we're gonna
12        MR. CAVALIER: Seth, he's trying to answer 12 get -- I'm just gonna file a motion tomorrow and let
13    your question --                               13 him know that the witness was completely
14        MR. CARSON: No, he's not. He's trying -- 14 nonresponsive, refused to cooperate in a deposition,
15        MR. CAVALIER: -- questions that involve 15 and I'm gonna ask to do another seven hours.
16    legal definitions. You're loading the          16        MR. CAVALIER: Hey, Daniel, if he doesn't
17    questions by assuming that some kind of a      17     wanna hear you say why, he doesn't need to hear
18    report occurred. You're loading the questions  18     you say why. I mean, it's his loss, not yours.
19    by --                                          19 BY MR. CARSON:
20        MR. CARSON: Jon, I'm referencing an email 20      Q. So the next sentence in the email says,
21    that was sent from my client to him. The email 21 "The outline of this job description is also
22    says that there's continued abusive and        22 concerning due to Gregg's history of discrimination
23    deceitful behavior. My question is simple:     23 and harassment of female employees in the workplace.
24    Are you concerned that it might implicate      24 Can you even consider a female employee for this

                                            Everest Court Reporting LLC                             Page: 86 (329 - 332)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 88 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 333                                                      Page 335
                  ---                                                     ---
 1 position knowing she will have to work closely with 1     for the director of development. I didn't tell
 2 Gregg Roman and report directly to him?"              2   her she should or should not. She decided she
 3     A. Tricia McNulty had proven herself to be a      3   wanted to apply, but she didn't like the terms
 4 liar. Why would I pay attention to all the things     4   of it. Fine. It's --
 5 she was saying?                                       5                ---
 6     Q. When did she prove herself to be a liar,       6       (Indistinguishable cross-talk.)
 7 Mr. Pipes?                                            7                ---
 8     A. By saying different things about what          8       THE WITNESS: -- with Marnie and the
 9 Gregg did, by changing her story. How can I believe   9   others, I have to take everybody's wish and
10 her?                                                 10   make that my command.
11     Q. Well, let me ask you a question. When did     11 BY MR. CARSON:
12 you find out that she changed her story?             12   Q. Okay, Mr. Pipes. Thank you.
13     A. On November 2nd. November 1st, she told 13         A. Let me finish.
14 me one thing; November 2nd, she wrote me another     14   Q. No, no. You don't have to finish.
15 thing; and then, subsequently -- I don't remember    15 There's no question pending.
16 which date -- she came up with a third story.        16       MR. CAVALIER: No. This time, you asked a
17     Q. You sure you wanna go with that testimony 17       question.
18 right now?                                           18       MR. CARSON: No, I did not. We're not --
19     A. I'm very sure.                                19   Jon, he's not just gonna go on and wax poetic
20        MR. CAVALIER: Object to form.                 20   during the next hour and a half. That's not --
21 BY MR. CARSON:                                       21       MR. CAVALIER: -- you asked him about
22     Q. Okay, good. Didn't you testify today that     22   whether he considered her for the job and --
23 you just found out that she said the second thing on 23 BY MR. CARSON:
24 November 2nd?                                        24   Q. Did you consider her for the job, yes or
                                              Page 334                                                       Page 336
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 1        MR. CAVALIER: Object to form.                  1 no? It's a yes or no question.
 2        THE WITNESS: No.                               2     A. Not a yes or no question.
 3 BY MR. CARSON:                                        3     Q. "Giving you" -- so what did you mean here
 4    Q. No, you didn't? Okay. "Due to parameters        4 on June 9th, 2019? You wrote -- and this is
 5 that are supposed to be in place concerning myself    5 Document No. 26 -- "Giving you an advance look,
 6 and Gregg, I am wondering how it would be possible    6 though small changes might still be made to it."
 7 for me to even be considered for this position."      7 What's that mean?
 8 Did you consider her for the position knowing that    8     A. That means I gave her the courtesy, since
 9 she'd have to work with Gregg, yes or no?             9 she was interested in the job, of seeing what the
10        MR. CAVALIER: Object to form.                 10 description would be, but I wasn't taking orders
11        THE WITNESS: It's a loaded question.          11 from Tricia on how to define the job. The job was
12 BY MR. CARSON:                                       12 an administrative job. I am not the administrator,
13    Q. Did you consider her for the position?         13 and I thought that that job -- the person in that
14    A. She would have been considered had she         14 job should report to Gregg, and that's what would
15 applied, but this was simply the announcement of a   15 have been had we gone through with that job, which
16 job, so how could I consider her before she applied? 16 we didn't because, shortly after this, she then did
17    Q. She never told you she was interested in       17 the EEOC letter, and then we just -- I just stopped
18 the position?                                        18 it completely.
19        MR. CAVALIER: Object to form.                 19     Q. Thank you, Mr. Pipes. The next email is
20        THE WITNESS: She announces here that          20 on June 11th, 2019, and the document number is
21    she's interested in the position but doesn't      21 000027, and in this email, she says, "Daniel, there
22    wanna work for Gregg, so she'd have to tell me    22 have been no new instances of sexual harassment
23    who the director of development is going to       23 since November when Gregg was removed from the
24    report to. I didn't tell her she had to apply     24 office, but I was referring to the ongoing

                                           Everest Court Reporting LLC                             Page: 87 (333 - 336)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 89 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 337                                                      Page 339
                  ---                                                     ---
 1 psychological harassment we discussed following his  1 BY MR. CARSON:
 2 phone call with Matt." So, here, she's reporting     2     Q. She said that it happened following the
 3 ongoing psychological harassment, correct?           3 phone calls with Matt.
 4    A. Correct.                                       4     A. She had no direct contact with Gregg. She
 5    Q. So that's three emails she sent to you         5 had contact with Matt, who she had a great affection
 6 reporting Gregg's misconduct since November 5th,     6 for, and Matt had a relationship with Gregg which
 7 2019, right?                                         7 was complex, and the three of them went from Gregg
 8    A. No, wrong.                                     8 to Matt -- maybe Gregg to Matt, and Matt,
 9    Q. Not three emails?                              9 definitely, to Tricia. I --
10    A. She's reporting what she heard from Matt.     10     Q. The email continues, "Gregg continues to
11 She didn't hear it from Gregg. She heard Matt's     11 be the director, a position of power and authority,
12 version of what Gregg said. What Gregg said he said 12 which will always be detrimental to my ability to be
13 and what Matt said he said were different, so I     13 successful here. Even though I report to you, I am
14 don't know what the truth was.                      14 still receiving directives and deadlines to be met
15    Q. So you disregarded her email, correct?        15 by Gregg. For all intents and purposes, I am still
16        MR. CAVALIER: Object to form.                16 held accountable to him." Right? That's what she
17        THE WITNESS: -- regard it. I can't take      17 said to you?
18    every single statement of someone and rearrange 18      A. That's what she said, and that's what she
19    the office at their convenience. We had an       19 agreed to back in March.
20    agreement -- one in November, and a second       20     Q. "You have stated that you highly dislike
21    agreement in March -- and they were all gunning 21 the administrative part of running a think tank,
22    for each other's jobs. They were hating and      22 which you were forced into taking over when Gregg
23    loving and engaged with each other in all sorts  23 was removed from the office in November. That being
24    of complex ways, and here she goes on about      24 said, my reporting to you as director of development
                                               Page 338                                                       Page 340
                   ---                                                      ---
 1    what Matt said on a telephone call after Matt        1 would already put me at a disadvantage in my
 2    had left the office. Why is Matt reporting to        2 application pool since it would not alleviate your
 3    her what Gregg allegedly said after he left the      3 oversight of administrative tasks. Additionally, if
 4    office?                                              4 Gregg is part of the hiring process for the director
 5 BY MR. CARSON:                                          5 of development, I am even further disadvantaged,
 6    Q. Her email continues, "He has continued to         6 despite my experience and accomplishments, knowing
 7 spew slander regarding my work and my reputation.       7 full well he has already stated that he considers
 8 He has a history of speaking badly about employees      8 Marnie, Lisa, and me 'usurpers'." That didn't come
 9 to other employees and, as was the case in April, to    9 from Matt, did it?
10 former employees. It is very hard to work with         10     A. You tell me. I don't know where it came
11 someone knowing he is trying to damage my reputation   11 from.
12 and find a way to push me out of a job." So            12     Q. Did you investigate it?
13 considering these -- the June 11th, 2019 email from    13     A. You want me to full-time investigate every
14 Patricia McNulty to you, did you consider that a       14 single email I get?
15 report of retaliation?                                 15     Q. No. Every single report of --
16    A. Course not. I consider it a report of            16     A. We went through all of this in November.
17 what Matt is telling her.                              17 I devoted a week to it. I moved on.
18    Q. But she doesn't say this is what Matt --         18     Q. Right. You moved on, but they didn't,
19 she's just saying to you --                            19 correct?
20    A. Yes, she does. "Following his phone calls        20     A. Oh, no. They were building their case.
21 with Matt." She got it from Matt.                      21 We have perfect example of Tricia here building her
22                 ---                                    22 case to take to Derek Smith Law Group and sue us for
23        (Indistinguishable cross-talk.)                 23 $31 million. Good job, Tricia. Good job,
24                 ---                                    24 Mr. Carson. Well done.

                                            Everest Court Reporting LLC                             Page: 88 (337 - 340)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 90 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 341                                                      Page 343
                   ---                                                     ---
 1    Q. This is what you intend to tell a jury?         1 it. I'm trying to do my work, and these people are
 2 This is how you're gonna testify?                     2 engaged in this backstabbing, including Matt, I'm
 3    A. They agreed. They agreed to what we set         3 sorry to say. Matt was part of it. Matt was part
 4 up in November, they agreed to the changes in March, 4 of this backstabbing, and I don't know why he did
 5 and then, all of a sudden, in late May, early June    5 it. He left the organization. I don't know why he
 6 or so, suddenly comes barrage of calumny against      6 was doing it. I don't know [inaudible] Marnie
 7 Gregg out of nowhere. Did he do anything? Did he      7 wanted to be the head of it. I don't know why he
 8 do anything? All we know is that Matt said some       8 was trying to get Tricia upset about Gregg. I don't
 9 things, quoted Gregg to Tricia. We know of no         9 know why. I don't know. Oh, and let me note that
10 complaints that he actually did anything. We have    10 you asked about the rumor, the Brady rumor.
11 generalizations about what a miserable person he is, 11     Q. Yeah. There's no question pending about
12 how she doesn't like him. Okay. So what am I         12 the Brady rumor.
13 supposed to do, change the whole organization all    13     A. I now remember that the Brady -- I asked
14 over again because Tricia is saying these things?    14 Lisa, is this new? Is this since November? She
15    Q. No, of course not, right? You didn't even      15 said no. Predated November. So --
16 think about doing that, correct? Right? That's a     16     Q. Mr. Pipes, did you hire a deputy director?
17 question.                                            17     A. [Inaudible] --
18                 ---                                  18     Q. No, I'm not. You're not gonna finish, Mr.
19        (Indistinguishable cross-talk.)               19 Pipes. You're done, okay? Were you gonna hire a
20                 ---                                  20 deputy director?
21 BY MR. CARSON:                                       21                 ---
22    Q. Right? Hello? There's a question               22        (Indistinguishable cross-talk.)
23 pending, Mr. Pipes.                                  23                 ---
24    A. I've answered you.                             24        THE WITNESS: -- to me in April.
                                              Page 342                                                       Page 344
                   ---                                                     ---
 1    Q. No. My last question is, did you even            1    Actually, it took place before November, and it
 2 consider doing that, making changes to the             2    was a quiver in their satchel, which they
 3 organization to protect the female employees who       3    brought out --
 4 worked for you?                                        4        MR. CARSON: Jon, you gotta get your
 5        MR. CAVALIER: Object to form.                   5    client under control. I don't even know what
 6        THE WITNESS: I made extensive changes to        6    he's talking about right now.
 7    the organization in November --                     7        MR. CAVALIER: So you do not want the
 8 BY MR. CARSON:                                         8    witness to correct prior testimony?
 9    Q. In November.                                     9        MR. CARSON: I have no idea. He's just
10    A. -- approval. I made further changes in          10    been going on for the last five minutes. I
11 March with their initiation and approval. I could     11    don't think anyone here knows what he's talking
12 not make, in every month, a whole new range of        12    about, so, please, get your client under
13 changes because someone doesn't like someone.         13    control. He's not answering a question right
14 Here's something from someone else that someone       14    now. He's just going on and on and on, and,
15 said. This was a viper's nest, and if I thought so    15    seriously, I'm gonna file a motion about it
16 then, I think so more and more as I've read the       16    because it's ridiculous. It's just ridiculous.
17 exchanges of emails between these people and the      17    It's not okay. You can't intentionally try to
18 things about they were saying -- things they were     18    sabotage a deposition by answering yes or no
19 saying about each other, things they were saying to   19    questions by taking five minutes and going on
20 each other, the things they were saying about         20    and on and on just blabbering about nothing.
21 others, incredible. So I hope you don't raise this,   21    He's not responsive to anything right now.
22 Mr. Carson, because it's just gonna raise a viper's   22        MR. CAVALIER: It should go without saying
23 nest of contention, ugliness, vulgarity, sexual       23    that we disagree with the way you describe
24 accession. It's nasty stuff, and I was not part of    24    that. If you wanna file a motion --
                                           Everest Court Reporting LLC                             Page: 89 (341 - 344)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 91 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 345                                                      Page 347
                   ---                                                      ---
 1        MR. CARSON: You don't have a choice, but        1     A. Apparently.
 2     that's what's happening, and I think the record    2     Q. So here's another email from Ms. McNulty
 3     will speak for itself, okay?                       3 dated May 10th, right? May 10th, 2019, all right?
 4        MR. CAVALIER: To the extent the record          4 This one, she says, "Daniel, I feel very
 5     can speak at all, to the extent you've             5 uncomfortable in the situation I find myself now in.
 6     interrupted the witness 500 times, and the         6 When Gregg was removed from the office the first
 7     court reporter has been put through hell during    7 time, I continued to work with him regularly. His
 8     these six hours --                                 8 role keeps him involved in events and fundraising,
 9        MR. CARSON: We're gonna move on.                9 essentially working hand-in-hand with me." So she's
10        MR. CAVALIER: -- we'll see what it looks       10 telling you that, even after Gregg was ejected from
11     like but --                                       11 the office, she still had to work with him, correct?
12        MR. CARSON: We're gonna move on now.           12     A. No.
13 BY MR. CARSON:                                        13     Q. Not what she's saying there?
14     Q. Mr. Pipes, you told -- you talked about        14     A. No.
15 hiring a deputy director. Did you ever do that, yes   15     Q. Says, "When Gregg was removed from the
16 or no?                                                16 office the first time". Is she referring to the
17     A. No.                                            17 November 5th, 2018 situation when he was removed
18     Q. See this email from Lisa on July 18, 2019,     18 from the office there?
19 Mr. Pipes?                                            19     A. Yes.
20     A. Yeah.                                          20     Q. Okay. She said, "I continue to work with
21     Q. She talking about attending, I think, a        21 him regularly," right?
22 conference in Washington D.C.; is that right?         22     A. Yes.
23     A. I don't know.                                  23     Q. So then why'd you say no a minute ago?
24     Q. What?                                          24        MR. CAVALIER: Objection.
                                              Page 346                                                       Page 348
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 1     A. I don't know.                                 1       THE WITNESS: Because there's
 2     Q. Marc writes, "Dear Lisa, as you well know,    2    communication that the next sentence is about
 3 [unintelligible] no surprises when it comes to       3    the pre-March era.
 4 activities that could embarrass the organizations,   4 BY MR. CARSON:
 5 especially political activities. As you know,        5    Q. All right. So we'll read that, then.
 6 Daniel Pipes previously confronted you about your    6 "Everyone else here [sic] received a reprieve from
 7 surprise travels, first on April 17th about your     7 him, but I did not." She's referring to between
 8 meeting in D.C. with Jack Posepiak [phonetic], then  8 November 5th, 2018 and March 2018. She's saying,
 9 on May 28th about your travels to the UK." Do you    9 even during that time period, I didn't get a
10 remember?                                           10 reprieve, right?
11     A. I read it, yeah.                             11       MR. CAVALIER: Object to form.
12     Q. So she responds and says, Please see the     12 BY MR. CARSON:
13 attached screenshot. I asked Dr. Pipes for          13    Q. Is that how you understand it?
14 permission, and he granted it. So she did talk to   14    A. Understand what?
15 you about going to that conference in D.C., right,  15    Q. What she wrote to you. I'll continue.
16 and you said okay?                                  16 "Everyone else received a reprieve from him, but I
17        MR. CAVALIER: Object to form.                17 did not. With him returning to that role, I will
18        THE WITNESS: This is a letter from Marc      18 again continue to be working with him just as much
19     to Lisa, and from Lisa to Marc. I'm not quite   19 as ever. I had very much wanted to believe that he
20     sure what we're supposed to...                  20 had learned a lesson and could be brought back
21 BY MR. CARSON:                                      21 because I knew it would make your life better, but I
22     Q. I'm asking you if you -- she says that you   22 was wrong," right? "Now I find myself again on the
23 gave her permission to go. She asks, and you        23 very bad side of Gregg, who remains in power.
24 granted permission; is that true?                   24 Despite splitting that power into two parts, it is

                                           Everest Court Reporting LLC                             Page: 90 (345 - 348)
                                    215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 92 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 349                                                      Page 351
                      ---                                                     ---
 1 still -- it is still a position of power that could     1 would cause him to be fired, that he did something
 2 directly affect my career and future. There will        2 that was terrible. There are vague things about
 3 never be a day when Gregg doesn't think it would be     3 Gregg --
 4 in his best interest to not have me at MEF. Between     4     Q. My question was, she did complain again,
 5 the sexual harassment, the verbal abuse, and the        5 correct?
 6 slander of my character and reputation that has all     6     A. I'm answering it --
 7 been made known, he will force me out of the Forum      7     Q. No, you're not. My question was, did she
 8 the second he has an opportunity. I witnessed him       8 complain again? That's the question, Mr. Pipes.
 9 drive Eman, Grayson, and Gary out of employment at      9 It's yes or no or "I don't know". You're allowed to
10 the Forum because he didn't want to be working with    10 say "I don't know," too. Did she complain again?
11 them. He will back me into a corner until I have no    11 Is this another complaint?
12 choice to leave, like each of them" [as read]. She     12     A. I am not gonna answer your loaded
13 is complaining to you after November 5th, 2018,        13 question.
14 correct?                                               14     Q. You have to answer the question.
15     A. She got in touch with a shoddy lawyer who       15                  ---
16 told her to start documenting how terrible             16         (Indistinguishable cross-talk.)
17 everything was, and she did that, and a few days       17                  ---
18 later, she filed an EEOC complaint. Yes.               18 BY MR. CARSON:
19     Q. What lawyer did she get in touch with by        19     Q. -- say whatever you want to my questions.
20 May 10th, 2019?                                        20 It's a yes or no question. Did she complain again?
21     A. Perhaps yourself, perhaps another one.          21 Is this a complaint?
22     Q. I'll represent to you she didn't get a          22         MR. CAVALIER: He's trying to give you the
23 lawyer by May 10th, 2019.                              23     context --
24     A. She was on her way to getting a lawyer.         24         MR. CARSON: No. I'm not asking for
                                               Page 350                                                       Page 352
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 1 She was the one who went first to a lawyer, and you     1     context. I'm asking a yes or no question.
 2 are the lawyer, I believe, and she was setting up       2 BY MR. CARSON:
 3 her argument. Note that these all came late in the      3     Q. Did she complain again?
 4 day just before the EEOC complaint. Gregg never         4     A. No.
 5 tried to get rid of her. This is --                     5     Q. She didn't -- this is not a complaint,
 6     Q. So this is part of the conspiracy, right,        6 right?
 7 the huge conspiracy that you've concocted?              7     A. No.
 8     A. The conspiracy you've concocted, yes.            8     Q. Okay. So we've now looked at a complaint
 9     Q. "I honestly do not know what I am supposed       9 on April 23rd, 2019, one on June 10th, 2019, one on
10 to do in this position. Like I said to you before,     10 June 11th, 2019, and one on May 10th, 2019. They're
11 I feel like I am in a lose-lose situation. I do        11 all from Patricia McNulty. Do you remember that
12 believe that speaking to a lawyer is in my best        12 today?
13 interest." She hadn't gone to a lawyer, right?         13     A. No. I --
14 She's thinking about it right now.                     14     Q. You don't remember?
15     A. [Inaudible].                                    15     A. I said no, I do not remember. I do not
16     Q. What?                                           16 see complaints. I see moaning about Gregg. I do
17     A. Preparing the way to go to a lawyer.            17 not see any complaints, anything for me to act on.
18     Q. Preparing the way to go to a lawyer, okay.      18     Q. That's what Patricia McNulty's doing,
19 But the point is she did complain about Gregg again,   19 she's moaning about Gregg?
20 correct?                                               20     A. That's what she's doing.
21     A. Well, it's the same point she's making in       21     Q. Okay. Thank you.
22 slightly different words over and over again, but      22     A. Not providing me with any specifics that I
23 not -- at no point after November was there any        23 can act on.
24 specific allegation that Gregg did something that      24     Q. I understood your answer. Mr. Pipes --
                                            Everest Court Reporting LLC                             Page: 91 (349 - 352)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 93 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 353                                                      Page 355
                    ---                                                       ---
 1                  ---                                    1 old -- it's the old issues.
 2         (Indistinguishable cross-talk.)                 2      Q. But you didn't investigate this rumor in
 3                  ---                                    3 2018 because you didn't know about it, right?
 4         MR. CARSON: There's no question on the          4      A. -- know about it, but when I asked Lisa --
 5     table.                                              5      Q. I'm sorry. Did you say you did not know
 6         MR. CAVALIER: He's finishing his answer.        6 about it?
 7         MR. CARSON: No, there's no question. All        7      A. I did not know about it until spring --
 8     right. So right now we are going to look at --      8 I'm not sure when -- of 2019, and when I heard about
 9     and, by the way, that was -- the last complaint     9 it, the most important thing to me was when did this
10     we looked at was on -- was D000037.                10 take -- when did she hear about this?
11         MR. CAVALIER: I'm objecting to the --          11      Q. Yeah.
12                  ---                                   12      A. When she heard about -- let me finish.
13         (Indistinguishable cross-talk.)                13 She said she heard about it before November '18, and
14                  ---                                   14 that made me less anxious about it because whoever
15         THE COURT REPORTER: Nothing is getting         15 had initiated it, it took place in the previous era,
16     written down when you're talking at the same       16 and we are now out of that. So I don't know --
17     time.                                              17      Q. Yeah. That's because you gave Gregg
18         MR. CARSON: That's okay. I'm just              18 immunity for everything that happened before
19     letting the court reporter -- I'm sorry -- the     19 November 2018, right?
20     videographer know what exhibits we're at.          20      A. I what?
21 BY MR. CARSON:                                         21      Q. You gave him immunity. You gave him a
22     Q. So the next thing we're gonna look at           22 reprieve. If it happened before that, you weren't
23 is -- so this is a email where -- do you remember      23 interested.
24 this email where Marnie Meyer complains?               24         MR. CAVALIER: Object to form. Object as
                                               Page 354                                                       Page 356
                  ---                                                         ---
 1    A. No.                                               1     argumentative.
 2       MR. CAVALIER: Object to form.                     2         THE WITNESS: No, I did not give immunity.
 3 BY MR. CARSON:                                          3     I severely curtailed his hour, his
 4    Q. She's saying Gregg -- you see right here,         4     remuneration, and other aspects of his job.
 5 "Gregg has made it clear he has hostilities toward      5 BY MR. CARSON:
 6 me and he now -- and is now known to have started       6     Q. You've already testified about that.
 7 rumors about me, damaging my reputation, for which      7                  ---
 8 he has not even been held accountable in any manner,    8         (Indistinguishable cross-talk.)
 9 including a simple apology" [as read]. Right?           9                  ---
10 She's complaining there, correct?                      10         THE WITNESS: -- can't just interrupt me.
11    A. No.                                              11 BY MR. CARSON:
12    Q. Okay. So now that's -- you said there            12     Q. It was another yes or no question. That's
13 wasn't one complaint against Gregg Roman after         13 it, yes or no. Mr. Pipes, what about this? Here,
14 November 5th, 2019, and I would represent to you       14 there's another -- there's another sentence here.
15 that we've now looked at at least seven, but you're    15 Besides the rumor about Marnie Meyer, she says,
16 saying none of them are complaints, correct?           16 "Gregg has made it clear that he has hostilities
17    A. This was a complaint about something that        17 toward me". That's present tense, correct?
18 happened before November 2018.                         18     A. I will answer my way, or I don't answer.
19    Q. That you found out about after --                19     Q. I mean, I'm asking you if she's talking in
20    A. I asked Lisa when she told me about this         20 the present tense.
21 Brady rumor, was this pre or post November '18, and    21     A. I will answer as I wish to answer, and
22 she said pre. So this is from before. It is not a      22 you'll let me answer.
23 new complaint. It is raising the same old              23     Q. It's a simple yes or no question -- is she
24 complaints in a new way, or at a new time, as the      24 talking in present tense -- or maybe you don't know.

                                            Everest Court Reporting LLC                             Page: 92 (353 - 356)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 94 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 357                                                      Page 359
                    ---                                                  ---
 1 Yes, no, I don't know?                               1        MR. CARSON: We're gonna go off the record
 2     A. You gonna let me answer?                      2    because, I mean, he's just not answering right
 3     Q. I'm asking you a question, if you can         3    now. So I'm gonna stop sharing --
 4 answer my question. Is she talking in the present    4        MR. CAVALIER: Ask the question, Seth.
 5 tense right here?                                    5        MR. CARSON: Is it a present tense
 6     A. Are you gonna censor me or gonna let me       6    sentence?
 7 speak?                                               7        MR. CAVALIER: Answer the question in the
 8     Q. I'm not censoring you. I'm asking you a       8    way you think it needs to be answered.
 9 question. You can answer my question. Is she         9        MR. CARSON: I mean, at this point it
10 talking in the present tense? This is a present     10    doesn't matter what happens. We're just gonna
11 complaint, correct, or did you not see it that way? 11    have to deal with it with the court because you
12 It's just a yes or no question.                     12    guys are what's wasting a lot of time today
13     A. I would like to answer my way.               13    with nothing, and it's really -- you know, it's
14     Q. Is your way include saying yes or no?        14    obviously a strategy. It's not a good
15         MR. CAVALIER: Seth, just let him answer 15        strategy, but, you know, I'm objecting to the
16     the question.                                   16    nonresponsiveness throughout the entire day.
17         MR. CARSON: No, I'm not, because he         17 BY MR. CARSON:
18     answers every single question by not answering 18     Q. Mr. Pipes, are you gonna continue the
19     the question and just talking and talking and   19 deposition, yes or no?
20     talking.                                        20    A. Yes, if you let me speak.
21         MR. CAVALIER: We deposed your client a      21    Q. Well, you can speak all you want, but your
22     week ago, and she went on for pages.            22 responses and what you say have to be in answer to
23                  ---                                23 my question. You can't just say whatever you want
24         (Indistinguishable cross-talk.)             24 to anything I say.
                                             Page 358                                                       Page 360
                  ---                                                      ---
 1                ---                                   1         MR. CAVALIER: He's not. He's trying to
 2       MR. CARSON: Are you guys gonna give me          2     answer your question.
 3    eight and a half hours today? I'll let him         3 BY MR. CARSON:
 4    answer whatever he needs to, however long he       4     Q. Okay. So my question here with regard to
 5    needs to.                                          5 this email -- I'm not -- this is the last time I'm
 6       MR. CAVALIER: You didn't give us eight --       6 gonna try this. My question here with regard to
 7       MR. CARSON: Yeah, I did. I gave you             7 this email is, do you see here right here where it
 8    eight and a half hours.                            8 says, "Gregg Roman has made it clear that he has
 9       MR. CAVALIER: Secondly, if you wanna ask        9 hostilities toward me"?
10    questions that require context, he's allowed to   10     A. You gonna box me in to one-syllable answer
11    give it.                                          11 or --
12                ---                                   12     Q. Do you see that?
13       (Indistinguishable cross-talk.)                13     A. No, I don't see it.
14                ---                                   14     Q. You don't see it? I just highlighted it.
15       MR. CAVALIER: -- far further along if you      15        MR. CAVALIER: The document's not up.
16    would stop interrupting him and just let him --   16 BY MR. CARSON:
17       MR. CARSON: No, we wouldn't. My                17     Q. Do you see it now? "Gregg Roman has made
18    question, Jon, is if this is a present tense      18 it clear that he has hostilities toward me."
19    sentence. That's the question. Is it in the       19     A. I see it.
20    present tense? That's all I'm asking.             20     Q. Okay. Isn't she talking in the present
21 BY MR. CARSON:                                       21 tense there?
22    Q. Do you know, Mr. Pipes, whether this is in     22     A. You gonna let me answer?
23 present tense?                                       23     Q. It's just a yes or no.
24    A. You gonna censor me or let me speak?           24        MR. CAVALIER: I'm gonna object to the
                                          Everest Court Reporting LLC                             Page: 93 (357 - 360)
                                   215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 95 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 361                                                      Page 363
                    ---                                                  ---
 1     form. The document speaks for itself, and it's   1     A. You tell me.
 2     literally not in the present tense, and you      2     Q. Well, I'm asking. You're the one who said
 3     keep asking --                                   3 it. Marnie -- this is your email, right, Daniel
 4         MR. CARSON: "Gregg has made it clear" -- 4 Pipes to Marnie Meyer?
 5     then he can say no, can't he?                    5     A. That's my email from a year and a half
 6         THE WITNESS: No, it's not in the present     6 ago. I don't recall. You have the list of -- you
 7     tense.                                           7 have the documents. I don't.
 8 BY MR. CARSON:                                       8     Q. I can't -- we can't hear you, Mr. Pipes.
 9     Q. Okay. So you think when she was saying        9 Can you speak up? Here, you say, "I understand your
10 this she was talking about the Caitriona Brady      10 feelings and sympathize with them and respect your
11 situation?                                          11 reluctance. Gregg has made many -- made errors and
12     A. "Has made" is past tense. "Has" is           12 many of -- Gregg has made errors, and many of us,
13 present tense.                                      13 including myself, have issues with what he has done.
14     Q. Okay. Thank you for answering.               14 Accordingly, he has a diminished standing at MEF,
15     A. Therefore, it is not a single-word answer.   15 including severely limited access to the office.
16     Q. All right. Your answer was no. Do you        16 You are not asked to be alone with him, you do not
17 think that when she said -- do you think when she   17 report to him, and he has no say over your
18 said this she was referring to the Caitriona Brady  18 employment duties or status" [as read]. Sent that
19 rumor, or you think she was talking about continued 19 on June 5th, 2019, right? Can you hear me?
20 hostilities?                                        20     A. Yep.
21     A. It goes on to mention the rumor, but, of     21     Q. You sent that on June 5th, 2019, correct?
22 course, we now know that the rumor actually dated   22     A. Correct.
23 from a half year earlier.                           23     Q. Okay. You also write, "Gregg Roman has
24     Q. But doesn't she say, "Gregg Roman made it    24 had -- has had many errors" [as read], correct?
                                               Page 362                                                       Page 364
                   ---                                                    ---
 1 clear that he has hostilities and is now known to      1     A. Correct.
 2 have started rumors against me" [as read]? Isn't        2    Q. What are the errors you're referring to
 3 that two things?                                        3 there?
 4     A. Well, they're obviously connected because        4    A. Pre November '18.
 5 she mentions one right after the other, and so she's    5    Q. But you also say, you have to work with
 6 referring to something --                               6 Gregg Roman, correct?
 7     Q. Mr. Pipes, you answered the question.            7    A. Correct.
 8     A. -- six months earlier, pre November '18.         8    Q. So you're forcing her to work with him
 9     Q. Okay. So the next thing we're gonna look         9 after November 5th, 2019 -- 2018, correct?
10 at is -- who said this right here? The bane of         10        MR. CAVALIER: Object to form.
11 my -- "This tension is the bane of my life," right?    11 BY MR. CARSON:
12 You forwarded Marnie's email complaining about Gregg   12    Q. You're forcing her to work with him,
13 to Gregg, and then said, "This tension is the bane     13 correct?
14 of my life," right?                                    14        MR. CAVALIER: Same objection.
15     A. Right.                                          15 BY MR. CARSON:
16     Q. Your key statement below is, "I'm no            16    Q. I mean, "You have to work with Gregg
17 longer comfortable with Gregg reviewing or having      17 Roman." That's what you said?
18 access to my work product or your resulting refusal    18    A. I'm not forcing her. She is free to --
19 to work with him" [as read]. That was in connection    19    Q. Can't hear you.
20 to the finances, right?                                20    A. No, I'm not forcing her.
21         MR. CAVALIER: Object to form.                  21    Q. I mean, if she wants to continue her
22 BY MR. CARSON:                                         22 employment, she has to, right?
23     Q. Was that -- what was that in connection         23    A. Correct.
24 to, Mr. Pipes?                                         24    Q. What?
                                            Everest Court Reporting LLC                             Page: 94 (361 - 364)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 96 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 365                                                      Page 367
                ---                                                        ---
 1    A. Yes.                                              1
                                                           BY MR. CARSON:
 2    Q. Okay.                                           2    Q. [Unintelligible]. You already testified
 3        THE VIDEOGRAPHER: Counsels, we are in the 3 to that, right?
 4    last 60 minutes until seven hours, for your        4        MR. CAVALIER: Object to argumentative
 5    information.                                       5    nature of the question. To the extent you can
 6        MR. CARSON: So the next thing we're gonna      6    answer, you can answer.
 7    look at is November -- is Documents 50, 51, 52.    7 BY MR. CARSON:
 8        THE VIDEOGRAPHER: Thank you.                   8    Q. Why are you trying to compare the -- why
 9        MR. CARSON: Got it?                            9 are you trying to relate Gregg Roman going rogue and
10                 ---                                  10 signing up with a $200,000 health insurance policy
11        (Indistinguishable cross-talk.)               11 for the office, and what you did in response to
12                 ---                                  12 that, to this document?
13        MR. CARSON: What?                             13        MR. CAVALIER: Object to form.
14        THE VIDEOGRAPHER: Yes, Counselor.             14        THE WITNESS: The complaints in November
15 BY MR. CARSON:                                       15    fell into two categories, the sexual complaints
16    Q. November 6, 2018. You see this? Is this        16    and the management complaints. The sexual
17 the agreement between you and Gregg Roman for him to 17    harassment complaints I dealt with by excluding
18 continue working with the Middle East Forum after    18    him from the office and limiting his contact
19 November 5th, 2018 meeting?                          19    with the female employees. The administrative
20    A. Looks like it, yeah.                           20    and management complaints I dealt with by
21    Q. So he keeps his -- keeps his title as          21    taking him out of administration. They're two
22 director, correct?                                   22    separate problems which I dealt with in two
23    A. Looks like it.                                 23    separate ways, and the -- I initially kept the
24    Q. Yeah?                                          24    remuneration the same, and benefits, and then
                                               Page 366                                                       Page 368
                  ---                                                        ---
 1    A. Yep.                                              1     when I learned shortly afterwards that he had
 2    Q. He continues to make the same amount of           2     $27,000 or so in health insurance, we were
 3 money, no -- all his benefits are the same, correct?    3     paying -- the Forum was paying $27,000 a year
 4    A. No. No, I said.                                   4     in health insurance. I took that away, so, in
 5    Q. "Your salary and benefits remain                  5     fact, he did have a significant loss of income.
 6 unchanged." Isn't that part of the agreement?           6 BY MR. CARSON:
 7    A. No.                                               7     Q. But he didn't have a significant loss
 8    Q. Well, it says so right here, though,              8 because of the women's complaints, right? The loss
 9 right?                                                  9 of the health insurance was connected to his own
10    A. Yeah, but that isn't what happened.              10 misconduct, correct?
11    Q. Well, what happened that's different than        11     A. No, it was not misconduct. It was bad
12 that?                                                  12 management.
13    A. I learned that he had, I think, $27,000 in       13     Q. His own bad management, right?
14 health insurance, and I took that away.                14     A. Yes.
15    Q. But that has nothing to do with this,            15     Q. Okay. So the next thing we're gonna look
16 though, right?                                         16 at is an email from Lisa Barbounis to you. "Gregg
17    A. When I found out about that, I took it           17 Roman will be restated -- will be reinstated as
18 away. That was --                                      18 director of MEF" -- and this is Document 54. "He
19    Q. It has nothing to do with the conditions         19 will maintain responsibility for projects,
20 that you imposed upon Gregg because of all the women   20 developments, and communications, anything
21 coming forward and reporting sexual harassment,        21 content/production related. He will have no
22 discrimination, and harassment, correct?               22 oversight over finance operations. His position as
23        MR. CAVALIER: Object to form. Object to         23 director will remain probationary" [as read] -- so,
24    lack of foundation.                                 24 here, Lisa is saying that his position is

                                            Everest Court Reporting LLC                             Page: 95 (365 - 368)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 97 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 369                                                      Page 371
                   ---                                                   ---
 1 probationary, too, right?                           1 really germane. In the case of the Gregg, Matt,
 2     A. Yes. That was public. His -- he was on       2 Tricia, I threw up my hands, and I couldn't get to
 3 probation.                                          3 the bottom of it and figured, you know, we're just
 4     Q. And while he's on this probationary          4 gonna live with this.
 5 status, there have been -- there were multiple      5    Q. Marnie was against Gregg Roman returning
 6 emails to you complaining about his conduct and --  6 from the beginning, correct?
 7 is that correct?                                    7    A. Correct.
 8        MR. CAVALIER: Object to form.                8    Q. All right. So we're gonna look at a
 9        THE WITNESS: No.                             9 document that's marked 60 -- 00060, and that
10 BY MR. CARSON:                                     10 document says -- so here you're talking to Lisa
11     Q. While he was on probationary status, he     11 Barbounis, and this is on June 5th, 2019, and you're
12 received multiple emails complaining about Gregg 12 talking to her about the article in The Guardian,
13 Roman's misconduct, correct, or not correct?       13 and you were concerned about the possible
14        MR. CAVALIER: Object to form.               14 consequences that -- because of, you know, while she
15        THE WITNESS: Not correct.                   15 was on her own time, it might be misconstrued as
16 BY MR. CARSON:                                     16 political activity from the Middle East Forum. So
17     Q. Sorry?                                      17 you say that although the trip was for fun -- strike
18     A. Not correct.                                18 that. You say -- excuse me. You say, "The article
19     Q. It was just moaning, those emails, right?   19 could entirely disappear, but it could pop up in the
20        MR. CAVALIER: Object to form.               20 future," right?
21        THE WITNESS: -- same old thing and          21    A. Yep.
22     preparing --                                   22    Q. Which one happened?
23 BY MR. CARSON:                                     23        MR. CAVALIER: Object to form.
24     Q. Wait, wait. Did you say "same old           24 BY MR. CARSON:
                                               Page 370                                                       Page 372
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 1 moaning"? Is that how you started the response?         1     Q. Did it entirely disappear, or did it pop
 2      A. You gave several examples of Tricia             2 up in the future?
 3 repeating herself, giving no specifics other than       3     A. No, it didn't, either. Where do you see
 4 what Matt allegedly said to her. And, otherwise,        4 that, the "pop up in the future"? I'm not seeing
 5 it's gearing up for lawsuits.                           5 that.
 6      Q. They were just moaning and conspiring,          6     Q. Is it down on this one?
 7 right?                                                  7 [Unintelligible] -- "This rates as both a surprise
 8      A. Well, there are no specifics. In                8 and an unwelcome complication. The article could
 9 November, I had specific after specific about money,    9 entirely disappear, but it could also pop up in the
10 about misuse of authority and the like. Here, it       10 future and make trouble for us." Did it ever pop up
11 was moaning. It was saying, Gregg doesn't like me.     11 and make trouble for you?
12 Gregg doesn't want me here. Gregg this, Gregg that,    12     A. No.
13 but there's nothing specific, nothing for me to --     13     Q. It entirely disappeared, right?
14      Q. Did you schedule any meetings to ask them      14     A. No.
15 for specifics?                                         15        MR. CAVALIER: Object to form.
16      A. My door was open. My emails were open.         16 BY MR. CARSON:
17 My texts were open. If you've got any problems with    17     Q. Sorry?
18 Gregg, tell me. And they did. You have been going      18     A. No.
19 through them. They did, but I look at them and say,    19     Q. Well, what happened?
20 I don't see specifics here. And when I did see one     20     A. It's there on the record and available to
21 specific about the Gregg, Matt, Tricia thing, and      21 those who wish to make trouble for us.
22 when I saw another one with the rumor thing, I         22     Q. But it's been a year and a half, and none
23 looked into them, and, in the rumor, I concluded it    23 of that trouble's happened, right?
24 took place a half year earlier and, therefore, not     24     A. No. There was trouble. We had trouble in
                                            Everest Court Reporting LLC                             Page: 96 (369 - 372)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 98 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 373                                                      Page 375
                ---                                                        ---
 1 Britain.                                               1a colleague with whom you work, in your words,
 2     Q. What was the trouble related to the            2 hand-in-hand." So you're acknowledging that she and
 3 article?                                              3 Gregg have to work hand-in-hand, correct?
 4     A. Yeah. A number of articles about Lisa,         4     A. Yes.
 5 about the Middle East Forum, Tommy Robinson. Yeah,    5     Q. "He is not authorized to give you
 6 there were some. It didn't have legal                 6 instructions, and he does not judge your work. In
 7 repercussions, which I most feared.                   7 March, with your agreement, he took a more
 8     Q. Did it have any repercussions?                 8 administrative -- he took -- he took on more
 9     A. Yeah, it did. I just told you.                 9 administrative tasks, but this situation remains
10     Q. What were the repercussions?                  10 unchanged. Further, I plan the deputy director
11     A. It was mentioned time and again that the      11 position that I sketched out for Marnie and you on
12 Forum was connected to the Tommy Robinson campaign. 12 Tuesday, that person will also report to me. In
13     Q. Okay. I'd like you to please -- I'll make     13 short, now and in the future, Gregg has no authority
14 a request on the record to produce any articles that 14 over you and cannot force you out of the Forum. I
15 you say were repercussions of the article referenced 15 ask you to be wary of what Matt reported to you
16 in Document 60, okay?                                16 about Gregg's statements about you. I have reason
17     A. Okay.                                         17 to think that Matt wants to make trouble for us" [as
18        MR. CAVALIER: I'll just note for the          18 read]. And that's -- you're basing that on Gregg
19     record that, to the extent you have a request    19 telling you that Matt made that stuff up; is that
20     out there that those documents would be          20 right?
21     responsive to, we will do so.                    21     A. In part, and in part on Matt's record of
22        MR. CARSON: Well, I think we do, and          22 saying all sorts of things. I gave you one example
23     they're in their second request for production   23 of reporting to me that Marnie wants to become
24     of documents in response to your counterclaim.   24 director, and he had a history with me of saying
                                               Page 374                                                       Page 376
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 1 BY MR. CARSON:                                         1  things that made me leery of what he was saying.
 2    Q. Sixty-two. So here in -- on June 17th,            2    Q. So I think -- I think that's everything on
 3 2017, you're talking about Lisa Barbounis' work on      3 this one. There might -- let's see. Ms. Barbounis'
 4 her own time, and you give her permission again.        4 employment from the Middle East Forum, she was
 5 You say, "Go if you wish, but know that I will be       5 permitted to submit expense reports, right?
 6 very upset with -- upset with major consequences if     6    A. I don't know.
 7 your presence becomes known outside of Tommy            7    Q. Why don't you know that?
 8 Robinson's own circles" [as read], right?               8    A. I didn't deal with expense reports.
 9    A. Yeah.                                             9    Q. Well, is it your understanding that
10    Q. So you said you can keep doing it, just          10 employees were permitted to get reimbursed if they
11 make sure there's no consequences for us, the Middle   11 spent their own money on work-related expenses?
12 East Forum, right?                                     12    A. If they were pre-authorized, yes. If they
13    A. Yeah.                                            13 just decided -- [inaudible] --
14        MR. CAVALIER: Object to form.                   14        THE COURT REPORTER: I can't hear that,
15        THE WITNESS: One week before the EEOC           15    Mr. Pipes.
16    complaints, I might note.                           16        THE WITNESS: If they pre-authorized, yes;
17 BY MR. CARSON:                                         17    if they on their own decided to submit
18    Q. I know that's on your mind, Mr. Pipes, but       18    expenses, no.
19 that wasn't a question. All right. So we're gonna      19 BY MR. CARSON:
20 look at Document 65 now. Document 65 is an email       20    Q. Well, if they submit expenses before they
21 from you to Ms. McNulty on May 10th. You tell her,     21 get paid, they have to be authorized, correct?
22 "Thank you for your thoughts. Most importantly, I'd    22    A. They would only be reimbursed if they had
23 like to point out that, since November, you and        23 been authorized. They got authorization.
24 everyone else in the office reports to me. Gregg is    24    Q. And who makes that determination?
                                            Everest Court Reporting LLC                             Page: 97 (373 - 376)
                                     215-341-3616 transcripts@everestdepo.com
            Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 99 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 377                                                      Page 379
                   ---                                                       ---
 1    A. Gregg or me.                                     1 I'm not saying she did. I'm saying I don't know.
 2    Q. Well, in 2018 and 2019, Marnie Meyer made        2 My job is to bring the money in. I did not oversee
 3 that determination, correct?                           3 the spending of the money.
 4    A. No. We are speaking pre November. Post           4     Q. But you just testified it was your job to
 5 November, no, Marnie did not make that. I did.         5 authorize whether an employee could be reimbursed
 6    Q. It's your testimony that in order for an         6 for their expenses.
 7 expense to be authorized, you had to authorize it?     7     A. Simple fact, but I did not get into the
 8    A. The personnel manual says the director or        8 amounts, and I did not get into the payments and the
 9 the president, and I took Gregg out of that, so it     9 like. I did not sign checks. I did not [inaudible]
10 just left the president. Did not say the              10 the checks. I did not look at the amounts that were
11 accountant.                                           11 being submitted. I simply said, yes, this is okay
12    Q. So were you authorizing all the expenses        12 to reimburse.
13 submitted to the Middle East Forum for                13     Q. And how would she do that, by email?
14 reimbursement?                                        14     A. I don't know. Various different ways.
15    A. If there were, yes.                             15     Q. Have you ever accused Marnie of paying an
16    Q. Okay. So how would that work? Marnie            16 employee an expense that was unauthorized? Strike
17 would tell you, hey, someone submitted an expense,    17 that. Have you ever accused Marnie of reimbursing
18 can I pay it out, and then you'd say yes?             18 an employee for -- for money spent that she wasn't
19    A. Different ways.                                 19 supposed to?
20    Q. Generally, though, would the -- is the          20     A. I don't recall that, no. Could've, but I
21 procedure that an employee would submit their         21 don't recall it.
22 receipts to Marnie Meyer, Marnie Meyer would then     22     Q. So this is Document 968, and this
23 confirm with you whether she was permitted to         23 document, it says, to administrative staff, Marnie,
24 reimburse the money, and then, if you said yes, she   24 from Daniel Pipes. It's not dated, but it says,
                                              Page 378                                                       Page 380
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 1 would reimburse it?                                 1 "November 1st, 2018 was when I received a number of
 2      A. I don't remember the usual way.             2 complaints about Gregg. I took the complaints at --
 3      Q. Well, what's the procedure for that?        3 I took the complainants -- I took the complainants
 4      A. The key point is that I would give the      4 at their word and immediately took steps to limit
 5 authorization or not. I don't remember the --       5 Gregg's role at MEF. In particular, I took away his
 6      Q. But if Marnie Meyer reimbursed money, it    6 office key" [as read]. When you said that, you mean
 7 means that you authorized it, correct?              7 that you think Marnie took his office key, correct?
 8        MR. CAVALIER: Object to form.                8     A. Yeah. Not me personally.
 9        THE WITNESS: She could've reimbursed         9     Q. Okay. "On March 9th, 2019, responding to
10      money without checking with me.               10 a demand   from many of you, I reinstated him
11 BY MR. CARSON:                                     11 particularly" [sic] -- I'm sorry. I'm sorry.
12      Q. Do you know whether she did that?          12 Strike that. "I reinstated him partially but
13      A. I do not.                                  13 maintained his limited access to the office. Now, I
14      Q. Have you ever thought that she might've    14 am happy to report we have completed a
15 done that?                                         15 comprehensive" -- sorry. I lost my place. "Now, we
16      A. I don't deal with the books.               16 have completed a comprehensive investigation into
17      Q. Well, do you have any reason to believe    17 Gregg's conduct and have determined that all
18 she did that?                                      18 accusations against Gregg are a hundred percent
19      A. I don't know if she did or not.            19 false. Thus, there is now no reason to maintain the
20      Q. So you don't have any reason to believe -- 20 previous restrictions" [as read]. Do you see that?
21 it's not your question. Do you have any reason to  21     A. Yep.
22 believe that Marnie was authorizing expenses when 22      Q. Is that true?
23 she wasn't supposed to?                            23     A. I don't know if I ever sent this. I don't
24      A. I don't know. I'm not saying she didn't.   24 know when I -- if I did --
                                           Everest Court Reporting LLC                             Page: 98 (377 - 380)
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 100 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 381                                                      Page 383
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 1      MR. CAVALIER: Yeah. Seth, I --                1 BY MR. CARSON:
 2 BY MR. CARSON:                                     2     Q. Well, when --
 3   Q. I mean, is this accurate?                     3     A. As of today, I can tell you, yes, I
 4   A. It could be a draft. It could be --           4 have -- we have completed -- I can endorse that as
 5      MR. CAVALIER: Yeah. This may be a draft 5 of today. I cannot do it as some arbitrary date in
 6   that has privilege issues attached to it.        6 the past, but today, yes.
 7      MR. CARSON: You guys produced it,             7     Q. Well, when? When did that happen? When
 8   Document 968.                                    8 did that investigation happen?
 9      MR. CAVALIER: Mark confidential -- yeah, 9          A. I can tell you today that I endorsed it.
10   you're gonna have to let him read it.           10 I cannot give you a date.
11      MR. CARSON: They're all marked               11     Q. I'm asking you when the -- you said that
12   confidential, every document you gave me.       12 your conclusion that everything [unintelligible] is
13      MR. CAVALIER: My only point is you're        13 based on a comprehensive investigation.
14   gonna have to let us read it here if you want   14        MR. CAVALIER: So unless and until you let
15   us to answer questions about it because I'm not 15     us --
16   sure what it is.                                16                 ---
17      MR. CARSON: I just read it to you.           17        (Indistinguishable cross-talk.)
18      MR. CAVALIER: You read us the top part. 18                      ---
19   I wanna see the whole document.                 19        MR. CAVALIER: -- but if you're gonna
20      MR. CARSON: Well, this is the whole          20     refer to the document and base your questions
21   document.                                       21     on it, you need to let us see the document.
22      MR. CAVALIER: I can only see down to         22        MR. CARSON: I'll get to -- I'll
23   "Original". There's obviously more text.        23     [unintelligible].
24      MR. CARSON: Well, I'll get to that in        24 BY MR. CARSON:
                                              Page 382                                                       Page 384
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 1     just a second.                                    1     Q. When did you complete -- when did you do
 2         MR. CAVALIER: It's the same document.          2 this investigation?
 3 BY MR. CARSON:                                         3    A. Over the past two years.
 4     Q. I'm asking you about this sentence. Is          4    Q. Over the past two years you did an
 5 this true? Did you perform an investigation --         5 investigation?
 6                  ---                                   6    A. Since November 1st, so --
 7         (Indistinguishable cross-talk.)                7    Q. So you've been investigating this matter
 8                  ---                                   8 since November 1st, 2018?
 9         MR. CAVALIER: Seth, he's not gonna answer      9    A. Yeah, thanks to you.
10     questions on a --                                 10    Q. Okay. What did you do to investigate the
11         MR. CARSON: I'm not asking about the          11 reports of discrimination and harassment in the
12     document then [unintelligible].                   12 workplace after January 1st, 2019?
13 BY MR. CARSON:                                        13        MR. CAVALIER: Object to form.
14     Q. Did you complete a comprehensive               14 BY MR. CARSON:
15 investigation to Gregg's conduct and determine that   15    Q. What did you do to investigate it? What
16 all accusations against Gregg are a hundred percent   16 are the steps you took?
17 false? Did you do that?                               17        MR. CAVALIER: This is asked and answered.
18     A. I --                                           18        MR. CARSON: No, it's not. Yeah, you're
19         MR. CAVALIER: You're asking at any time,      19    right. It is, and he said he did nothing.
20     at any point in the universe?                     20        MR. CAVALIER: I disagree with your --
21         MR. CARSON: Sure.                             21                 ---
22         THE WITNESS: At some point, yes. When         22        (Indistinguishable cross-talk.)
23     this was written, I don't know. I don't know      23                 ---
24     if it was sent --                                 24        THE WITNESS: I received no complaints. I
                                           Everest Court Reporting LLC                             Page: 99 (381 - 384)
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 101 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 385                                                      Page 387
                   ---                                                     ---
 1    received moans about how Gregg is a lousy         1     Q. Mr. Pipes, did you take any witness
 2    person, but I received nothing that I was to      2 statements?
 3    investigate. I mean, when Tricia says, he         3         MR. RIESER: Is it your position you have
 4    doesn't want me here, what am I supposed to       4     the right to interject and interfere with the
 5    investigate?                                      5     client -- with the deponent's --
 6 BY MR. CARSON:                                       6         MR. CARSON: Mr. Rieser, we're gonna go
 7    Q. So you have not investigated this matter       7     off the record if you're gonna say anything
 8 since November 2018, correct?                        8     else today.
 9    A. No, not correct. Investigating it              9         MR. RIESER: I don't agree to go off the
10 unendingly until November 17th, 2020. Thank you. 10        record.
11    Q. Okay. So what -- what did you do? Who         11         MR. CARSON: Well, you don't get to agree
12 did you -- I'll get more specific. Did you take any 12     or not agree. You're not -- you're here to
13 witness statements?                                 13     watch. That's it.
14    A. We have been taking witness statements.       14         MR. RIESER: I am representing a defendant
15 We've been reading emails and texts and so forth    15     in the case.
16 unendingly --                                       16         MR. CARSON: Right, exactly, a defendant
17    Q. Who did you get witness statements from?      17     who's not testifying today, but we're not --
18    A. Would you let me finish?                      18     look. The question is standing.
19    Q. No. Let's just -- let's just take it step     19 BY MR. CARSON:
20 by step. Who did you --                             20     Q. Mr. Pipes, did you take any witness
21       MR. RIESER: Seth, you can't interrupt         21 statements? It's just a yes or no question.
22    him. You really can't.                           22     A. Yes.
23       MR. CARSON: No, I can, and, Mr. Rieser,       23     Q. Who? Who'd you take them from?
24    you have no standing to put anything on the      24     A. I don't remember. There's so many people
                                             Page 386                                                       Page 388
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 1    record today.                                      1 we've talked to.
 2                ---                                    2     Q. Well, name one person that you took it
 3       (Indistinguishable cross-talk.)                 3 from.
 4                ---                                    4     A. I am not --
 5       MR. CAVALIER: What're you talking about?        5     Q. Tell me one.
 6    He's representing Gregg Roman, a defendant in      6     A. -- go down this path with you, Mr. Carson.
 7    the case.                                          7 We have done enormous amount of research.
 8       MR. CARSON: Gregg Roman's not on --             8     Q. Did you hire an investigator?
 9    [unintelligible] not testifying.                   9     A. We did all sorts of things.
10       MR. RIESER: It's -- I --                       10     Q. Yes or no, did you hire an investigator?
11       MR. CAVALIER: So what? He's allowed to         11     A. We did not hire an investigator.
12    represent his client.                             12     Q. You're saying you did all sorts of things,
13 BY MR. CARSON:                                       13 but you can't give me one example of something you
14    Q. Anyway, it was a yes or no question. Did       14 did, so that's why I'm just trying to drill down on
15 you take any witness statements?                     15 you what your testimony is.
16       MR. RIESER: Seth, you're out of control.       16     A. You've got --
17    Your behavior's outrageous.                       17     Q. So if you've taken a witness statement,
18       MR. CARSON: Right.                             18 tell me a name of somebody. If you've hired
19                ---                                   19 investigator, you know, if you've looked at
20       (Indistinguishable cross-talk.)                20 records -- like tell me what you've done to
21                ---                                   21 investigate it.
22       MR. CARSON: Your objection is totally          22     A. I was trying to [inaudible] and you
23    inappropriate.                                    23 interrupted me.
24 BY MR. CARSON:                                       24     Q. Well, let's go step by step. So, witness
                                          Everest Court Reporting LLC                            Page: 100 (385 - 388)
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 102 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 389                                                      Page 391
                  ---                                                      ---
 1 statements, can you name anyone you've taken a        1        MR. CAVALIER: You asked him a question.
 2 witness statement from?                                2    This time, he's gonna finish his answer.
 3     A. We have taken witness statements, yes.          3       MR. CARSON: No.
 4     Q. From who?                                       4 BY MR. CARSON:
 5     A. I don't wanna tell you.                         5    Q. Who said that she wasn't troubled?
 6     Q. You have to tell me.                            6       MR. CAVALIER: Daniel --
 7     A. I don't know why I have to tell you.            7                ---
 8     Q. Because it's your deposition. You have to       8       (Indistinguishable cross-talk.)
 9 tell me.                                               9                ---
10     A. Well, okay. Danny Thomas.                      10       MR. CAVALIER: He is directly responding
11     Q. You took a witness statement from Danny        11    to your question.
12 Thomas?                                               12                ---
13     A. Yeah.                                          13       (Indistinguishable cross-talk.)
14     Q. Anybody else?                                  14                ---
15     A. Not that I remember.                           15       THE WITNESS: We have --
16     Q. Okay. So did you review any records that       16 BY MR. CARSON:
17 made you determine that everything is a hundred       17    Q. Mr. Pipes, who said she wasn't troubled?
18 percent false regarding Gregg Roman?                  18 I'm asking about what you just said.
19     A. Yes.                                           19    A. You're not interrupting me.
20     Q. What records did you review?                   20       MR. CAVALIER: You can ask him when he's
21     A. Electronic records of all sorts, emails,       21    finished his answer.
22 texts.                                                22       MR. CARSON: He is finished his answer.
23     Q. Well, can you think of any specific email      23       MR. CAVALIER: No, he's not. Clearly,
24 that you read that indicates that everything that     24    he's not.
                                              Page 390                                                       Page 392
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 1 Gregg Roman that was --                               1 BY MR. CARSON:
 2                 ---                                   2    Q. Who testified that -- who told you that
 3        (Indistinguishable cross-talk.)                3 she was --
 4                 ---                                   4                 ---
 5 BY MR. CARSON:                                        5        (Indistinguishable cross-talk.)
 6     Q. Let me finish my question. Can you think       6                 ---
 7 of any document that you read or reviewed at any      7        MR. CAVALIER: Either withdraw your
 8 time that indicates that everything, all allegations  8    question --
 9 against Gregg Roman, are a hundred percent false?     9        THE WITNESS: I'm not dealing with this.
10     A. It is the sum of evidence. We can look at     10        MR. CAVALIER: -- or let him answer it.
11 three incidents in particular. Since we're           11        MR. CARSON: We have to go off the record.
12 discussing Ms. Barbounis, we can go over the Israel  12    The witness is making a phone call.
13 one.                                                 13        MR. CAVALIER: I don't agree to go off --
14     Q. We can go over what?                          14                 ---
15     A. We can go over the Israel one since           15        (Indistinguishable cross-talk.)
16 Ms. Barbounis is the topic today. She -- we have     16                 ---
17 texts from her saying there was no -- nothing        17        THE WITNESS: -- because you're not
18 happened in Israel. Right contemporaneous, we have 18      letting me say what I wanna say.
19 statements by people who met her at that time who    19 BY MR. CARSON:
20 said she was not troubled.                           20    Q. Who you gonna call?
21     Q. Who? Who said that? Who said she wasn't       21    A. I'm not calling anyone. I was gonna read
22 troubled?                                            22 the news, and I'm not gonna do --
23     A. We have -- don't interrupt.                   23                 ---
24     Q. Mr. Pipes --                                  24        (Indistinguishable cross-talk.)
                                           Everest Court Reporting LLC                            Page: 101 (389 - 392)
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 103 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.
                                             Page 393                                                      Page 395
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 1                ---                                   1                  ---
 2       MR. CAVALIER: Seth, you asked him the           2 BY MR. CARSON:
 3    question, what did he look at to determine that    3    Q. Who told you that Ms. Barbounis wasn't
 4    the allegations were false. He was in the          4 troubled?
 5    middle of an answer, and you cut him off.          5        MR. CAVALIER: Seth, I mean, I can't be
 6       MR. CARSON: He said that he talked to           6    any more clear with you.
 7    witnesses who said that Lisa wasn't troubled,      7        MR. CARSON: Yeah. I'm not gonna be any
 8    and my simple question is, who were they?          8    more clear, either. I mean, we're just gonna
 9       MR. CAVALIER: No. You asked him what he         9    end up doing this all again tomorrow, I think,
10    did. He was telling you what he did, and then     10    right, or another day, and it's crazy because
11    you decided to interject and interrupt with a     11    it could easily get done today.
12    new question. You've gotta let him finish his     12        MR. CAVALIER: Seth, just because --
13    answer.                                           13                 ---
14       MR. CARSON: -- because I wanna know who        14        (Indistinguishable cross-talk.)
15    he spoke to, who these witnesses --               15                 ---
16       MR. CAVALIER: Well, you can ask him who        16        MR. CAVALIER: Just because you don't like
17    he spoke to after he's done his answer, but       17    the answer to a question doesn't --
18    you're not gonna cut him off in the middle and    18        MR. CARSON: I have no problem with the
19    make his answer look incomplete when he's         19    answer, but we're not -- he's just sitting
20    answered --                                       20    there generally -- I looked at a lot of
21                ---                                   21    documents. I talked to witnesses who said
22       (Indistinguishable cross-talk.)                22    this. If he's gonna say that he spoke to
23                ---                                   23    witnesses, just name them.
24       MR. CARSON: I am, actually, because --         24        MR. CAVALIER: The question is, what did
                                             Page 394                                                       Page 396
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 1                 ---                                 1   you do --
 2        (Indistinguishable cross-talk.)              2       MR. CARSON: That wasn't actually the
 3                 ---                                 3   question.
 4        MR. CARSON: Okay. All right. So, what,       4       MR. CAVALIER: -- to determine the
 5    you guys are walking out?                        5   allegations were false?
 6        MR. CAVALIER: No. We're sitting here,        6       MR. CARSON: No, that wasn't the question.
 7    and we're telling you we're ready to finish our  7   That's not the pending question. The question
 8    answer whenever you're ready to allow us to do   8   was, did you look at any documents?
 9    so.                                              9       MR. CAVALIER: That was not the question.
10        MR. CARSON: I'll withdraw the question.     10       MR. CARSON: That was the last question I
11 BY MR. CARSON:                                     11   asked. Do you wanna check? What happens when
12    Q. Mr. Pipes, who did you -- who told you       12   I'm right? Are you gonna let me continue my
13 that Ms. Barbounis was not troubled?               13   deposition?
14        MR. CAVALIER: That's not gonna work this 14          MR. CAVALIER: You can do whatever you
15    time.                                           15   want, but he's entitled to finish his answer,
16        MR. CARSON: There's no question pending 16       Seth. I don't know how many different ways I
17    now. Who told you that Ms. Barbounis --         17   can say it.
18        MR. CAVALIER: -- was an answer pending      18       MR. CARSON: Well, answering the question
19    that he was halfway through.                    19   that I ask. You're right.
20        MR. CARSON: I withdrew the question.        20 BY MR. CARSON:
21    It's not a question anymore.                    21   Q. So what documents did you look at?
22        MR. CAVALIER: It doesn't matter.            22       MR. CAVALIER: You can finish your answer,
23                 ---                                23   Daniel, until Seth cuts you off again and --
24        (Indistinguishable cross-talk.)             24               ---
                                          Everest Court Reporting LLC                            Page: 102 (393 - 396)
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 104 of 180
Deposition of DANIEL PIPES                                             Lisa Barbounis v. Middle Eastern Forum, et. al.
                                            Page 397                                                      Page 399
                   ---                                                  ---
 1        (Indistinguishable cross-talk.)             1 you've seen these statements, correct?
 2                 ---                                2        MR. CAVALIER: To the extent that you have
 3        MR. CAVALIER: -- waste another five         3    document requests out that are responsive,
 4    minutes.                                        4    which, by the way --
 5        MR. CARSON: I mean, you guys are just       5                 ---
 6    making it so we're gonna have to come back and  6        (Indistinguishable cross-talk.)
 7    do this all over again, and it sucks, but, you  7                 ---
 8    know, whatever.                                 8        MR. CARSON: I'm requesting specific
 9        THE WITNESS: We did research, not all by 9       documents that I didn't know existed that are
10    me personally, into electronic communications, 10    absolutely responsive to our request that
11    talking to people who met her.                 11    weren't produced.
12 BY MR. CARSON:                                    12                 ---
13    Q. Who?                                        13        (Indistinguishable cross-talk.)
14    A. And also we reviewed the social media.      14                 ---
15    Q. Okay. What accounts?                        15        THE COURT REPORTER: Stop! Seriously --
16    A. And we looked -- we talked to people who 16           MR. CAVALIER: Responses to your requests
17 knew her --                                       17    are not due yet.
18    Q. You said that already.                      18        MR. CARSON: Yeah. My first ones are due
19    A. No. So we did a lot of research into what   19    six months ago. Mr. Pipes --
20 happened in -- and her response in --             20        MR. CAVALIER: -- responsive to your first
21    Q. I didn't ask you what her response was. I   21    ones.
22 said, what documents did you look at?             22 BY MR. CARSON:
23    A. Emails, texts, social media. Profusely.     23    Q. Mr. Pipes, are you a hundred percent sure
24    Q. Okay. Who did you talk to that said that    24 that you've read statements from people that saw
                                            Page 398                                                       Page 400
                   ---                                                   ---
 1 she was not affected by anything?                    1 Ms. Barbounis the next day that -- where she said
 2     A. People that she met the next day in           2 she was just fine?
 3 Israel.                                              3     A. First of all, these are brand new, so you
 4     Q. Who? Who are they?                            4 couldn't have had them six months ago.
 5     A. I can't provide you with the names.           5     Q. My question was, are you a hundred percent
 6     Q. Why?                                          6 sure that you've read statements from people who saw
 7     A. I don't know them. I don't remember.          7 Ms. Barbounis the next day who said that she was
 8     Q. You don't know -- you don't know their        8 just fine? Are you sure that you've read those
 9 names, right?                                        9 statements? It's a yes or no question.
10     A. I've seen the names. I -- I am not --        10     A. Secondly, I'm not sure --
11     Q. Are you producing them as witnesses in       11     Q. Mr. Pipes -- Mr. Pipes, I asked you a
12 this case?                                          12 simple yes or no question. Are you sure that you've
13         MR. CAVALIER: Objection.                    13 read these statements that you're testifying about?
14 BY MR. CARSON:                                      14     A. Secondly, I'm not sure if I read them or
15     Q. Have you taken a declaration or a            15 they were read to me.
16 statement for any of these people?                  16     Q. Okay. If they were read to you, do you
17     A. Yes, we've taken statements.                 17 know who read them to you?
18     Q. You have?                                    18     A. Thirdly, I'm not sure whether they met her
19         MR. CARSON: All right. So, Jon, please,     19 exactly the next day or the day after that, so I'm
20     can you turn over these statements that he's    20 vague on this. This is not something I know in
21     testifying about?                               21 detail.
22         MR. CAVALIER: As I've told you before --    22     Q. Are you sure that you've heard or read
23 BY MR. CARSON:                                      23 these statements?
24     Q. You're testifying today under oath that      24     A. I'm sure that there are statements about
                                         Everest Court Reporting LLC                            Page: 103 (397 - 400)
                                  215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 105 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 401                                                      Page 403
                   ---                                                      ---
 1 the state of how Lisa appeared and acted in the        1 BY MR. CARSON:
 2 aftermath of that evening.                             2    Q. So here you said that he's --
 3    Q. And they're from people who were in              3        MR. CAVALIER: No. I told you we're not
 4 Israel?                                                4    answering questions about --
 5    A. People who were in Israel.                       5        MR. CARSON: Well, I'm gonna put the
 6    Q. Okay.                                            6    question on the record, and you can object to
 7        MR. CARSON: Okay. Like I said, Jon, you         7    it, but we're gonna get an answer to it one
 8    guys gotta turn them over if you have them.         8    day.
 9        MR. CAVALIER: You're not getting a              9        MR. CAVALIER: Well, for someone who's
10    dispute from me. I agree with you. They will       10    complaining about lack of time --
11    be turned over in due course in accordance         11 BY MR. CARSON:
12    with --                                            12    Q. "Now, the year is up, and I am pleased to
13        MR. CARSON: I mean, due course would've        13 inform you that he has learned his lesson. I found
14    been like seven months ago, I think.               14 no -- I have found no fault in his work, and no one
15                 ---                                   15 on the staff has complained about his actions.
16        (Indistinguishable cross-talk.)                16 Therefore, I am asking him to begin" [as read] -- so
17                 ---                                   17 you see the problem here, right, Mr. Pipes?
18        MR. CAVALIER: -- seven months ago that         18        MR. CAVALIER: Daniel, do not --
19    didn't exist two weeks ago, but we'll leave        19                 ---
20    that to the discovery practice and the federal     20        (Indistinguishable cross-talk.)
21    rules, as I said.                                  21                 ---
22 BY MR. CARSON:                                        22        MR. CAVALIER: -- not to answer any
23    Q. 968, memo from Mr. Pipes. So, next, we're       23    questions about this document --
24 gonna look at -- we'll get back to this memo. So      24                 ---
                                              Page 402                                                       Page 404
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 1 here's the memo that you wrote where you said you      1        (Indistinguishable cross-talk.)
 2 did a investigation and you found a hundred percent    2                 ---
 3 sure, and then here's another one where it says the    3        MR. CARSON: Objection, privilege is the
 4 exact same thing, right, only here it says --          4     way it works.
 5        MR. CAVALIER: We're now back on a               5 BY MR. CARSON:
 6    document that you will not let us read in full.     6     Q. You went from finding that he learned his
 7        MR. CARSON: This is the whole document.         7 lesson to doing a hun -- a comprehensive
 8        MR. CAVALIER: So let us read it.                8 investigation and determining a hundred percent the
 9        MR. CARSON: You can read it.                    9 allegations are false. Why -- do you see the
10        MR. CAVALIER: Yeah. So I don't -- now          10 inherent contradiction in those two statements?
11    that I recognize this, I don't know why it was     11        MR. CAVALIER: Objection. Attorney-client
12    produced. If it was, it was inadvertent, and       12     privilege. Daniel, I am instructing you not to
13    we're objecting to it on the grounds of            13     answer any questions about this document.
14    attorney-client privilege.                         14 BY MR. CARSON:
15        MR. CARSON: It's not attorney-client           15     Q. Well, we're gonna get to the bottom of it,
16    privilege. It's a document that's addressed to     16 Mr. Pipes, because it's a pretty -- pretty big
17    Marnie Meyer.                                      17 difference between your two statements there.
18        MR. CAVALIER: It was never sent. I don't       18                 ---
19    know why this was produced. I didn't produce       19        (Indistinguishable cross-talk.)
20    it, but we're not answering questions about it,    20                 ---
21    and we're gonna demand that it be returned to      21        MR. CAVALIER: Object to the editorial.
22    us.                                                22     Object to the argumentative nature of your
23        MR. CARSON: Yeah. You're gonna get an          23     statement. Object to the mischaracterization.
24    argument on that one.                              24        MR. CARSON: Are you objecting to a
                                           Everest Court Reporting LLC                            Page: 104 (401 - 404)
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 106 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 405                                                      Page 407
                   ---                                                      ---
 1    question right now, or you just objecting --        1 They told you that Gregg was speculating that the
 2        MR. CAVALIER: I'm objecting to the fact         2 new allegation for Marnie had to do with Gabrielle
 3    that you're editorializing and not asking a         3 Bloom, and it had to do with Marnie and Caitriona's
 4    question.                                           4 father, right?
 5        THE WITNESS: I have no problem answering        5    A. It had to do with the rumor, but I don't
 6    to the alleged discrepancy. Jon --                  6 know what the reference is to what he might've
 7 BY MR. CARSON:                                         7 thought. I don't remember that.
 8    Q. So June 10th, 2019 --                            8    Q. But you told Marnie that he's speculating
 9        THE WITNESS: Jon, I have no problem             9 that it's about a completely unrelated matter.
10    answering to the alleged discrepancy.              10    A. Yeah, I told him that, but I --
11        MR. CAVALIER: Daniel, you're not               11    Q. Yeah.
12    answering any questions about a privileged         12    A. Nowhere does it mention Gabrielle Bloom.
13    document. I know that you can answer the           13    Q. But that's what you are referencing,
14    questions, and I know the answers are simple,      14 right? That's the unrelated matter that he's
15    but for the sake of the argument and the           15 speculating about.
16    preservation of the privilege, I cannot allow      16    A. I -- I don't agree to that.
17    you to answer any questions about it.              17    Q. You're getting the information from
18        MR. CARSON: He can waive his privilege.        18 Ms. McNulty, correct?
19    It's his privilege. He can waive --                19    A. I don't -- no, not correct. I --
20        MR. CAVALIER: I'm instructing him not to       20    Q. Ms. McNulty sent you an email the same day
21    answer the questions about the document.           21 where she told you about Gregg Roman and Matt's
22 BY MR. CARSON:                                        22 conversation. So here you're giving Marnie
23    Q. Are you taking your attorney's advice, Mr.      23 information about the conversation, but then you're
24 Pipes?                                                24 denying that it happened on the other side, right?
                                              Page 406                                                       Page 408
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 1    A. I am.                                           1     A. I have no reason to think this has
 2    Q. Sorry, what?                                    2 anything to do with Gabrielle Bloom.
 3    A. I am, yes. There we go. Rumor was               3     Q. So what did you mean, then? What was the
 4 started prior to November 1st.                        4 unrelated matter that he was speculating and
 5    Q. Right. Because of that, you didn't do           5 concerns [sic]?
 6 anything about it, right? He got a reprieve for       6     A. I don't remember what his speculation was.
 7 everything that happened pre November 1st. So do      7 It was wrong, whatever it was.
 8 you see this right here?                              8     Q. We can't hear you.
 9    A. Yup.                                            9     A. It was wrong, whatever it was.
10    Q. "Marnie, I have just been given news of        10     Q. It wasn't Gabrielle Bloom. It was
11 what appears to be an instance of Gregg's            11 Caitriona Brady, Caitriona Brady's father, and
12 misbehavior that has nothing to do with you. I'd     12 Marnie Meyer, right?
13 like to confront him with what -- with that and also 13     A. I believe that the topic of this is the
14 with what you told me last week. So far, I just      14 rumor, yes.
15 told him that you disclosed troubling information to 15     Q. Is this when Matt Bennett -- Matt
16 me, but he has no idea what that might be. Indeed,   16 Bennett's employment ended? Marnie Meyer,
17 he is speculating that it concerns something         17 3/11/2019?
18 entirely unrelated to what you told me" [as read].   18     A. No. He ended on the 8th.
19 Right? You were talking about how he thought it was 19      Q. So she's telling him, "You're welcome for
20 Gabrielle Bloom, right?                              20 the laptop," right? She's telling him he can keep
21        MR. CAVALIER: Object to form.                 21 the laptop, right?
22        THE WITNESS: Huh? No.                         22     A. Yeah.
23 BY MR. CARSON:                                       23     Q. And the laptop you're referring to was the
24    Q. That's what you're referring to there.         24 Apple laptops that everyone was -- that MEF bought
                                           Everest Court Reporting LLC                            Page: 105 (405 - 408)
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 107 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                              Page 409                                                      Page 411
                  ---                                                      ---
 1 the employees, correct?                               1 two years, 500; and if you're there for three years,
 2    A. No.                                             2 it's yours.
 3    Q. That's not the laptop?                          3     Q. But he didn't have to pay anything, right?
 4    A. No.                                             4 He got to keep it?
 5    Q. What's the laptop that he's allowed to          5     A. No. He had to pay.
 6 keep?                                                 6     Q. Well, where'd that money come from? Did
 7    A. The laptop he purchased.                        7 he give you a check?
 8    Q. He purchased it with MEF money, right?          8        MR. CAVALIER: Object to form.
 9    A. Yes.                                            9 BY MR. CARSON:
10    Q. Right, and it was the Apple laptop, right?     10     Q. How'd he pay for it?
11    A. I don't know what make it was. He had --       11     A. Don't know how he paid for it. I have --
12    Q. Can't hear you.                                12                 ---
13    A. I don't know what make it was. He had a        13        (Indistinguishable cross-talk.)
14 choice to buy whatever laptop [inaudible] --         14                 ---
15    Q. Did Matt help facilitate everyone using        15        THE WITNESS: We have an accountant for
16 Macs in 2019?                                        16     that. I didn't deal with --
17    A. I don't know if everybody used Apples.         17 BY MR. CARSON:
18 Some did. I don't know if --                         18     Q. Well, Marnie Meyer was the accountant,
19    Q. And Matt was permitted to keep his laptop,     19 correct? Right? Marnie Meyer?
20 right?                                               20     A. Yes.
21    A. He was permitted to keep it on condition       21     Q. So if she says that he got it for free, do
22 that he paid the remainder of what he had -- what he 22 you have a reason to disagree with that?
23 had -- the time he wasn't there.                     23     A. Of course. It's not -- that's not what
24    Q. He paid for it? Are you sure about that?       24 she's saying.
                                              Page 410                                                       Page 412
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 1    A. Yes. That's what she's...                        1    Q. It actually is what she's saying,
 2    Q. She's saying, "You're welcome for the            2 Mr. Pipes, but, Mr. Pipes, do you have any -- what
 3 laptop". Why is she saying "you're welcome" if he      3 reason do you have to believe that he paid for it?
 4 paid for it?                                           4    A. -- "happy to work that out for you."
 5    A. Because he got some credit for the time he       5 Namely, working out what he owed and how that would
 6 was there when he used the laptop. The deal --         6 be paid to the Forum.
 7    Q. They all got credit. It's called                 7    Q. "You're welcome for the laptop. I was
 8 depreciation, right?                                   8 happy to work that out for you. The deal also
 9        MR. RIESER: Seth, please don't interrupt        9 included setting up the docking stations for
10    him.                                               10 everyone. Although, those did not arrive in time
11        THE WITNESS: If you're there, I think,         11 for you to do that." What she's saying is she
12    for three years, the laptop is yours, and if       12 worked it out so he didn't have to pay for it. He
13    you leave earlier, then you have to pay -- we      13 just got to keep it. That's what she's telling him,
14    paid --                                            14 correct?
15 BY MR. CARSON:                                        15    A. No.
16    Q. Correct.                                        16    Q. Why don't -- what evidence do you have to
17    A. -- $1500 -- don't interrupt.                    17 suggest that he actually gave money for the laptop?
18    Q. That's according to the                         18    A. Actually, what I think happened is he did
19 bring-your-own-device agreement, right?               19 extra work after he left that paid for some of the
20    A. We paid $1500, if I remember correctly,         20 laptop.
21 and --                                                21    Q. So he didn't pay for it.
22    Q. Right, but he didn't pay anything --            22    A. No. He did --
23    A. Let me finish. If you're there for one          23    Q. Right? He got to keep it?
24 year, you would pay a thousand; if you're there for   24    A. No. He paid for it. Whether he paid for
                                           Everest Court Reporting LLC                            Page: 106 (409 - 412)
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 108 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 413                                                      Page 415
                   ---                                                      ---
 1 it in cash or paid for it in extra work, I'm not        1    Q. Did you receive this email?
 2 exactly sure of, but he did not -- he was not handed    2    A. No.
 3 a laptop on leaving. No, no. He had to pay.             3    Q. Okay.
 4     Q. Did Marnie Meyer come to you and get             4       MR. RIESER: Luke, can you let us know how
 5 permission from you to allow Matt to keep the           5    much time's left?
 6 laptop?                                                 6       THE VIDEOGRAPHER: We will reach the
 7     A. I don't remember. You have to --                 7    seventh hour at 6:53.
 8     Q. Are there -- yes or no, did she, or "I           8       MR. RIESER: Thank you very much.
 9 don't know"?                                            9       THE VIDEOGRAPHER: -- now 6:40, so we
10     A. I don't know.                                   10    have --
11     Q. Okay. Is there gonna be communications          11       MR. CARSON: Yeah. We're gonna go past
12 between you and Marnie Meyer where you discuss it?     12    7:00, maybe.
13        MR. CAVALIER: Object to form.                   13       MR. RIESER: No, we're not. No, we're
14 BY MR. CARSON:                                         14    not.
15     Q. Yes, no, "I don't know"?                        15       MR. CARSON: Bill, you can say whatever
16     A. What's the question?                            16    you want. You don't have a client here today.
17     Q. Did you and Marnie Meyer discuss it             17       MR. CAVALIER: Well, then, I'll say it for
18 through WhatsApp or Telegram or texting?               18    him. We're not going past 7:00.
19     A. I don't remember.                               19       MR. CARSON: I'm letting you know, if we
20     Q. You don't remember if you discussed             20    don't, we're gonna file a motion to do another
21 whether he was allowed to keep the laptop?             21    deposition.
22     A. I remember having discussion with her.          22       MR. CAVALIER: You are welcome to file
23 Whether it was this medium or that medium, I have no   23    that motion.
24 idea. [Inaudible] person. I have no idea.              24       MR. CARSON: Yeah. Well, we can because
                                               Page 414                                                       Page 416
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 1     Q. So she did come to you and say, hey, can         1    there's a counterclaim, so we actually get
 2 he keep the laptop, and you approved it, right?         2    another seven hours on the counterclaim, but we
 3     A. I -- I remember something about Matt and         3    also get it because of the total misconduct
 4 his laptop and his doing [inaudible] --                 4    that we had today.
 5        THE COURT REPORTER: Hold on. There's             5       MR. RIESER: The only misconduct is from
 6     like a bunch of shuffling going on.                 6    you, Seth.
 7 BY MR. CARSON:                                          7       MR. CARSON: Bill, I don't know what you
 8     Q. Go ahead, Mr. Pipes. What's your answer?         8    think you're doing talking on the record.
 9     A. I remember there was some discussion of          9    You're here to observe, and that's it.
10 Matt's laptop, and we made some kind of arrangement    10       MR. CAVALIER: You realize he's allowed to
11 to decrease what he owed the Forum [inaudible] --      11    ask questions of this witness if he wants --
12     Q. Can't hear you because of the shuffling.        12       MR. CARSON: No. He can ask questions.
13     A. -- and that, I think, is the reference to       13    He can't object on his behalf. He doesn't
14 the docks that hadn't arrived yet, that he was gonna   14    represent him.
15 be working on that. But, no, he was not gifted a       15       MR. RIESER: I'm within my rights, Seth.
16 1500-dollar contribution towards a laptop. In so       16       MR. CARSON: No, you're not. You don't
17 far as he didn't pay that back, he earned it some      17    represent the witness. You can't enter
18 other way by doing extra work after he left the        18    objections on behalf of someone you don't
19 Forum because he was the tech guy, and he knew what    19    represent.
20 was going on in a way that no one else did, and we     20       MR. RIESER: I'm --
21 needed him for that help.                              21       MR. CARSON: I don't know why you would
22     Q. Here's an email dated April 23rd, 2019,         22    think you can.
23 right?                                                 23       MR. RIESER: Okay. You wanna keep barking
24     A. Yeah.                                           24    at me, that's fine.
                                            Everest Court Reporting LLC                            Page: 107 (413 - 416)
                                     215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 109 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 417                                                      Page 419
                   ---                                                       ---
 1 BY MR. CARSON:                                          1     Q. I know that's what you think.
 2     Q. Okay. So, here, Marnie Meyer is sending          2     A. Which she did not do. I am not gonna
 3 an email to you, right, Mr. Pipes?                      3 spend my entire time tracing down every random
 4     A. Yep.                                             4 rumor.
 5     Q. "Thanks for allowing me to weigh in on           5     Q. Yeah. "She was disappointed that she
 6 this. The final note I have is regarding the            6 never got the chance to show her stuff. She's
 7 foundations. Matt mentioned a website we used to        7 disappointed that she did not receive a salary
 8 belong to that would allow us to do research -- to      8 increase," and then I think you say, "She will get
 9 research other foundations. I was interested in         9 one now," correct?
10 playing with that idea and seeing if we could stir     10     A. Correct.
11 up additional funds. I was figuring I would work       11     Q. So you are copying something that Marnie's
12 with Marc. I know he's got a lot on his plate and      12 telling you, and then you are responding to it,
13 deadlines sometimes always get -- get away from him.   13 correct?
14 I would look to organize things a bit and then try     14     A. Yep. She got a raise.
15 to reuse what he's already created to apply other      15     Q. Okay. "You mentioned finding her
16 foundations. Just a thought, but something should      16 'standoffish,' and I think that she can" -- this is
17 definitely -- but someone should definitely help him   17 Marnie to you -- "and I think that she can be as
18 with the timeliness, et cetera" [as read]. Do you      18 well, but she's an introverted person so much so
19 remember receiving this email?                         19 that she brought that up at her interview. She
20     A. No.                                             20 actually has a great personality, but if you are not
21     Q. You don't?                                      21 around her much, you may not get a chance to see
22     A. Why would I remember some random email          22 that. My point is that I feel that in time you'll
23 from two years ago?                                    23 get to know her better and see her as less
24     Q. I don't know. Do you remember it, yes or        24 standoffish and that I think she's earned a shot"
                                               Page 418                                                       Page 420
                  ---                                                        ---
 1 no?                                                     1 [as read]. You responded, "She has to show some
 2     A. No.                                              2 personality around me to see her beyond the confines
 3     Q. How about -- do you remember responding?         3 of her events at work. For example, since the Matt
 4     A. No.                                              4 resignation, I have heard from Lisa and yourself
 5     Q. Meetings with Matt?                              5 about the current situation, but not from Tricia"
 6     A. No.                                              6 [as read]. In fact, Tricia sent you several emails,
 7     Q. "Tricia: I know that she wants the chance        7 right, about it?
 8 to move up. I also know that, in preparation for        8     A. At this time I don't know.
 9 her yearly review, she had prepared a spreadsheet to    9     Q. Well, we've looked at a bunch of them
10 show how she had advanced and the events gig far and   10 today, correct?
11 beyond what Eman had ever done with it" [as read].     11     A. They were in April and June, if I
12 Did you ever interview Eman about Gregg Roman?         12 remember.
13     A. No.                                             13     Q. April, May, and June. Every month.
14     Q. Why not?                                        14     A. This is February. I don't remember
15     A. Why should I?                                   15 anything from February.
16     Q. Well, people brought it to your attention       16     Q. Okay. So she never sent you anything
17 that Eman had complained about him, right?             17 before April, May, June?
18     A. I never heard any.                              18     A. Anyway, there was not -- I was not asking
19     Q. You never saw any emails where people           19 her to moan about Gregg some more. I was asking her
20 brought it to your attention that Eman complained      20 to show some interest and energy about the Forum as
21 about him?                                             21 a whole, which she didn't do.
22     A. No. Anyway, the key point is not whether        22     Q. We can skip down. "Lisa and projects:
23 I solved rumors; it's whether Eman herself comes to    23 Frankly, I don't think she knows enough yet.
24 me and tells me she's got a problem.                   24 Perhaps with time. So I will suggest to her that

                                            Everest Court Reporting LLC                            Page: 108 (417 - 420)
                                     215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 110 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 421                                                      Page 423
                    ---                                                      ---
 1 she take part in the project conference calls, be       1 mean that they're related by definition?
 2 cc'd on correspondence, and so forth. But, for now,     2     A. No.
 3 it's best to stick with Gregg. As you may recall,       3         MR. CAVALIER: Object to form.
 4 with only one exception, all five other directors,      4 BY MR. CARSON:
 5 when asked in November, said they are fine working      5     Q. I'm asking you, what does it mean?
 6 with him, and the sixth had mild problems" [as          6     A. It means that the c4 requires a c3, but
 7 read]. So your response was --                          7 it's a separate organization legally and
 8     A. No. That was me writing.                         8 organizationally. Gregg was gonna be there without
 9     Q. What'd you say? This is you writing now?         9 any staff whatsoever. All the staff was gonna
10     A. It's me, yeah. I think --                       10 remain at the c3. He would be at the c4, but he
11     Q. And then who's this?                            11 would be asked to help with fundraising for the --
12     A. Judging by the purple, that's Marnie.           12 and other activities for the c3 on a friendly basis.
13     Q. Okay. So is it correct that Marnie is the       13     Q. What does it mean that c4 is a derivative
14 purple, and you're the black in these --               14 of c3?
15                  ---                                   15     A. I just wrote it. Without the c3, it is
16        (Indistinguishable cross-talk.)                 16 nothing. You have to have the c3 to justify the c4.
17                  ---                                   17     Q. Is that a legal thing? You're not allowed
18 BY MR. CARSON:                                         18 to have a c4 without a c3?
19     Q. Sorry?                                          19     A. Effectively, you can't have a c4 without a
20     A. It's the logic of this, yes. I don't            20 c3. People who like the c3, who like what we're
21 remember it, but looking at it now, yeah.              21 doing, who have money that they are giving to
22     Q. So Marnie says, "My thoughts are not so         22 political candidates will -- who know who we are,
23 much as who likes him or who doesn't, but that it      23 who know what we stand for will give to the c4
24 would be natural for his work with the c4 to take      24 because they're confident of who we are and what we
                                               Page 422                                                       Page 424
                   ---                                                       ---
 1 precedence over his work with the c3." And you          1 stand for. If they didn't know who we were and what
 2 said, "See above on this." "I do see him in what        2 we stood for, they would never give money to the c4.
 3 you see -- I do see in him what you see, that he's      3     Q. Mr. Pipes, I don't know the answers to
 4 creative and has a lot of great ideas, but I believe    4 these questions. I'm asking, like, if I wanted to
 5 the focus that he does gives to the projects and the    5 go open a c4, can I do that, or do I have to open a
 6 c3 will mostly be centered around him" [as read].       6 c3 first?
 7 Who's "him" there? Is that Gregg Roman?                 7     A. You can do it, but you won't have any
 8     A. Presumably.                                      8 takers because nobody knows who you are politically
 9     Q. And up here, you wrote, "I expect it will        9 and what you stand for and who you're gonna give
10 be largely or wholly the c4, but the c4 is a           10 money to, who you're gonna support, whereas --
11 derivative of the c3. Without the c3, it is            11     Q. So --
12 nothing. So Gregg understands he needs to help out.    12     A. -- Forum has a profile, is known, and
13 Also, this justifies his high salary." So what do      13 therefore, if you like what the Middle East Forum is
14 you mean when you said that the c4 is a derivative     14 doing, then the c4 is a way for you to entrust your
15 of the c3?                                             15 money because you don't follow -- you, the donor,
16     A. Without the c3, it is nothing.                  16 don't follow politics that closely, and you entrust
17     Q. The c4 wouldn't exist without the c3.           17 it to someone at a c4 who does follow it closely and
18     A. Right.                                          18 can figure out which races are important and which
19     Q. They're related, correct?                       19 ones are not and the like.
20     A. No.                                             20     Q. So the c3 -- I'm sorry -- the c4 that
21        MR. CAVALIER: Object to form.                   21 Mr. -- that you guys were considering starting was
22 BY MR. CARSON:                                         22 going to be connected to the Middle East Forum c3?
23     Q. Well, what does that mean? If one is --         23     A. No, not gonna be connected.
24 if one can't exist without the other, doesn't that     24     Q. "Without the c3, it is nothing." I guess
                                            Everest Court Reporting LLC                            Page: 109 (421 - 424)
                                     215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 111 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.
                                               Page 425                                                      Page 427
                    ---                                                      ---
 1 I just don't understand what you mean.                  1         MR. CAVALIER: Well, I don't think that's
 2     A. I just explained.                                2     correct, but, I mean --
 3     Q. What's the -- go ahead.                          3         MR. CARSON: It is correct.
 4     A. If you have -- in other words, if the --         4         MR. CAVALIER: To the extent we're going a
 5 if we go to potential donors and say, hi, you like      5     minute beyond 6:53 -- which I'm not saying
 6 the c3. You give money to the c3. Now, do you have      6     we're gonna do -- we're gonna need a
 7 another pot of money, not tax-deductible, that you      7     representation from you that the remaining time
 8 give to candidates? Give some of it to us, and          8     that you have is extraordinarily short. If you
 9 we'll direct it towards the campaigns -- not            9     wanna go for another five minutes in lieu of
10 candidates, but campaigns -- that you will like        10     filing your motion, maybe we can make an
11 because you like what we do, and we can do it          11     agreement, but if you're just going on
12 because we're specialized. We know the ins and outs    12     willy-nilly until you feel like stopping, we're
13 of these campaigns in a way you don't. So rather       13     not doing that.
14 than you bumble around, giving away money you're not   14 BY MR. CARSON:
15 quite sure where to give it, give it to us, and we     15     Q. Why did you say it didn't say it was the
16 know what to do with it.                               16 derivative, because it said the c4 is a derivative
17     Q. So who does the money go to, the c4 or the      17 of the c3, right?
18 c3?                                                    18     A. I've explained it twice. Yes.
19     A. Some money goes -- tax-deductible money         19     Q. So the c3 that you're referencing there is
20 goes to the c3, and non-tax-deductible money goes to   20 the Middle East Forum, correct?
21 the c4.                                                21     A. Yes.
22     Q. But the rule is that donations to a c4 are      22     Q. So can you read this real quick, please?
23 taxable, and donations to a c3 are not?                23 This will be my last question.
24     A. Correct, as far as I understand it.             24     A. Make it larger. Who is this to who?
                                               Page 426                                                       Page 428
                   ---                                                    ---
 1    Q. Okay. So the c4 that you guys were              1     Q. So I'll represent to you these are
 2 considering opening was gonna be a derivative of the  2 messages that you produced that are text messages
 3 Middle East Forum, though, correct? That's what you   3 between you and Marnie Meyer. Can you hear where
 4 meant by that?                                        4 she says that Gregg told Matt that he could destroy
 5    A. I believe it's 6:50, and I'm done.              5 Daniel Pipes? Did you ever talk to Gregg about
 6    Q. My question's pending. The c4 that you          6 that?
 7 guys were considering starting was going to be a      7     A. No, I didn't. I told you I don't -- I
 8 derivative of the Middle East Forum; is that --       8 didn't take Matt's rumor mongering seriously. He
 9        MR. CAVALIER: I'm gonna object to form.        9 was engaged in so much of this. It reminded me of
10    "A derivative" is not what the document said.     10 another instance, and this is --
11        MR. CARSON: What'd it say?                    11     Q. Okay. Here she says Gregg -- she says she
12        THE WITNESS: It's 6:50 p.m., and I            12 just found out that Delaney was afraid to use the
13    believe I'm done.                                 13 ladies' room because he would use the TV in his
14                 ---                                  14 office to count how many times a day Eman went to
15        (Indistinguishable cross-talk.)               15 the ladies' room. So that's why I asked if you ever
16                 ---                                  16 spoke to Eman.
17        THE WITNESS: What'd you say, Jon?             17     A. No, I didn't speak to Eman about this. If
18        MR. CAVALIER: 6:53.                           18 she had a problem with it, she could've come to me.
19        THE WITNESS: Oh, okay.                        19 This is rumor mongering.
20        MR. CARSON: I mean, if you guys really        20     Q. So --
21    are gonna bounce out at exactly seven hours, I    21     A. Marnie says to -- Marnie says to Eman says
22    mean, I'm telling you right now, I'm gonna --     22 to me. I mean, what -- hello, if somebody has a
23    it's gonna be an issue with me because I gave     23 problem, come to me. And, as you saw, I dealt with
24    you guys eight and a half hours with Lisa.        24 it expeditiously and rapidly. I cannot deal with

                                            Everest Court Reporting LLC                            Page: 110 (425 - 428)
                                     215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 112 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.
                                                Page 429
                 ---
 1 rumors.
 2    Q. The last question is, is the money that
 3 you're talking about here the health insurance?
 4    A. I don't know what this is referencing.
 5    Q. Sorry?
 6    A. I don't know what this is in reference to.
 7 Complicated.
 8    Q. Yeah. I don't know either. That's why
 9 I'm asking.
10    A. I don't know what the 207,000 -- I don't
11 know.
12    Q. The gross is -- well, I guess we can ask
13 Marnie. All right, whatever. It's 6:54. I'm done.
14 That was easy, right, Mr. Pipes?
15    A. Oh, yeah.
16       THE COURT REPORTER: All right. We off
17    the record?
18       MR. CAVALIER: No questions from me.
19       THE VIDEOGRAPHER: The time is 6:55 p.m.
20    Eastern Time. We are now off the record.
21    Thank you, Counsels.
22                ---
23       (Witness excused.)
24                ---
                                                Page 430
                 ---
 1        (Deposition concluded at 6:55 p.m.)
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                                           Everest Court Reporting LLC                            Page: 111 (429 - 430)
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 113 of 180
Deposition of DANIEL PIPES                                         Lisa Barbounis v. Middle Eastern Forum, et. al.


                                              - - -
   1                           C E R T I F I C A T E
   2                                          - - -
   3
                   I do hereby certify that I am a Notary
   4     Public in good standing, that the aforesaid
         testimony was taken before me, pursuant to notice,
   5     at the time and place indicated; that said deponent
         was by me duly sworn to tell the truth, the whole
   6     truth, and nothing but the truth; that the testimony
         of said deponent was correctly recorded in machine
   7     shorthand by me and thereafter transcribed under my
         supervision with computer-aided transcription; that
   8     the deposition is a true and correct record of the
         testimony given by the witness; and that I am
   9     neither of counsel nor kin to any party in said
         action, nor interested in the outcome thereof.
 10

 11                WITNESS my hand and official seal this
         23rd day of November, 2020.
 12

 13

 14
                                        <%signature%>
 15                                     __________________
                                        Notary Public
 16

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                                     Everest Court Reporting LLC                                  Page: 112 (431)
                              215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 114 of 180
Deposition of DANIEL PIPES                                            Lisa Barbounis v. Middle Eastern Forum, et. al.


                                                 - - -
   1                            INSTRUCTIONS TO WITNESS
   2                                             - - -
   3

   4                         Please read your deposition over carefully
   5     and make any necessary corrections.                                 You should
   6     state the reason in the appropriate space on the
   7     errata sheet for any corrections that are made.
   8                         After doing so, please sign the errata
   9     sheet and date it.
 10                          You are signing same subject to the
 11      changes you have noted on the errata sheet, which
 12      will be attached to your deposition.
 13                          It is imperative that you return the
 14      original errata sheet to the deposing attorney
 15      within thirty (30) days of receipt of the deposition
 16      transcript by you.                If you fail to do so, the
 17      deposition transcript may be deemed to be accurate
 18      and may be used in court.
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                                        Everest Court Reporting LLC                                  Page: 113 (432)
                                 215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 115 of 180
Deposition of DANIEL PIPES                                            Lisa Barbounis v. Middle Eastern Forum, et. al.


                                                 - - -
   1                                       E R R A T A
   2                                             - - -
   3     PAGE                  LINE                                              CHANGE
   4     _ _ _               _ _ _         _ _ _ _ _ _ _ _ _ _ _ _ _
   5     Reason for
   6     Change:             _ _ _         _ _ _ _ _ _ _ _ _ _ _ _ _
   7     _ _ _               _ _ _         _ _ _ _ _ _ _ _ _ _ _ _ _
   8     Reason for
   9     Change:             _ _ _         _ _ _ _ _ _ _ _ _ _ _ _ _
 10      _ _ _               _ _ _         _ _ _ _ _ _ _ _ _ _ _ _ _
 11      Reason for
 12      Change:             _ _ _         _ _ _ _ _ _ _ _ _ _ _ _ _
 13      _ _ _               _ _ _         _ _ _ _ _ _ _ _ _ _ _ _ _
 14      Reason for
 15      Change:             _ _ _         _ _ _ _ _ _ _ _ _ _ _ _ _
 16      _ _ _               _ _ _         _ _ _ _ _ _ _ _ _ _ _ _ _
 17      Reason for
 18      Change:             _ _ _         _ _ _ _ _ _ _ _ _ _ _ _ _
 19      _ _ _               _ _ _         _ _ _ _ _ _ _ _ _ _ _ _ _
 20      Reason for
 21      Change:              _ _ _        _ _ _ _ _ _ _ _ _ _ _ _ _
 22      _ _ _               _ _ _         _ _ _ _ _ _ _ _ _ _ _ _ _
 23      Reason for
 24      Change              _ _ _         _ _ _ _ _ _ _ _ _ _ _ _ _
                                        Everest Court Reporting LLC                                  Page: 114 (433)
                                 215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 116 of 180
Deposition of DANIEL PIPES                                            Lisa Barbounis v. Middle Eastern Forum, et. al.


                                                 - - -
   1                            ACKNOWLEDGMENT OF DEPONENT
   2                                             - - -
   3                         I, _______________, do hereby certify that
   4     I have read the foregoing pages 1 to ___ and that
   5     the same is a correct transcription of the answers
   6     given by me to the questions therein propounded,
   7     except for the corrections or changes in form or
   8     substance, if any, noted on the attached Errata
   9     Sheet.
 10      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _
 11      DATE                                                                       SIGNATURE
 12

 13                                        Subscribed and sworn to before
 14      me this _ _ _ _ _ _ day of _ _ _ _ _ _ _ _ _ , 20__.
 15

 16                                        My commission expires:
 17                                        _ _ _ _ _ _ _ _ _ _ _
 18

 19

 20                                        _ _ _ _ _ _ _ _ _ _ _
 21                                        Notary Public
 22

 23

 24

                                        Everest Court Reporting LLC                                  Page: 115 (434)
                                 215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 117 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  WORD INDEX                 11th 50:23 251:19           2:19-cv-05030-GAM              23rd 293:5 300:23
                              264:4 336:20 338:13         1:6 5:15                       352:9 414:22 431:11
 <$>                          352:10                     2:49 192:4, 6                  240,000 38:10
 $14 160:9, 16 240:3         12 63:22                    20 23:2 434:14                 242 3:18
 $1500 410:17, 20            12:10 101:24                2017 112:22 328:4              24th 10:7, 11 318:22
 $17 260:3                   12:15 102:8, 10              374:3                         25 28:21, 23 31:8
 $200,000 367:10             122 3:12                    2018 12:12 13:12                54:8
 $240,000 38:11              12th 260:22                  89:11, 16, 24 93:20           251 3:20
 $27,000 232:11, 13, 14      13 239:24                    94:3, 18, 20 95:23            26 10:4 97:23 98:12
  366:13 368:2, 3            14 239:23 240:1              96:4 102:18 103:10             321:3, 4 336:5
 $31 85:14 95:14, 20          241:10                      117:24 118:1 119:17           275 3:21
  97:22 98:5 159:3           14th 260:23 261:3            122:9 125:3 131:16            28th 346:9
  160:7 177:18 217:21        15 60:21 242:10              135:11 150:9 153:21           292 3:22
  239:11, 21 340:23          1500-dollar 414:16           170:15 172:24                 2950 2:4
 $31,000 97:21               16 57:17                     176:13, 18 177:21             29th 261:6
 $5,000 161:2, 13, 15        1650 1:13 2:9                187:20 189:21                 2nd 198:21 333:13,
 $7,000 272:4 274:6,         17 1:6 251:17, 18            202:16 229:24 230:2           14, 24
 11 281:2, 4, 15 282:6,      176 3:15                     243:22 248:1 249:12
 14 283:1 284:8              17th 5:10 346:7              256:4 292:12, 20              <3>
 $7,500 272:1 273:2           374:2 385:10                321:12 347:17 348:8,          3 10:23 11:1, 4, 14,
                             18 176:5, 24 251:18         8 349:13 354:18                24 12:6, 23 13:1, 3, 5
 <0>                          314:5 320:11 345:18         355:3, 19 364:9                15:23 16:11, 15, 24
 000027 336:21                354:21 355:13 362:8         365:16, 19 377:2               17:15 18:5 20:11
 0005 218:8                   364:4                       380:1 384:8 385:8              21:11 25:23 50:24
 00060 371:9                 1835 2:3, 14                2019 12:11, 12 13:11            408:17
                             189 3:16                     37:16 43:19, 22, 24           30 98:8 152:4
 <1>                         18-year-old 212:15           83:18 136:16 143:12            229:23 236:14
 1 120:22, 22 176:13,         214:16                      158:19 252:10                  432:15
 24 194:4 434:4              19 13:13, 14 52:24           286:16 293:5 300:23           30,800,000-some 95:20
 1:11 145:11, 15              314:5 320:12                302:13 303:15, 17, 23         30th 99:20
 1:21 145:8                  19103 2:4, 9, 15             316:18 319:23 321:5           31 98:18
 1:24 145:15, 17             1994 10:9, 10, 11            336:4, 20 337:7               316 3:23
 10:08 1:14 5:10             19-page 52:22                338:13 345:18 347:3           320 3:24
 10:35 37:3                  19th 158:19                  349:20, 23 352:9, 9,          321 4:4
 10:45 37:3, 5               1st 94:3, 14 95:3           10, 10 354:14 355:8            33,000 98:9
 10th 321:5 347:3, 3          103:4, 10 108:1             363:19, 21 364:9              336 4:5
  349:20, 23 352:9, 10        129:12 141:18, 21           371:11 377:2 380:9            34 93:13
  374:21 405:8                156:23 163:23               384:12 405:8 408:17           345 4:6
 11 176:5, 13, 24             170:15, 16, 22 173:7        409:16 414:22                 347 4:7
  242:9, 10, 10 252:10        176:18 177:6, 21           2020 1:6 5:10 34:8,            354 4:8
  408:17                      191:4 198:20 228:3         10 37:16 202:18                365 4:9
 11:20 75:24                  231:17 233:24 234:2         385:10 431:11                 368 4:10
 11:31 75:24                  256:3 333:13 380:1         207,000 429:10                 371 4:11
 11:34 189:21 190:7           384:6, 8, 12 406:4, 7      21 292:5                       374 4:12, 13
  242:16 243:2, 3                                        215-391-4790 2:5               379 4:14
 11:45 57:19 58:18           <2>                         215-569-1999 2:15
  73:11                      2 11:11 176:5               215-665-2000 2:10              <4>
 11:58 102:8                  253:13                     218 3:17                       4 11:9, 14 12:8, 13,
                             2:10 192:1, 4               22 292:5, 7, 8                 18, 20 13:9, 10, 23
                             2:15 191:15                 23 292:5, 7                     14:2 15:10, 23 16:5,
                                           Everest Court Reporting LLC                                        Page: 116
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 118 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 23, 24 17:16 18:4           60 45:3 84:13 365:4        abusive 219:19 220:6,          T 434:1
  20:10 21:6, 8, 10           371:9 373:16              14 223:21 224:4, 22            acquiesce 253:11
  24:5, 11, 19 25:23         63 3:13                     225:6 227:2 321:18            acquiesced 253:7
 4:49 316:7, 11              65 374:20, 20               322:8, 11 329:3, 20           acquiescence 253:15
 40 160:8                    6th 94:15 129:12            330:22                        act 76:17 352:17, 23
 406 4:15                     235:13                    accept 310:2, 10, 16           acted 171:9 173:16,
 408 4:16                                                311:10, 19, 20                16 187:18 188:24
 417 4:17                    <7>                        acceptable 179:9, 11,           200:24 210:5, 20
 428 4:18                    7 3:5 218:9                20 180:5, 20, 23, 24            255:20 401:1
 45 60:22                    7,000 283:22               accepted 188:18                ACTION 1:1 163:23
 4th 189:20, 21 190:7        7:00 415:12, 18             225:17 310:11                  211:7 313:5 431:9
  228:4 241:20 243:19        70 45:3                    access 243:6 250:23            actions 161:8 171:10
                             75 3:14                     362:18 363:15                  215:23, 23 246:6
 <5>                         7th 129:12 141:19           380:13                         403:15
 5:08 316:11, 13                                        accession 342:24               active 13:3, 4 108:8,
 50 365:7                    <8>                        accomplishments                12, 21 109:2
 500 345:6 411:1             8 122:9                     340:6                         activities 11:18 77:11,
 500-paragraph 86:12         8th 141:19, 20 408:18      account 38:23 39:4,            20 186:8, 11 346:4, 5
 501 10:23 11:1, 4, 9,                                  6, 19                           423:12
 11, 14, 14, 24 12:6, 8,     <9>                        accountable 339:16             activity 79:17 186:14
 13, 18, 20, 23 13:1, 3,     9:02 122:9                  354:8                          371:16
 5, 9, 10, 23 14:2           968 379:22 381:8           accountant 27:8, 9, 12,        actress 79:24 237:2,
  15:10, 23, 23 16:5, 11,     401:23                    13 377:11 411:15, 18           6, 9
 15, 23, 24, 24 17:15,       975 121:6 122:4            accounting 27:21, 21           actual 250:22 295:14
 16 18:4, 5 20:10, 11        976 121:6                   28:18 33:4, 9 34:4             309:22
  21:6, 8, 10, 11 24:5,      977 121:6                  accounts 203:24                add 31:12 98:18
 11, 19 25:23, 23 50:24      978 121:6 122:4             397:15                         114:19 124:5 231:6,
 51 3:11 365:7               990 38:19, 21 43:23,       accurate 77:12 381:3           8
 515 2:14                    24                          432:17                        added 193:22
 52 365:7                    9th 94:16, 17 198:3        accusation 127:24              addition 241:10
 54 368:18                    229:20 254:1, 6, 7        accusations 95:22              additional 417:11
 5th 94:15 211:23             264:5 336:4 380:9          188:18 202:11                 Additionally 340:3
  229:24 230:2 235:13,                                   203:18 380:18                 additions 98:6
 22 243:22 248:1             <A>                         382:16                        addressed 189:17
  249:11 292:12, 20          a.m 1:14 5:10 37:3,        accused 70:24 71:12             229:17 234:13 264:6
  316:18 319:23 320:4        3, 5 75:24, 24 102:8        170:24 273:8 379:15,           402:16
  321:12 337:6 347:17         122:9 145:17 189:24       17                             addressing 243:19
  348:8 349:13 354:14         190:1, 7 243:3, 4         accuses 295:10                 adequate 92:1
  363:19, 21 364:9           ability 9:5 72:12          accusing 245:24                adequately 91:19
  365:19 371:11               284:2 339:12               273:23 310:1                  adhered 320:5, 18
                             able 55:5, 20 88:16        acknowledge 188:4              administration 367:21
 <6>                          89:8 90:1 146:19           231:4                         administrative 85:4
 6 218:8 365:16               241:1 250:5 304:14        acknowledged 180:2,             90:23 336:12 339:21
 6:40 415:9                  abruptly 193:12            7 183:12                        340:3 367:19 375:8,
 6:50 426:5, 12              absolutely 41:11, 14       acknowledges 179:8             9 379:23
 6:53 415:7 426:18            42:15 293:1 399:10         188:5                         administrator 115:24
  427:5                      abstract 74:6              acknowledging                   336:12
 6:54 429:13                 abuse 222:20 228:9          259:23 326:8 375:2            admitted 98:23 99:1
 6:55 429:19 430:1            321:24 349:5              ACKNOWLEDGMEN                   275:4, 5
                             abused 285:11, 14, 19
                                          Everest Court Reporting LLC                                        Page: 117
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 119 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 admitting 275:8              365:17 366:6 375:7         alleged 76:12 169:20            19:11, 15, 17 20:4, 5,
 admonished 164:16            410:19 427:11               272:3 405:6, 10               6, 23 21:3, 19 22:21
 advance 188:7, 17, 20       agreements 239:16           allegedly 174:5                 23:3 24:13, 21 26:18
  189:4 336:5                 291:18                      338:3 370:4                    29:17, 19, 20 30:20
 advanced 418:10             ahead 20:6, 23 32:14        alleges 193:20                  31:5, 13 32:7 40:24
 advances 176:14, 21          42:17 47:18 49:16,         alleging 219:11 295:4           41:1 42:19 46:14, 18,
  177:8 179:6 188:2          17 59:19 66:22              alleviate 340:2                22 47:16 48:1, 5, 22
  194:8, 9 198:14             85:20 97:18 101:9          allow 12:7 13:24                49:3, 5, 13 51:24
 advice 43:16 49:9            118:5 124:5 137:24          166:13 167:18                  59:22 62:1 66:22
  244:19 248:4, 5             163:3 167:13, 19            260:17 300:6 394:8             71:10 72:6, 7, 11, 19,
  405:23                      180:6 202:18 203:8          405:16 413:5 417:8            23 73:12, 13, 20
 affect 349:2                 216:7 218:5 222:14         allowed 12:3 84:6               74:13 77:1 80:18
 affection 339:5              247:6 260:21 296:6          89:17 116:22, 24               82:23 83:22 84:10
 affections 315:1             300:4, 8, 8 302:2           203:6 221:23 222:3             86:11 88:1 91:23
 aforementioned               311:9 325:19 414:8          226:4 253:2 254:24             101:19 103:2 105:12
  240:17, 18                  425:3                       255:9 257:7 259:12             111:18 125:7 133:11
 aforesaid 431:4             AIPAC 135:22 183:1           272:21 285:22 286:5            137:16 146:16
 aforth 213:19               Airbnb 106:16                317:8 351:9 358:10             151:15, 18 157:4
 afraid 428:12                165:18 168:15               386:11 409:5 413:21            161:21 166:20, 22, 24
 aftermath 401:2              169:12, 19 171:18           416:10 423:17                  167:5, 21 172:11
 afternoon 173:8             al 1:6 5:13                 allowing 417:5                  177:7 180:1 194:16,
 agent 23:10                 Alana 70:20 80:5, 7,        allude 174:12                  22, 24 195:2, 11
 ago 10:5 39:15, 17,         9, 10, 16 81:5, 10          alluded 229:20                  196:14 197:1 200:16
 18, 20 62:14 112:19,         82:3 132:17 133:4          allying 312:9                   201:11 202:24 203:6
 24 114:13 124:3              151:22 152:15              amazed 221:7                    207:21 208:21 212:4
  128:16 160:22 162:9         153:18 235:24 236:1        American 11:20                  213:3 215:4 216:7
  199:7 223:18 237:12         237:4, 11                  amount 58:11 98:8               220:22 221:15, 21, 24
  251:10 260:23 262:2        Albert 9:19, 21, 24          239:24 366:2 388:7             222:1, 4, 6 223:5
  347:23 357:22 363:6        allegation 73:21, 23        amounts 40:11 379:8,            224:5, 18 226:2, 6, 15
  399:19 400:4 401:14,        109:23 149:5, 8, 10        10                              237:20 238:4, 24
 18, 19 417:23                150:22, 23 188:1           Amy 9:19, 21, 22, 24            244:14, 19, 20 246:9,
 agree 6:14, 18 48:10         238:16 295:23               27:14, 17, 17, 19, 20         12, 14 248:3, 4, 5
  86:4 192:22 229:16          301:13 304:8, 10            34:21, 23, 24 267:4,           257:9, 13, 15, 17, 19,
  230:15, 20 240:4            305:11 306:13, 17, 20      23 268:1, 4, 7                 21 258:4, 6, 13
  243:1 271:17 315:22         307:2, 8 322:14, 19        Amy's 35:1, 8                   260:18 265:10 270:1
  387:9, 11, 12 392:13        350:24 407:2               analysis 281:22                 271:6 273:17 283:5,
  401:10 407:16              allegations 70:11           angels 134:15 183:10           9, 15 284:17 291:23
 agreed 5:1 55:24             82:2, 9, 11 102:19, 23     anger 315:2                     292:1 293:24 295:15
  92:13 183:19 189:10,        109:5 110:21 135:18        angry 308:17 313:24             296:3, 6 299:22, 23
 11 229:12 252:3              150:7, 11 167:11           ANN 2:21                        300:3, 13, 18, 19
  253:16 254:4, 6             176:14, 19 182:13          announced 307:18                302:2 311:17, 18
  289:22 291:8, 15            189:22 210:2, 4, 10        announcement 334:15             315:11 324:3, 18, 20
  302:22 321:16               212:11 214:8 219:16        announces 334:20                325:1 326:18, 24
  339:19 341:3, 3, 4          234:10 238:17              announcing 243:21               327:12 329:8, 9, 12,
 agreeing 281:4               241:12 256:10, 12          annoyed 314:2                  24 330:1, 2, 5, 6, 7, 9,
 agreement 6:7, 8             271:22 272:18              annually 37:14                 12 331:13 351:12, 14
  80:2 129:10 136:11          307:14 314:13, 18          anonymous 126:16                352:24 353:6 356:18,
  189:14, 15 234:18           390:8 393:4 396:5          answer 7:17, 19, 23            18, 21, 21, 22 357:2, 4,
  253:15, 19 262:15           404:9                       8:10, 20 10:22 11:21          9, 13, 15 358:4 359:7,
  323:16 337:20, 21          allege 302:9 303:7, 15       13:18 14:4 18:7, 20           22 360:2, 10, 22
                                           Everest Court Reporting LLC                                        Page: 118
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 120 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  361:15, 16 367:6, 6         304:6, 11 347:1           21                              403:16 405:3 420:18,
  381:15 382:9 391:2,        appear 185:17              arrive 412:10                  19 423:5 424:4
 21, 22 392:10 393:5,        APPEARANCES 2:1            arrived 414:14                  429:9
 13, 17, 19 394:8, 18        appeared 134:14            article 371:12, 18             asks 98:5 346:23
  395:17, 19 396:15, 22       287:1 401:1                372:8 373:3, 15               aspect 129:4 187:16
  403:7, 22 404:13           appearing 5:20             articles 373:4, 14              241:7
  405:13, 17, 21 414:8        22:18 247:11              ascertain 137:4                aspects 283:18 356:4
 answered 17:18, 21          appears 406:11             ascribe 101:12                 aspirations 109:14
  18:7 43:2 157:17           applaud 218:3              ascribed 137:6, 18             ass 212:15
  200:18 205:20, 20          Apple 408:24 409:10        aside 150:20 152:21            assault 159:10
  206:7 210:16 258:5         Apples 409:17               198:15 211:22                  169:20 174:12
  283:3 284:1 341:24         application 340:2          asked 13:7, 7 17:17,           assaulted 97:1, 11
  359:8 362:7 384:17         applied 334:15, 16         21 18:6 82:8 83:16              173:23
  393:20                     applies 160:4               91:13 95:5 99:20              assent 91:2
 answering 19:10             apply 159:14 334:24         103:5 119:19 123:7            assert 244:23 248:6
  31:2 61:5 73:9              335:3 417:15               125:17 140:20 142:3           assistant 111:3, 4
  82:13, 19 221:18           approached 13:6             157:16 162:21, 22, 22         associated 287:17
  223:1, 2 311:8              119:18, 20 184:12          168:5 170:1, 17                290:23
  325:13 327:23              appropriate 74:7            193:12 198:23 199:2,          ASSOCIATES 2:13
  344:13, 18 351:6            245:5, 12, 23 432:6       11 203:4 205:19                assume 8:11 252:16
  357:18 359:2 361:14        approval 342:10, 11         206:6 208:15 209:14           assuming 330:17
  396:18 402:20 403:4        approve 37:17 77:12,        212:3 217:21 222:2            assurance 127:7
  405:5, 10, 12              13, 16                      230:8 251:7 257:5             assurances 127:10
 answers 8:1 19:19           approved 37:9 414:2         262:19 264:13, 14             assure 240:2
  48:20 49:8 58:2            approximately 39:22         277:24 278:6, 9               assured 128:10
  223:10 357:18              apps 111:14                 283:2 300:2 311:6              320:14
  405:14 424:3 434:5         April 94:22 96:1            324:8 326:4 331:3             attached 178:14, 19
 answer's 18:3                163:24 168:16 169:9        335:16, 21 343:10, 13          346:13 381:6 432:12
 anti-discrimination          197:11 293:5 300:23        346:13 354:20 355:4            434:8
  245:22                      302:13 303:15, 17, 23      363:16 384:17 391:1           attempt 137:4
 anxious 355:14               338:9 343:24 346:7         393:2, 9 396:11               attending 345:21
 anybody 26:2 69:9            352:9 414:22 420:11,       400:11 421:5 423:11           attention 150:17, 17
  104:14 109:1, 13           13, 17                      428:15                         164:10 217:7 218:7
  146:5 183:8, 9             arbitrary 383:5            asking 13:20 16:3               249:3 333:4 418:16,
  389:14                     arcane 184:21 185:7         19:13 28:12 33:12             20
 anymore 13:16 89:18         area 141:10 184:5           51:17 57:20, 21 61:8,         attorney 53:10
  90:1 247:19 250:6,         argue 204:10 225:17        12 80:13, 14 86:11,             432:14
 23 256:21 258:10            arguing 164:11             15 87:20 114:9                 attorney-client 402:14,
  314:7 394:21               argument 43:13              126:6 166:15 167:15           15 404:11
 anytime 183:8 285:9          350:3 402:24 405:15        179:14 196:10                 attorneys 6:6 53:16,
  328:4                      Argumentative 18:7          197:16 199:5 223:16           19 64:17 65:3, 7
 anyway 7:15 29:20            237:20 238:5 295:13        244:17, 18 245:9, 19,          66:17 75:20 98:3
  223:20 240:7 386:14         296:4 299:2 310:5, 7      22 264:1 279:4                  252:19
  418:22 420:18               356:1 367:4 404:22         281:18, 20 299:8              attorney's 405:23
 apart 134:22                arisen 12:17 14:8           311:8 318:6, 10               attributing 223:22
 Apologize 37:7 48:11        arm 193:2, 14               329:19 346:22                 Audio 3:14, 21 75:23
 apology 354:9               arrangement 151:24          351:24 352:1 356:19            275:21 276:12
 apparently 125:9             219:7 229:13 414:10        357:3, 8 358:20               audit 320:24 321:2
  165:16 204:8 261:8         arrangements 165:21,        361:3 363:2 382:4,            authenticate 80:14, 23
                                                        11, 19 383:11 391:18
                                          Everest Court Reporting LLC                                        Page: 119
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 121 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 authenticity 79:20, 22      background 74:5            basically 243:21               believed 117:15
  152:8                      backside 96:5 205:4         309:24                         188:22 189:2
 authority 89:9              backstabbing 309:11        basing 375:18                  belong 417:8
  163:22 339:11               310:22 343:2, 4           basis 186:16 219:20            belongs 268:17
  370:10 375:13              bad 180:11 211:16           227:4 279:12 281:14,          benefit 172:15
 authorization 376:23         219:24 222:19             18, 21 282:24 283:21           benefits 231:23
  378:5                       225:11, 16 348:23          284:7 285:20 423:12            232:3 366:3, 5
 authorize 278:13             368:11, 13                Bates 65:2                      367:24
  297:1 377:7 379:5          badly 168:10 338:8         Bates-marked 242:8             Bennett 104:3
 authorized 375:5            bait 133:7, 9, 10          bathroom 101:8, 20              114:14, 15, 22 119:11
  376:21, 23 377:7            135:16                     144:19 145:2                   162:21 298:9 304:3
  378:7                      baited 153:8               beating 311:16 329:7            408:15
 authorizing 377:12          Baldino 1:15 5:18          began 24:18 70:6               Bennett's 114:17
  378:22                     ballpark 38:9, 18           138:10 147:23                  314:22 408:16
 available 50:17, 19          39:22                      193:16 304:5                  BENSON 2:21
  262:3 372:20               bane 362:10, 11, 13        beginning 6:8 102:17           best 9:4, 4 20:6
 aware 22:9, 13 62:23        bank 39:4, 6                125:3 131:15 187:21            72:12 115:10 127:17
  63:4 64:17 67:15           bar 71:14 86:18             216:17 371:6                   282:22 284:1 309:13
  76:22 124:12 132:21         236:13                    behalf 6:17 48:11               349:4 350:12 421:3
  133:1 183:24 190:18        BARBOUNIS 1:1               416:13, 18                    better 35:21 63:17
  191:5 201:24 202:2,         2:22 5:12 6:10 7:5        behave 115:9 228:20             122:23 156:14 188:3
 3 279:3 303:16, 20           13:6 26:6 56:9             231:24                         230:16, 19 315:17
  309:12 328:15, 20, 23       77:14 81:20, 24           behaved 114:11                  348:21 419:23
                              82:12 83:19 84:23          119:16 168:10                 beyond 210:21
 <B>                          89:9 90:8 91:21           behavior 209:17                 418:11 420:2 427:5
 back 7:14 14:23              92:3, 12 94:21 99:19,      219:18, 19 220:6, 15          big 158:20, 22
  15:2 23:24 28:20           24 102:24 104:1             222:16 223:21 224:4,           216:13 246:24
  32:9 36:15 47:4, 6          105:9 109:6 113:22        22 227:3 321:18                 404:16
  48:7 57:18, 22 58:21        119:11 154:4 162:23        322:8 329:3, 21               bill 119:24 120:3
  60:5 73:1 77:15             165:11 181:14 186:7        330:23                         123:4, 10, 12 131:24
  83:17, 18 85:5 86:19        190:3 215:5, 11, 20       behavior, 220:12                415:15 416:7
  89:10 90:16 92:5, 8,        219:14 251:24 260:5        227:11                        bills 161:22
 9 93:2 95:24 96:3,           262:19 264:18 272:4       behavior's 386:17              bit 182:11 290:4
 12 101:24 102:15             273:1, 23 274:3           believe 15:22 26:9,             417:14
  106:23, 24 123:22           280:14 282:5 285:3        12, 15 29:21 40:17             blabbering 344:20
  145:8 157:4, 6 162:8        290:11 298:14 305:4        88:8 100:13 103:3             black 177:11, 14
  163:24 164:14 172:5         316:18 317:5 368:16        108:17 110:1 111:12            284:21 421:14
  177:17 191:20 197:4,        371:11 374:3 376:3         117:9 119:8 137:8,            blank 127:23
 7, 24 198:1, 2 201:19        390:12, 16 394:13, 17     19, 21 139:4 152:12            blocked 117:14, 15
  208:4 233:24 241:4          395:3 400:1, 7             173:15 178:13 189:1,          Bloom 70:17, 19
  247:7 251:21 252:1         barking 416:23             4 203:7 207:8 212:7             296:12 297:2, 7, 19,
  262:21 263:5, 8, 13        barrage 341:6               220:18 231:2 248:7            22 298:18 304:1, 13,
  278:23 280:3 282:16        base 383:20                 250:19, 24 259:9              14, 24 305:12, 23
  304:7 306:12 308:16        based 60:20 62:8            260:2 264:6 267:16             306:5, 8 307:3
  313:9, 16, 24 315:2         74:14, 16 92:19 99:8       275:6 280:18 281:6             311:24 406:20 407:3,
  316:14 323:6 324:3          103:17 108:18 167:5        288:23 313:10, 12             12 408:2, 10
  339:19 348:20               185:16 245:17, 22          333:9 348:19 350:2,           Bloom's 301:4
  349:11 397:6 401:24         252:4 265:13 272:7,       12 378:17, 20, 22              blowback 288:9, 14,
  402:5 414:17               8, 12 282:13 383:13         408:13 412:3 422:4            16, 18
                             basic 93:10                 426:5, 13
                                          Everest Court Reporting LLC                                        Page: 120
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 122 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 board 44:2, 6, 7, 9, 10,    breaking 254:1              61:12 64:10, 13, 19            calls 338:20 339:3
 11, 12, 19, 21 45:2, 4       273:6, 9, 24               66:18 67:6 68:7                 421:1
  60:24 61:1, 8, 9, 13       brewing 135:10              Bylaws, 55:14                  calumny 341:6
  62:3, 16, 18 63:3, 12,     brick 143:14 307:13                                        campaign 279:21
 18, 24 64:1, 7 212:24       brieser@discrimlaw.ne       <C>                             286:3 287:3, 11, 17,
 Boards 60:19 61:15,         t 2:16                      c3 422:1, 6, 11, 11, 15,       18 373:12
 18, 23 62:5, 10             brilliant 115:23            16, 17 423:6, 10, 12,          campaigns 425:9, 10,
 bodily 155:3                bring 85:12 86:18,          14, 15, 16, 18, 20, 20         13
 body 106:20, 21             19 89:9 101:16               424:6, 20, 22, 24             Canada 267:8
  116:16                      166:1 171:12, 14            425:6, 6, 18, 20, 23          candidates 423:22
 bogus 85:11 87:13            186:17 197:13 249:3         427:17, 19                     425:8, 10
  88:9                        256:12 300:10 323:9        c4 421:24 422:10, 10,          capable 18:1
 bonds 40:16                  379:2                      14, 17 423:6, 10, 13,          capacity 10:2 17:1
 bone 284:22                 bring-your-own-device       16, 18, 19, 23 424:2, 5,       card 249:23 250:2, 2,
 bookkeeper 27:23             410:19                     14, 17, 20 425:17, 21,         6 251:2, 3
 bookkeeping 28:9            Britain 186:7 287:2         22 426:1, 6 427:16             cards 249:24
 books 34:4 378:16            289:21, 24 291:6           Caitriona 96:22 97:9           care 7:24 102:3
 borderline 233:19            319:5 373:1                 104:5 113:21 119:12            208:12, 17, 24 287:3,
 borders 162:17              British 286:1 287:9,         136:20 138:14                 4, 5
 boss 301:16                 10                           140:13 143:9 254:17,          cared 209:12 248:12
 bossiness 114:20            broadly 180:2               21 293:11 298:15               career 349:2
  116:6                      broke 95:18 273:1, 21        301:9, 14 302:7, 9, 14,       careful 292:2
 bossing 114:19              brought 85:12 92:8,         16, 19 303:14 307:3            carefully 185:14
  115:11                     9 93:2 96:21 100:11          361:10, 18 408:11, 11          432:4
 bossy 115:8, 17              171:15 197:16              Caitriona's 302:24             Caroline 108:17
  116:1, 7                    247:23 258:23 261:3         307:12 407:3                   109:16
 bottom 60:10 96:18           307:8 344:3 348:20         calculate 41:12                CARSON 2:3 3:5
  106:23 159:7 210:6          418:16, 20 419:19          calculated 126:10               6:10, 11 7:3 10:24
  307:24 371:3 404:15        brushed 107:7                127:21                         13:21 14:9, 13, 19, 23
 bought 232:20 408:24        building 168:9              Call 18:18 41:4                 15:5 16:19 17:4, 8,
 bounce 426:21                340:20, 21                  42:16, 24 54:20, 22           20 18:2, 9, 15, 19
 box 360:10                  bullshit 54:21               55:1, 16, 18 57:22             19:3, 5 20:9, 17 21:4,
 Brady 96:22 97:9            bumble 425:14                58:21 80:5, 16                17, 22, 23 22:4, 15, 16,
  104:5 119:12 136:20        bumped 307:13                120:22 133:4 167:1            24 23:6, 10, 18, 22
  139:7 140:13 293:12        bunch 414:6 420:9            169:20 170:15 195:8,           24:4, 14 25:18 26:19
  298:16 302:19              bury 262:7                  8, 23 196:6, 8, 9, 12,          27:16 28:8, 12, 13
  303:14 307:3 343:10,       business 10:19 40:20,       15 236:2, 7, 17                 29:18 30:3, 8, 12, 23
 12, 13 354:21 361:10,       22 137:5 155:5               297:22 304:3 314:9             31:9, 17, 22 32:5
 18 408:11                    213:18, 22, 24 214:1,       337:2 338:1 392:12,            33:17, 21 35:12, 15,
 Brady's 137:15              19, 23 215:3, 7, 8          20                             19, 22, 23 36:5, 8, 13,
  138:14, 17 140:11           216:2, 21 237:13, 16,      called 10:12, 14 65:1,         21 37:8 38:3, 17
  143:9 301:9 302:7          24 238:8 259:22             2 67:16 68:18, 18               40:21 41:1, 4, 7, 11,
  408:11                     busyness 163:2               81:10 97:23 98:12             18 42:1, 8, 12, 15, 18,
 brand 400:3                 butt 171:1 195:20            107:18 115:9 134:14           21, 24 43:6, 8, 17
 breach 272:9 282:8           196:3 212:19                147:22 183:10                  46:15, 19, 20 47:13,
 break 19:22 36:12,          buy 409:14                   213:17 239:19                 22 48:2, 12, 19, 24
 13 43:9 99:7 101:8,         Bylaws 3:11 51:1, 4,         259:21 410:7                   49:4, 9, 10, 15 50:20
 20 144:19 145:3, 4, 5,      8, 11, 15, 17 54:13, 14     calling 56:7 57:18              51:16, 22 52:5, 13, 20,
 6 178:2, 8 191:12, 16        56:13 59:9, 21 60:1         81:5 154:18 183:20            24 53:4 54:20 55:3,
  273:19 315:13, 19, 22                                   326:24 392:21                 7, 11, 22 56:2, 6, 6
                                           Everest Court Reporting LLC                                        Page: 121
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 123 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  57:3, 5, 14, 15, 20         190:20 191:13, 18           316:16 317:11 319:6,          case 17:13 36:19
  58:15, 16, 21, 24 59:7,     192:8 194:15, 20           19 322:4, 16, 21                41:14, 19 43:4 53:16,
 14, 17 60:8 61:7             195:1, 5, 13, 18, 24        323:3, 12, 20 324:1, 4,       19 54:1, 4 58:4 65:5,
  62:4 65:14, 17, 18, 23      196:6, 11, 13, 16, 20      13 325:7, 12, 15, 19           20 70:11 73:7 80:21
  66:9, 23 67:4, 12, 14       197:4, 15 200:18, 20        326:2, 6, 11, 16 327:4,        81:21, 24 85:11, 12,
  68:3 71:4, 17 72:7, 9,      202:6, 12 203:3            11, 21 328:19 329:10,          21 98:11 102:20
 19, 21 73:3, 19 74:14,       205:16, 22 206:12          18 330:3, 8, 14, 20             109:10, 23 110:5
 18, 19 75:5 76:2, 10,        207:11, 17, 23 208:16,      331:4, 11, 16 332:9,           118:4 128:8, 15
 19 77:4 78:2, 8, 14         23 209:20 210:12, 16,       19 333:21 334:3, 12             135:19 137:20 143:2
  79:11 80:19 81:4, 12       17 212:2 213:1, 2            335:11, 18, 23 338:5           151:19 153:14 154:7,
  82:5, 9, 13, 19, 23         214:15, 22 215:2, 9,        339:1 340:24 341:21           13 159:2 165:8
  83:2, 23 84:4, 11, 14,     16 217:9 218:24              342:8, 22 344:4, 9             168:9, 15, 20 169:8
 17 86:14 87:3 88:3           220:8 221:15, 20            345:1, 9, 12, 13               179:21 188:20 189:9
  89:14, 21 90:10             222:1, 8 223:7, 12, 19      346:21 348:4, 12               195:19 215:22
  91:12 92:18 94:10           224:12, 20 226:5, 9,        351:18, 24 352:2               238:14 240:3 260:6
  95:13 97:4 99:12           14, 21 229:9 230:18          353:4, 7, 18, 21 354:3         261:2, 7, 9 262:12
  100:7, 21 101:5, 18,        231:10 233:17               356:5, 11 357:17               265:11, 13, 16 269:23
 22 102:1, 14 103:7           234:16, 24 235:8, 20        358:2, 7, 17, 21 359:1,        270:11, 13, 13 271:4,
  105:13 106:14 107:6         236:12, 16, 21 237:15,     5, 9, 17 360:3, 16             23 298:8 312:3, 5, 24
  108:10, 23 109:16          22, 23 238:6 239:2,          361:4, 8 362:22                313:3 338:9 340:20,
  111:24 112:6, 12, 18       18 240:4, 20 241:3,          364:11, 15 365:6, 9,          22 371:1 386:7
  113:6, 7 115:19            18 242:9, 13 244:15         13, 15 367:1, 7 368:6           387:15 398:12
  116:13 119:2 121:5,         245:1, 4 246:5, 11, 16,     369:10, 16, 23 371:24         cases 32:24 98:24
 12, 16, 20 122:1, 3, 6      22, 24 247:5 248:9           372:16 373:22 374:1,           99:14 100:10 109:10
  123:24 125:13               250:16 253:6 255:12,       17 376:19 378:11                119:9 239:20 262:16
  128:12 130:3 131:2,        22 256:7 257:10, 18          381:2, 7, 11, 17, 20, 24       298:7 312:1
 17 132:24 133:19             258:2 259:1, 19             382:3, 11, 13, 21             cash 413:1
  134:4, 19 135:17            260:14 261:5 262:23         383:1, 22, 24 384:14,         catch 250:14
  137:11, 23 139:15           263:3, 20, 23 265:12,      18 385:6, 23 386:8,            categories 367:15
  140:18 141:12 144:9,       19 266:1, 14 267:12         13, 18, 22, 24 387:6,          categorization 151:12
 18, 24 145:7, 20             269:10 270:1, 3, 8, 17,    11, 16, 19 388:6                207:10 255:11
  146:5, 9, 18, 23 147:4,    21 271:2, 13, 24             390:5 391:3, 4, 16, 22         269:15
 17 148:6 149:9, 14,          272:6, 20 273:7, 13         392:1, 11, 19 393:6,          category 72:14
 23 150:5 151:5, 16,          274:22 275:11, 23          14, 24 394:4, 10, 11,          cause 129:18 134:18
 20 153:12, 19 154:2,         276:5, 14, 22 277:17,      16, 20 395:2, 7, 18             351:1
 11, 19, 21 155:19           21 278:4, 15, 18             396:2, 6, 10, 18, 20          caused 101:16
  156:1, 8, 13 157:2, 11      279:2, 11 280:1, 12         397:5, 12 398:14, 19,         causes 329:17
  158:1, 24 159:12, 15        281:18 282:3, 11, 21       23 399:8, 18, 22               CAVALIER 2:8
  160:3, 9, 12, 19 161:9,     283:7 284:3, 4, 13          401:7, 13, 22 402:7, 9,        6:12, 12 10:21 13:17
 14, 23 162:6, 7, 12          285:8 287:6 288:6          15, 23 403:1, 5, 11             14:3, 12, 14, 18 16:16
  164:7 165:2, 12, 23         290:3, 5, 21 291:10,        404:3, 5, 14, 24 405:7,        17:2, 5, 17 18:6, 13,
  166:5, 17, 21, 24          19, 24 294:1, 11, 16        18, 22 406:23 410:15           18, 20 20:4, 16, 22
  167:4, 12, 17, 23           295:8, 16, 21 296:3, 5,     411:9, 17 413:14               21:19 22:12, 20 23:3,
  168:4, 20 170:8            11, 23 297:6, 11             414:7 415:11, 15, 19,         7, 14, 20 24:12 26:17
  172:10 173:19               298:11 299:3, 10, 19       24 416:7, 12, 16, 21            28:7, 10 29:16 30:18
  175:13, 16, 21 177:12       300:14, 16 301:21           417:1 421:18 422:22            31:4, 15, 20 32:4
  178:11, 17, 21 179:24       302:6 303:9, 21             423:4 426:11, 20               33:14, 20 35:10, 14,
  181:4 182:6, 10             305:17 306:3 308:5          427:3, 14                     17 36:6, 11, 18 37:23
  184:3, 11 185:5, 15,        310:6, 23 311:14           Carson, 95:18                   38:15 40:19, 23 41:3,
 22 187:5 188:14              314:21 315:15, 20, 23                                     6, 9, 21 42:4, 19, 23
                                           Everest Court Reporting LLC                                        Page: 122
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 124 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  43:5, 7 46:13, 17, 22      19 228:10 229:4              372:15 373:18                 changed 96:18 159:7
  47:15, 18, 24 48:4, 10,     230:17 231:3 233:21         374:14 378:8 381:1,            206:16 257:1 333:12
 17, 21 49:2, 5, 12           234:21 235:4, 11           5, 9, 13, 18, 22 382:2,        changes 258:20
  51:14 52:8, 18, 21          236:6, 19 237:7, 19        9, 19 383:14, 19                336:6 341:4 342:2, 6,
  55:1, 4, 10, 18, 23         238:3, 23 240:15, 24        384:13, 17, 20 386:5,         10, 13 432:11 434:7
  58:13 59:3, 12, 15          241:17 244:5, 11, 23       11 391:1, 6, 10, 20, 23        changing 333:9
  60:3, 7 61:3, 24 65:9,      246:2, 12, 19, 23           392:7, 10, 13 393:2, 9,       chaperones 216:9
 16, 22 66:8, 20 67:3,        247:2 248:2 253:5          16 394:6, 14, 18, 22           chapter 202:1
 7, 24 71:2, 15 72:6,         255:10, 18 256:5            395:5, 12, 16, 24             character 349:6
 24 73:14 74:11, 16           257:8, 16 258:12            396:4, 9, 14, 22 397:3        characterization
  75:1 76:8, 13, 23           259:14 260:7 262:22         398:13, 22 399:2, 16,          23:11 134:3 140:17
  78:1, 6, 12 79:4            263:1, 16, 17, 19          20 401:9, 18 402:5, 8,          268:24 281:17
  80:17 81:2 82:4, 6,         265:9, 15, 22 266:13       10, 18 403:3, 9, 18, 22        characterize 135:14
 11, 15 83:22 84:8, 13        268:23 269:14, 22           404:11, 21 405:2, 11,          138:21 217:22 311:1
  86:7 87:24 89:12, 19        270:7, 14, 19, 22          20 406:21 411:8                charge 81:19 109:4,
  90:9 91:22 93:7             271:5, 8, 19 272:3, 8,      413:13 415:17, 22             20, 23 154:15 327:16,
  100:5 101:17, 21, 23       22 273:4, 10 275:10          416:10 422:21 423:3           23 328:6
  103:1 105:11 107:4          276:2, 19 277:20            426:9, 18 427:1, 4            charges 97:16
  108:13 111:16 112:9         278:2, 11 279:9, 24         429:18                        charter 50:14
  113:2 116:12 123:21         280:8 281:16, 20           cc'd 189:18 264:8, 9           check 16:2, 13 19:1
  125:6 128:9 129:24          282:7 283:2, 23             421:2                          29:8, 9 68:2, 4, 5, 6, 8,
  130:21 131:5 132:19         284:10 285:5, 7            censor 357:6 358:24            10, 12, 15 97:17, 19
  133:13 134:2 137:2          286:24 287:21              censoring 357:8                 122:19 123:23 124:4
  140:16 141:4 144:7          290:19 291:22              centered 422:6                  125:24 296:14
  145:3, 10 146:1, 7, 15,     293:23 294:9, 15           century 50:23                   396:11 411:7
 21 147:2, 15 148:5           295:6, 12, 19 296:1, 4,    CEO 29:5, 10, 12               checked 34:13 39:14,
  149:7, 16 150:3            22 297:4, 9 298:5, 24        30:4, 6, 24 32:20             18
  151:2, 11 152:7             299:8 301:19, 24            33:3 46:10, 12, 16, 21        checking 378:10
  153:15, 23 154:9, 17        303:6, 18 304:21            47:14 49:1, 11, 22, 23        checks 379:9, 10
  155:18, 24 156:5, 12        306:1 307:21 310:4         certain 93:4, 5, 9             child 308:20
  157:16 158:9 161:5,         311:11 314:20               143:15 191:5 217:20           children 289:21, 24
 12, 20 162:1 164:23          315:12, 17 317:10           252:21 253:3, 8, 17            291:7, 14, 17 319:4, 18
  165:9, 19 166:4, 15,        319:2, 12 322:13, 20,       309:6 312:10                  chilling 248:15
 18, 23 167:10, 15, 20       24 323:18, 23 324:2,        certainly 129:17               choice 42:22 72:3, 10
  170:6 171:5 177:1          7 325:10, 14, 17             199:22 217:24                  167:4 345:1 349:12
  178:9, 13 179:22            326:4, 8, 15, 23 327:9      239:22 265:23                  409:14
  181:2, 21 184:9             329:6, 16, 23 330:12,      certification 5:3              choose 330:4
  185:10, 19 186:1           15 331:2, 6, 13             certify 431:2 434:3            chorus 158:20
  191:11, 15, 21 194:14,      332:16 333:20 334:1,       cetera 173:24, 24              chose 33:6 34:11
 16, 23 195:3, 7, 22         10, 19 335:16, 21            417:18                         164:15
  196:4, 8, 12, 15, 18        337:16 342:5 344:7,        chair 81:19 233:12             circles 374:8
  197:1 200:16 202:9,        22 345:4, 10 346:17         chairman 37:11                 Circuit 43:12
 24 205:19 206:6              347:24 348:11               45:16 67:20, 20               circumstance 174:19
  207:9, 20 208:14, 19        351:22 353:6, 11            69:11, 13, 18                 circumstances 75:18
  209:10 210:9, 14            354:2 355:24 357:15,       chambers 56:5                   219:8, 11
  212:23 214:4, 20, 24       21 358:6, 9, 15 359:4,      chance 10:6 131:1              cite 118:20
  215:4, 14 217:5            7 360:1, 15, 24              418:7 419:6, 21               CIVIL 1:1 98:13
  218:23 220:7 221:7,         362:21 364:10, 14          change 341:13 433:3,            272:11 273:12, 15
 18, 23 222:3 223:3, 9,       366:23 367:4, 13           6, 9, 12, 15, 18, 21, 24       claim 41:17, 19
 17 224:15 226:7, 13,         369:8, 14, 20 371:23                                       108:18 160:7 201:4
                                           Everest Court Reporting LLC                                        Page: 123
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 125 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  203:18 261:18, 20, 20      closes 313:8               committee 37:12                 148:11, 15, 22 150:18
  282:9                      Code 5:15                   63:23                          159:6 187:18 193:20
 claimed 97:10 160:2         colleague 375:1            Commonwealth 1:17               199:19, 20 204:21
 claims 97:14, 15            colleagues 9:17 116:2      communication 143:5             211:11 224:24 293:7,
  165:7 230:19 282:12        collect 124:17 313:1        245:9 348:2                   10, 11 321:11, 22
 classification 10:20        collected 124:16           communications                  322:6 323:4, 6 324:3
 clean 119:23 120:3           209:13                     204:13 368:20                  349:18 350:4 351:11,
  123:4, 9, 12 131:24        college 308:16              397:10 413:11                 21 352:5, 8 353:9
 clear 8:5 22:1 23:12        come 9:15 60:6             companies 33:7 34:12            354:13, 17, 23 357:11
  32:11 41:15 61:3            83:17, 18 94:24 99:5      company 27:15, 21,             complaints 88:24
  63:21 95:21 101:1           116:23 117:5, 7, 11       24 28:2, 9, 17 33:6, 7,         94:1, 2, 4, 6, 17, 19, 20
  172:17 187:24 207:2,        118:24 135:5, 8, 12,      10 34:4 40:5, 7                 95:13 96:23 97:11,
 3 216:17 220:2              21 139:6, 6, 7, 7          compare 54:18 367:8            15 99:16 105:15
  223:15, 17 233:11           141:6 144:1, 2, 3         Compared 220:14                 107:22, 24 108:1, 21
  247:16 256:15, 20           145:8 150:14 159:9,       comparing 215:10, 17            109:1, 11 110:9, 14
  257:5 271:19 284:5         11 160:8, 9 162:20         compensate 26:24                114:10, 15, 17 116:21
  354:5 356:16 360:8,         163:20, 22, 23 164:6,     compensated 24:15, 18           120:6, 14 129:17
 18 361:4 362:1              9 166:13 168:3             complain 107:16                 131:9, 14, 18, 19, 20,
  395:6, 8                    169:8 171:16 172:6         115:20 118:14                 21 132:2, 3, 5 153:21
 clearly 58:10 83:14          173:13 181:23 182:2,       119:16 129:9 148:8,            156:23 171:10
  96:13 174:17 204:7         12, 24 183:3 184:9         9 185:13 198:5                  182:20 184:13, 14
  391:23                      185:13 214:17 216:1,       216:1 236:1, 12                185:16 187:17
 client 30:14 31:18          17, 18, 19, 20 237:12       237:11 297:24                  188:24 198:22
  36:14, 22 43:15             239:7 244:22 250:3,        322:23 350:19 351:4,           200:23 201:23
  48:15, 15 55:16 57:5       5 251:12, 21 255:9,        8, 10, 20 352:3                 222:21 225:7, 8
  59:10 154:4 223:13         19, 24 256:18 257:7        complainants 129:2              229:12 231:12 234:4
  226:6 261:6 315:24          259:8, 9, 18 263:5, 8      380:3, 3                       239:5 256:13 259:4,
  323:20 330:21 344:5,        305:12 309:15 340:8       complained 108:7               5 292:19 293:7
 12 357:21 386:12             397:6 411:6 413:4          113:22 114:2, 13               341:10 352:16, 17
  387:5 415:16                414:1 428:18, 23           115:12, 17, 18, 21, 22,        354:16, 24 367:14, 15,
 clients 291:18              comes 36:14 63:23          22 147:5 150:15                16, 17, 20 368:8
 client's 134:4 195:20        149:24 159:6 216:12        152:20 157:14 158:5            374:16 380:2, 2
  207:11 315:16 330:8         221:6, 6 298:3 341:6       235:18, 22 238:19              384:24
 clock 52:10, 14 54:23        346:3 418:23               403:15 418:17, 20             complete 221:24
  55:9 56:20 57:8            comfortable 238:21         complaining 115:23              222:5 234:3 261:2
  58:8                        306:22, 24 362:17          130:20 132:11 147:9,           382:14 384:1
 close 74:12 93:12, 15       coming 18:14 28:20         14 156:20 320:17, 19           completed 380:14, 16
  96:10, 16 106:19            57:10 96:20 117:9,         321:20 349:13                  383:4
  107:14 155:1 159:5         14, 15 191:12 247:13,       354:10 362:12 369:6,          completely 15:19
  172:21 180:3, 9, 12,       19 252:1 313:4             12 403:10                       22:23 56:11 332:13
 22 181:6, 12 192:18          366:21                    complains 214:2                 336:18 407:9
  198:17 199:17 204:6,       command 246:17              353:24                        complex 21:1 308:11
 7, 16, 18 206:9 217:7        335:10                    complaint 81:23                 337:24 339:7
 closed 217:20 241:21,       commencing 1:14             82:24 83:6, 11 84:22          compliance 23:15
 22 262:16                   comment 228:16              85:9 86:3, 5, 13, 16,         complicated 18:23
 closely 35:2, 5, 7, 9       comments 124:8, 12         17 87:18, 21 88:15,             283:18 429:7
  94:7 272:1 333:1            154:23 155:22, 22         19 91:19 92:10 97:2            complicates 181:9
  424:16, 17                  308:10                     116:3, 3 117:2                complication 372:8
 closer 270:21               commission 434:16           120:13 129:11                 complications 12:16
                             commit 184:2                132:13, 14, 15, 22             14:8, 10 15:6 93:19
                                          Everest Court Reporting LLC                                        Page: 124
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 126 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 complicit 163:12             214:6 252:1, 2 320:3,      consider 12:8, 13               347:20 348:15, 18
  164:3, 5, 15 169:13,       9, 17 366:19                 14:2 109:3, 3 182:21           359:18 364:21
 22 181:19 190:14, 19,       conduct 79:3, 9, 9, 13,      185:9 235:3 236:18,            365:18 396:12
 22                          14 92:21 101:15             24 248:16 314:6                continued 89:23
 component 211:21             106:3 107:2 155:21,         332:24 334:8, 13, 16           289:13, 15, 16 320:15,
 comprehensive               22 179:9, 11, 19             335:24 338:14, 16             18 321:18 322:7
  380:15, 16 382:14           180:19 183:12               342:2                          329:3, 20 330:22
  383:13 404:7                219:12, 12 303:2           considered 236:23               338:6 347:7 361:19
 computer 35:17, 21           369:6 380:17 382:15         334:7, 14 335:22              continues 338:6
 computer-aided 431:7        conducted 144:11            considering 12:19               339:10, 10 366:2
 computer's 35:19            conference 57:2              13:23 16:5 338:13             continuing 262:10
 concern 148:14, 14           345:22 346:15 421:1         424:21 426:2, 7               continuously 311:4
  149:19 152:18, 18          confidant 142:5, 7          considers 340:7                contradict 204:1
  210:8 217:16 220:13,       confidence 285:1            consist 60:21                  contradiction 204:14,
 16, 16 222:17 298:6         confident 423:24            consistent 234:5               22 205:5, 6 404:10
  305:13, 13                 confidential 128:14         consolidated 187:22            contradictions 204:4
 concerned 77:19              381:9, 12                  conspiracy 259:21               313:6
  79:18 117:9 129:2          confidentiality 127:7,       272:12 350:6, 7, 8            contradictory 143:15
  150:22 186:4, 21           10, 14, 15 128:11           conspiring 370:6                307:14 310:17 312:1
  216:12 217:14              confines 420:2              constant 183:21                contrary 309:8
  227:13 248:15              confirm 59:20 263:5         contact 34:18 130:8,           contribution 414:16
  298:12 304:11 313:9         377:23                     16 157:20 268:2, 17            control 56:23 112:10
  322:10 329:2, 4, 19,       confirmed 191:4              269:12 297:24 339:4,           344:5, 13 386:16
 22 330:24 331:12, 18         274:15                     5 367:18                       controversial 59:16
  371:13                     confirming 254:2            contacted 152:16               convenience 337:19
 concerning 121:19            263:13 264:10               266:7, 11 267:20              conversation 30:14
  150:11 257:1 332:22        confirms 58:5 253:24         276:1, 7                       31:18 96:7 101:6
  334:5                      confront 406:13             contacts 268:11, 12,            135:24 193:14
 concerns 77:17              confronted 177:9            14, 15, 22                      277:18 304:4 315:10,
  219:18, 22 227:12           346:6                      cont'd 4:1                     24 407:22, 23
  255:1 406:17 408:5         confusing 273:11            contemporaneous                conversations 125:1,
 concluded 315:8, 9          congratulate 299:12          390:18                        4, 5 245:17
  370:23 430:1                300:9                      content 130:18, 19             convinced 96:24
 concluding 307:14           Congratulations 97:8         134:12 153:3, 5, 6            convulses 97:6
 conclusion 91:1             Congress 159:13, 14          157:22 158:5, 16              COO 33:5
  92:23, 23 154:18           conjunction 186:15           172:19 187:12 211:8           cooperate 332:14
  202:20 315:7 326:24        connected 16:24 17:3         218:5 219:7 239:15            copied 190:2
  383:12                      20:13 362:4 368:9           368:21                        copying 419:11
 conclusions 281:22           373:12 424:22, 23          contented 153:7                core 87:12
 concoct 108:16, 18          connection 56:7 65:4        contention 342:23              corner 349:11
 concocted 83:1, 3            149:5 152:6 162:9          contentment 153:11             corporate 45:7 47:21
  85:8 86:6, 16 87:21         312:16 362:19, 23           185:3                          49:20 50:7, 24 62:21
  88:15, 19 95:22            connived 289:23             context 74:7, 21                69:1, 6, 12, 16 155:13,
  109:11 172:15 173:2,        291:16                      130:23 156:24                 20
 3 229:22 350:7, 8           consensual 215:10, 11        183:20 210:23                 correct 11:2 13:24
 concoction 85:16, 18,       consequences 288:13,         259:10 351:23 352:1            44:8 64:10, 19 67:6,
 21                          18, 20, 21, 24 371:14        358:10                        16 68:22, 23 75:8, 9
 condition 6:14 409:21        374:6, 11                  Continue 77:8                   80:6 81:6 82:3, 10
 conditions 6:18             consequences, 189:23         231:24 241:11 262:9            90:4, 8 91:21 99:21
  89:22 93:4, 6, 10                                       324:14, 22 326:17              123:5 124:2 131:22
                                           Everest Court Reporting LLC                                        Page: 125
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 127 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  138:23 140:14 142:8         410:20 431:6                361:22 401:11, 13             crossed 286:9
  143:10 150:2, 9            correspondence 421:2         411:23                        crosses 228:17
  153:22 155:14 156:3        corroborate 206:24          COURT 1:1 5:14, 16,            cross-talk 21:13
  158:3 160:18 163:9          210:1 241:12               18, 19, 21, 23 6:3, 16          25:15 29:14, 23
  165:15 176:14, 15          corroborated 208:3           8:23 14:14, 16 15:2            30:10 32:2 42:6
  183:13 187:10 189:2,       corroborating 241:10         22:5, 9, 14, 18 23:15,         47:1, 9 51:20 52:16
 23, 24 190:3, 4             couch 96:10, 17             24 27:11 30:1 47:3,             53:2 65:12 67:10
  198:24 202:8 207:7,         106:18 107:15              6, 11 48:6, 8 79:6              72:17 82:17 100:17
 19 208:1 213:10              192:18 198:18               81:8 82:21 87:1                101:3 121:3 152:10
  218:16, 17, 19 219:16       199:18 204:9                90:19 91:6 99:9, 16            158:11 159:22 167:8
  229:24 231:14              could've 135:21              102:12 106:10 108:5            168:1 173:11 188:10
  232:21, 22 235:10           141:6 163:20 182:24         111:17 115:14                  190:16 194:18
  237:18 240:11               183:2 208:9 210:24          118:17 137:13                  195:16 205:10
  241:16 243:3 244:1,         304:20 378:9 379:20         139:12 144:14 146:3            207:14 209:5 211:18
 2 251:22, 23 252:11          428:18                      149:13 157:6 168:3             214:10 221:2, 11
  253:3, 8 255:14            counsel 5:2, 19 6:9          175:15, 19 197:7               233:15 235:16
  276:1, 7 285:4              53:22 54:5, 7 58:13         201:17, 19 205:12              236:10 239:13
  288:10, 22 289:3, 14        121:8, 22 142:8             207:21 209:7 221:4,            257:24 260:10
  292:15, 20, 21, 23          242:5 244:20 245:10        9 244:6, 9 250:14, 17           267:10 269:20
  293:22 294:8 295:18         262:2 323:15 431:9          278:17, 23 290:4               270:24 274:20
  297:15 298:4, 23           Counselor 365:14             296:8 300:12 310:14            277:13 282:1, 19
  301:10 305:20, 21, 23      Counsels 55:24               316:5 325:18 326:1,            288:1 291:2 299:16
  306:6 307:4 316:22          315:22 365:3 429:21        6, 13 328:17 345:7              302:4 305:2, 8 316:3
  317:9 320:5, 21            counsel's 56:16              353:15, 19 359:11              322:2 324:11 325:5
  321:7, 12 328:10           count 56:20 57:7             376:14 399:15 414:5            327:18 331:9 332:7
  329:5 337:3, 4, 15          58:7 298:13 428:14          429:16 432:18                  335:6 338:23 341:19
  340:19 341:16 344:8        counted 291:20 301:3        courtesy 336:8                  343:22 351:16 353:2,
  347:11 349:14              counterclaim 261:19         courtroom 233:11               13 356:8 357:24
  350:20 351:5 354:10,        265:13 270:12, 15, 18      court's 23:11                   358:13 365:11 382:7
 16 356:17 357:11             271:3, 4, 12, 16, 18, 24   cover 290:17                    383:17 384:22 386:3,
  363:21, 22, 24 364:1,       272:2, 7, 8 279:13         COZEN 2:6, 21 6:12             20 390:3 391:8, 13
 6, 7, 9, 13, 23 365:22       281:15, 17, 21 282:5,      crazy 8:24 395:10               392:5, 15, 24 393:22
  366:3, 22 368:10           10 283:10, 11, 12, 14,      create 8:5 9:18                 394:2, 24 395:14
  369:7, 13, 13, 15, 18      16, 21 284:6, 8, 21          299:4                          397:1 399:6, 13
  371:6, 7 375:3              285:2 373:24 416:1,        created 9:17 10:4, 6,           401:16 403:20 404:1,
  376:21 377:3 378:7         2                           10, 12 417:15                  19 411:13 421:16
  380:7 385:8, 9 399:1       counterclaims 269:22        creative 422:4                  426:15
  407:18, 19 409:1            271:21, 23 272:18          credence 110:22                crowded 96:16
  410:16 411:19               282:24                     credibility 171:20             crucial 84:24
  412:14 419:9, 10, 13       counting 293:3               182:14 186:22 277:8           cunt 277:4
  420:10 421:13              counts 204:1                credible 188:1, 6, 12,         current 68:8 108:12
  422:19 425:24 426:3        couple 9:17 124:7           13, 13, 17, 18, 20              185:7 304:5 420:5
  427:2, 3, 20 431:8          323:2                       206:16 277:4 306:13           curtailed 356:3
  434:5                      course 58:16 75:20          credit 410:5, 7                custody 112:10
 corrected 84:11              142:20 151:16 159:3,       criminal 273:12, 15            cut 393:5, 18
 correcting 112:21           3 171:2, 13 176:20          crisis 117:6 119:18            cuts 396:23
 corrections 432:5, 7         197:20 200:3 212:17        critical 87:12, 12             cutting 194:20
  434:7                       239:11 268:18               92:3 124:8
 correctly 313:13             338:16 341:15              criticisms 124:15              <D>


                                           Everest Court Reporting LLC                                        Page: 126
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 128 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 D.C 345:22 346:8, 15        dated 141:20 241:20         deceit 219:19 220:5,            303:13 428:12
 D.C. 71:14                   251:19 261:6 292:4         14 222:20 223:21               delve 216:22
 D0000017 252:19              321:4 347:3 361:22          224:3, 21 227:2               demand 95:14 222:4
 D000024 318:22               379:24 414:22               228:9 321:24                   380:10 402:21
 D000037 353:10              dates 50:22 169:2           deceitful 225:6                demanded 95:19
 da 191:6, 6, 6, 6            286:13                      321:18 322:8, 11              demanding 105:19
  194:5, 5, 5, 5, 5          day 18:12 31:21              329:3, 20 330:23              den 77:9, 22 133:15,
 dad 301:16, 23 302:7         43:13 48:9 179:2           decide 72:13 169:24            24 186:20 216:10, 11
 Daily 162:5                  190:11 192:23 193:1,        220:9 244:18 245:1            denial 139:4
 damage 338:11               19 199:15, 22 200:10        decided 28:17 33:5             denied 95:9 96:12
 damages 40:22 41:8,          207:4 277:7 308:20          34:13 37:11 92:19              97:2 138:2 139:1, 2
 10, 12, 17, 20, 24 42:3,     313:23 314:9 349:3          99:8, 9 157:23 164:4           177:22
 9                            350:4 359:16 395:10         168:10, 20 220:3              denies 310:2 311:10
 damaging 354:7               398:2 400:1, 7, 19, 19      263:12 282:4 314:6            denounces 126:5
 damn 172:21                  403:8 407:20 428:14         323:20 335:2 376:13,          denying 407:24
 Dan 18:7 87:24               431:11 434:14              17 393:11                      dep 81:14
 dangers 238:13              days 94:4 230:6, 8          decides 154:14                 depends 74:3 75:18
 DANIEL 1:11 3:3              304:7 323:2 349:17          223:13                         317:18, 19
  5:11 6:6, 21 7:6 9:9        432:15                     decision 32:24 37:13           deponent 431:5, 6
  10:22 14:18 18:20          day-to-day 320:23            54:12 84:19 85:10              434:1
  20:5, 16, 22 22:21         deadlines 339:14             86:18, 20 91:15, 16,          deponent's 387:5
  23:4, 9 29:16 31:5          417:13                     20 132:23 215:11, 20           deposed 308:20
  40:23 41:9 45:21           deal 32:19 42:24             328:7, 13                      357:21
  46:17, 22 47:15, 24         50:20, 21 54:7 71:23       decisions 29:6, 7              deposing 432:14
  48:4 49:12 65:9             72:8 77:17 113:6            33:1 54:11 245:13,            deposition 1:11 5:11,
  86:8 154:3 178:15           128:19 134:9 149:21        16                             24 7:5, 8, 8, 16 18:12
  191:22 194:16 195:9         152:22 162:12              declaration 398:15              22:19 23:1 43:3
  197:2 205:20 224:15         171:22 185:1 187:1         decrease 414:11                 48:14, 16, 17 56:7, 22
  237:21 238:4 246:13         201:22 213:21              deem 186:14                     59:3 86:2 207:4, 12
  250:17 252:24               214:14 222:10, 11          deemed 432:17                   226:3 271:18 313:23
  254:24 258:13 265:9         228:16 246:24              de-emphasize 248:11             332:11, 14 344:18
  271:6 272:13 291:22         268:13 312:12              deep 119:23                     359:19 389:8 396:13
  295:13 299:1 302:1          320:10 359:11 376:8        Defendant 2:11, 16,             415:21 430:1 431:8
  320:13 327:1 331:14         378:16 410:6 411:16        21 41:18 98:11                  432:4, 12, 15, 17
  332:16 336:21 346:6         412:8 428:24                386:6 387:14, 16              depositions 30:15
  347:4 363:3 379:24         dealing 56:13 136:13        Defendants 1:6 97:7             31:19 36:16 97:3
  391:6 396:23 403:18         150:21 152:12              defense 58:13 126:8            depreciation 410:8
  404:12 405:11 428:5         161:17 187:3 392:9         define 336:11                  DEPUTY 56:4, 24
 Daniel, 255:3               dealt 95:11, 11             definitely 112:12               57:4, 14, 16 58:17, 23
 Danny 275:1, 2               125:15 128:23, 24, 24       132:4, 6 167:1                 343:16, 20 345:15
  277:22 278:13 279:6,        134:10 136:14               187:24 256:11, 22, 23          375:10
 19 280:13, 14, 23            149:21 150:15 153:9         301:4 339:9 417:17,           DEREK 2:1 108:15
  389:10, 11                  177:10 184:22              17                              109:7, 12, 15, 18
 date 5:9 10:5 34:9           187:10, 11 213:9           definition 17:10                110:8, 11 147:7
  102:22 143:11               214:8 217:18 225:9,         423:1                          158:23 340:22
  168:10 230:1 285:7         10 228:11 238:17            definitions 330:16             derivative 422:11, 14
  286:15 292:9 333:16         278:7 367:17, 20, 22       Delaney 96:22 97:10             423:13 426:2, 8, 10
  383:5, 10 432:9             428:23                      104:7 113:20 119:12            427:16, 16
  434:11                     Dear 346:2                   254:17, 21 298:15


                                           Everest Court Reporting LLC                                        Page: 127
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 129 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 describe 107:1               331:6 333:8 337:13        disappear 85:9 92:2            displeased 116:5
  192:21 196:23               350:22 366:11              371:19 372:1, 9                314:8
  344:23                      377:19 379:14             disappeared 83:20              displeasure 209:17
 described 79:15              396:16                     108:20 372:13                 dispute 401:10
  154:6                      differently 137:10         disappointed 241:7             disregarded 337:15
 describes 193:11            difficult 100:20            320:2, 7 419:5, 7             disrupted 101:10
 describing 130:14            171:11 172:6 183:13,      discern 310:20                 dissuaded 256:2
  207:11                     17 308:12, 13 313:22       discipline 78:21               distance 93:14
 DESCRIPTION 3:10             331:1                     disclose 128:14                distancing 6:2
  4:3 66:21 151:13           diminished 363:14           272:10                        distinction 108:11
  207:10 241:9 332:21        dinner 77:14               disclosed 406:15               distinctly 199:18
  336:10                     direct 157:20 162:8        disclosures 98:14              distorted 92:14
 designed 58:10               218:7 339:4 425:9         discontent 211:12              distracted 157:3
 despite 340:6 348:24        directed 166:9, 10         discovery 65:8, 20             DISTRICT 1:1, 1
 destroy 145:22              directive 255:2             67:8 75:21 112:8               5:14, 14
  146:14, 20 428:4           directives 339:14           241:7 292:7 401:20            disturbing 149:4
 detail 73:16 154:6          directly 41:8 89:5         discrepancy 178:16              295:2
  202:20 258:22, 24           116:23 158:15 214:2        405:6, 10                     divided 260:3
  259:2, 3 296:10             246:1 254:24 321:17       discrimination 81:20           doc 57:9
  400:21                      333:2 349:2 391:10         109:4 117:18 118:8,           docket 162:4
 detailed 198:23 241:9       director 68:21 69:1,       14, 15 294:6 327:24            docking 412:9
 details 29:1 98:19          7 73:23 74:8, 24            332:22 366:22                 docks 414:14
  119:10 154:15 160:1         75:6, 12 111:12            384:11                        Docs 121:6, 7 122:4
 determination 74:6           114:12 119:7 123:2        discuss 90:24 255:3            document 50:9, 12
  376:24 377:3                130:10 148:10              270:10 271:9 304:5             51:9 52:1, 7, 11, 22,
 determine 60:24              149:24 195:19              413:12, 17                    23 53:5 54:3, 17, 19,
  313:16 382:15               212:18 234:6, 13          discussed 142:3, 15            23 55:5, 8, 13 57:23
  389:17 393:3 396:4          236:4 245:20 252:21        229:18 249:13                  58:2 59:1, 8, 13, 20
 determined 380:17            306:4 313:24 314:1,        280:10, 14 337:1               60:3 61:14, 16, 17, 20,
 determining 404:8           2, 10, 17 334:23            413:20                        21 62:8 64:15 66:16,
 detrimental 339:12           335:1 339:11, 24          discussing 162:9               21 67:15 68:10 87:6,
 development 111:12           340:4 343:16, 20           211:9 390:12                  9 88:23 92:24 98:4,
  334:23 335:1 339:24         345:15 365:22             discussion 25:12, 13,          10 120:17, 20 127:2
  340:5                       368:18, 23 375:10, 24     20 91:10 94:5                   150:13 153:2 176:3
 developments 368:20          377:8                      227:19, 20, 21, 24             191:19 192:11
 devote 307:16               directors 44:10, 11,        228:2, 5 229:14                214:18 240:18, 21
 devoted 150:20              13, 19 61:9 119:21          249:17 253:24                  241:13 242:8 251:17,
  340:17                      120:16 123:7, 19           265:18 325:22                 19, 19 268:24 282:15
 dial 58:18                   124:2 126:6 230:9          413:22 414:9                   283:8, 18 292:4, 8
 difference 11:13, 17         421:4                     discussions 25:22               318:9, 11, 13, 22
  172:8 273:11, 14           directorship 140:5, 5,      26:5, 10, 13 111:21            319:13, 16 321:3, 3, 4
  305:19 404:17              6 212:22                    220:19 229:8 265:2             324:5, 8 336:5, 20
 differences 261:16          directs 181:17             disguised 92:2                  361:1 367:12 368:18
 different 11:6 27:19        disadvantage 340:1         disgust 312:10                  371:9, 10 373:16
  92:6, 14 110:7 120:8       disadvantaged 340:5        dishonest 93:1                  374:20, 20 379:22, 23
  130:12 142:16 193:4,       disagree 52:8 58:14        disinvited 244:3, 12            381:8, 12, 19, 21
 6 199:24 200:4               195:7 255:16, 17          dislike 321:21 339:20           382:2, 12 383:20, 21
  203:23 204:17, 21           344:23 384:20             disliking 312:9                 390:7 399:3 402:6, 7,
  219:12 223:9, 10            411:22                    dismay 92:9                    16 403:23 404:13
  256:24 299:13 312:6        Disagreement 313:7         disparages 114:3
                                          Everest Court Reporting LLC                                        Page: 128
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 130 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  405:13, 21 426:10          doubts 79:19, 21             39:11 43:18 44:3, 7,           423:19
 documenting 349:16           123:12, 13                 18, 21 45:7 49:19              effects 251:13
 documents 53:10, 15,        download 234:3               50:14, 20, 21 56:8, 9,        efficacy 186:21
 19, 24 54:4, 6, 18          downs 308:17                13, 14 59:9, 21, 24            efforts 12:16
  55:20 56:12, 17 57:6,      downstairs 251:13            60:19 61:15, 18, 22           eight 94:23 136:2, 6
 10 58:3, 5 59:4, 6          Dr 346:13                    62:2, 6, 10 63:3, 11           164:5, 6 169:23
  66:4, 14 67:2 68:5,        draft 83:11 218:13,          64:9, 12, 19 66:18             171:23 172:1 173:15
 12, 14 82:7, 10             14 381:4, 5                  67:5, 22 68:6, 13, 22,         182:5, 9, 12 259:7, 9,
  112:14 113:3 115:5,        dragged 212:19              24 69:7 70:14, 17              10 298:19 303:12, 15,
 7 125:21 129:3              drastic 211:7                73:24 74:8, 24 75:7,          22 358:3, 6, 8 426:24
  152:24 158:4, 6            drill 115:9 388:14          12 77:3, 7, 9, 22 79:2         eight-hundred-some
  172:18 187:14 218:4        drinks 180:14                84:20 85:13 89:10,             98:9
  283:4 323:22, 24           drive 8:23 110:18           16, 24 93:3 95:15              either 14:20 55:15
  324:6 363:7 365:7           266:10 349:9                109:13, 24 114:10, 12          77:17 183:5 205:5
  373:20, 24 395:21          dropped 110:6                117:17 118:7 121:1             254:21 265:19 330:6
  396:8, 21 397:22           Due 5:23 160:20              128:20 130:11                  372:3 392:7 395:8
  399:9                       320:14 332:22 334:4         133:14, 17, 21 134:7           429:8
 document's 360:15            399:17, 18 401:11, 13       152:19 155:14, 21, 23         ejected 89:11, 15
 doing 13:15 18:9            duly 6:22 431:5              156:7, 16, 18 157:14           347:10
  28:7 30:21 68:16           duties 91:4 363:18           159:1 162:12 184:4,           ejected, 89:17
  86:22 95:15 99:11          duty 77:23 272:9            23 186:5, 9 195:10,            elaborate 202:3
  107:19 114:5 124:4          273:24 274:4 282:8         19 216:8 217:12                elaborated 199:22
  140:1 185:9 215:24         dynamic 181:1                234:7 236:4 245:20             200:9
  234:6 272:15, 16                                        254:10, 12, 13 262:15         elaboration 200:11
  278:19 303:13              <E>                          265:1 266:17 272:5,           elected 317:6, 15, 17
  305:14 307:19 308:3        eager 141:8                 11 285:21, 22 286:2,            318:1, 17
  310:1 318:2 323:22         ear 193:16 212:20           7 287:18 288:10                electronic 111:14
  326:3 341:16 342:2         earlier 13:22 70:5           289:1 290:17, 18, 23           204:13 389:21
  343:6 352:18, 20            91:5 94:23 125:2            296:18 297:18 306:5            397:10
  374:10 395:9 404:7          131:8 135:24 136:3          327:3 328:10, 15, 20          Email 103:12, 17
  414:4, 18 416:8             140:10 141:15               365:18 371:16 373:5            122:7, 19 124:11
  423:21 424:14               251:20 305:18 323:6         374:12 376:4 377:13            130:13 170:4, 7, 10,
  427:13 432:8                361:23 362:8 370:24         424:13, 22 426:3, 8           15 177:4, 19, 21
 dollars 95:20 99:1, 4,       410:13                      427:20                         178:15, 20 189:16, 19,
 15                          early 12:11, 12 34:8,       EASTERN 1:1 5:14               22 190:2 192:11, 12,
 dominated 141:18            10 37:16 70:6 94:17          37:6 102:11 145:18            12, 21 218:10, 10, 13,
 donated 279:20               117:5 118:6 131:7           192:7 316:14 429:20           15, 15 219:5, 5
 donations 38:14, 24          134:10 135:11              easy 40:1 429:14                223:23 226:11, 16, 22
  39:2, 5 43:19 425:22,       169:15 177:5 202:16        editorial 404:21                228:4, 6 240:9, 22
 23                           341:5                      editorializing 405:3            242:14, 15 243:13, 18
 donor 265:1, 5              earned 414:17 419:24        EEOC 136:17                     247:18 252:6, 9, 13
  266:16, 22 267:1           easily 23:13 395:11          336:17 349:18 350:4            262:20, 24 263:4, 8, 9,
  268:2, 6, 7 424:15         EAST 1:6 2:11 5:13           374:15                        12 264:4, 14, 15
 donors 24:24 265:7           6:13 7:6 9:11, 13, 15      eerily 150:23                   292:9 293:5, 6
  266:3, 6, 9 267:20, 23      10:13, 14, 17 11:19        effect 81:15 106:18             301:10 302:12, 14
  269:2, 3 425:5              15:13, 17, 21 17:15         187:15 233:10                  306:12 312:22
 door 117:6 216:18            26:21, 23 27:18, 22         248:15                         316:17, 20 317:7
  259:16 370:16               28:15, 21 30:4, 7, 24      effectively 130:16              319:23 321:4, 6
 double 291:17                31:7 32:20 34:5             153:10 255:20                  330:20, 21 332:20
 doubt 205:15                 37:10 38:4, 13, 23                                         336:19, 21 337:15
                                           Everest Court Reporting LLC                                        Page: 129
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 131 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  338:6, 13 339:10           employment 29:2              371:19 372:1, 9, 13            190:2 218:10, 18
  340:14 345:18 347:2         89:23 156:21 189:12         406:18                         219:4 286:15 402:4
  353:23, 24 360:5, 7         249:9, 11 261:18           entitled 30:18 396:15          exactly 13:2 64:21
  362:12 363:3, 5             270:11 289:14, 15          entity 10:12 155:13             102:22 105:24
  368:16 374:20               320:15, 18 349:9           entrust 424:14, 16              170:19 189:6 258:15
  379:13 389:23               363:18 364:22 376:4        environment 312:11              303:20 312:23 323:4
  407:20 414:22 415:1         408:16                     equal 155:6                     387:16 400:19 413:2
  417:3, 19, 22              en 164:9                    equals 300:3                    426:21
 Emails 3:12, 15, 16,        encounter 95:10             equate 156:9                   exaggerate 309:17
 17, 18, 19, 20, 22, 23,     ended 91:4 96:7             era 348:3 355:15               exaggerating 309:19
 24 4:4, 5, 6, 7, 8, 10,      120:8 309:6 408:16,        Erica 109:17                   EXAMINATION 7:1
 11, 12, 13, 15, 16, 17      18                          errata 432:7, 8, 11, 14        examined 6:22
  115:7 130:16 142:22        Endless 111:21, 21, 22,      434:8                         Examiner 74:1, 9, 22
  144:10 175:11 243:7        22, 23                      errors 363:11, 12, 24           151:7
  337:5, 9 342:17            endorse 310:18, 19           364:2                         example 187:3
  369:6, 12, 19 370:16        383:4                      escalation 198:21               210:22 310:12
  385:15 389:21              endorsed 383:9              especially 8:17                 311:21, 22 340:21
  397:23 418:19 420:6        endure 321:19 331:18         245:21 346:5                   375:22 388:13 420:3
 Eman 349:9 418:11,          energy 420:20               ESQUIRE 2:3, 8, 13,            examples 370:2
 12, 17, 20, 23 428:14,      enforce 245:21              21, 23                         excellent 97:8
 16, 17, 21                  enforcing 327:24            essentially 130:15             exception 91:3
 embarrass 346:4             engage 73:10 77:10           142:16 151:13                  229:19 421:4
 embarrassed 152:1            133:3 162:15, 17            252:23 254:20 347:9           exchanges 342:17
 emergency 102:2              186:11 210:21              EST 5:10                       excluded 92:7 233:7
 emotions 308:19              216:14                     et 1:6 5:13 173:24,             234:7
 emphasis 222:18             engaged 29:1 186:8          24 417:18                      excluding 367:17
 employee 26:20               214:13 287:16              ethical 78:4                   excuse 36:21 83:8
  27:17, 20 70:14, 17         337:23 343:2 428:9         evening 106:17                  145:18 173:9 371:18
  108:22 109:2 114:10        engages 186:14               190:12 401:2                  excused 429:23
  116:11, 17 117:3           English 17:12 25:8          events 135:23 241:9            executive 37:12 63:23
  118:23, 23 119:3           enhances 182:13              347:8 418:10 420:3            Exhibit 120:21, 22
  148:9 189:12 238:20        enormous 99:6               eventually 308:3                121:9 217:17 218:8
  285:21 286:2 287:18         310:21 388:7               Everest 5:16, 19                241:23 242:3 243:10
  332:24 377:21 379:5,       entangled 318:23            everybody 105:20                247:22 264:18
 16, 18                       319:10                      109:17 131:12 140:6           exhibition 121:23
 employees 15:9              enter 416:17                 209:23 211:10                  242:12
  28:21 77:10, 24 78:5       entered 158:23               229:20 236:7 409:17           EXHIBITS 3:8 4:1
  79:2 108:8, 12, 12          168:20 284:16              everybody's 335:9               120:21 353:20
  110:4 114:3 118:13         enthusiastic 85:6           everyone's 91:2                exist 401:19 422:17,
  119:6, 15 129:22            92:4                        125:9 136:15, 15              24
  152:19 156:18              enthusiastically 92:13       153:11 158:14 185:3           existed 399:9
  184:13 186:24              entices 214:16              everything, 102:19             existence 9:16
  213:18, 20 214:7           entire 34:3 51:15           everything's 132:8             exists 50:6
  217:7, 15 237:17            52:1 58:1 72:13             179:21                        expand 300:3
  238:1, 9 256:3 257:6        96:2, 24 147:22            evidence 96:19                 expect 422:9
  298:7 332:23 338:8,         152:24 198:2 243:12         165:24 241:10                 expeditious 172:16
 9, 10 342:3 367:19           314:16 359:16 419:3         279:16, 18, 19, 22            expeditiously 134:11
  376:10 409:1               entirely 92:6 157:21         280:2 390:10 412:16            171:9, 22 217:19
 employee's 186:3             204:12 286:9, 12           exact 38:8 75:18                239:5 428:24
  237:14                                                  152:4 170:20 174:21
                                           Everest Court Reporting LLC                                        Page: 130
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 132 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 expense 310:18, 19          fact 6:5 12:20 15:8         347:4 350:11 419:22            419:15
  376:5, 8 377:7, 17          54:14 74:16 85:2           427:12                        finds 131:12
  379:16                      86:22 92:3 95:10          feeling 140:23 216:16          fine 14:12, 19 35:14,
 expenses 376:11, 18,         132:7 150:7 168:15        feelings 363:10                16 58:5 65:15 67:13
 20 377:12 378:22             174:11 248:12 251:1,      feels 222:5                     85:15 101:22 119:22
  379:6                      3 267:19 276:3, 20         feet 106:19, 22                 129:3, 5, 5 136:18
 experience 219:20            320:14 368:5 379:7        fell 367:15                     145:7 158:17, 18, 21
  340:6                       405:2 420:6               felt 137:4 140:21               188:23 195:5 239:17
 experienced 227:3           facts 86:3 99:6             164:11 182:18 189:7            240:2 300:16, 20
 expert 185:8, 12            fail 432:16                female 79:2 116:11,             303:11, 13 306:19
 expires 434:16              failure 272:9              17 188:2 189:13                 315:20 329:1 335:4
 explain 48:15 100:12        Fair 42:2 85:7              237:17 238:1, 20               400:2, 8 416:24
  167:15 183:22 222:6,        143:4 246:16 273:22        332:23, 24 342:3               421:5
 6 226:5, 19 259:6           fairly 118:21               367:19                        finish 8:20, 21, 21, 22
  260:12, 17, 20             fall 136:1 172:8           fiduciary 282:8                 20:4 29:16, 19 30:19
 explained 64:5 91:20        falls 134:22               fight 99:10 160:14              31:2, 4, 4 32:14, 15
  180:21 183:18              false 83:14 87:9, 12,      figuratively 117:7              46:13 47:15 49:3, 5,
  313:22 314:24              12 202:11, 14, 17, 21      figure 98:16 99:6              8, 12, 17 54:5 72:2, 5,
  320:22 425:2 427:18         203:12 380:19              126:20 143:16                 6 84:9 101:9 124:18
 explaining 137:15            382:17 389:18 390:9        185:14 249:2, 10               128:23 137:24 163:3
 explanation 168:11, 12       393:4 396:5 404:9          307:17, 23 309:3, 18           201:10, 12 202:23, 24
 explicitly 132:2            falsehood 85:23             313:2 424:18                   203:9 211:3 216:4, 6,
 exposed 108:19               92:16                     figured 371:3                  7 220:21, 24 222:14,
 exposition 105:15           fantasy 85:16              figuring 142:18                23 224:10 225:15, 19
 exposure 288:9              far 15:24 16:9              417:11                         229:17 284:15
 expound 222:3                24:16, 23 86:16           file 330:10 332:12              289:20 291:5 299:18
 expressed 126:3              143:8, 8 160:19            344:15, 24 415:20, 22          310:13 311:1, 4
  261:2                       162:2 202:2, 19           filed 81:20, 24 99:16           315:6 324:20 325:1
 extensive 118:22             289:19, 20 307:22          109:20, 24 110:1               326:18 335:13, 14
  342:6                       309:3 358:15 406:14        349:18                         343:18 355:12
 extent 20:5, 23 59:4         414:17 418:10             filing 5:3 427:10               385:18 390:6 391:2
  66:21 151:15 228:15         425:24                    fill 98:11, 11                  393:12 394:7 396:15,
  248:2 265:15 276:4         far-reaching 184:13        filling 33:3                   22 410:23
  295:14 345:4, 5            faster 191:2               final 417:6                    finished 46:18, 19
  367:5 373:19 399:2         father 137:1 138:15,       finance 368:22                  47:24 48:4 59:23
  427:4                      17 143:9 302:20            finances 29:2 320:10,           60:2 87:15, 16 88:12,
 external 136:12              303:3 307:4, 12           16, 23 362:20                  13 120:12 138:1
 extra 412:19 413:1           407:4 408:11              financially 99:7                242:6 324:18 326:20
  414:18                     fault 158:2, 3 403:14      find 19:2 29:3 80:4             391:21, 22
 extraordinarily 427:8       favor 8:20                  94:8 126:1 149:4              finishing 224:17
                             favors 137:1 138:15         164:10 168:21                  353:6
 <F>                         fear 183:6                  203:24 210:7 236:3            FINK 2:22 26:1, 3
 face 172:16 173:16          feared 373:7                276:20 281:6 295:2             142:8 189:18 245:18
  174:6, 8 200:23            February 168:16             296:17 297:20                  263:21 264:6
  201:1, 2 202:4, 16          169:9 420:14, 15           304:12 305:14 308:2           fire 78:18 129:18, 21
  210:4, 11, 19 211:4, 7     fed 314:7, 15               309:5 333:12 338:12            133:2 147:1 183:8,
  246:1                      Federal 98:13 401:20        347:5 348:22                  10 188:21 234:20
 faces 134:14                feel 18:21 55:23           finding 120:17                  289:8 293:17
 facilitate 409:15            140:20 158:7 238:20        299:12 300:16 404:6           fireable 312:7


                                          Everest Court Reporting LLC                                        Page: 131
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 133 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 fired 132:12, 14, 16         212:14                      246:2 253:5 255:10,            67:5, 22 68:6, 13, 22
  183:6 235:7, 14            footing 155:6               18 256:5 257:8                  69:1, 7 70:14, 18
  289:9, 11 306:14           force 236:4 349:7            258:12 259:14 260:7            73:24 74:8, 24 75:7,
  351:1                       375:14                      262:22 263:1, 16, 19          12 77:3, 7, 10, 10, 22
 firing 183:9 235:3          forced 107:13 339:22         266:13 269:1 270:7             79:2 84:20 85:13
 Firm 109:8, 18 161:1,       forcing 364:8, 12, 18,       273:4, 10 275:10               89:10, 16, 24 93:3
 11                          20                           277:20 278:2, 11               95:15 108:18 109:13,
 first 6:21 7:18 23:2        foregoing 434:4              279:24 280:8 281:16           24 114:10, 12 117:17
  27:20 42:1 57:23           forensic 210:21              282:7 283:23 284:10            118:7 130:11 133:15
  59:8, 8 60:2, 4, 5, 10,    Forever 197:23               285:5 286:24 287:21            152:19 155:14, 21, 23
 11, 12, 12, 13 70:9         forget 27:14 128:18          290:19 291:22                  156:16, 18 157:14
  80:12 85:22 95:8            224:2 254:16                293:23 295:6, 12               159:1 186:5, 9
  102:23 105:2 125:20,       Forgetting 76:20             296:2, 22 297:4, 9             195:10, 20 216:8
 20 126:10 127:23            forgot 131:22 292:6          298:5, 24 299:1                217:12 234:7 236:4
  136:6 137:3, 14            forgotten 129:16             303:6, 18 304:21               245:20 254:10, 12, 13
  138:11 139:21, 23          form 5:4 10:21               306:1 307:21 310:4             262:15, 21 265:1, 2
  162:21 193:10, 10, 22       13:17 14:3 16:16            311:11 314:20                  266:17 271:10 272:5,
  198:20 199:22 204:5         17:2, 17 18:6 24:12         317:10 319:2 322:13,          11 285:21, 22 286:2,
  206:8, 11 245:6             26:17 33:14, 20            20, 24 326:23 329:6            7 287:18 288:10
  252:22 259:15 261:1         37:23 38:15, 19, 21,        333:20 334:1, 10, 19           289:1 290:17, 18, 23
  291:5, 5, 17 298:4         22 40:19 61:24               337:16 342:5 346:17            296:18 297:18
  312:3 346:7 347:6,          65:22 67:24 71:3, 15        348:11 354:2 355:24            300:10 306:5 328:10,
 16 350:1 399:18, 20          74:11 75:1 76:8, 23         361:1 362:21 364:10           16, 21 349:7, 10
  400:3 424:6                 78:1, 12 79:4 80:17         366:23 367:13 369:8,           365:18 368:3 371:16
 fit 257:9, 13, 17            82:4 86:9 87:24            14, 20 371:23 372:15            373:5, 12 374:12
 five 56:18 62:14             89:13 90:9 91:22            374:14 378:8 384:13            375:14 376:4 377:13
  63:22 85:12 91:4            93:7 100:5 103:1            406:21 411:8 413:13            412:6 414:11, 19
  94:4 95:14, 19 123:8        105:11 107:4 108:13         422:21 423:3 426:9             420:20 424:12, 13, 22
  132:10 134:21               111:16 116:12               434:7                          426:3, 8 427:20
  136:17 157:23               123:21 125:6 128:9         former 338:10                  Forum's 44:3 60:1
  171:24 212:5 242:7          129:24 131:5 132:19        forth 29:3 54:7 74:5            252:21
  260:3 298:19 344:10,        133:13 134:2 137:2          175:11 198:13                 Forum-wide 120:1
 19 397:3 421:4               140:16 141:4 144:7          222:20 234:10                 forward 23:21 43:7
  427:9                       146:1, 7, 15 147:2, 15      277:16 280:3 309:11            121:22 258:10 262:6
 five-minute 101:8, 20        148:5 149:7, 16             385:15 421:2                   366:21
 fix 134:16                   150:3 151:2 152:7          FORUM 1:6 2:11                 forward, 124:20
 fixing 142:6                 153:15, 23 154:9, 17        5:13 6:13 7:6 9:11,           forwarded 362:12
 focus 223:16 231:18          155:18 156:12              13, 15 10:1, 13, 14, 17        found 75:14 95:19
  233:9 272:23 422:5          157:16 158:9 161:5,         15:14, 17, 21 17:15            108:16 113:17
 focused 284:24              12, 20 164:23 165:9,         26:21, 24 27:18, 22            137:18 179:4 183:2
  298:10                     19 166:4 170:6               28:15, 21 30:4, 7, 24          204:6 225:5 310:17
 follow 17:23 424:15,         171:5 179:22 181:2          31:7 32:20 34:5                317:24 333:23
 16, 17                       185:10, 19 202:9            35:1, 3, 8 37:10 38:5,         354:19 366:17 402:2
 followed 228:8               207:20 208:14 210:9        14, 23 39:12 43:18              403:13, 14 428:12
 following 163:13, 17         212:23 214:4, 20            44:7, 18, 21 45:7             foundation 76:9, 24
  164:1 244:19 270:1          215:14 218:23 220:7         49:19 50:14, 22 54:9           78:1 79:4 80:17
  337:1 338:20 339:2          228:10 229:4 230:17         56:8, 10, 13, 14 59:9,         81:2 82:4 86:9
 follows 6:23                 231:3 233:21 234:21        21 60:19 61:15, 18,             125:6 128:9 131:5
 foot 96:5 171:1              235:11 236:19 237:7,       22 62:2, 6, 10 63:3,            132:19 133:13 137:2
                             19 241:17 244:5             12 64:9, 13, 19 66:18           141:4 146:15 148:5
                                           Everest Court Reporting LLC                                        Page: 132
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 134 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  149:17 151:3, 12           funds 186:23 267:2         give 7:13 30:12 38:8,           286:3 296:6 300:3, 8,
  152:7 165:19 166:19         417:11                    9, 18 43:14, 15 50:22,         8 302:2 306:15
  167:6 214:21 236:20        funny 23:11                23 73:15 74:20, 22              307:23 309:2 311:7,
  256:6 279:10 299:2,        further 96:3 199:20         75:3 88:6, 11, 14, 17,        8 318:5, 8 323:6, 13
 4 303:19 366:24              289:22 294:7 307:23       24 122:23 123:4                 324:23 325:7, 19
 foundations 417:7, 9,        340:5 342:10 358:15        168:11 202:1 221:23            333:17 335:19
 16                           375:10                     236:15 247:3, 3                344:22 346:23
 Four 40:14 56:18            future 100:24 101:11        283:5 290:17 310:11            350:17, 18 359:1
  110:6 124:8 139:23          188:6, 19 248:16           311:21 329:9, 12               374:5 387:6, 9 388:6,
  158:15 187:12, 14           256:18, 24 349:2           351:22 356:2 358:2,           24 390:12, 14, 15
  213:20 218:4 260:3          372:2, 4, 10 375:13       6, 11 374:4 375:5               392:11, 13 406:3
  298:19                     future, 371:20              378:4 383:10 388:13            414:8 415:11 424:5
 four-page 55:8                                          411:7 423:23 424:2,            425:3, 5, 17 427:9
 fours 21:2                  <G>                        9 425:6, 8, 8, 15, 15          god 223:14
 fourth 262:17, 18           Gabrielle 70:16, 19        given 86:17 98:16              goes 40:22 41:8, 10
 Frank 111:9, 11              296:12 297:2, 19, 22       99:6 406:10 431:8              54:11 77:14 215:5
  119:12 298:17               298:18 301:4 304:1,        434:6                          269:2 337:24 361:21
 frankly 57:12 313:20        12, 14, 24 305:10, 12,     gives 422:5                     425:19, 20, 20
  420:23                     22 306:5, 8 307:2          giving 110:22 136:24           going 32:10 33:2
 fraternizing 93:22           311:24 406:20 407:2,       267:21 284:20                  36:20 41:3 58:22
 fraudulent 272:14           12 408:2, 10                311:22 321:21 336:3,           59:2 71:23 81:15
 free 18:21 55:23            gain 267:18                5 370:3 407:22                  83:24 91:7 95:9
  256:18 364:18              gala 158:19                 423:21 425:14                  96:8 117:5 121:22
  411:21                     Gambill 104:15, 17, 18     glad 50:16 260:8                124:20 133:7, 9
 frequent 128:5              games 55:15 139:14,        go 18:24 20:6, 23               135:16 140:4 149:18
 friendly 423:12             16, 21, 24 140:7, 9         23:21 30:21 32:7, 14           169:17 172:13
 friends 93:15, 17           Gary 104:15, 15, 16         33:7 38:19 40:3, 5             181:20 184:18 186:7
  155:8 305:19                304:7 349:9                41:14 42:17 47:18              199:16 212:9 224:7
 friendship 93:20            gathering 142:17            49:16, 17 52:3, 5, 9, 9        233:9 240:8 256:3
  308:22                     gearing 370:5               56:1 58:24 59:19               258:9 265:10 280:3
 friendships 180:3, 5        G-E-L 9:23                  60:5, 9 62:13 66:22            292:3 297:1, 16
 front 52:12 55:21           gender 156:19 217:15        85:20 87:6 88:23, 23           305:14 308:16, 21
  57:24 67:18 71:1, 13       general 34:3 61:12          96:3 97:18 101:9               310:22 313:2 323:19
  73:24 74:9 116:11           230:23                     102:2 124:4, 5 127:6           329:12 331:23 332:1
  153:10 176:3 184:23        generalizations 341:11      137:24 144:19                  334:23 344:10, 14, 19
  208:20 217:17 218:6        generally 234:5             146:16 153:7 162:24            346:15 353:8 367:9
  263:21 300:24 301:5,        269:3 377:20 395:20        163:3, 4 164:20                370:18 414:6, 20
 9                           germane 371:1               166:2, 2 167:13, 18            415:18 424:22 426:7
 fuckin 277:3                getting 36:15 43:10         168:6 169:11 172:2,            427:4, 11
 full 9:7 96:10               56:22 74:12 81:16,        2 176:2 180:6                  GOLD 2:13, 23
  141:21 204:8, 9            16 153:9 175:16             182:24 186:9 195:5            gonna 7:14, 19, 20
  308:18 340:7 402:6          208:13, 17, 24 234:8       200:12, 17 203:8               8:10 16:4, 4, 8 17:14,
 full-bloomed 117:6           239:23 272:16 309:8        216:7, 15 218:5               19, 23 18:10, 11, 16,
 full-blown 265:18            310:14 316:1 349:24        219:23 221:8 222:14           16 19:15, 16, 19, 21,
 full-time 340:13             353:15 401:9 407:17        223:14 224:11, 12, 13         23 20:2, 10, 14, 18, 19
 fully 13:9 136:14           giant 97:6                  225:20, 24 233:13              21:5, 10, 15 22:2
 fun 59:19 371:17            gifted 414:15               236:13 247:6, 7                24:5, 10, 15, 18 30:5,
 fundraising 136:13          gig 418:10                  259:12 260:21 262:6           8 31:2, 16, 20, 22
  347:8 423:11               ginned 203:1                265:16 269:4, 6                35:23, 24 36:6, 9, 9,
                             gist 211:20                 271:8 277:10 282:16           11 41:4 42:19, 22
                                          Everest Court Reporting LLC                                        Page: 133
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 135 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  48:8, 21 49:8 52:2, 3,      413:11 414:14              24 26:2, 16, 20, 24             233:19 234:4, 20
 5 54:20, 21, 22, 24          415:11, 20 419:2            33:5, 9, 12, 15 34:12          235:1 236:3, 12
  55:1, 7, 10, 11, 12, 16     423:8, 9 424:9, 10, 23      37:9 45:12 62:15, 18,          238:17 240:10 243:6,
  56:19 57:7, 8, 9, 11        426:2, 9, 21, 22, 23       21 63:6, 14, 18 64:6           24 244:12, 22 247:9
  58:3 59:7 66:20             427:6, 6                    68:19, 21 70:24                248:8, 13 249:19
  71:2 72:8, 14 73:10,       good 14:6 49:9 56:4          71:12 74:21 75:2, 10           250:3 251:1, 3, 21
 11 74:5 75:10, 19            81:16 85:5, 6 93:15         77:24 78:5, 18, 22             252:20 253:14 254:4,
  84:9, 15 86:8, 9, 10        97:4 157:24 160:12,         83:17, 18 84:19 85:1,         14, 23 255:8 256:2,
  88:11, 14 89:12            16 181:11 196:11            5 86:19 87:11 89:10,           20 257:2, 5 258:7
  96:14 107:4 112:6           239:24 313:21              15, 23 90:16 92:5               259:5 262:21 263:5
  122:19 124:23 133:2,        318:23 319:9 333:22         93:11 95:6 96:5, 6, 7,         273:20 275:7, 24
 3, 4, 8, 11 134:16, 16       340:23, 23 359:14          7, 8, 8, 9 97:1 104:13          276:6 278:8 292:19
  137:4, 16 140:22            431:4                       105:16, 17 107:7, 10,          293:17 294:5 295:3
  145:3, 4 149:21            Goodman 70:20 80:5,         13, 23, 24 108:2                298:21 299:6 300:10
  154:14 160:13, 14          7, 16 81:5, 11 82:3          109:2 111:3, 5, 21             301:14, 15 302:10, 15,
  162:8 167:1 174:9           132:17 133:4 152:16         113:8, 22 114:2, 11,          20 303:8, 23 304:7, 9,
  189:5 195:1, 3 196:6,       153:18 235:24 236:1        18 115:7, 20 116:10,           9, 15, 22 305:15, 22
 13 200:16 209:9              237:4, 11                  16, 20, 23 117:13               306:4 307:1 308:7,
  210:15 218:7 220:22        Gotcha 122:5                 119:16, 20 121:19             12, 15, 18 309:4, 17,
  221:6 222:10, 11           gotta 14:10 30:1             122:8 123:2 124:11            24 310:1, 1, 18 312:3,
  223:3, 4, 14, 15, 16        44:24 47:11 52:22           126:3, 14 127:4, 16           4, 16, 20 313:9, 16, 24
  224:1, 5, 12, 13            81:17, 18 82:21             128:5 129:5, 19, 22            314:11, 19, 23 320:4,
  225:20, 24 228:17           84:15 102:2 120:21          130:24 131:14 132:9,          17 321:1, 12, 17, 20,
  236:6, 14 240:5, 16,        145:2 209:21 233:12        12 133:2 136:5, 11,            22 329:4 333:2, 9
 24 244:13, 23 247:21         234:17 235:21              22, 23 137:6, 19, 22            334:6, 9, 22 336:14,
  248:6 257:21 258:18,        238:15 263:9 278:20         138:2, 14, 22 139:1, 2,       23 337:11, 12, 12
 19 260:13 262:9              286:9 344:4 393:12         4, 6 143:19, 19 144:2,          338:3 339:4, 6, 7, 8,
  263:8 271:15, 17            401:8                      6 145:21 146:13                10, 15, 22 340:4
  276:2, 19 277:3            governance 50:24             147:6 148:16, 23               341:7, 9 343:8 347:6,
  283:2 284:11, 19           governing 189:11             149:1, 1, 3 150:12, 18        10, 15 348:23 349:3
  292:5 293:4 311:18         Government’s 6:1             151:8 152:17 153:2             350:4, 19, 24 351:3
  315:13 319:12 323:8,       Governors 44:22              154:5, 24 155:9, 12,           352:16, 19 354:4, 5,
 9, 12, 21 324:22, 23         45:2, 5 60:20 61:1, 9,     20 156:10, 24 157:19           13 355:17 356:16
  325:3, 7, 8, 17 329:8,     13, 15, 18, 23 62:3, 5,      158:21 159:15                  360:8, 17 361:4, 24
 9, 24 330:9, 9 332:4,       11, 16, 19 63:3, 12, 19,     162:14 163:15                  362:12, 13, 17 363:11,
 11, 11, 12, 15 335:19       24 64:1, 7                   164:16, 17, 21 168:9,         12, 23 364:6, 16
  341:2 342:22 343:18,       GR 249:8                    14, 21 169:10, 17, 24           365:17 366:20 367:9
 19 344:15 345:9, 12         Grace 1:15 5:18              170:1 171:17 173:6,            368:16 369:12
  351:12 353:22 357:2,        221:8                      9 177:7, 9 179:8                370:11, 12, 12, 12, 18,
 6, 6 358:2, 24 359:1,       grant 265:23                 181:17 183:12 184:6           21 371:1, 5 374:24
 3, 10, 18 360:6, 10, 22,    granted 346:14, 24           186:13, 19 188:5               375:3, 13, 18 377:1, 9
 24 362:9 365:6              Grayson 349:9                189:15 192:18 193:2,           380:2, 18 382:16
  368:15 371:4, 8            great 101:23 132:1, 8       14 197:22 198:4, 17             385:1 386:6, 8
  374:19 381:10, 14           142:3 201:22 238:10         200:24 202:7 203:19            389:18 390:1, 9
  382:9 383:19 387:6,         339:5 419:20 422:4          210:13, 18 212:14, 15,         407:1, 21 418:12
 7 391:2 392:20, 21,         green 81:14, 18             18 213:23 214:16                420:19 421:3 422:7,
 22 393:18 394:14             233:10                      217:11 219:24 225:9           12 423:8 428:4, 5, 11
  395:7, 8, 22 396:12        Gregg 2:16, 21 6:18          227:24 228:13, 17, 23,        Gregg's 37:20 63:24
  397:6 401:24 402:21,        7:6 12:15 13:24            24 229:1, 16 230:15,            114:20 127:19
 23 403:5, 7 404:15           14:6 24:6, 10 25:17,       19, 22 232:3, 20                138:20 139:3 140:7
                                           Everest Court Reporting LLC                                        Page: 134
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 136 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  207:16 209:17               370:24 372:22             happening 322:11               hear 8:18 14:12, 14,
  211:16 252:24               426:24                     345:2                         19 35:13, 14, 16
  271:10 308:10, 18          halfway 394:19             happens 359:10                  44:24 54:4 69:23
  310:2, 10, 16, 19          hand 54:12 193:21,          396:11                         74:12 79:7 81:8
  311:10, 19, 20 312:8       23 195:20 199:20           happiness 91:2                  83:8 87:1, 4 90:19
  320:15 332:22 337:6         201:5 205:1, 3            happy 8:14 30:12                91:8 94:6 95:16, 17
  375:16 380:5, 17            206:10 207:16              43:4 123:9, 10, 11, 14         105:21 106:10
  382:15 406:11               212:18 234:11              129:4 153:1, 2, 4              107:24 108:5, 24
 grievances 227:24            314:14 431:11              197:24 198:1 199:4             115:15 118:17
 gross 22:22 429:12          handed 251:8, 8             211:10 219:15                  120:10 130:4 137:11
 ground 254:1                 413:2                      251:21 277:11 281:6            138:22 141:23
 grounds 172:20, 20          handing 54:3                380:14 412:4, 8                144:15 175:13 178:3,
  211:11 402:13              hand-in-hand 347:9         harass 295:9, 24               3 230:7 244:6
 GROUP 2:1 108:16             375:2, 3                  harassed 298:20, 22             245:15 257:19, 22
  109:8, 12, 15 110:2, 8,    handle 140:2                303:23 304:2                   276:17, 23 278:16, 16,
 12 147:7 158:23             handled 53:24              harasser 246:1                 21 286:20 287:7
  243:13 340:22               217:22 238:22 239:4,      harassment 79:14                290:1, 3, 6, 9 300:11,
 Guardian 288:22             4                           106:3 110:19 116:18           15 304:16 306:15
  371:12                     handles 53:22 54:6          117:18 118:8, 14, 15           308:14 317:2, 21
 guess 23:12, 14             hands 239:10 302:10         149:12, 15 154:5, 16,          318:4 330:6 332:17,
  109:21 110:11               312:10 371:2              22 157:15 164:12               17 337:11 355:10
  120:22 140:23              handwritten 95:2            177:23 211:15                  363:8, 19 364:19
  242:10 244:20               103:14 139:24              215:12 233:5, 6                376:14 408:8 409:12
  246:10 247:22               170:14 177:4 178:12,       238:21 245:24 294:6,           414:12 428:3
  248:14 251:16, 18          14, 19                     8 295:4, 10, 23 299:6          heard 73:23 76:3
  252:4 295:11 424:24        handwrote 125:22, 23        306:14 322:12, 15              80:8, 11, 12 81:3
  429:12                     Hang 179:7                  328:1 332:23 336:22            91:14 94:3, 9, 12, 14,
 guesses 295:4               happen 31:22 37:15          337:1, 3 349:5                15, 16, 24 95:1, 9, 17
 gunning 312:8, 8             55:11 203:15, 16           366:21, 22 367:17              102:23 108:1, 9
  337:21                      213:15 247:17              384:11                         109:5 114:9 115:1,
 guy 210:15 286:23            250:11 258:18             hard 110:18 115:14             18 128:1, 2 133:6, 12
  414:19                      266:10 383:7, 8            117:8 135:5 137:12             138:11 151:6, 9
 guys 12:3 13:14             happened 13:14              171:3, 7 266:10                185:17 207:6, 18, 24,
  30:1, 12 37:7 39:5          20:24 50:22 64:22          290:6 338:10                  24 220:1 237:1
  44:12 47:11 48:8            92:15 94:22 95:5          harmful 186:9, 11, 15,          238:11 267:19
  66:24 82:21 101:19          96:13 106:12, 15          16, 18, 19                      275:24 276:6, 8
  102:1 110:14 112:6          131:8 132:17, 20, 21      harsh 124:15                    308:19 337:10, 11
  122:18 144:20 161:3         135:11 159:9 164:8        hating 111:21, 22               355:8, 12, 13 400:22
  168:3 178:3 205:12          170:13, 17 174:10          337:22                         418:18 420:4
  209:7 221:4 249:1, 7        202:22 203:14, 18, 22     have, 112:19                   hearing 76:7 94:20
  263:8 265:12 310:14         206:14, 21, 23 210:7      head 21:3 31:6                  102:17 250:18
  358:2 359:12 381:7          213:15 237:12              32:22 93:12 119:14            hearsay 152:14
  394:5 397:5 401:8           239:21 259:24              134:8 184:24 186:20           heart 155:9
  424:21 426:1, 7, 20, 24     260:12 284:24 339:2        248:23 250:19 271:6,          he'd 306:14
                              354:18 355:18, 22         10 343:7                       held 25:19 85:3
 <H>                          366:10, 11 371:22         health 119:24 120:3             91:10 117:20, 22
 hair 234:9                   372:19, 23 390:18          123:5, 10, 12 366:14           264:5 325:22 339:16
 half 191:17 265:20           397:20 406:7 407:24        367:10 368:2, 4, 9             354:8
  277:9 335:20 358:3,         412:18                     429:3                         hell 345:7
 8 361:23 363:5                                                                        Hello 341:22 428:22
                                          Everest Court Reporting LLC                                        Page: 135
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 137 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 help 63:17 167:12            194:14 270:14, 14          113:16 126:19                 inaccurate 108:19
  197:17, 19 241:12           298:24 414:5               128:17 135:1 137:16           inadvertent 402:12
  267:5, 17 272:21, 23       Hollin 45:11                139:8 140:3, 21               inappropriate 92:20
  276:16 283:9 290:17        Hollin's 45:17              156:4 180:11 181:11            106:2 107:2, 11, 17
  409:15 414:21              honest 9:4                  206:23 277:5, 16               169:10 212:20
  417:17 422:12              honestly 72:12 350:9        307:5 323:18 344:9             219:18 220:12
  423:11                     honesty 218:3               406:16 413:24, 24              222:16 227:11
 helpful 12:16               hope 261:15 342:21          417:10                         302:15 303:2 386:23
 helping 267:18              hostilities 354:5          ideal 153:6                    inappropriately
 helps 272:24                 356:16 360:9, 18          ideas 142:16 422:4              107:14
 henceforth 256:16            361:20 362:1              identify 52:21 59:13           Inaudible 24:7 27:10
  258:19                     hotbed 309:9                68:15 86:12                    44:23 51:15 58:4
 here, 115:3                 hotel 77:15 150:12         ignorance 261:2                 73:18 78:7, 13 79:5
 heroes 134:15 183:10         151:8 165:18 169:11       ill 126:5                       81:7, 17 86:24 87:13
 hesitant 285:16              214:17, 18 236:14         illegal 79:3, 9, 9, 13,         90:18 93:21 95:14
 Hey 184:9 258:8             hour 27:3 54:22            14, 17                          99:8 100:15 106:9
  263:7 290:24 332:16         55:8, 10 191:17           imaginary 198:22                108:4 111:1 113:1
  377:17 414:1                240:23 335:20 356:3        199:19                         115:11, 13 118:16, 20
 hi 425:5                     415:7                     imagination 83:7, 9,            139:11 141:6, 22
 hid 92:2 163:9, 10,         hours 57:8 58:4            10                              144:13 148:24
 15, 15, 19 164:3, 18         71:23 265:20, 20          imagine 239:6                   154:20 156:2 172:19
 hide 163:11 182:2            332:15 345:8 358:3,       Imagined 83:4 309:8             174:10 204:13 269:8,
 hiding 163:12 164:4         8 365:4 416:2              immediately 132:16             23 270:2 288:4
  169:13, 22 190:23, 24       426:21, 24                 178:24 235:7 238:18            298:3 300:6, 9
 high 238:13 308:19          house 142:8                 250:12 380:4                   311:21 314:9 315:5
  422:13                     How'd 411:10               immunity 355:18, 21             318:3 343:6, 17
 higher 69:1, 6, 10          huge 350:7                  356:2                          350:15 376:13 379:9
 highest 69:11               Huh 406:22                 imperative 432:13               388:22 409:14
 highlight 60:17             human 119:7 148:10         implausible 203:24              413:24 414:4, 11
  223:21                      149:24 250:19 328:6       implemented 320:3              incessantly 142:2
 highlighted 240:14          hun 404:7                  implicate 330:24               incident 107:15
  360:14                     hundred 98:23              implicates 329:21               192:22 208:9 219:21
 highly 43:12 202:5           380:18 382:16             implication 101:1               227:4 241:8 312:17,
  339:20                      389:17 390:9 399:23       imply 188:21                   18
 hint 183:9                   400:5 402:2 404:8         implying 84:24                 incidents 390:11
 hire 343:16, 19 388:8,      husband 106:8 174:5         188:17                        include 40:16 103:20
 10, 11                      hush 296:24                impolite 315:9                  148:11 357:14
 hired 388:18                hypothetical 76:24         import 310:21                  included 150:7 247:9
 hiring 340:4 345:15          150:4, 6 166:16           important 7:24 8:16             412:9
 history 92:14 332:22         215:1 234:22, 23           9:3 46:7, 8 47:19             including 155:3
  338:8 375:24                236:20 238:24 246:4        49:16, 18, 21 89:5             239:23 249:14
 hit 95:6 135:9 136:5,        279:9 294:9, 14            125:12 127:1 128:7             262:16 343:2 354:9
 16 143:14 170:1              296:1 327:10, 14, 23       217:4 269:8 355:9              363:13, 15
  173:6, 9                   hypotheticals 71:23         424:18                        income 267:18 368:5
 Hm 168:24                    72:8, 20, 23 73:5, 9,     importantly 374:22             incomplete 76:24
 Hold 22:20, 20 25:22        13 133:3                   imposed 366:20                  214:24 234:22
  26:5, 10, 13 29:16                                    impossible 290:9                238:23 284:20
  41:6 46:17 57:2            <I>                        improprieties 253:1             393:19
  86:7, 7, 8 161:20, 21      idea 13:9, 10 14:6         impugn 168:21                  incomprehensible
                              84:24 85:2, 6 93:15
                                          Everest Court Reporting LLC                                        Page: 136
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 138 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  276:3, 21                   358:13 365:11 382:7         216:15                         355:23 417:9 431:9
 inconsist 206:3              383:17 384:22 386:3,       inquired 199:16                interfere 387:4
 inconsistencies 206:4       20 390:3 391:8, 13          inquiries 311:23               interject 387:4
  291:21                      392:5, 15, 24 393:22       inquiry 174:6 211:6             393:11
 inconsistency 205:8,         394:2, 24 395:14            241:6                         intern 147:24 212:16
 14, 18 206:1                 397:1 399:6, 13            inquisitive 105:19              214:17 304:12 306:5
 inconsistent 194:1, 2        401:16 403:20 404:1,       ins 425:12                     internal 68:12, 14
  203:17                     19 411:13 421:16            instance 186:6                  265:1 304:6
 increase, 419:8              426:15                      406:11 428:10                 interpersonal 312:13
 increased 199:19, 20        individual 16:11 28:1       instances 110:7                interpret 172:13
  219:21 227:4               individually 164:14          240:17, 19 336:22              220:3, 9
 incredible 342:21           individuals 126:13          institution 216:15             interpretation 162:20
 incumbent 135:11             152:14 158:15              instruct 86:11                 interpreted 227:15, 16
 INDEX 3:1                    185:12                      166:21 167:5                  interrogatories 66:1,
 indicate 6:7 166:6          indulgence 120:19           instructed 196:13              7, 11
  167:23 168:6 274:10        inflicted 85:1              instructing 42:23              interrogatory 28:10
 indicated 136:3             influence 239:22             166:19 404:12                 interrupt 18:11 19:5,
  158:17 173:23 431:5        inform 403:13                405:20                        6, 16, 23 20:3 21:15
 indicates 166:11, 12        information 32:16           instruction 162:1               22:1, 8 30:5, 8, 19
  168:8 389:24 390:8          51:24 127:9 136:4           167:2, 20 196:5                77:6 84:4, 15 114:23
 indicating 153:1             142:17 199:8, 9, 12        instructions 7:14               171:21 210:15
 indication 164:13            202:19 226:20               74:12 163:13, 17               227:23 311:5 356:10
  183:5, 7, 7                 261:11, 11 267:1, 5,        164:1 375:6 432:1              385:21 390:23
 indiscretions 191:5         17 268:4, 5, 16, 17, 20,    instructs 73:12                 393:11 410:9, 17
 Indistinguishable           21 269:8, 11 270:6          insurance 232:15               interrupted 21:21
  21:13 25:15 29:14,          274:5, 14 312:2             366:14 367:10 368:2,           32:10 54:2 84:12
 23 30:10 32:2 42:6           313:1 315:3 365:5          4, 9 429:3                      224:1 345:6 388:23
  47:1, 9 51:20 52:16         406:15 407:17, 23          intellectual 28:24             interrupting 21:24
  53:2 65:12 67:10           informational 262:1         intend 341:1                    22:3 29:11 31:14, 16
  72:17 82:17 100:17         informed 261:8              intense 94:5 309:10             46:11 84:8 110:11
  101:3 121:3 152:10         informing 261:6              312:12                         200:15 201:8 358:16
  158:11 159:22 167:8        inherent 404:10             intensely 142:17                391:19
  168:1 173:11 188:10        initial 87:8 99:6            229:17                        interruption 209:8
  190:16 194:18               136:3 193:4, 5, 6          intention 16:3, 23             interruptions 8:24
  195:16 205:10               205:1 286:8                 18:4 19:4, 8 183:9            interview 103:23
  207:14 209:5 211:18        initially 243:24             247:10, 14                     104:3, 5, 9 105:1, 2
  214:10 221:2, 11            247:7 288:5 367:23         intentionally 344:17            143:22 144:11 148:7
  233:15 235:16              initiate 84:21              intentions 19:13 21:7,          418:12 419:19
  236:10 239:13              initiated 84:22 87:14       9                              interviewed 103:6, 17,
  257:24 260:10               90:14, 15 92:12            intents 339:15                 21, 21 104:12, 22
  267:10 269:20               261:9 307:24 308:2         inter 46:11                     141:16 142:15 148:1
  270:24 274:20               355:15                     interaction 183:21             interviews 105:4
  277:13 282:1, 19           initiation 83:19            interactions 202:1              142:12
  288:1 291:2 299:16          342:11                      272:12                        intimate 154:15
  302:4 305:2, 8 316:3       initiative 83:17, 18        intercourse 162:18             introverted 419:18
  322:2 324:11 325:5          86:23                      interest 13:15 349:4           invest 39:5
  327:18 331:9 332:7         in-office 124:13, 15         350:13 420:20                 invested 39:12 40:6
  335:6 338:23 341:19         127:16 128:2               interested 76:7                investigate 133:8, 11,
  343:22 351:16 353:2,       inquire 199:9 211:3          334:17, 21 336:9              23 143:13 241:19
 13 356:8 357:24                                                                         293:15 297:17 298:3
                                           Everest Court Reporting LLC                                        Page: 137
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 139 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  307:12 309:13               161:23 187:12 198:3,       161:23 167:13, 21              413:5, 21 414:2
  340:12, 13 355:2           14 213:4, 5 217:19          195:18 196:11                  416:23
  384:10, 15 385:3, 5         220:17 241:21, 22          224:14 226:5, 10              keeps 347:8 365:21,
  388:21                      267:21, 21 297:7           246:11 272:1 315:23           21
 investigated 71:21           305:16 312:6, 7            326:3 330:10, 20              Ken 109:16
  74:2 75:17 134:11           426:23                     335:19 344:4 358:18           kept 93:14, 16
  136:10 152:23              issued 113:4 297:18         398:19 401:7 405:6,            115:23 140:4 367:23
  156:24 157:9 158:13        issues 86:12 106:1         9 426:17                       key 54:11 247:8
  178:23 179:2 184:15         120:5 152:22 153:10       JONATHAN 2:8                    249:19, 22, 24 250:6
  209:22 296:16               155:3, 3 171:12, 13       Judge 18:10, 18 41:5            251:2, 3, 11 362:16
  297:14 304:20 385:7         187:9, 11 213:9            42:17, 24 43:10, 11            378:4 380:6, 7
 investigating 237:13         217:16 234:14              54:21, 22, 24 55:2, 16,        418:22
  304:22 384:7 385:9          269:17 272:23             17, 18 56:4 57:1, 16,          kids 290:12, 24
 investigation 141:13,        311:23 315:1 319:10       22 58:19 73:12                  291:12
 14, 16, 17 142:20            355:1 363:13 381:6         160:22 162:5 167:1            kill 175:4, 6
  144:12 148:2 179:14        issues, 318:24              195:8, 9, 23 196:6, 8,        killer 151:22
  210:21 240:10              it'd 35:12                 9, 12, 15 375:6                kin 431:9
  241:15 242:17              it'll 121:13               Judging 421:12                 kind 8:2 23:4
  313:15 314:12              its 67:23 79:19, 21        judgment 73:17, 18              116:18 171:20
  380:16 382:5, 15            80:14 237:1                160:17                         174:12 300:6 330:17
  383:8, 13 384:2, 5                                    July 345:18                     414:10
  402:2 404:8                <J>                        jumbled 223:5                  kinds 281:22
 Investigator 179:18         Jack 346:8                 jump 246:11                    knew 71:20 110:5
  388:8, 10, 11, 19          James 40:8, 9, 13, 16      June 136:16 159:8               124:22 169:16, 16, 17,
 investment 44:3             January 10:7, 11            316:18 318:22                 17, 18, 19, 19, 21
 invite 245:5, 13, 14,        384:12                     319:23 321:5 336:4,            180:12 182:23
 16, 17                      jcavalier@cozen.com        20 338:13 341:5                 259:16 261:17, 18, 19
 invited 117:10 163:4         2:10                       352:9, 10 363:19, 21           262:17 272:10 274:6,
  168:14 169:18              Jeannine 56:5               371:11 374:2 405:8            8 289:12 291:11, 13
  171:18 243:24 247:7        job 33:3 68:17              420:11, 13, 17                 304:7 348:21 397:17
 involve 320:16               111:11 130:13             junkie 183:20                   414:19
  330:15                      136:24 138:18 140:1,      jury 41:12 208:20              knife 174:24
 Involved 17:4, 6, 10        2 156:9 185:23              341:1                         know 8:2 11:12, 15,
  20:13 24:5 43:10, 11        186:2 216:13 217:6,       justifies 422:13               21, 23 13:19 15:24
  89:6 158:16 234:19         6, 10, 13, 14 225:12       justify 423:16                  16:1, 9, 13 17:6, 9, 12,
  286:1 347:8                 245:20 268:13                                            12, 21 21:1 22:5, 17
 involves 281:21              285:23 286:6 301:23       <K>                             25:5, 7 27:6 28:8
 irony 18:13                  308:18 312:9 328:2,       keep 18:9 22:3                  29:5 33:1, 13, 15, 16,
 irrelevant 22:23, 24        5 332:21 334:16             31:15 38:24 39:2, 6           18, 19 34:1, 17, 20
 IRS 38:22                    335:22, 24 336:9, 11,      40:15 43:3 57:20, 21           35:18 39:13, 21
 Israel 94:22 95:5, 11       11, 12, 13, 14, 15          58:22 59:1 68:16               41:13, 13 43:20
  106:6 135:11, 22            338:12 340:23, 23          83:24 84:8, 9 93:9             44:14, 16 48:9 50:1,
  163:4 168:14 169:11         356:4 379:2, 4             120:21 125:21 127:2,          4, 13, 15 51:5, 12
  170:2, 13, 17 173:21       jobs 31:7 75:6             4 128:13 171:19                 53:7, 14, 15, 18 54:10,
  174:3 180:14 182:1,         182:18 337:22              173:2 177:19 215:19           13 55:13 56:15, 17
 5, 24 190:23 191:6          Jon 6:12 18:9 31:22         233:9 240:8 259:7              57:17, 23, 24 58:8, 18
  219:21 227:4 390:12,        35:13 36:8, 21 49:9        292:3 361:3 374:10             59:15, 21 61:16 63:7
 15, 18 398:3 401:4, 5        54:21 65:15 66:23          408:20 409:6, 19, 21           64:12 65:1, 5 66:1, 3,
 issue 56:10 96:14            82:13 84:5, 11             411:4 412:13, 23              23 67:4 70:19, 20, 21,
  119:24 120:1 125:15         101:22 134:5 145:1                                       22, 24 71:7, 12, 18, 19,
                                          Everest Court Reporting LLC                                        Page: 138
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 140 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 19 76:14, 15, 16, 18         268:1, 3 269:6 273:5,       223:14 254:23                 lawbooks 16:2, 13
  77:11, 18, 21 79:15,       14 274:11 275:2              344:11 420:23 424:8            19:2
 18, 23, 24 80:3, 7, 21,      276:8 277:6 279:15                                        Lawrence 45:11, 17
 22, 22, 23, 24 81:14         283:20 284:7 286:14,       <L>                            laws 18:23 19:1
  82:2 84:14 97:23           17, 21 287:22 288:16,       labeled 55:14                   21:1 160:1
  98:14, 19, 20 99:4, 13,    17 290:8 291:13             labeling 121:24                lawsuit 85:13
 18 101:15 106:3, 8           293:21 294:3 295:1,        lacerating 115:8               lawsuits 85:1 95:21
  107:17 109:11              3, 13, 22 296:7, 9, 13,     lack 151:12 152:8               101:12, 12, 16 136:17
  110:17, 18, 20, 23         20 297:10, 13 298:17         166:18 167:5 214:21            214:13 229:22 370:5
  111:15 112:24               304:10 306:7, 9             256:5 261:24 279:10           lawyer 20:1 108:16
  113:16 116:21 117:1,        307:7 309:20, 22            299:1 303:19 366:24            161:19 242:2 284:16
 2 118:20, 22 119:9,          310:15 312:21 313:8         403:10                         349:15, 19, 23, 24
 14 125:2, 16 126:14,         314:11 317:5, 19, 22,      ladies 428:13, 15               350:1, 2, 12, 13, 17, 18
 21, 24 128:16 130:24        23 322:17 327:14            lap 193:16 203:20              lawyers 54:6, 13
  131:3, 6, 7 132:21          332:13 337:14               204:15, 19, 24 205:4           110:7 161:7, 17
  135:9 137:20 138:9          340:10 341:8, 9             206:10 207:19                  252:18
  139:5, 14 140:7, 8, 9,      343:4, 5, 6, 7, 9, 9        212:19                        Lea 147:13, 20 149:5,
 10 144:8, 11 146:13          344:5 345:23 346:1,        laptop 408:21, 23              11, 14, 19 150:8, 11,
  147:10, 12, 16, 19         2, 5 350:9 351:9             409:3, 5, 7, 10, 14, 19       14, 22, 23 152:5, 6, 16
  151:4, 16 152:2             353:20 355:3, 4, 5, 7,      410:3, 6, 12 412:7, 17,        153:18, 21 154:6
  155:16 156:6 158:2         16 356:24 357:1             20 413:3, 6, 21 414:2,          213:4, 8, 9 298:14
  159:24 160:2, 4, 6, 13      358:22 359:13, 15          4, 10, 16                      lead 85:5 235:2
  162:13, 14 163:1, 6, 7      361:22 371:3, 14           laptop, 408:20                 leadership 28:24
  164:12 165:6, 7, 20         374:5, 18 376:6, 7         laptops 408:24                  32:23
  168:12 169:2, 14            378:12, 19, 24 379:1,      Lara 110:2, 10, 14             learn 141:9 170:21,
  170:9 172:14 174:3         14 380:23, 24 382:23,        111:3, 13 113:20              24
  178:1, 5 180:11, 12,       23 388:19 389:7              119:13, 13 298:17             learned 77:13 173:7
 13, 14, 15 183:1             393:14 396:16 397:8        Lara's 111:2, 6                 180:15 201:3, 22
  185:20, 23 186:2            398:7, 8, 8 399:9          large 150:18 242:8              202:7, 10 226:20
  187:14 190:9 194:1,         400:17, 20 402:11, 19      largely 422:10                  313:11 317:7 348:20
 3, 13, 15 196:17, 21         405:13, 14 407:6           larger 258:23 427:24            366:13 368:1 403:13
  199:1, 23, 24 200:2         409:11, 13, 17, 18         large-scale 148:15, 20,         404:6
  201:3 202:13, 15, 17,       411:11 413:9, 10, 15       22                             learning 178:24
 22 203:11, 14, 15, 21,       415:4, 19 416:7, 21        late 12:11, 12 37:16           leave 104:22 193:12
 23 206:21 209:8              417:12, 24 418:7, 8         106:17 341:5 350:3             266:23 318:23 319:9
  210:13, 18 213:5, 13,       419:1, 23 420:8            Laterally 96:17                 349:12 401:19
 14, 15, 16 217:3             423:22, 23 424:1, 3        Laura 110:3, 10, 15             410:13
  221:24 222:12, 13, 24       425:12, 16 429:4, 6, 8,     111:8, 11, 13 113:20          leaving 413:3
  223:1 229:6 230:14         10, 11                       119:12 298:17                 led 93:18
  234:14, 18 235:9           know, 7:22 59:10            Laura's 111:8                  Lee 70:13 108:3, 14,
  236:22 237:1, 2, 3, 4,      351:10                     LAW 2:1 11:20                  20 109:20, 22 113:20
 8, 9, 10 239:21 241:4       knowing 269:4 333:1          15:22 16:1 41:14               298:16
  242:3 248:22 249:1,         334:8 338:11 340:6          43:4 108:15 109:7, 8,         leery 376:1
 6, 16 250:13 251:1, 3,      knowledge 109:21            12, 15, 18 110:2, 8, 12        Lee's 109:4
 6, 11 252:7 255:19           114:1 282:22, 23            147:7 158:23 273:2,           leeway 265:24 269:16
  256:2, 8, 9, 11, 22        known 73:21 76:12           6, 9, 12, 15, 21, 24           left 108:8 192:10
  258:9, 15, 16, 24           349:7 354:6 362:1           293:22 294:2, 3, 21            313:20 314:9 338:2,
  259:8 261:20, 22            374:7 424:12                296:7, 9 340:22               3 343:5 377:10
  262:18 265:2, 6, 17        knows 27:7 33:9, 16         law, 273:20                     412:19 414:18 415:5
  266:24 267:4, 23            110:13 115:24 172:3
                                           Everest Court Reporting LLC                                        Page: 139
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 141 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 legal 10:15 11:15           life 34:3 100:23             268:3 272:4 279:7             loaded 330:1 334:11
  17:24 29:2 50:7             101:10 147:22               280:4, 14, 23 282:5            351:12
  53:22 54:2, 5 76:15         148:14 152:21               285:3 298:14 305:4            loading 330:16, 18
  77:23 98:17 142:4, 5,       154:15 157:21               308:8 312:2, 16, 20           loathed 175:5
 7 152:13, 13 154:18          185:21 186:4 197:22         316:17, 20 317:5              Lobitz 109:16
  184:17 186:16 244:8,        204:11, 12 237:14           318:16 319:17 340:8           logic 421:20
 10, 13 245:3, 7 248:4,       285:10 307:16               343:14 345:18 346:2,          long 9:12 40:12
 5 281:22 283:18              348:21                     19, 19 354:20 355:4             56:18 69:20 141:13,
  288:13 294:19              life, 362:11, 14             368:16, 24 371:10             17 144:24 172:14
  326:24 327:2 330:16        lifted 90:3, 6 91:16         373:4 374:3 393:7              195:4 221:8 223:4,
  373:6 423:17               lights 286:3                 401:1 420:4, 22               18 225:7 227:19, 20,
 legalities 25:2, 3, 11,     likes 421:23                 426:24                        23 253:2, 8, 17
 12 50:21, 24                Likewise 269:5              Lisa's 96:11 210:22             265:22 282:15
 legally 80:1 245:8          limit 231:21 380:4           212:14                         283:17 286:6 308:12,
  288:17 423:7               limited 363:15 380:13       list 42:22 43:3                15 358:4
 legitimate 76:16            limiting 367:18              120:21 225:7 265:1,           longer 164:4 247:19
  196:18                     line 158:20 188:23          7 266:3, 9, 16, 22              257:2, 2 362:17
 LEIGH 2:21                   189:22 286:10 433:3         267:1 268:6, 7, 15, 19,       look 11:16 17:10
 length 142:3                lines 120:7, 11 175:1       21 302:22 303:5, 10             25:3 28:5, 5, 6 38:20
 lengths 238:10               235:7, 10                   363:6                          40:2, 3 43:7 50:9, 15
 lesson 313:11 348:20        linked 299:6                list, 265:5                     51:6, 8 52:22 60:10
  403:13 404:7               liquidated 42:9             listed 16:12, 14                63:21 64:9 87:18
 Letter 4:9 110:1            LISA 1:1 2:22 5:12           43:21, 22 50:10 51:3           94:7 101:14 126:23
  141:19 169:4, 5, 7          6:10 7:5 13:6 26:5          63:2, 6 82:5 119:3             142:19 169:6 174:3,
  176:16 199:13 225:9         30:21 56:9 77:13            124:14 125:2                  11 210:22 211:12, 22
  227:15, 16 232:4, 6, 7      81:20, 23 82:12            listen 32:19 67:7               225:9 253:13 263:20
  235:5 241:16, 20            83:19 84:18, 23 85:1,       71:5 87:18 126:2               270:4, 21 292:4
  249:8 261:4, 12            4, 8 89:9 90:7 91:21         185:13 208:19                  306:16 321:9 323:21,
  262:1 309:21 336:17         92:3, 11 94:21 95:5,        260:13 275:12, 18             24 325:7 336:5
  346:18                     7, 7, 22 96:1, 4, 4         listened 150:24                 353:8, 22 362:9
 letters 199:14               99:19, 23 100:3, 3          210:20 236:22                  365:7 368:15 370:19
 letting 84:9 144:11          102:23 104:1 105:9          275:14 277:1                   371:8 374:20 379:10
  353:19 392:18               109:6 113:21 119:11        lists 68:16, 17                 387:18 390:10 393:3,
  415:19                      135:12 136:4 139:8,        literally 117:7 129:1          19 396:8, 21 397:22
 Levy 45:11 69:14, 15,       20, 22 140:1, 6              290:9 361:2                    401:24 417:14
 21 70:7                      143:21, 22 144:2, 4,       little 14:16 64:22             looked 25:2, 10
 Levy's 45:15                10 154:3, 24 162:22          101:8 102:2 136:17             34:12 39:19 134:24
 liability 155:16             163:4, 11, 13, 15, 17,      182:10, 11 254:3               202:19 210:23 231:8
 liar 137:7 333:4, 6         19 165:10 169:17             260:24 265:4, 24               242:15 297:20
 Liberty 2:8                  170:1, 2, 2, 12, 17, 18,    269:16 270:21 272:1            306:10 308:9, 22
 lie 289:19, 20 291:5,       19, 24 171:16 173:5,         276:15 290:4 295:2             352:8 353:10 354:15
 7, 8, 9, 15, 16, 17, 17     8, 20 176:18 177:6, 6,       302:1                          370:23 388:19
  319:17                     22 181:14 182:23            live 371:4                      395:20 397:16 420:9
 lied 289:22 291:4, 13        186:7, 13, 18 193:3,       lives 77:18 97:6               looking 14:6 57:8
  315:5, 7 319:4             15 206:24 207:1, 18          100:19 130:7, 17               133:15 141:7 164:8
 lies 92:17 99:8              208:6, 10, 11 215:5,        133:16 155:2 172:17            192:10 207:7 252:24
  138:4, 7, 8 291:18, 18,    10, 20 218:15 222:15         173:18 216:23                  267:2 270:19 272:19
 18, 19 292:3                 227:17 228:16 240:8         228:14                         284:6 314:16 324:4,
 lieu 427:9                   242:23 254:15 260:5        load 329:16                    5 421:21
                              262:1 264:14 267:20
                                           Everest Court Reporting LLC                                        Page: 140
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 142 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 looks 64:3 122:8             212:21 368:19              March 13:11, 12                 419:17 421:12, 13, 22
  189:16 192:11               380:19                      83:18 92:9 93:24               428:3, 21, 21 429:13
  243:12, 18 345:10          maintained 117:13            94:9, 16, 16, 17, 22          Marnie's 96:13
  365:20, 23                  255:8 285:21 380:13         95:24 130:8, 9 132:1           136:4 138:16 228:14
 lose 232:8, 14              maintains 67:23              163:24 168:16 169:9            362:12 419:11
 lose-lose 350:11             118:8 328:16, 21            171:7 181:23 182:1            masse 164:9
 losing 182:18               major 96:15 220:17           198:3 229:20 241:10           Matt 114:13, 14, 15,
 loss 332:18 368:5, 7,        374:6                       251:19 252:10 254:1,          17, 20, 22 115:3, 12,
 8                           maker 328:7, 13             6, 7 264:4, 5 314:6            20 116:5, 9 119:11
 lost 201:16 232:10          make-work 106:1              320:12 337:21                  139:20, 22 140:4
  251:2 308:20 380:15        making 69:3 75:14            339:19 341:4 342:11            162:21 193:14
 lot 37:24 57:9 58:3          82:15 110:24 116:22         348:8 375:7 380:9              222:19 227:14
  147:5 156:20 201:3          126:15 132:23              mark 121:9 242:12               254:20 298:8 304:3
  202:19 222:21               231:20 237:17, 24           381:9                          308:10, 11, 15, 17, 18,
  239:22 242:1 260:4          238:8 250:22 295:23        marked 218:8                   18 309:4 312:4, 16,
  293:6 313:3 359:12          309:16 314:2 342:2          252:18 371:9 381:11           19 313:20, 21, 21
  395:20 397:19               350:21 392:12 397:6        Market 1:13 2:3, 9,             314:19, 22 315:1, 5, 7
  417:12 422:4               man 36:22 184:9             14                              337:2, 10, 13 338:1, 1,
 lots 36:18 142:3             189:5 278:21 313:22        Marnie 26:13 85:6, 7           2, 17, 18, 21, 21 339:3,
  170:23 231:16, 19           315:8                       91:3 95:2, 7, 23, 24          5, 6, 8, 8, 8 340:9
  232:4 234:6                managed 221:7                96:3, 6, 12 103:5, 9,          341:8 343:2, 3, 3
 loud 60:17, 18              management 15:9, 11         15, 21 109:6 113:21             370:4, 21 371:1
  175:17 220:2 290:8          29:2 194:10 223:22          119:8 135:23 136:24            375:15, 17, 19 408:15,
 louder 255:5 265:4           224:23 225:1, 6, 14,        137:6, 6, 8, 18 138:15,       15 409:15, 19 413:5
 lousy 385:1                 22, 23 226:11, 23           17, 24 139:6, 9, 20, 22         414:3 417:7 418:5
 love 280:22                  227:6 258:17 367:16,        140:5 143:9 144:1              420:3 428:4
 loving 337:23               20 368:12, 13                150:6, 16 153:24              matter 5:12 7:5
 loyalty 272:9 273:24        manager 105:16               162:22, 24 164:20, 20          11:15 35:15 49:7
  274:4                       209:18 220:1 222:20         166:1, 2, 8, 9 168:6, 8        73:7 102:20 118:4
 luck 160:12, 16              225:16 227:7, 13            169:18, 24 170:12, 16          124:21 131:11
 ludicrous 74:17, 18          228:1, 12                   171:16 173:6 177:4,            146:24 178:23 183:7
 LUKE 2:18 5:16              managing 257:3              21, 22 178:9 182:3,             194:9 219:23 271:14
  316:5 415:4                 258:19                     23 208:11, 11 219:5             287:8 308:11 310:21
 lunch 180:13 191:17         Mandeles 147:9               220:18 222:17                  359:10 384:7 385:7
 lure 151:8 162:16           manipulation 222:20          227:14 243:5 249:5,            394:22 407:9, 14
  165:14                     manipulative 105:20,        17 250:19, 21 251:9             408:4
 lured 150:12 212:16         22 107:23 128:1              254:16 293:10 298:8,          mattered 287:9
 lures 215:6                  194:7 198:13               16 301:22 302:7, 20            matters 54:6 98:22
 lying 193:24 292:2          manner 135:21 354:8          304:8, 11 305:13               153:8, 9, 13 184:5
                             manual 118:10, 11            307:4, 11 312:2                213:19
 <M>                          119:4 377:8                 314:10, 16 319:24             Matthew 104:3
 machine 431:6               manufactured 97:3            335:8 340:8 343:6             Matt's 139:24 228:15
 Macs 409:16                 MARC 2:22 26:1, 3            353:24 356:15 363:3,           313:21 337:11
 magic 83:5 322:22            142:2, 4, 4, 7, 15, 17     4 371:5 375:11, 23              375:21 407:21
 326:21                       143:6 186:15 189:17         377:2, 5, 16, 22, 22           414:10 428:8
 magically 159:7              244:17, 17 245:17           378:6, 22 379:15, 17,         McNulty 26:11 92:4,
 main 211:14                  246:21 249:5 254:15,       23 380:7 402:17                12 103:23 109:6
 maintain 117:17             22 263:21 264:6              406:10 407:2, 3, 8, 22         113:21 119:15 159:4
 121:23 127:14 181:9          346:2, 18, 19 417:12        408:12, 16 411:18, 19          189:17 190:3, 12
                                                          413:4, 12, 17 417:2            192:17 218:11, 16
                                           Everest Court Reporting LLC                                        Page: 141
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 143 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  251:20, 21, 24 252:10       397:14, 23                mental 137:15                   32:20 34:5 37:10
  253:1 262:19 293:1,        mediate 211:8               140:11, 15, 19                 38:4, 13, 23 39:11
 6 298:9, 14 321:6           mediated 134:12            mention 168:19                  43:18 44:3, 7, 18, 21
  329:2 333:3 338:14          136:10                     361:21 407:12                  45:7 49:19 50:14, 20,
  347:2 352:11 374:21        medical 232:15             MENTIONED 3:10                 21 56:8, 9, 13, 14
  407:18, 20                 medium 413:23, 23           4:3 204:23, 24 234:2           57:1, 17 59:9, 20, 24
 McNulty's 205:6             meet 99:20                  262:17 373:11 417:7            60:19 61:14, 18, 22
  352:18                     meeting 85:3 90:23          419:15                         62:2, 6, 10 63:3, 11
 me, 276:1, 7                 93:24 130:23 132:1        mentions 362:5                  64:9, 12, 18 66:18
 mean 12:24 13:4              211:23 229:24 230:2       Merville 147:13, 20             67:5, 22 68:6, 13, 22,
  14:20 16:7 17:3, 13,        243:21 244:1, 22           149:6, 11, 15, 19             24 69:7 70:14, 17
 22 20:12 25:5 27:1,          248:1 252:20 254:5,        150:8, 12, 14, 23              73:24 74:8, 24 75:7,
 24 28:4 29:5, 6, 7          6, 7, 14 264:5, 11          152:5, 6, 16 153:18,          12 77:3, 7, 9, 22 79:2
  30:20 31:20 33:2, 23        320:4 346:8 365:19        21 154:7 213:4, 10              84:20 85:13 89:10,
  34:1 39:1 42:21            meetings 125:18, 21,        298:15                        16, 23 93:3 95:15
  43:4, 8 44:5, 9, 14, 15,   22, 23 370:14 418:5        mess 313:5                      109:13, 24 112:22
 16 51:16 52:9 58:9          MEF 2:22 51:1, 3, 8,       message 111:20                  114:10, 12 117:17
  61:23 83:3 89:17           11 55:14 59:24              281:11                         118:7 120:24 128:20
  102:19 112:12 115:5         121:6, 7 122:4 215:6      Messages 4:18 112:1,            130:11 131:15
  123:6, 9 128:19             230:15, 19 245:21         7, 14 113:8 173:20,             133:14, 17, 21 134:7
  131:12 135:18 140:3         272:15 294:23 297:7       22 174:1, 4, 15, 18             152:19 155:13, 21, 23
  147:5 151:6 152:4           304:5 305:5 318:24         210:23 211:4 280:13,           156:7, 16, 18 157:14
  170:5 173:3, 3 178:2        319:10 320:15             22, 23 281:3, 8 428:2,          159:1 162:12 184:4,
  179:15 184:10 189:3         327:24 349:4 363:14       2                              23 186:5, 9 195:10,
  190:5 193:11 199:4          368:18 380:5 408:24       messaging 111:14               19 216:8 217:12
  209:10 230:8 253:10         409:8                     met 147:23 260:22               234:7 236:4 245:20
  256:22 265:5 270:4         MEF, 243:20                 339:14 390:19                  254:10, 12, 13 262:15
  277:7 278:18 279:12,       Mekelburg 267:4, 23         397:11 398:2 400:18            265:1 266:17 272:4,
 18 317:18 332:18             268:1, 4, 8               metadata 174:4, 7, 9           11 285:21, 22 286:2,
  336:3, 7 356:19            member 62:15 63:18         Meyer 26:13 91:3               7 287:18 288:10
  359:2, 9 364:16, 21         215:6 305:5                95:2 103:15, 21                289:1 290:17, 17, 23
  380:6 381:3 385:3          members 16:5, 7             109:6 119:8 143:10             296:18 297:18 306:4
  395:5, 8 397:5              44:2, 5, 8 60:23, 23       150:7, 16 162:22, 24           327:3 328:9, 15, 20
  401:13 408:3 422:14,        126:4                      166:1, 2, 8, 10 177:21,        365:18 371:16 373:5
 23 423:1, 5, 13 425:1       memo 95:2, 2 103:4,        22 178:10 190:3                 374:11 376:4 377:13
  426:20, 22 427:2           9, 11, 13 139:23, 24        251:9 298:16 301:22            393:5, 18 424:13, 22
  428:22                      169:15 243:20 247:8        302:7, 20 307:4                426:3, 8 427:20
 means 17:7 32:23             401:23, 24 402:1           319:24 353:24                 might've 129:16
  33:3 162:14 288:16,        Memorandum 4:14             356:15 363:4 377:2,            135:4 378:14 407:6
 19 336:8 378:7               243:10, 11                22, 22 378:6 402:17            mild 421:6
  423:6                      memorialize 124:23          408:12, 16 411:18, 19         Miller 109:16
 meant 148:23 149:1          memorialized 125:4          413:4, 12, 17 417:2           Miller's 108:17
  183:22 227:17 233:6,       memories 239:22             428:3                         million 85:14 95:14,
 19 274:18 280:11            memorize 39:21             MIDDLE 1:6 2:11                20 97:22 98:5, 8, 23
  426:4                       280:20 283:17              5:13 6:13 7:6 9:11,            99:1, 4, 15 159:4
 media 136:14 267:8          memorized 282:16           13, 15 10:13, 14, 17            160:7, 10, 16 177:18
  268:11, 12, 13, 14, 15,    memory 63:17 135:3          11:19 15:13, 17, 20            217:21 239:11, 21, 24,
 22 269:6 270:6              men 77:14 193:12,           17:15 26:21, 23               24 240:1, 3 260:3
  286:1 287:2, 10, 10        13, 17                      27:17, 22 28:15, 21            340:23
                                                         30:4, 6, 24 31:6              millions 98:7
                                          Everest Court Reporting LLC                                        Page: 142
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 144 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.

 mind 101:19 162:19          misrepresentation            24 172:1 173:15                 395:23
  179:16 197:13               272:14                       182:5, 9, 12 197:14           named 153:18
  205:15 315:2 374:18        mistake 73:9 155:8,           252:23 259:7, 9, 10           names 9:20 63:22, 23
 minds 172:14 233:24         10 180:3, 7, 9, 17, 18        362:8 399:19 400:4             123:20 126:13, 17
 mine 141:18 155:5           mistakes 160:21               401:14, 18                     127:18 128:4, 8
  184:5                       231:7, 16, 19, 21           morning 56:4 103:10             265:7 266:3, 3
 minimizing 220:4             234:13                       173:7 177:5 192:13             267:23 270:5 299:5
 minimum 252:22              misuse 370:10                mother 77:9, 22                 300:22, 24 303:11
 minor 110:16 211:22         mitigated 152:23              133:15, 24 186:20              398:5, 9, 10
  219:23 229:19               157:1, 10 158:14             216:10, 11                    name's 301:10
  258:22, 24 259:2, 3,        184:15, 19 185:2            motion 330:10                  narrative 92:5
 11 310:24                    209:22                       332:12 344:15, 24             Nasty 111:22 113:10,
 minute 51:13 112:19         mix 39:8, 9, 10               415:20, 23 427:10             11, 12, 13, 15 230:23
  120:18 122:14              mixed 302:1                  mouth 311:2                     231:5 342:24
  144:20 167:17 176:1,       Mm-hmm 122:11                mouths 159:18                  national 162:16
 7 191:8 230:10               190:13 264:12               move 31:5 32:4                 natural 191:11
  240:13 292:17 321:9        MO 185:17                     49:6 128:19 187:2              421:24
  347:23 427:5               moan 420:19                   193:21 202:18                 naturally 175:22
 minutes 23:2 145:1          moaning 352:16, 19            205:21 230:14                 nature 129:18, 20
  152:4 160:22 212:6          369:19 370:1, 6, 11          233:12 241:23 246:7,           131:10 132:15, 18
  236:14 344:10, 19          moans 385:1                  22 247:1, 21 281:14             194:6, 8 317:12
  365:4 397:4 427:9          moment 57:2 120:17            284:18 306:23 345:9,           367:5 404:22
 mis 295:7 301:19             162:9 247:3, 4              12 418:8                       NDA 247:10, 11, 23,
 misappropriated             money 37:9, 17               moved 129:5 134:13,            24 248:15, 20
  280:5                       38:13 39:11 40:6            13 187:9, 17 229:8,            NDA, 247:9
 misappropriation             43:18 110:24 160:24         14, 18 230:4 340:17,           NDAs 248:7
  272:13                      161:6, 10 216:13            18                             necessarily 317:18
 misbehaved 303:8             232:8 233:8 260:4           moving 61:5 187:4, 8           necessary 50:18
 misbehavior 304:17           267:6 274:15, 24             223:8                          432:5
  305:11 306:18, 21           275:3, 8 278:1, 5, 9,       multiple 295:24                need 5:23 19:22, 24
  406:12                     13 279:4, 7, 13, 17, 20       369:5, 12                      20:2 28:8 30:16
 miscategorization            280:5, 7, 10, 14 281:5      murder 307:15                   32:9 49:17 50:7
  283:24                      296:14, 17, 20, 24           308:24 309:2                   56:18 90:16 144:18
 mischaracterization          297:1, 3, 7, 10, 13, 15,    muted 102:12                    145:1 153:7 154:19
  22:22 82:7 177:2           16, 18, 21 366:3             mutual 100:13                   159:24 160:1, 7
  179:23 215:15               370:9 376:11 377:24                                         185:11 189:8 233:10
  404:23                      378:6, 10 379:2, 3, 18      <N>                             241:4 248:4 263:7
 mischaracterized             409:8 411:6 412:17          nail 160:14                     315:14 332:17
  301:20                      423:21 424:2, 10, 15        name 5:16 6:7, 11               383:21 427:6
 mischaracterizing            425:6, 7, 14, 17, 19, 19,    9:7 10:15 27:13, 13,          needed 150:13
  167:10, 11 311:12          20 429:2                     14 28:2, 9 33:8                 185:12 414:21
 misconduct 147:6            mongering 428:8, 19           34:21 63:6, 15, 24            needs 56:16 58:1
  148:2 156:21 171:4         Month 39:15, 17, 18,          70:21, 22 80:12                59:12 222:6 358:4, 5
  184:2 220:4 227:9,         20 260:23 342:12              100:24 108:17 111:6,           359:8 422:12
 10 303:16 337:6              420:13                      8 119:5, 13 127:18             Neither 152:15 431:9
  368:10, 11 369:13          months 38:1 91:5              298:18 299:9, 11, 20          nest 342:15, 23
  416:3, 5                    94:23 131:8, 8               300:17 301:5, 9               net 41:9 42:14, 20
 misconstrued 371:15          132:10 134:21 136:2,         304:12, 19 306:15             never 16:1, 9 20:24
 miserable 341:11            6 157:23 164:5, 6             388:2, 18 389:1                65:7 66:6 81:1, 3, 5
 misread 188:16               169:23, 23, 23 171:23,                                      94:3 97:14, 14 108:8
                                            Everest Court Reporting LLC                                        Page: 143
                                     215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 145 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  115:12 116:18              note 6:14 54:8               354:14, 18, 21 355:13,         171:5 179:22, 22
  137:17 147:22 188:1         58:14 127:15 170:14,       19 362:8 364:4, 9               181:2, 21 185:10, 19
  189:2 198:7 199:11         15 178:10, 14, 19            365:7, 16, 19 367:14           186:1 202:9 207:9,
  203:19, 22 205:6, 17        198:11 211:13               370:9 374:23 377:4,           20 208:14 210:9
  206:1, 14 213:7, 8, 11,     219:17 256:17              5 380:1 384:6, 8                212:23 214:4, 20, 20
 11, 12 228:8 229:18,         309:13 343:9 350:3          385:8, 10 406:4, 7             215:14, 14 217:5
 21 231:11, 12 240:2          373:18 374:16 417:6         421:5 431:11                   218:23 220:7 228:10
  247:10 263:7 266:10        noted 5:20 200:24           now, 419:9                      229:4 230:17 231:3
  277:1 279:6 280:7           213:1 432:11 434:8         NUMBER 3:10 4:3                 233:21 234:21, 21
  281:11 289:9, 11           notes 125:8, 11, 17, 21      38:8 42:10 60:23               235:11 236:6, 19, 19,
  306:9 309:8 334:17          126:22 199:6 209:18         64:22 65:3 98:22              20 237:7, 19, 19
  349:3 350:4 402:18          211:23                      99:3 115:22 117:4, 6           238:23 241:17 244:5,
  418:18, 19 419:6           Notice 1:12 431:4            152:3 242:3, 4                13 246:2 253:5
  420:16 424:2               notify 44:2                  291:20 293:4 300:5             255:10, 10, 18 256:5
 new 32:6, 16 60:21          noting 94:19                 321:5 336:20 373:4             257:8 258:12 259:14
  62:9 100:14 117:3          November 1:6 5:9             380:1                          260:7 262:22 263:1,
  130:14 158:20               89:11, 16, 24 91:4         numbers 38:2 39:21             16, 19 266:13 268:23,
  189:11 247:9 248:19         92:7 93:19 94:1, 3,         98:18 164:11 172:3            24 269:14 270:7
  249:8 336:22 342:12        14, 15, 18 95:3, 23, 24      182:19, 22 183:4               273:4, 10 275:10
  343:14 354:23, 24, 24       96:4 102:18 103:4,          266:4 270:5                    276:2, 20 277:20
  393:12 400:3 407:2         10 108:1 119:17                                             278:2, 11 279:9, 24
 news 392:22 406:10           122:9 125:3 129:12,        <O>                             280:8 281:16 282:7
 newspapers 269:12           12 130:8 131:7, 9, 16       oath 9:3 207:18                 283:2, 23, 23 284:10
 nice 35:12 160:10            132:10 134:10               222:7 398:24                   285:5 286:24 287:21
 night 77:16 304:4            135:20 141:8, 19           Object 10:21 13:17              290:19 291:22
  313:11                      148:12 150:9 153:21         14:3 16:16 17:2, 17            293:23 294:9, 10
 nine 98:6, 6, 6 298:20       156:23 159:8 163:22         18:6 22:12 24:12               295:6, 6, 12, 12, 19
 no, 95:8 170:2               168:18 169:3, 15, 21        26:17 33:14, 20                296:1, 2, 4, 22 297:4,
 Nobody's 278:9               170:15, 16, 22 171:8,       37:23 38:15 40:19             9 298:5, 24 299:1, 1,
 nods 8:1                    14 172:7, 24 173:7           61:24 65:22 66:20             2 303:6, 18, 18
 noises 110:24                176:18 177:6, 21            67:24 71:2, 15 74:11           304:21 306:1 307:21
 noncommittal 126:8           181:22 187:20, 21           75:1 78:1 79:4                 310:4 311:11 314:20
 Nonprofit 11:5, 6            189:20, 21 190:7            80:17 81:2 82:4                317:10 319:2 322:13,
  12:1, 2 267:2               191:4 197:12 198:20,        86:8, 9 87:24 89:12           20, 24 326:23, 23
 nonprofits 38:22            21 202:16, 18 208:4          90:9 91:22 93:7                329:6 333:20 334:1,
  267:19                      211:24 228:3, 4             103:1 105:11 107:4            10, 19 337:16 342:5
 nonresponsive 18:3           229:24 230:2 231:9,         108:13 111:16                  346:17 348:11 354:2
  29:20 56:11 73:20          17 233:24 234:2              116:12 123:21 125:6            355:24, 24 360:24
  332:14                      235:12, 13, 22 241:20       128:9 129:24 131:5             362:21 364:10
 nonresponsiveness            243:19, 22 248:1            132:19 133:13 134:2,           366:23, 23 367:4, 13
  359:16                      249:11 256:3 257:1         2, 6 137:2 140:16, 16           369:8, 14, 20 371:23
 nonsense 18:12               292:12, 20 306:13           141:4 144:7 146:1, 7,          372:15 374:14 378:8
 non-tax-deductible           313:3 314:1, 4, 4          15 147:2, 15 148:5              384:13 403:6 404:21,
  425:20                      320:4, 8, 11 321:12         149:7, 16 150:3               22, 23 406:21 411:8
 Nope 323:10                  333:13, 13, 14, 24          151:2, 11, 17 152:7            413:13 416:13
 normal 36:3 182:13           336:23 337:6, 20            153:15, 23 154:9, 17,          422:21 423:3 426:9
  321:24                      339:23 340:16 341:4        17 155:18 156:5, 12            objecting 166:18
 Notary 1:16 431:2,           342:7, 9 343:14, 15         157:16 158:9 161:5,            353:11 359:15
 15 434:21                    344:1 347:17 348:8         12, 20 164:23 165:9,            402:13 404:24 405:1,
                              349:13 350:23              19 166:4 170:6                 2
                                           Everest Court Reporting LLC                                        Page: 144
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 146 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 objection 17:5 20:16,       officer 62:21 155:13,        288:12 290:16                 opportunity 43:15
 22 35:10 65:9, 17           20                           292:18, 18 293:3, 6            56:21 88:11, 14, 17
  66:8 73:14 76:8, 23        officers 16:8 45:4, 8        294:20 321:10, 16              130:1, 6 349:8
  78:6, 12 82:15 89:19        63:22 64:10, 15             324:22 328:9 329:1            opposing 54:7
  130:21 146:21               66:19 67:23 68:9            330:10 333:22 334:4           opposite 132:7
  167:16 177:1 196:4         Officers, 67:16, 18          335:12 341:12                 order 6:1 22:5, 9, 14,
  205:19 206:6 235:4         offices 67:22 105:6, 7       343:19 344:17 345:3           18, 22 23:4, 8, 8, 12
  238:3 284:16 327:9         official 317:6, 13, 15,      346:16 347:20                  36:22 121:13, 23
  329:23 347:24              17 318:1, 17 431:11          350:18 352:8, 21               138:18 141:22 142:1
  364:14 386:22              Oh 85:19 90:21               353:18 354:12 360:4,           161:2 162:17 201:14
  398:13 404:3, 11            97:1 121:12 142:7          20 361:9, 14 362:9              232:10 295:22
 objections 5:4 18:12         159:6, 7, 9 169:24          363:23 365:2 368:15            326:21 327:6, 6
  76:13 84:5 87:5             171:17 177:17               373:13, 16, 17 377:16          377:6
  239:4 294:15 416:18         193:24 236:6 267:20         379:11 380:9 384:10           orders 23:9, 16
 objection's 213:1            275:16 303:10               385:11 389:10, 16              336:10
 observe 416:9                340:20 343:9 426:19         394:4 397:15, 24              Ordinance 42:2
 Obviously 182:8              429:15                      400:16 401:6, 7                273:23
  359:14 362:4 381:23        Okay 6:16 7:12 8:5,          413:11 415:3 416:23           ordinary 126:9
 occasions 29:4 314:3        9, 14, 24 10:19 12:2         417:2 419:15 420:16           organization 10:4, 11,
 occurred 241:9               14:15, 18 21:23             421:13 426:1, 19              20 11:1 14:7 15:12,
  243:22 330:18               24:23 27:22 31:23           428:11                        20 16:10, 12 21:10
 O'CONNOR 2:6, 21             32:12, 14 33:7, 18         old 304:12 313:9, 16,           32:23 46:9 64:7
  6:13                        34:14 36:10 37:22          17, 17 354:23 355:1,            93:13 134:8, 9
 October 260:22, 22           39:5, 20 40:3 41:5,        1 369:21, 24                    184:24 186:21, 22, 23
  261:3                      24 43:5 48:9 51:11          omitting 83:19                  187:1 267:8 341:13
 odd 204:6                    53:21 56:24 57:16          omniscience 114:8               342:3, 7 343:5 423:7
 offer 99:13 126:8            58:17 60:15 65:19          omniscient 114:4               organizationally 423:8
  168:17 169:10               68:21 72:20 73:20          once 43:1 130:16               organizations 11:7
 offered 127:14 182:4         85:15 87:17 88:6            231:12, 12 252:21              15:24 20:15 346:4
  199:10 275:8                90:17 99:18 100:14,         261:23                        organize 417:14
 offers 182:24               22 101:13 102:1, 15         one-on-one 103:6               Original 381:23
 office 29:2 89:18            104:22 114:24               105:6                          432:14
  90:1, 15 92:5 103:5,        120:19 121:21              ones 89:2 232:5                originally 86:21
 19 107:8, 18 115:3           122:12, 17, 17, 17, 20,     399:18, 21 424:19             other's 62:9 182:23
  119:18, 24 120:1           22, 22, 22 137:14           one's 116:2 120:6               337:22
  126:6, 9 128:2, 21, 21      138:19 143:1 148:21        one-syllable 360:10            otherwise, 313:12
  129:1 136:12 141:17         151:21 171:11              one-to-one 143:6               outcome 252:20
  143:3 148:16 157:19         175:24 176:2, 9, 9         ongoing 336:24 337:3            431:9
  193:2 232:21 233:7          178:22 182:16              online 62:23                   outline 332:21
  234:8 243:12 249:22         183:19 191:10, 22          open 12:20 21:6, 8             outlining 220:5
  250:4 251:12 253:14         198:10 204:9, 19, 20        117:6 216:18 259:16           out-of-office 119:19
  254:8, 9, 10, 12, 13, 24    219:14 221:4, 5             370:16, 16, 17 424:5, 5       outrageous 386:17
  257:2, 3 258:17             225:18 241:23 243:2,       open-ended 226:8, 9            outs 425:12
  312:11 313:19              5 247:2 252:4, 8, 17        opening 12:8, 13               Outside 120:1 128:2
  317:19, 20, 22 336:24       253:16, 19 254:13, 19,      13:23 14:2 426:2               152:3 374:7
  337:19 338:2, 4            23 258:6 259:20             operations 304:6               over' 276:16
  339:23 347:6, 11, 16,       260:21 262:20               368:22                        oversee 216:14 379:2
 18 363:15 367:11, 18         263:13 264:8, 17           opinion 245:19                 oversight 340:3
  374:24 380:6, 7, 13         267:15 272:24 274:2                                        368:22
  428:14                      276:10 281:10, 13                                         owe 78:3
                                           Everest Court Reporting LLC                                        Page: 145
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 147 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 owed 141:2 412:5             375:21, 21 381:18           394:16, 18 396:7              6 126:1, 3 127:20
  414:11                      421:1                       426:6                          152:20 154:14
                             partially 92:8 380:12       penis 71:1, 13 73:24            171:24 183:3 217:4
 <P>                         participant 13:3             74:9 116:10 152:1              219:9 248:12 295:3,
 P.C 2:13                    participate 240:10          PENNSYLVANIA                   11, 23 313:6 336:13
 p.m 102:8 145:15, 15,       particular 94:21             1:1, 13, 17 5:15               341:11 375:12 385:2
 18 189:21, 24 192:1,         131:24 135:22              people 45:3, 13 54:8            388:2 413:24 419:18
 4, 4, 6 316:11, 11, 13       308:21 380:5 390:11         79:17 96:10 104:20,           personal 41:9 42:20
  426:12 429:19 430:1        particularized 157:13       21 113:19 115:10                77:18 118:19 135:19
 PA 2:4, 9, 15               particularly 92:11           116:24 119:9 125:2             143:5 148:13 155:1
 packed 251:14                116:5 119:23 132:13         127:17 128:4, 17               171:12 180:9 218:22
 PAGE 3:4, 10 4:3             141:10 186:15               136:24 139:17                  219:2 237:14 251:13
  60:2, 4, 10, 11, 12         380:11                      142:21, 24 155:4               304:15 309:9, 10
  63:2, 7, 9, 20, 21 65:3    parties 5:2 6:2 302:1        180:4, 10, 22 181:7,          personalities 184:16
  265:23 433:3               parts 348:24                12 184:1 204:8, 9              personality 135:15
 pages 30:21 52:24           party 291:16 431:9           215:24 216:15                  198:12 419:20 420:2
  56:18 103:14 242:7         pass 261:13                  217:20 236:17                 Personally 40:23
  357:22 434:4               passed 261:5                 249:13 255:8 292:2             134:24 249:20 380:8
 paid 26:16, 23 27:2,        passwords 243:7              295:24 299:9 301:16            397:10
 2, 3, 5 37:10 38:4, 6,      pasted 190:2                 313:4 326:21 342:17           personnel 118:10, 11
 7 76:17 79:24               patently 58:9                343:1 387:24 390:19            225:11 258:17 377:8
  150:17 160:20, 20, 21      path 388:6                   397:11, 16 398:2, 16          persons 60:22, 22
  161:16 162:2, 3            patience 37:7                399:24 400:6 401:3,           pertained 213:9
  237:2 272:16 286:17        Patricia 26:10              5 418:16, 19 423:20            pertinent 15:3 24:1
  287:4, 5, 8 296:15, 17,     103:23 109:5 113:21        people's 133:16                 47:7 157:7 197:8
 20 297:3 376:21              119:14 192:17               229:2 239:22 268:16            201:20 278:24 313:1
  409:22, 24 410:4, 14,       207:19 218:11               274:14                        perverted 162:19
 20 411:11 412:3, 6,          254:15 298:13 321:6        percent 160:8 380:18           Philadelphia 1:13
 19, 24, 24 413:1             338:14 352:11, 18           382:16 389:18 390:9            2:4, 9, 15 42:2 60:20
 panoply 259:4               Patricia's 212:19            399:23 400:5 402:2             273:22 317:6
 paper 288:21                 308:6                       404:8                         Philly 62:9
 paperwork 50:16, 16         pattern 310:3, 8, 9         perfect 187:3 340:21           phone 18:10 54:24
 paragraph 87:6, 7           pay 24:10 150:16            perfectly 160:6                 80:5, 16 105:5 126:3
  118:20 230:11               161:7, 19 217:7             182:13 315:20                  142:19 210:24 236:2
 parameters 252:22            240:1 275:8 333:4          perform 382:5                   266:3 270:5 304:3
  253:3, 8, 17, 20 334:4      377:18 410:13, 22, 24      period 14:21 93:5               337:2 338:20 339:3
 paraphrased 177:6            411:3, 5, 10 412:12,        131:20, 21 252:23              392:12
 part 14:7 17:10             21 413:3 414:17              253:21 348:9                  phonetic 104:13
  94:18 106:11 108:24        payday 160:10               perks 231:22 232:2              109:16 110:2 147:14
  114:20 118:6, 21           paying 160:13, 18            234:12                         346:8
  119:4 132:22 136:3,         368:3, 3 379:15            permission 232:21              photograph 178:20
 19 141:15 154:4             payment 278:13               285:3, 9 287:13, 15,          photographs 158:19
  187:8 213:20 243:9         payments 161:22             16, 19 289:5 346:14,            287:1
  249:17 257:14               379:8                      23, 24 374:4 413:5             photos 107:11
  260:18 271:22 272:2        pending 49:3 224:9          permitted 58:12                PHRA 41:23 42:9
  287:2, 10 298:2             246:13 315:14, 15, 18       101:7 256:21 376:5,           phrase 25:9
  319:14 328:1 339:21         324:16, 19, 21 325:12,     10 377:23 409:19, 21           physical 157:20
  340:4 342:24 343:3,        16 326:2, 7, 9, 12, 19      person 8:18, 19                 249:24
 3 350:6 366:6                332:3, 10 335:15            34:15, 16 35:1, 3, 8          physically 89:17
                              341:23 343:11               76:17 105:5, 6 115:1,
                                           Everest Court Reporting LLC                                        Page: 146
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 148 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  250:4, 22 251:4             376:15 379:24 387:1,       355:15 370:24                  382:20, 22 418:22
 pick 80:5 236:2             20 390:24 391:17            380:15 431:5                   419:22
 picks 77:14                  394:12 399:19, 23         Plaintiff 1:4 2:6, 22          point-blank 95:6
 picture 258:23 288:8,        400:11, 11 401:23          6:9 98:4, 10                  pointed 163:21
 21 289:1, 4, 12 290:10       403:17 404:16             plaintiffs 95:19                182:22 206:3
 pictures 287:12              405:24 412:2, 2            96:20 97:7 98:20              pointedly 126:6
 piling 120:7                 414:8 417:3 424:3          109:22 114:21                 pointing 124:7
 pillow 174:24                428:5 429:14               153:17                         190:13 226:15
 pin 102:22                  Pipes-1 3:11 120:22,       plan 375:10                     319:22
 PIPES 1:11 3:3              23                         planning 16:18, 21, 22         points 226:15 254:2,
  5:12 6:6, 21 7:4, 6        Pipes-10 3:20               18:22                         4
  9:9, 10 14:11 19:9,        Pipes-11 3:21              plate 417:12                   policy 116:23 117:13,
 14 21:18 22:6, 10, 17       Pipes-12 3:22              play 75:19                     18 118:7, 9, 21
  23:9, 10 26:8 30:6         Pipes-13 3:23              played 75:23 121:11             232:17, 20 245:21, 22
  31:1, 10 32:6, 21          Pipes-14 3:24               275:21 276:12                  255:8 259:11 285:20,
  35:20 41:9 45:21           Pipes-15 4:4               playing 55:14 139:13,          24 294:23 298:2
  49:16 53:6 59:19           Pipes-16 4:5               16, 20 140:7, 9 417:10          327:24 328:21
  67:17 69:24 71:6           Pipes-17 4:6               plea 165:5                      367:10
  72:4, 11 74:20 76:4        Pipes-18 4:7               pleasantries 304:5             political 12:3, 7
  79:6 81:9 83:21            Pipes-19 4:8               please 5:22 6:6 8:20            317:8, 13, 16, 18, 23
  84:18 86:2 115:15          Pipes-2 3:12 121:5          9:7, 20 14:24 18:11            346:5 371:16 423:22
  118:18 121:13 122:7         122:4                      32:16 48:13 60:17             politically 424:8
  145:21 159:13 166:7        Pipes-20 4:9                68:15 84:4 87:17              politics 11:18 13:15,
  175:23 187:6 188:15        Pipes-21 4:10               88:6 105:9 115:15             24 126:9 286:1, 6
  189:7, 10 195:10           Pipes-22 4:11               120:17, 18 125:24              424:16
  196:17 197:21 200:7        Pipes-23 4:12               175:20 177:20 196:8           pool 340:2
  201:15 203:5 204:2,        Pipes-24 4:13               226:5 243:16 257:14           poor 110:4
 14 212:10 215:20            Pipes-25 4:14               260:18, 24 265:4              pop 134:17, 21
  216:7 217:13 218:7         Pipes-26 4:15               281:7, 8 300:13                371:19 372:1, 4, 9, 10
  220:3, 20 221:20           Pipes-27 4:16               344:12 346:12                 portfolio 40:15 44:3,
  222:24 223:20 224:2        Pipes-28 4:17               373:13 398:19 410:9           4
  225:18, 20 230:20          Pipes-29 4:18               427:22 432:4, 8               portray 286:2
  233:9 236:18 240:1         Pipes-3 3:13 121:14,       pleased 239:7, 8, 9            portrayed 261:22
  243:16 244:7 245:15        16                          403:12                         262:4 287:9
  247:21 257:5 270:9         Pipes-4 3:14 121:18,       plenty 85:19 169:6             Posepiak 346:8
  271:3, 15 272:21           20                         PNC 40:10                      position 28:14 45:15,
  277:8 278:19 279:6         Pipes-5 3:15               poetic 315:16 335:19           17, 21, 22 68:18, 24
  288:15 290:6 291:20        Pipes-6 3:16               point 13:8 28:19                69:11 79:1 84:19
  296:12 300:13, 21          Pipes-7 3:17 242:7          48:22 78:17 79:19              111:2 140:7 183:13,
  304:18 307:10 311:6        Pipes-8 3:18 242:6,         84:24 90:3 93:23              15, 17 212:17 236:3
  315:10 316:17              12                          94:2 99:1, 19 143:15           240:17 333:1 334:7,
  324:14, 21 325:2           Pipes-9 3:19                150:2 153:17 158:6            8, 13, 18, 21 339:11
  326:17, 19, 20 327:12,     Place 2:8 5:24              160:19 189:8 191:12            349:1 350:10 368:22,
 22 331:12 332:2, 10          44:12 79:10 80:1           193:13 194:4 198:11           24 375:11 387:3
  333:7 335:12 336:19         93:5, 6, 10 105:5          211:13 224:17 229:6           positioned 69:6, 9, 15
  341:23 343:16, 19           137:3 140:3 169:10         242:3 286:8 298:21            positions 269:5
  345:14, 19 346:6, 13        172:5 211:5 238:12         300:21 304:18, 19             positive 169:15
  351:8 352:24 356:13         245:6 252:22 253:3,        309:6 312:10 321:22           possession 54:19
  358:22 359:18 362:7,       8, 17 286:4 309:9, 12       350:19, 21, 23 359:9           112:10 300:22
 24 363:4, 8 374:18           314:14 334:5 344:1         374:23 378:4 381:13
                                          Everest Court Reporting LLC                                        Page: 147
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 149 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  304:19                      328:9 377:9, 10             158:14 160:22                 19 124:2 126:5
 possibility 258:21          press 75:7                   163:20, 24 171:17              230:9 421:1
 possible 171:7, 13          Presumably 112:5             172:17 184:23 187:2,          projects 120:8
  182:7 334:6 371:13          261:5, 13 422:8            4, 8 211:15 216:24              136:13 265:2 368:19
 possibly 299:6              pretend 55:12 64:14          217:8, 18 229:21               420:22 422:5
 Post 235:12, 13              214:13                      253:14 266:11                 prominent 287:10
  249:11 354:21 377:4        pretended 289:22             271:15 288:7 314:23           promise 8:21, 22
 pot 425:7                    291:15                      395:18 403:17 405:5,          promptly 255:20
 potential 24:24 425:5       pretty 23:12 41:15          9 418:24 428:18, 23            propositions 75:15
 potentially 303:22           404:16, 16                 problem, 100:9                 propounded 434:6
  312:7                      prevent 117:18 118:8        problems 15:9 86:24            Prosser 104:9 233:18
 power 181:1 339:11          previous 324:6, 8            97:5 117:8, 10, 11            protect 78:11, 16
  348:23, 24 349:1            355:15 380:20               119:1, 20 130:24               234:10 238:12 342:3
 powers 234:12               previously 182:23            132:9 135:9 158:22            protected 157:15, 21
 Practice 42:2 273:22         346:6                       162:4 185:1 198:4             protection 157:22
  401:20                     principals 187:12            211:8 216:16, 18              protest 213:24
 pre 354:21, 22 362:8         234:19 239:8                225:10 229:12 233:7           protested 186:12
  364:4 377:4 406:7          printout 261:4               329:17 367:22                 protocol 178:1
 pre-authorized              prior 47:16 49:13            370:17 421:6                  protocols 178:6
  376:12, 16                  131:9 224:5, 16            Procedure 98:13                prove 314:4 333:6
 precedence 422:1             324:3 344:8 406:4           377:21 378:3                  proven 137:7 333:3
 precise 70:9                priority 238:13             proceed 19:17 22:2             provide 7:21, 24
 precisely 105:17            private 133:16               201:13                         28:24, 24 32:16, 23
 Predated 343:15              185:21 186:4 215:24        proceeded 13:8                  127:18 199:11
 predator 202:8               216:23                     proceeding 37:3                 261:12 277:10 283:4,
 pre-March 348:3             privilege 65:17 74:15        102:8 145:15 192:4            8, 10 398:5
 preparation 418:8            244:8, 10, 24 245:3, 7      316:11                        provided 7:20 88:19
 prepared 271:11, 14          246:17 248:6 381:6         process 96:24 119:4,            279:22
  285:2 418:9                 402:14, 16 404:3, 12       6 152:13, 13 340:4             providence 79:16
 Preparing 350:17, 18         405:16, 18, 19             produce 113:5                   237:2
  369:22                     privileged 113:4             177:20 280:21 281:9           provides 48:19
 presence 157:20              245:8 268:19 405:12         373:14 402:19                 providing 352:22
  374:7                      privileged, 65:15           produced 159:17                proxy 155:16
 PRESENT 2:18                privileges 250:3             252:18 381:7 399:11           psychological 184:17
  25:19 328:4 356:17,        pro 149:11, 14, 15           402:12, 19 428:2               185:7, 8 337:1, 3
 20, 24 357:4, 10, 10         215:12                     producing 65:19                psychology 184:22
  358:18, 20, 23 359:5       probably 7:12, 13            398:11                        Public 1:16 50:16
  360:20 361:2, 6, 13         23:15 70:15 77:12,         product 362:18                  268:21 270:5 318:1,
 presented 217:18            16                          production 66:3, 14            17 369:2 431:4, 15
 presenting 55:6             probation 94:6 231:6,        67:1 112:13 125:20             434:21
 presently 110:8             11 369:3                     368:21 373:23                 publication 269:7
 presents 86:3               probationary 252:23         Professional 1:15              public-elected 317:12
 preservation 405:16          253:21 368:23 369:1,       profile 424:12                 publicly 287:17
 President 28:16 33:4        4, 11                       profit 161:3                   pull 87:6 120:18
  45:23 46:4, 6, 8           problem 23:18 35:23         Profusely 397:23                207:19
  47:20 49:18 50:1            41:7 55:22 58:23           prohibit 327:24                pulled 193:3, 15
  56:14 67:21, 21 69:3,       91:18 93:10 96:1, 11        328:21                         201:6, 9 203:19
 4 77:2, 7 114:4              97:6 99:24 100:4, 13       prohibiting 294:23              204:15 205:4 206:9
  119:5 195:10 216:8          129:8 134:10, 18           project 119:21                 pulling 204:23
                              135:10 149:20               120:12, 16 123:2, 7,
                                           Everest Court Reporting LLC                                        Page: 148
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 150 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 pulls 204:18                 172:11 177:7 179:8         7 72:11, 14 74:17              raising 354:23
 punished 233:3               184:11 188:4 194:22,        82:23 122:15 142:3            random 417:22 419:3
 punitive 40:22 41:8,        24 195:8, 11, 23             161:21 196:7, 10, 11,         Range 106:1 150:19
 10, 12, 13, 17, 19, 24       197:2, 5 203:4, 9, 10      18 199:8 200:13, 21             209:17 285:7 342:12
  42:3                        210:16 212:3 220:23         201:11 208:21, 22             rapidly 428:24
 purchased 409:7, 8           222:2, 9, 11, 24 223:6,     221:16, 19, 21, 21            rates 372:7
 purple 421:12, 14           7, 12, 13 224:2, 8, 9,       223:10, 16 226:2              Raymond 40:8, 9, 13,
 purpose 274:18, 23          14, 16, 17, 18 225:22        241:1 242:2 329:8             16
 purposes 280:11              226:1, 10, 14, 18           330:4, 9, 15, 17, 18          reach 92:22 415:6
  339:15                      244:14 246:4, 13            344:19 351:19                 reached 92:23 99:19
 pursuant 1:12 431:4          248:3, 5, 14 249:15         358:10 381:15                  262:14
 pursue 90:22, 24             257:4, 12 258:3, 4, 7,      382:10 383:20                 reacted 212:10, 11, 13
 purveying 315:3             13 264:1 278:21              402:20 403:4, 23              read 6:15 14:23
 purview 74:23 75:4,          279:3 283:9, 15             404:13 405:12, 14, 17,         15:2 23:22, 24 32:9
 12                           284:1, 17 295:14, 20       21 416:11, 12 424:4             47:4, 6 48:7 52:1, 2,
 push 140:1 338:12            297:17 299:8, 21            429:18 434:6                  3, 6, 7 54:17 55:5, 20
 put 51:9 52:11               302:2 311:7, 8, 15, 17,    question's 166:9                56:17 57:6 58:1
  57:23 65:3 83:14           18, 18, 19 315:11, 13,       426:6                          59:1, 12, 19 60:3, 11,
  84:5 97:2 106:19, 22,      15, 18 318:10, 18, 19       quick 18:11 176:8              16, 18 73:1 81:19, 23
 22 137:9 150:19              324:9, 16, 19, 21           427:22                         82:24 112:4, 16, 21
  152:21 159:18 176:3         325:2, 11, 12, 13, 16,     quickly 7:15 95:12              122:14, 22 127:4
  178:14 183:12, 15, 19      20 326:1, 2, 4, 7, 9, 10,    280:21 307:13 316:1            142:22 157:2, 3, 6
  193:2, 14, 21 195:20       12, 12, 15, 19 327:13       quid 149:11, 14, 15             159:16, 17, 19 162:13
  198:14 199:20 201:5         329:13, 17 330:1, 1,        215:12                         170:4 173:20 176:7
  206:10 211:22              13, 23 331:1, 2, 4, 7,      quiet 14:16 19:11               177:5 179:6 191:8
  212:18 213:19              14, 22 332:2, 10             175:19, 22 278:17              193:8, 9 197:4, 7
  229:11 231:6 261:23         333:11 334:11              quit 262:5                      200:4 201:19 219:17
  268:18 311:2 340:1          335:15, 17 336:1, 2        quite 63:21 234:5               230:10, 13 240:13, 20
  345:7 385:24 403:5          341:17, 22 342:1            346:19 425:15                  270:18 271:24
 puts 205:14                  343:11 344:13 351:4,       quiver 344:2                    278:21, 23 284:22
 putting 55:21 171:1         7, 8, 13, 14, 20 352:1      quizzed 309:3, 4, 4             292:17 313:12
  205:1                       353:4, 7 356:12, 23        quo 149:11, 15                  319:10 320:16
                              357:3, 4, 9, 9, 12, 16,     215:12                         342:16 346:11 348:5
 <Q>                         18, 19 358:18, 19           quote 95:6, 7 170:2             349:12 354:9 362:2,
 question 5:5 7:18            359:4, 7, 23 360:2, 4,      220:11 222:16                 19 363:18, 24 368:23
  8:10, 10, 11, 22 14:22,    6 362:7 367:5                328:12                         374:8 375:18 380:6,
 24 18:3, 21 19:4, 8,         374:19 378:21              quoted 95:22 177:6             20 381:10, 14, 17, 18
 15 20:6, 8, 10, 21           386:14 387:18, 21           341:9                          389:24 390:7 392:21
  21:20 23:3, 7, 17, 20,      390:6 391:1, 11            quotes 95:24                    399:24 400:6, 8, 13,
 22 40:24 44:17, 18           392:8 393:3, 8, 12                                        14, 15, 16, 17, 22
  46:23 48:18, 22 49:2,       394:10, 16, 20, 21         <R>                             402:6, 8, 9 403:16
 4, 6 51:16, 24 53:9          395:17, 24 396:3, 6, 7,    races 424:18                    406:18 417:18
  59:9, 21 61:4 66:22        7, 9, 10, 18 400:5, 9,      radical 136:10 211:7            418:11 420:1, 6
  68:1 72:24 82:20           12 403:6 405:1, 4           radically 238:18                421:7 422:6 427:22
  86:10 91:13 100:24          413:16 427:23 429:2        raise 186:23 216:13             432:4 434:4
  101:11, 17 107:5           questioning 140:15, 19       255:1 267:2, 5                reader 179:16 191:2
  109:21 133:10 146:4        questions 7:16, 20           342:21, 22 419:14             reading 54:23 200:6
  151:17 154:10               8:12 19:18 21:17           raised 161:18, 23               220:11 284:7 385:15
  155:15 156:15 162:8         42:20 43:2, 12 48:19        217:20 230:23 260:8           reads 55:8
  166:12 168:5 171:6          57:21 58:2, 11 59:5,
                                           Everest Court Reporting LLC                                        Page: 149
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 151 of 180
Deposition of DANIEL PIPES                                                Lisa Barbounis v. Middle Eastern Forum, et. al.

 ready 59:22 191:9             369:12 380:1 384:24        red 286:3                      related 20:11, 12, 13
  192:14, 15, 15 292:8         385:1, 2                   reduce 58:11 231:21             70:10 109:21 110:19
  324:14, 22, 23 326:14,      receiving 103:4             refer 158:18 174:16,            152:17 286:6 318:24
 17 394:7, 8                   252:13 339:14              17 383:20                       368:21 373:2 422:19
 real 176:8 249:15             417:19                     reference 320:8                 423:1
  427:22                      recess 37:2 102:7            407:6 414:13 429:6            relating 272:14
 realize 416:10                145:14 192:3 316:10        referenced 261:1               relations 21:2 74:4
 realized 85:10, 11, 14       recite 283:19 284:22         373:15                         93:16 138:17 180:10,
  92:15 244:4                 recognize 41:21             references 255:7               22 181:12 213:23
 really 7:15 42:21             176:12 402:11              referencing 226:16              309:10 312:13
  51:14 115:14 137:12         recollection 122:23          240:16 263:24                 relationship 17:14
  144:18 159:7 184:10         reconcile 261:16             313:18 318:9, 11, 13           20:14, 20 155:1
  194:14 210:7, 8             record 5:9, 21 6:8,          330:20 407:13                  156:2 189:12 304:15,
  223:4 239:3 240:7           15 8:5, 19 9:8 23:16         427:19 429:4                  23 305:5, 20 308:15
  248:12 274:11, 16            32:8 36:20, 24 37:6        referred 80:8 227:11            339:6
  279:6 280:17 290:6           52:3, 5, 9, 10 56:1, 2,    referring 97:22                relationships 155:4
  305:15 314:16               19 58:24 60:16, 18           100:2, 9 103:13               relevancy 154:13
  359:13 371:1 385:22          61:4 71:8 84:6              177:20 178:11, 17             relevant 43:12 128:8
  426:20                       88:16 91:8, 10 102:5,       319:14 336:24                  154:7 195:14, 18, 21
 rearrange 337:18             11 125:17 127:2              347:16 348:7 361:18           relief 255:24
 reason 13:23 80:24            144:20 145:12, 19           362:6 364:2 406:24            reluctance 363:11
  86:22 88:7, 18               148:24 152:15 192:1,        408:23                        rely 248:5
  100:10 128:14 137:8,        7 195:5 209:9 223:5,        reflect 319:13                 rem 144:14
 19, 21 139:3 164:10,         15, 17 224:13 229:11        reflects 256:17                remain 93:4, 6 366:5
 19, 20 165:24 182:17          233:11 240:6 244:21        refreshers 117:21               368:23 423:10
  183:2, 3 197:13              316:8, 15 319:12           refusal 362:18                 remainder 409:22
  244:11 262:3 267:16          323:13, 14, 17, 19         refused 332:14                 remained 253:3, 17
  282:4 375:16 378:17,         324:23 325:8, 23           refusing 56:12                 remaining 427:7
 20, 21 380:19 408:1           326:9 345:2, 4 359:1       regard 21:9 337:17             remains 348:23 375:9
  411:22 412:3 432:6           372:20 373:14, 19           360:4, 6                      remember 10:5
  433:5, 8, 11, 14, 17, 20,    375:21 386:1 387:7,        Regarding 107:22, 22            14:24 21:5, 6, 7 25:4,
 23                           10 392:11 403:6              329:3 338:7 389:18            8, 11, 12, 21 27:13
 reasoning 165:1               416:8 429:17, 20            417:6                          28:3 33:8 37:19, 21,
 reasons 85:17, 20             431:8                      regime 256:24                  22 38:16 40:1 45:14,
  86:5, 15 87:20 88:18        recorded 5:11 81:13         regularly 347:7                18, 20, 22 49:21
  150:19 168:21                431:6                      regularly, 347:21               69:19, 22 70:1 87:17
  172:23                      Recording 3:14, 21          reimburse 377:24                89:1, 2, 4 93:8, 9
 Rebel 267:5, 7                71:5 75:19, 23 76:3,        378:1 379:12                   96:6 100:1, 4 102:18
 recall 38:1 131:11,          6, 15, 16 79:16 80:9,       reimbursed 376:10,              103:8 105:2, 4, 24
 13 242:18, 19, 21, 22        15 81:3 121:10, 19,         22 378:6, 9 379:5               110:16, 23 111:7
  363:6 379:20, 21            20 133:5, 12 150:24         reimbursement 377:14            115:2 123:18 129:15,
  421:3                        151:6, 13 236:23           reimbursing 379:17             17 131:23, 23, 24
 receipt 432:15                237:1 275:12, 14, 21       reinstated 368:17               135:23 143:24 144:5,
 receipts 377:22               276:12, 17, 23 277:1        380:10, 12                    17 146:12 162:6
 receive 43:19 103:11          278:20                     reiterate 318:21                174:21 176:5, 10, 11
  252:15 415:1 419:7          records 125:18, 24          reiterated 252:2                181:24 190:7, 9
 received 103:8                127:4, 12 142:19           rejoined 12:23, 24              192:19 199:5, 6, 18
  160:24 261:4, 13             388:20 389:16, 20, 21       13:2                           200:5 204:7 208:7
  304:3 348:6, 16             recruit 171:23 172:1        relate 324:2 367:9              228:7 231:14 234:3
                                                                                          241:20 242:23
                                            Everest Court Reporting LLC                                        Page: 150
                                     215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 152 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  252:13 256:15              reported 1:14 96:3, 9      Representing 2:6, 11,           203:9 212:21 218:22
  258:15 262:13               105:10 129:23 152:5       16 6:13 66:17 386:6             219:2, 15 320:14
  286:15 288:3 296:19         172:4, 24 192:17           387:14                         367:11 370:1 373:24
  297:16 307:14               272:11 322:12             reprieve 348:6, 10, 16          397:20, 21 421:7
  323:23 333:15               375:15                     355:22 406:6                  responses 7:20 9:3
  343:13 346:10              Reporter 1:16 5:18,        Republican 317:6                67:1 359:22 399:16
  352:11, 14, 15 353:23      21, 23 6:3, 16 8:24         318:1, 18                     responsibilities
  378:2, 5 387:24             14:14, 16 15:2 23:24      reputation 338:7, 11            130:13, 14
  389:15 398:7 407:7          27:11 30:1 47:3, 6,        349:6 354:7                   responsibility 78:4, 4
  408:6 410:20 413:7,        11 48:6, 8 70:21, 23       request 66:3, 13                156:10, 15, 17, 22
 19, 20, 22 414:3, 9          74:1, 10, 22 75:3          112:11, 13 113:4               157:13 328:2, 5
  417:19, 22, 24 418:3        79:6 81:8 82:21            125:20 199:7 263:4             368:19
  420:12, 14 421:21           87:1 90:19 91:6            373:14, 19, 23 399:10         responsible 147:8, 13
 remember, 7:22               99:9 102:12 106:10        requested 112:13                158:7 186:24 216:3
 remind 131:23 162:3          108:5 111:17 115:14        241:8 262:24                  responsive 7:23, 23
  186:6 269:17 272:24         118:17 137:13             requesting 399:8                112:11 113:2, 3
 reminded 428:9               139:12 144:14 146:3       requests 65:4 66:24             344:21 373:21 399:3,
 remotely 1:12 5:24           149:13 151:7 157:6         67:1 112:8 399:3, 16          10, 20
  6:4, 22                     168:3 175:15, 19          require 93:4 358:10            rest 230:10 240:20
 remove 320:23                179:15 197:7 201:17,      required 114:9                 restated 368:17
 removed 136:11              19 205:12 207:21           requirements 17:24             restrictions 90:4, 7
  157:19 197:22               209:7 221:4, 9 244:6,     requires 22:14 423:6            91:15 380:20
  204:11 251:11              9 250:14, 17 278:17,       research 184:1, 8, 16,         resulting 362:18
  320:22 336:23              23 290:4 296:8             17, 18, 18, 22 185:7, 8        resume 224:1, 5
  339:23 347:6, 15, 17        300:12 310:14 316:5        305:14 388:7 397:9,           resumed 91:3
 removing 228:12              325:18 326:1, 6, 13       19 417:8, 9                    retain 28:17
 remuneration 231:22          328:17 345:7 353:15,      reserved 5:5                   retained 136:12
  356:4 367:24               19 376:14 399:15           resignation 420:4              retaliate 130:2, 7
 repeat 8:13 32:8             414:5 429:16              resolution 153:1, 3, 5         retaliated 129:22
 repeated 153:24             reporters 75:15 236:5       158:16 187:13 309:6           retaliation 129:21
 repeatedly 163:21           Reporting 5:17, 19         resolutions 143:7               131:18, 19 293:21
  184:4 186:12                119:4 176:17 180:4        resolve 43:10 98:22             294:2, 4, 8, 13, 18, 21,
 repeating 134:4              198:19 238:21 308:6        99:14                         24 322:17, 19, 23
  323:1 370:3                 329:5 337:2, 6, 10        resources 119:8                 326:22 327:6, 7
 repercussions 288:18         338:2 339:24 366:21        148:10 149:24                  328:21 329:5, 21
  373:7, 8, 10, 15            375:23                     250:20 328:7                   331:1 338:15
 rephrase 8:13               reports 95:7 108:12        respect 363:10                 retold 150:16
 replace 231:9                118:3 148:2 162:5         respective 5:2                 return 13:7, 7, 8
 replied 190:12 192:13        238:22 248:16 294:6,      respond 65:24 72:14             84:20 253:2, 7, 16
 reply 318:5, 8              7 329:20 374:24             73:4                           277:24 278:6, 9
 report 95:1, 8 97:23         376:5, 8 384:11           responded 66:6, 10,             432:13
  98:12 117:1 118:15         represent 6:10 64:2,       13 420:1                       returned 279:4
  136:4, 6 150:8 171:4,      21 65:2 97:13 190:6        responding 189:19               402:21
 7, 8, 8 198:23 274:7         252:17 349:22              294:5 380:9 391:10            returning 348:17
  321:17 326:22 327:7         354:14 386:12              418:3 419:12                   371:5
  330:18 333:2 334:24         416:14, 17, 19 428:1      responds 243:5                 reuse 417:15
  336:14 338:15, 16          representation 427:7        346:12                        review 51:13, 15, 23
  339:13 340:15              Representative 2:22        response 7:21 8:23              59:4 252:6 282:16
  363:17 375:12              represented 64:18           73:6 112:7 117:3               389:16, 20 418:9
  380:14                      67:5 98:21 99:2            118:3 125:19 126:8
                                          Everest Court Reporting LLC                                        Page: 151
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 153 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 reviewed 162:11              229:1 230:4, 5 231:9,       384:19 386:18 387:4,           258:7 273:21 275:7
  390:7 397:14               13 232:8, 17, 23, 24        16 390:18 394:4                 292:19 293:17 294:5
 reviewing 362:17             233:2, 3, 4, 5 236:5        395:10 396:12, 19              295:3 298:21 299:7
 reviews 52:11                241:2, 12, 22, 24           398:9, 19 402:4                301:16 303:23
 revise 86:10                 242:9, 11, 14 243:5,        403:17 405:1 406:5,            304:15 308:7 314:19,
 RICO 260:6 261:1, 7,        22 246:10 248:20            6, 8, 19, 20 407:4, 14,        23 320:4 321:12, 20
 9, 20 262:12                 249:18 250:7 251:16,       24 408:12, 20, 21               329:4 333:2 354:13
 rid 350:5                   17 252:9 253:17, 18,         409:8, 10, 10, 20              360:8, 17 361:24
 ridiculous 36:15, 16,       21, 22 255:3, 9              410:8, 19, 22 411:3,           363:23 364:6, 17
 19 57:11 59:11               259:12, 22, 24 260:2       19 412:23 414:2, 23             365:17 367:9 368:17
  330:11 344:16, 16           262:21, 24 263:24           417:3 418:17 420:7             371:5 386:6 389:18
 RIESER 2:13 6:17,            264:5, 8, 8, 11, 17         422:18 426:22                  390:1, 9 407:21
 17 41:16, 23 42:10,          265:22 266:17, 19           427:17 429:13, 14, 16          418:12 422:7
 13, 16 385:21, 23            270:19 272:19 273:9        rights 217:11 416:15           Roman's 63:6, 15, 18
  386:10, 16 387:3, 6, 9,     275:18 278:10              rises 150:1                     89:23 147:6 155:12
 14 410:9 415:4, 8, 13        279:14 282:23              Robinson 267:13                 185:21 186:3 211:23
  416:5, 15, 20, 23           283:13, 20 284:5, 19,       279:21 285:4, 10               219:15 249:19 250:3
 right 16:22 18:16           23 285:13, 18 286:7,         286:3, 18 287:3, 11            251:3 320:17 369:13
  22:6 30:2 31:11            23 287:14, 19 289:2,         289:16 316:21 373:5,           386:8
  36:11 43:15 55:12          6, 12 290:12, 13            12                             room 77:15 96:10
  59:14, 18 64:3, 11, 22      291:12 292:4, 5, 7, 7,     Robinson's 374:8                150:13 151:8 152:3
  67:2 77:5 80:12, 16,       9, 12, 13, 14 293:2, 8,     rogue 233:2 367:9               164:22 165:18 166:3,
 20 84:5, 15, 18 87:19       12, 13 294:2 295:11,        role 84:23 114:12              13 168:7 169:11
  88:18 89:2, 3, 8           17, 22, 24 298:13, 14        136:12, 12 347:8               193:17 204:8 212:16
  91:16 101:23 103:16         299:7, 14 300:24            348:17 380:5                   214:17, 18 215:7
  112:1, 23 117:12            301:5, 6, 11 302:24        Roman 2:16, 21 6:18             236:14 428:13, 15
  120:19, 20 121:18           303:16, 17 304:15           7:6 12:15 24:6, 10,           roughly 220:17, 18
  122:3, 9 124:3, 9, 12       306:10, 11 307:3, 10       18 26:16, 20, 24 33:9,          313:4
  125:5 126:15 128:5,         308:7 309:24 310:3         12, 16 37:9 62:15, 18,         round 193:22, 23
 15 130:11, 20 131:4          313:12 314:22              21 70:24 71:13                  201:4 241:24
  132:18 134:1, 23, 24        315:21 317:13               74:21 75:2, 10 77:24          rub 116:16
  135:19 136:20               318:10, 24 319:20, 24       78:5, 18, 22 84:19            rule 19:6, 11 57:17
  140:11 144:6, 22            320:16, 20 322:9, 19        86:19 89:10, 15 93:2           117:4 425:22
  145:8 147:6 149:12          323:5, 12, 13 324:5         107:7, 10, 13, 23, 24         Rules 98:13 226:3
  151:9 152:6 154:16,         325:15 330:8 333:18         113:9, 22 114:2, 11            401:21
 23 155:12 160:15             337:7 339:16 340:18         119:16 122:8 136:23           ruling 55:17
  163:14 176:1, 21            341:15, 16, 22 344:6,       138:14 143:19, 19             rumor 137:6, 17
  177:10, 24 179:9           13, 21 345:22 346:15         144:6 145:21 146:13            138:12, 14, 16, 20, 20,
  180:20 181:10               347:3, 3, 21 348:5, 10,     150:12 151:8 154:6            21, 22 139:9 143:9
  183:19 187:9 189:13        22 350:6, 13, 14             155:20 156:11                  150:1, 16 153:24
  191:24 192:9, 10            352:6 353:8, 8 354:4,       159:15 168:21 171:1            301:20 302:8 303:3
  193:22, 24 195:21          9 355:3, 19 357:5            179:8 181:17 184:7             307:11 308:1 309:15
  196:2, 2, 17, 21, 23        359:2 360:7 361:16          185:17 188:2 189:11,           311:24 343:10, 10, 12
  197:17 198:18 200:2         362:5, 10, 11, 14, 15,     13 196:23 198:17                354:21 355:2 356:15
  205:5, 23, 24 206:14       20 363:3, 19 364:22          202:7 203:19 212:14,           361:19, 21, 22 370:22,
  207:7, 24 208:4             366:8, 9, 16 367:3         15, 18 214:16 217:11           23 406:3 407:5
  212:4 213:6 216:10,         368:8, 13 369:1, 19         232:3, 20 234:20               408:14 419:4 428:8,
 22 217:2 218:5, 9            370:7 371:8, 20             235:1 236:12 240:11           19
  220:1, 22 222:4             372:13, 23 374:8, 12,       243:24 244:12 255:8           rumor, 138:12
  223:1 226:1 228:23         19 375:20 376:5              256:2, 20 257:6
                                           Everest Court Reporting LLC                                        Page: 152
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 154 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 rumors 149:18, 22            300:20 309:14, 23          scrolled 319:13                14, 16, 16 345:10, 18
  314:8, 13 354:7             311:3 312:2, 3, 3, 4, 4,   scrolling 240:21                346:12 352:16, 16, 17
  362:2 418:23 429:1         5, 20, 20, 20, 21 313:4,    scuttle 13:10 262:11,           354:4 357:11 360:7,
 run 7:14 145:2              8 322:7 323:23              12                             12, 13, 14, 17, 19
 running 339:21               333:5, 8 338:19            scuttled 13:9                   365:16 370:20, 20
 ruse 202:3                   341:14 342:18, 19, 19,     seal 431:11                     372:3 376:3 380:20
                             20 344:22 347:13            sealing 5:3                     381:19, 22 383:21
 <S>                          348:8 354:4, 16            search 125:18                   403:17 404:9 406:8
 sabotage 344:18              357:14 361:9 368:24        second 8:9 22:20, 21            419:21, 23 420:2
 safe 237:17 238:1, 9,        370:11 375:22, 24           46:17 60:14 85:24              422:2, 2, 3, 3, 3
 11                           376:1 378:24 379:1,         86:7 120:19 131:1             seeing 336:9 372:4
 safeguards 238:12           1 388:12 390:17              162:22 179:7 193:23            417:10
 safety 164:11, 11            410:2, 3 411:24             194:21 198:21 206:9           seek 185:6
  172:3 182:19                412:1, 11 427:5             261:3 265:9 285:23            seeks 183:21
 sake 234:8 405:15           says 54:19 59:10             291:7 312:5 333:23            seen 53:5 63:9 98:3
 salary 27:2, 4, 5, 5, 7      61:19, 20 62:8 63:11,       337:20 349:8 373:23            116:10, 16 177:16, 19
  37:20 232:9 366:5          14 64:6, 15 67:18            382:1                          279:16, 19 281:11
  419:7 422:13                124:14, 19, 19 178:22,     secondary 194:9                 314:18 398:10 399:1
 Samantha 147:8              22 189:4 198:11             secondly 137:5, 17             select 124:13 127:16
 sat 159:5 192:18             211:14 214:17 224:4         259:17 358:9 400:10,          self-evident 183:23
 satchel 344:2                230:19 241:5, 13           14                             Self-explanatory 249:4
 satisfaction 125:10          243:3 249:5, 8             secret 171:19 268:19           self-reporting 98:14
  136:16 150:21               252:12, 19 254:23           269:3, 17 272:17              send 28:10 43:4, 8
  152:24 157:1, 10            255:4, 6 263:21            secretary 64:6 67:21            144:10 177:24 178:1,
  158:15 184:19               280:7 302:14 306:7          68:18, 20                     5, 7 219:4 247:18
  238:19 251:11               307:10 321:16 329:2        secrets 261:19                  262:20 263:8, 9, 12
  259:18, 20                  330:22 332:20               264:22, 23 268:22              264:14, 14
 satisfactorily 128:24        336:21 346:12, 22           269:24 270:16                 sending 247:8 417:2
  136:15 171:9 239:5          347:4, 15 356:15            271:22                        sense 60:12 255:21
 satisfied 177:15, 18         360:8 366:8 371:10         section 60:5, 16, 18            259:15 274:17
  209:23 241:6                377:8 379:23, 24            64:10, 15 66:19                318:23 319:9
 saw 85:10 92:15              385:3 402:3, 4              67:16 247:8                   sensitive 196:22
  98:6 110:17 114:20          411:21 421:22 428:4,       see 51:9 53:7 58:19             197:10, 11, 12
  116:7, 8, 18 235:5         11, 11, 21, 21, 21           63:10, 11, 14 64:22,          sent 110:1 122:8
  280:13, 23 281:3           scared 174:20 182:8,        23 66:16, 18 67:18              124:11 127:9 130:14
  370:22 399:24 400:6        18                           68:8 87:13 116:8               173:21 174:2 178:15,
  418:19 428:23              scene 158:23                 120:20 122:9 124:19           20 189:21 190:1, 2, 6
 saying 32:22 83:16          schedule 370:14              127:6 130:15 134:9             192:12 199:6 211:5
  87:4 95:23, 24 96:8        scholarship 216:14           141:7 157:12 160:14            218:10, 14, 15, 16, 18
  110:21 112:21 114:5        scope 75:20 212:17           176:2 177:8 178:24             219:5 227:22 228:4
  127:2, 20 129:3            screamed 152:2               181:10 182:12                  241:16 242:16, 23
  132:1 143:16 153:2         screen 51:9 60:12, 13,       184:20 188:3 189:20            243:2, 11, 19 248:11
  158:4 172:18 173:2         14 81:14, 18 122:18          190:10 193:18 199:7,           252:10 262:2 264:4
  177:7 190:23 215:19         233:10 292:6               8 200:3 207:2 218:9             266:24 267:1 268:7
  218:5 222:11, 12, 13       Screenshot 3:13 64:4         240:13, 18 241:1               292:9 302:12 316:18
  224:10 244:11               121:10, 17 346:13           242:19, 21 243:1, 7            330:21 337:5 363:18,
  247:19 255:15              screenshots 106:7            257:9, 13, 17 280:22          21 380:23 382:24
  262:20 263:9 264:10         121:15                      292:8 294:4 296:14             402:18 407:20 420:6,
  265:8 267:20 277:3         scroll 241:4 319:15          306:21 316:17 318:8,          16
  288:14 290:10, 24                                      24 319:3, 3, 7, 8, 8, 11,
                                           Everest Court Reporting LLC                                        Page: 153
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 155 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 sentence 124:18             settle 99:3                shared 143:6 165:18             187:14, 16 189:15
  188:3 200:6 220:4          settled 43:6                166:3, 13 168:7                212:17 218:4, 6
  240:16 332:20 348:2        seven 94:23 136:2          Shargel 9:19, 21, 24            239:16 247:15
  356:14 358:19 359:6         164:5 197:14 242:7        sharing 359:3                  significant 192:22
  382:4                       280:24 298:19             she'd 289:23 323:2              368:5, 7
 separate 15:12, 19, 23       332:15 354:15 365:4        334:9, 22                     signing 367:10
  16:1 218:13, 14             401:14, 18 416:2          sheet 432:7, 9, 11, 14          432:10
  241:8 269:18 271:23         426:21                     434:9                         similar 150:23
  367:22, 23 423:7           seventh 415:7              she'll 175:2                    222:17, 18 264:15
 September 261:6             severely 356:3 363:15      Shikunov 109:17                simple 20:20 25:8
 sergeant 115:9              sex 75:11, 15 77:15        shoddy 349:15                   49:1 56:12 80:15
 serial 184:2                 151:9 154:6 159:9,        short 375:13 427:8              257:12 284:17
 serious 106:1 131:13        11, 12, 19 160:1           Shorthand 1:16                  330:23 331:5 354:9
  184:11 231:7 309:1          162:10, 13, 15 163:5       431:7                          356:23 379:7 393:8
 Seriously 36:10              165:14 212:15             shortly 336:16 368:1            400:12 405:14
  136:9, 9 164:13             213:20 215:7, 10, 11,     shot 419:24                    simply 83:20 85:9
  170:3 173:17 188:22,       21 236:5 301:17, 23        shoulder 252:24                 323:1 334:15 379:11
 23, 24 344:15 399:15         302:8, 21 303:3           should've 74:2 75:16           simultaneously 234:14
  428:8                       305:15                     168:16 172:4 184:8            single 54:12 129:11,
 seriousness 220:5           sexual 79:14 95:10         show 89:17 168:9               13 187:17 205:17
 serve 252:20                 106:3 110:19 129:18,       174:9, 9, 10 190:5             206:1 219:6 312:24
 Serving 317:17              20 131:10 132:14, 15,       199:1, 3, 3, 4, 7 208:7        337:18 340:14, 15
 session 7:19 315:11         18 137:1 138:15, 17         231:23 247:22                  357:18
 set 26:20 89:15              141:10 148:2 149:11,       251:16 283:14                 single-word 361:15
  125:20 341:3               15 154:5, 15, 16, 22,       302:14 306:20 314:5           Sir 87:1 90:19
 SETH 2:3 6:11               23 155:3 156:21, 24         321:22 322:6 418:10            108:6 121:15 139:12
  14:12 20:5 23:7             157:14 159:10              419:6 420:1, 20                144:15 296:8
  28:7 31:15 35:11            162:17 164:12 171:4,      showed 60:5 106:7              sit 30:13 56:16
  36:7, 19 41:16, 22, 23     12 176:14 177:23            107:10 110:5 173:22            62:18 81:18 107:14
  46:13 49:6 51:14            179:6 184:2 188:2, 7,      174:2, 4, 11 210:24           sitting 115:2 218:1
  52:18 56:3, 6 74:13        17, 20 189:4 194:8, 8       232:6                          283:20 284:5, 9, 19
  91:6 101:24 102:12          198:13 202:8 209:16       shown 79:8, 13                  394:6 395:19
  109:16 146:3 148:13,        211:15, 15, 21 212:1      shows 190:14 261:23            situation 160:5 347:5,
 17, 19 149:1, 13             215:12, 23 220:4          shrugs 8:1                     17 350:11 361:11
  159:15 178:9 184:9          227:9, 10 233:4, 6        shuffling 414:6, 12             375:9 420:5
  191:11 205:21               238:21 245:24             sic 46:5 148:13                situations 218:21
  208:19 210:14               303:16 304:16, 23          213:19 217:10 348:6            219:1
  221:24 223:3 226:7          305:5, 11 306:14, 17,      380:11 408:5                  six 94:4 123:8 136:2
  240:15 244:24 265:9        21 322:12, 15 336:22       side 107:17 207:1               252:22 298:19 345:8
  269:15 270:14, 22           342:23 349:5 366:21        348:23 407:24                  362:8 399:19 400:4
  271:5 284:2 329:16          367:15, 16                SIDNEY 2:13, 23                sixth 421:6
  330:12 357:15 359:4        sexually 97:1, 10          sign 6:15 214:18               Sixty-two 374:2
  381:1 382:9 385:21          107:1 177:23 302:15        239:19 247:10, 13, 20,        skeptical 96:2, 21
  386:16 393:2 395:5,         303:24 304:2              24 379:9 432:8                  200:1 202:5
 12 396:16, 23 410:9         Shardelle 9:22             signaled 85:23                 sketched 375:11
  416:6, 15                  S-H-A-R-D-E-L-L-E          signature 431:11               skilled 231:20, 24
 seth@dereksmithlaw.c         9:22                       434:11                        skills 225:16
 om 2:5                      share 164:21 168:14        signed 129:1, 2                skip 420:22
 setting 350:2 412:9          292:6                      150:13 152:24 153:2           Slack 111:20 112:14
                                                         158:4, 6 172:18
                                          Everest Court Reporting LLC                                        Page: 154
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 156 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 Slacks 142:22               sort 57:12 95:10            143:23 258:24                 standing 363:14
 slander 338:7 349:6          116:19 172:3 182:19        292:24                         385:24 387:18 431:4
 slandering 308:7            sorts 77:11 93:18          specifics 29:4 50:23           standoffish 419:24
 sleep 96:8, 14 174:23        155:2, 4 168:21            73:8, 15 74:3 144:5           standoffish, 419:16
  189:5                       181:10 184:14, 21          152:20 267:17 278:7           stands 162:1
 slightly 350:22              201:24 234:12              352:22 370:3, 8, 15, 20       start 16:10, 12, 17, 21
 slit 228:17, 19, 19          238:11 308:20 314:8       speculating 406:17              34:7 70:2, 4 293:3
  229:2                       315:3 337:23 375:22        407:1, 8, 15 408:4             300:12 349:16
 slower 328:18                388:9, 12 389:21          speculation 408:6              started 16:14 24:11
 small 336:6                 sought 256:1               speech 223:14                   34:6 73:1 110:4, 23
 smaller 40:10               sound 309:21                224:11, 14 225:21, 24          118:23 120:9, 12
 smiles 158:20               sounds 276:3               speed 241:6                     138:22 139:9 212:20
 SMITH 2:1 108:15            source 98:17 137:22        spend 54:22 55:7                259:21 304:4 314:8
  109:7, 12, 15, 18          south 99:15                 57:8 128:20 161:17             354:6 362:2 370:1
  110:2, 8, 12 147:7         space 432:6                 242:1 314:15 419:3             406:4
  158:23 340:22              speak 7:16 8:3, 16         spending 233:8 379:3           starting 16:6, 23
 snarky 111:22                14:11, 20 19:16           spent 152:22 185:2              74:12 257:1 424:21
 social 6:1 183:20, 21        35:20 36:2, 14 44:24       279:21 376:11                  426:7
  397:14, 23                  58:19 115:15 126:7         379:18                        state 9:7 61:14
 software 8:18                175:20 209:21             spew 338:7                      137:15 140:11, 15, 19
 solicitation 11:18           234:17 235:21             splitting 348:24                401:1 432:6
 solution 177:15              238:15 243:16 246:6       spoke 102:16 125:3             stated 339:20 340:7
  185:14                      254:3 260:24 278:15        193:10 208:10 276:9           statement 18:13 31:3
 solutions 142:18             285:1 290:7 300:7          277:15 312:15, 22, 23          59:16 103:15 193:6
  143:7                       324:15 327:20 345:3,       393:15, 17 395:22              199:2, 5 205:1
 solved 125:9 129:8          5 357:7 358:24              428:16                         337:18 362:16
  418:23                      359:20, 21 363:9          spoken 126:5 276:8              388:17 389:2, 11
 somebody 236:15              428:17                    spread 303:2                    398:16 404:23
  388:18 428:22              speakers 80:2              spreadsheet 418:9              statements 126:15
 someone's 303:3             speaking 36:3 76:17        spring 136:1 164:14             205:7, 14 208:13, 18
 something's 117:4            152:14 175:17 180:2        171:15 172:5, 8                209:1, 2, 13, 13 211:6
 sorry 7:10 12:12             237:10 277:5 287:23        286:16 355:7                   314:13 375:16
  16:20 24:8 39:16            292:3 304:6 338:8         stab 175:2, 3, 5                385:13, 14, 17 386:15
  56:9 71:10 78:9, 15         350:12 377:4              Stacey 104:13 211:22            387:2, 21 389:1, 3
  79:6 88:12 97:18, 21       speaks 67:8 361:1          staff 20:19 77:18               390:19 398:17, 20
  99:2 101:9 120:10,         special 219:8, 10, 12       85:3, 4 90:23 93:12,           399:1, 24 400:6, 9, 13,
 18 122:18 127:8, 23         specialist 5:17 11:19      16 119:19 124:13, 15           23, 24 404:10, 17
  141:23 144:19, 20           19:1 134:8 184:24          126:4, 6 127:16               STATES 1:1 5:13
  146:3 147:11 157:2,         294:19 327:3               143:2 148:15 150:17            86:18 159:13, 14
 3 165:3 175:18              specialize 184:4            180:4 215:6 243:21             162:18
  180:6 188:15 192:24        specialized 28:22           256:12 305:6 312:8,           stating 6:7
  195:18 242:5, 20            54:9 425:12               13 313:1 379:23                Station 99:20 269:7
  255:5 273:17 286:20        specific 34:1, 2 79:10      403:15 423:9, 9               stations 269:12 412:9
  289:10 297:12 301:2         127:18 140:8 214:7        staffer 188:2                  status 12:6 363:18
  318:4 322:5 328:17          251:10 258:14             staffers 189:13                 369:5, 11
  343:3 353:19 355:5          350:24 370:9, 9, 13,      stamp 65:2                     statute 159:16, 20
  369:17 372:17              21 385:12 389:23           stand 87:19 167:20              162:10, 11, 18
  380:11, 11, 15 406:2        399:8                      172:20, 20 423:23             statutes 162:13
  421:19 424:20 429:5        specifically 89:4           424:1, 9                      stay 56:2, 19 169:11
                              117:10 130:22
                                          Everest Court Reporting LLC                                        Page: 155
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 157 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  181:12 265:15 323:8        strange 136:17              successful 217:23               275:19 280:20 289:7
 staying 54:23                261:11                      218:2 339:13                   301:1, 3 305:24
 steal 268:14 270:4          strategy 58:10              successfully 217:19             333:17, 19 346:20
 stealing 268:4               359:14, 15                 sucks 397:7                     355:8 374:11 381:16
 stenographic 5:21           Street 1:13 2:3, 9, 14      sudden 158:22 341:5             382:21 399:23 400:6,
  91:7 325:22                 99:20                      suddenly 341:6                 8, 10, 12, 14, 18, 22, 24
 stenographically 1:15       stretched 106:17            sue 340:22                      402:3 409:24 413:2
 step 385:19, 20             strike 12:19 78:3           sued 273:8                      425:15
  388:24, 24                  99:2 116:20 120:16         suffices 88:8                  surprise 64:1 90:22
 steps 136:10 142:4           154:3 156:14 166:11        suggest 57:13 58:17             346:7 372:7
  172:17 380:4 384:16         179:5 189:10, 20            412:17 420:24                 surprised 57:12
 Steve 45:15 69:20            206:18 223:7 251:2         suggested 58:4 90:13           surprises 117:4
 Steven 45:11 69:14,          371:17 379:16               229:13 262:14                  118:24 135:9 216:18
 15                           380:12                     suggesting 114:8                259:17 346:3
 stick 86:1 88:22            striking 174:15              184:20 185:6                  surprising 113:18
  421:3                      strong 153:4                suggestion 90:7 91:21          suspicious 182:10
 stipulate 6:2               structure 47:21             suggests 92:10                 swear 5:22 6:3
 stipulated 5:1               49:20 50:8 69:2, 6,        Suite 2:4, 14                   207:18
 stipulations 248:19         12, 16 189:11               sum 390:10                     sworn 6:22 9:2
 stir 417:10                 stuck 212:14                summary 227:19                  431:5 434:13
 stock 44:3                  stuff 133:24 159:4           229:7                         sympathize 363:10
 stocks 40:16                 176:2 251:15 265:14        Sunday 189:20, 21              systematic 124:16, 17
 stole 264:24 266:21          316:22 342:24              supervise 180:22
  268:10, 11, 15 272:4        375:19 419:6                181:7, 13                     <T>
  274:23 278:5 279:7         stupid 42:17, 18            supervisee 155:7, 12           table 353:5
  280:7, 15                  style 15:9, 11 223:22        305:20                        tactics 140:8
 stolen 264:19 274:12,        224:23 225:14, 22, 24      supervising 180:10             take 5:24 7:4, 7
 16, 17 279:13, 17            226:12, 23 227:6           supervision 431:7               32:24 33:1 36:12
  281:1                      subject 102:20              supervisor 105:16, 18           38:14 51:13 55:10
 stood 424:2                  115:24 118:4 153:14         154:13 155:7, 11               56:17 57:5 58:1, 6
 stop 18:19 19:24             189:22 196:22               163:18 164:2 181:14,           74:8 80:4 101:7
  20:2 23:1 28:5              197:11 266:23 277:6        17 225:11 271:11                102:3 105:5 116:10
  31:16, 21 36:8              432:10                      305:20, 22                     122:14 133:7, 9
  194:21 231:20 286:4,       subjected 79:3 92:20        supervisors 181:6               135:16 140:1, 2
 9, 12 300:1 311:16           101:15 149:11, 14          support 92:4 424:10             141:13, 17 142:4, 13
  312:12, 13 318:2, 7,        154:5 177:23               supposed 22:7 36:17             144:18 164:13
 17 323:21 329:7             subjecting 294:7             170:3 334:5 341:13             167:17 170:3 176:1,
  330:9 332:11 358:16        subjects 117:21              346:20 350:9 378:23           7 191:8 201:1
  359:3 399:15               submit 241:8 376:5,          379:19 385:4                   217:16 218:9 223:3
 stopped 261:17              17, 20 377:21               supposedly 281:1                230:10 231:22 232:2,
  336:17                     submitted 148:12            sure 7:17 13:22                5, 9, 18 234:20
 stopping 52:10, 13           150:9 377:13, 17            25:10 50:11 51:8               240:13 249:19
  427:12                      379:11                      56:3 57:3 67:3 79:1            251:12 292:17
 stories 74:22 75:3, 11,     Subscribed 434:13            97:9 104:15 112:2              303:11, 13, 14 311:9
 15 151:9 172:15             subsequently 247:20          122:1 123:22 125:10            315:18 321:9 335:9
  309:8                       262:8 291:8 333:15          129:14, 16 130:13              337:17 340:22
 story 80:11 86:22           substance 434:8              157:13 168:23 169:1,           355:10 385:12, 19
  92:14 96:19 151:22,        substantial 205:13          2 183:2 189:14                  386:15 387:1, 20, 23
 23 236:15 304:13            substantive 246:20           199:4 217:10 231:15            421:1, 24 428:8
  309:22 333:9, 12, 16                                    242:1 250:22 252:24
                                           Everest Court Reporting LLC                                        Page: 156
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 158 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 taken 1:12 84:23            19, 19, 20 360:20           300:4 308:23 311:9             304:14 305:18
  250:2, 4 251:4              361:10, 19 371:10, 12      312:11, 23 315:12              333:22 341:2
  280:10 287:13 288:8         374:3 386:5 397:11         316:20 318:2, 6, 16           testifying 61:2
  289:4, 13, 24 290:11        406:19 416:8 429:3         331:20 332:1 334:22,           112:15 170:9 386:9
  388:17 389:1, 3            talks 228:21, 24           24 335:1 340:10                 387:17 398:21, 24
  398:15, 17 431:4            229:1 293:10, 11           341:1 363:1 370:18             400:13
 takers 424:8                tank 339:21                 374:21 377:17 383:3,          testimonies 177:9
 takes 77:14                 tape 79:16                 9 388:5, 18, 20 389:5,         Testimony 3:3 15:3,
 talk 19:24 23:15            targets 128:5              6, 7, 9 431:5                  21 24:1 33:10 35:9
  24:17 34:22 49:7           task 28:22                 telling 18:1 36:8               47:7 66:7 69:5, 16
  55:15 73:11 80:22          tasks 54:9 340:3            56:16 74:21 136:24             70:7 83:11 90:6, 11
  89:7 106:2 111:13           375:9                      143:18 182:19 188:5            92:24 102:16 134:5
  116:24 133:5 140:22,       tax 11:20                   190:24 258:21                  157:7 193:4 197:8
 24 141:3, 5 147:20          taxable 425:23              290:12, 16 292:2               201:20 206:15, 17
  185:8, 11, 12 212:5        tax-deductible 425:7,       301:16 308:10                  207:6, 12 210:3
  221:13 228:8 230:22        19                          338:17 347:10                  212:12 214:3 263:11
  233:18 242:16              team 194:10                 375:19 393:10 394:7            269:15 275:5 278:24
  246:20 254:24              tech 414:19                 408:19, 20 412:13              283:24 291:21
  256:14 257:11 258:7,       technology 29:3             419:12 426:22                  306:19, 22, 24 312:15
 21 265:4 271:11, 15,         35:24                     tells 159:5 170:1               333:17 344:8 377:6
 18 285:2 290:7              Telegram 413:18             219:14 320:2 418:24            388:15 431:4, 6, 8
  293:4 297:23 302:12        Telegrams 142:22           ten 101:21 104:20,             Text 4:18 106:7
  346:14 397:24 428:5        telephone 57:1             21 125:2 145:5                  108:19 173:20, 22
 talked 24:24 34:18           254:22 338:1               212:6 238:22 298:20,           174:1, 4, 15, 17
  61:10 65:7 87:10           television 208:20          22 299:5, 9, 11, 20             210:22 211:4 274:13
  141:1 142:2, 2, 21, 24      269:7                      300:2, 3, 3, 5, 17, 21, 23     280:13, 22, 23 281:3,
  208:9 209:3 233:22         tell 11:23 19:11           tense 356:17, 20, 24           8, 11 381:23 428:2
  242:23 246:21               32:18, 18 35:18            357:5, 10 358:18, 20,         texting 413:18
  289:13 313:21               44:15, 16 54:16 55:9,     23 359:5 360:21                texts 175:11 274:9
  345:14 388:1 393:6         19 60:9 68:11 72:22         361:2, 7, 12, 13               280:3, 6 370:17
  395:21 397:16               74:20 77:21 80:10,        tension 362:11, 13              385:15 389:22
 talking 8:18, 19 15:6       10 85:20 86:15             term 162:14                     390:17 397:23
  17:20 23:18 91:7            88:16 96:18 98:2          terminated 108:15              Thank 6:19 37:6
  94:12 110:4 124:1           105:9 109:18 117:16        110:3                          58:21, 22, 23 102:1
  138:13 139:18               129:15 135:12             termination 235:2               122:3 187:7 190:1,
  142:17 149:2, 3             142:10 143:21, 23         terms 106:3 249:8,             13 216:11 225:18
  153:13 165:10               145:21, 24 146:5, 11      11 335:3                        242:11 249:16
  174:14 190:21               151:23 154:14             terrible 258:18                 259:23 264:17
  208:12 209:24 214:6         167:13, 18 168:13          349:16 351:2                   300:20 319:22
  225:13, 23 226:11, 23       169:3, 10 175:10          testified 6:22 13:22            335:12 336:19
  227:8 240:22 241:5          181:18 182:4 183:16        34:23 87:22 100:10             352:21 361:14 365:8
  248:3 249:1 252:5           191:9 192:14 195:9         112:16 141:15                  374:22 385:10 415:8
  255:13 259:7 264:3          196:9 199:16 204:4         165:13 192:16                  429:21
  266:4 267:13 270:11         222:7 240:6 241:11         251:20 308:19                 Thanks 57:4 101:23
  280:6, 9, 24 281:4          244:21 246:10              319:20 356:6 367:2             147:7 384:9 417:5
  282:8, 9 290:10, 11         256:16 257:6, 21           379:4 392:2                   theft 269:23 270:15,
  302:20 307:5, 7, 9          258:8 262:14 272:6        testify 89:8 167:13            16 271:22 272:10
  315:8 324:7 344:6,          273:2 274:13 278:12        208:1 277:3, 7                 274:6
 11 345:21 353:16             283:5 285:17 290:8         282:22 292:22, 24             Thelma 104:9
  356:19, 24 357:4, 10,       291:6, 7, 19 294:17
                                          Everest Court Reporting LLC                                        Page: 157
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 159 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  233:18 254:16               119:20 127:1 128:7         Thomas 272:13                  till 94:12 141:19
 theory 41:21                 129:6 136:6, 22, 23         275:1, 2 277:22                221:14
 thereof 431:9                138:3, 12 139:9             278:14 279:6, 20              time 5:5, 10 8:19, 19
 thing 7:18 8:9 32:8          141:2, 20 142:11            280:13, 14, 23 389:10,         21:7, 11, 18 30:2, 13,
  52:2 56:3 96:2              144:16, 17 146:13          12                             16 37:5, 6 39:14
  126:16 134:20               147:23 148:23 149:1        thoroughly 95:12                47:12 52:6 57:6, 11
  138:13 141:23 152:5         160:11 166:10, 12          thought 19:10 84:3              58:1, 6, 20 59:18
  172:4, 21 173:4             167:3 169:5 172:12,         95:4 107:19, 21                60:24, 24 62:10
  174:15 192:16 200:1        23 178:15 181:19             109:7 126:7 127:11,            71:22 79:10 82:22
  220:18, 19 255:21           183:23 184:7 187:2         17 129:7 143:24                 84:13, 16 90:3 94:11,
  262:7 288:15, 19            189:18 190:11               144:1, 2, 4 158:17            24 99:19 102:10, 11
  309:7, 24 313:4             199:21 201:6, 9             201:16 202:13 209:3            107:20, 21 112:4, 17,
  323:9 332:4 333:14,         217:17 218:21 219:1         261:21 270:10                 22 115:2 117:22
 15, 23 353:22 355:9          227:5 228:7 234:1           272:22 291:11 303:5            119:21 128:20
  362:9 365:6 368:15          238:20 239:3, 9, 19,        307:1 336:13 342:15            130:11, 20 133:17, 21,
  369:21 370:21, 22          20 240:6, 7 243:10           378:14 406:19 407:7           23 137:12 138:11
  402:4 423:17                244:16 245:5, 23            417:16                         144:22 145:11, 18
 things 28:23 36:18           246:6, 8 249:2             thoughts 374:22                 161:17 163:7 164:7,
  37:24 53:23 80:3            250:17 252:5 253:13         421:22                        8 168:12 169:6, 9
  83:14 117:1, 3              259:2, 24 264:18, 23       thousand 12:11 98:9,            172:14 173:14 174:2
  119:21, 22 124:7            265:6 266:2, 15, 21        23 410:24                       175:14 181:12, 15
  129:6 131:7 153:22          268:5, 7, 10 269:11        threat 261:10, 14, 23,          182:20 192:6, 7
  155:2 159:10 160:6          273:1, 3, 11 274:3, 8      24 262:4, 5                     193:10 195:4 198:2,
  161:18 169:24               277:2, 4 278:5             threaten 260:5 261:7           9 201:5, 11 202:3, 4
  170:23 173:5 180:15         288:22 301:15, 19, 19,     threatened 23:1                 204:5 205:12 206:17
  181:10 210:7 211:15,       24 306:2 308:16              228:19                         208:3 209:8 211:5
 16 212:20 215:17             309:19 313:18, 20          threatening 31:23               215:24 218:18 221:5
  219:24 230:24 231:2,        314:22, 24 315:1            194:21                         223:4, 13 226:1
 5 234:6 240:8                319:20 339:21              threatens 229:2                 231:19 242:1 249:15
  243:12 272:17               341:16 342:16              three 23:1 129:2                250:18 255:1 261:1,
  280:20 308:21               344:11 345:2, 21            145:1 153:17 156:23           3 285:4, 13, 17
  309:14 313:11, 18           349:3 359:8 361:9,          164:9 170:19 176:13            287:12, 20, 20, 22
  327:2 333:4, 8 341:9,      17, 17, 19 366:13            184:12 190:6, 19               289:4, 6 291:5
 14 342:18, 18, 19, 20        373:22 375:17 376:2,        193:12 199:8, 24               296:16 307:9 310:2
  351:2 362:3 375:22         2 380:7 389:23               200:3 203:23 206:4             311:9, 10 313:22
  376:1 388:9, 12             390:6 395:9 401:14          211:6 213:18 214:7             314:16 316:5, 7, 13,
  417:14                      408:1 410:11 412:18         222:18 262:16, 17             14, 21 317:9 318:2
 thing's 209:11               414:13 416:8, 22            298:19 337:5, 9                323:22 335:16 347:7,
 think 7:12 8:17              419:1, 8, 16, 17, 24        339:7 390:11 410:12           16 348:9 353:17
  14:13 25:9 26:4             420:23 421:10 427:1         411:1                          354:24 359:12 360:5
  30:18 31:17, 17            thinking 128:20             threes 21:2                     371:15 373:11 374:4
  44:15 50:3, 5 63:8          191:16 350:14              three-something 98:7            382:19 390:8, 19
  74:2 75:16 81:18           Third 43:11 109:10          threw 312:10 371:2              391:2 394:15 403:10
  83:5, 10 85:18, 21          162:23 200:5 201:4         throat 228:17, 19               409:23 410:5 412:10
  86:3, 5, 16 87:7, 20,       206:10 333:16              throats 229:2                   419:3, 22 420:8, 24
 21 88:15, 17 90:16          Thirdly 400:18              thrown 313:19                   427:7 429:19, 20
  91:14, 19 94:22            thirty 432:15               Tiffany 70:13 108:3,            431:5
  97:22 101:13 103:13        this' 276:17                14, 20 109:4, 20, 22           timeline 284:24
  104:11, 21 110:13          this-and-that 309:16         113:20 298:16                 timeliness 417:18
  113:15 116:1 117:24                                                                   timely 135:21
                                           Everest Court Reporting LLC                                        Page: 158
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 160 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 times 23:1 49:7              313:11 314:3, 10          transcription 431:7             315:4, 4 346:24
  70:10 115:4, 6, 23          318:22 319:17              434:5                          380:22 382:5 431:8
  210:14 229:23               320:21 321:1 333:13       trap 284:14                    truly 313:10
  273:20 321:1 345:6          334:17 345:14             trapped 284:11, 20             Trust 134:6
  428:14                      349:16 354:20 373:9       travels 346:7, 9               truth 76:20 194:2
 time's 415:5                 392:2 394:12, 17          treasurer 67:21                 199:23 200:2 222:7
 tissue 92:16 99:8            395:3 398:22 403:3        treat 115:4 116:2               308:23 310:20
  138:4, 7, 8                 406:14, 15, 18 407:1,     trespassed 94:8                 337:14 431:5, 6, 6
 title 46:7, 8 47:19, 20,    8, 10, 21 428:4, 7         trial 5:6                      truthful 9:4
 23 48:3 49:18, 20           Tommy 267:13               Tricia 92:4, 12 96:9,          truthfully 72:12
  50:5, 10 51:3 130:12        279:21 285:4, 10          15 131:24 132:4                try 8:23 20:6 21:19
  273:21 365:21               286:3, 17 287:3, 11        139:20, 22 140:2               31:23 49:7 57:18
 today 5:18, 20 7:4, 7,       289:16 316:21 373:5,       159:4 192:13 203:19            78:17 102:15 162:17
 19, 24 8:12, 14, 17, 24     12 374:7                    208:10, 10 211:13              165:13 167:12
  19:18 22:6, 10, 18, 18     tomorrow 90:24              219:22 220:17                  172:13 200:6 210:1
  23:5 35:24 55:15            332:12 395:9               222:17 227:13                  236:4 258:6 267:5
  57:6 58:12 72:3, 8,        tooth 160:14                242:24 251:20                  297:22 299:4 306:15
 10 73:4 81:3 87:19,         top 21:3 63:22              292:15 293:1 298:9             309:3 344:17 360:6
 19 133:1, 6, 12              119:14 127:6 248:22        308:22 309:4, 17, 19           417:14
  150:24 151:7, 10            271:6 381:18               312:5, 16, 21 313:8           trying 8:5 58:7
  169:7 185:17 187:24        topic 96:15 209:16          333:3 336:11 339:9             175:23 176:24
  192:16 203:11               313:7 390:16 408:13        340:21, 23 341:9, 14           179:20 193:13 210:6
  216:16 218:1 229:23        topics 184:14               343:8 370:2, 21                226:13, 19 236:13
  235:9 238:21 239:9         total 416:3                 371:2 385:3 418:7              244:16 249:2, 10
  270:10 273:20 290:7        totally 29:20 271:23        420:5, 6                       265:21 270:9 330:12,
  291:21 319:21               386:22                    Tricia's 228:14                14 338:11 343:1, 8
  333:22 352:12 358:3        touch 96:17 159:6           256:17                         351:22 360:1 367:8,
  359:12 383:3, 5, 6, 9       349:15, 19                trick 21:17                    9 388:14, 22
  386:1 387:8, 17            touched 96:5               tried 81:1, 5 96:17            Tuesday 1:6 5:9
  390:16 395:11              touching 174:16             143:14 151:8 159:6             375:12
  398:24 415:16 416:4        tough 114:18 115:8          268:2 307:12 309:4            Turn 35:17 53:10
  420:10                      116:1 137:13 175:14,       312:11, 24 350:5               97:4, 5 112:7 119:7
 Today's 5:9                 15 250:18                  trigger 87:9                    125:19, 24 398:20
 told 33:6, 19 46:3          toxic 126:10 127:21        trip 94:21 106:6                401:8
  68:19 79:23 87:9           tracing 419:3               169:16, 16 182:1, 3           turned 53:13, 16, 18
  88:9 98:3 99:23            track 309:14                190:23 191:6 371:17            54:3 64:17 65:4
  100:23 106:6, 12           trade 75:10, 15 151:9      trouble 372:10, 11, 21,         75:19 95:13 401:11
  117:3, 12 118:22            261:19 264:22, 23         24, 24 373:2 375:17            turning 53:24 110:7
  129:11 130:24 135:2         268:19, 22 269:17, 24     troubled 390:20, 22            turns 109:15
  138:24 151:21               270:15 271:21              391:5, 17 393:7               TV 269:12 428:13
  153:20 155:1 164:21         272:17                     394:13 395:4                  Twenty-six 9:14
  168:16 172:6 173:5,        traded 138:15              trouble's 372:23               twice 260:22 427:18
 8, 14 175:6 184:3           trading 137:1              troubling 219:19               two 12:11 20:14, 20
  193:2, 9, 18 198:20        trafficking 159:9, 11,      224:3, 21 227:2                21:1 45:12 57:8
  199:17 200:8, 9            12, 19 160:1 162:10,        277:2 406:15                   60:19 61:15, 18, 22
  228:18, 18 230:24          13, 15 163:5               true 73:22 91:14                62:3, 10, 13 96:22
  237:5 244:17, 17           train 201:16                143:18 203:8 212:12            99:6, 24 109:10
  251:7, 9 256:12            transcribed 431:7           213:13, 13 245:2               114:13 115:5, 6
  258:16 266:6 272:15        transcript 30:22            264:13 298:21 299:5            117:3, 6 120:8 124:3
  275:4 304:13 308:3          277:10 432:16, 17          308:1 314:11, 11               128:4, 16 129:7
                                          Everest Court Reporting LLC                                        Page: 159
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 161 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

  136:18 163:11 172:1        understanding 46:1          253:12, 19 262:11              views 126:4 213:14
  174:8 180:8 183:4           252:19 294:12, 17          267:22 288:20                   269:4
  190:24 199:6 200:4          376:9                      322:22 428:12, 13              VII 273:21
  201:23 206:3, 11           understands 180:8, 8        useful 12:14 261:21            vindictive 194:7
  215:17 242:16               422:12                     usual 321:21 378:2             violate 217:11
  251:10 262:2 265:20,       understood 8:11             usurpers' 340:8                violated 273:21 274:4
 20 295:17 298:19             93:11 116:6 134:23                                        violating 273:24
  303:11 304:7 311:22,        220:1 352:24               <V>                            violation 273:12, 15
 23 348:24 362:3             undertaking 87:14           vagina 194:13                  viper's 342:15, 22
  367:15, 21, 22 384:3,       88:9                        195:12, 21 196:1              virtually 313:6
 4 401:19 404:10, 17         underway 261:15             vague 351:2 400:20             virtues 225:15
  411:1 417:23               uneasy 174:18, 22           valid 174:18 252:16            vis-à-vis 114:20 116:5
 type 10:12, 20 12:2         unendingly 385:10, 16       value 172:16 173:16            visit 90:1
  21:10                      unfair 58:10                 174:6, 8 200:23               visited 105:7
 types 11:6                  Unfortunately 56:24          201:1, 2 202:4, 16            vituperation 113:17
                             unhappy 109:14               210:4, 11, 19 211:4, 7        voice 36:4 175:22
 <U>                          119:6 150:18 194:10,       variable 203:17                volatile 194:7
 ugliness 342:23             11, 11 213:19, 21           various 33:6 249:13            volunteer 286:22
 uh-huhs 8:2                 unilaterally 92:8            315:1 379:14                  voyeur 114:5
 uh-uhs, 8:2                  263:12                     vehicle 164:9                  vs 1:5 7:5
 UK 319:18 346:9             unintelligible 266:2        veracity 80:15 261:24          vulgarity 309:10
 ultimate 29:6 32:24          273:22 299:14              verb 253:11                     342:23
 163:21 328:7, 12             328:16 346:3 367:2         verbal 8:1 349:5
 ultimately 91:16             372:7 382:12 383:12,       verbs 262:13                   <W>
 unable 310:20               23 386:9                    verified 6:5 61:11             W-2 297:8
 unacceptable 288:17         UNITED 1:1 5:13              63:20                         Wait 95:16, 16
 unauthorized 379:16          159:13, 14                 verify 56:12                    120:21 171:22, 23
 unaware 33:2 309:11         universe 382:20             verse 56:8, 9 108:12            182:5 190:21 195:1,
 unbearable 233:20           unknown 79:16, 17            202:2                         6 221:14 242:22
 unchanged 366:6              119:13                     version 92:10 284:20            249:18 369:24, 24
 375:10                      unlawful 101:15              337:12                        waited 172:14
 unclear 209:9               unpleasant 126:4            versions 199:24 200:4           173:15 182:9
 uncomfortable 173:24        unquote 95:7 170:3          versus 5:12                    waiting 182:12 195:3
 174:13 244:4 347:5           220:12 328:12              vice 67:20, 21                 waive 405:18, 19
 underneath 15:13            unquoted 95:8               victim 159:1                   waived 5:3
 63:15 193:21 195:20         unrelated 406:18            video 5:11, 17 81:14,          walk 325:8
 196:2, 2                     407:9, 14 408:4            16 233:11 278:19               walking 394:5
 underpinnings 29:1          untrustworthy 92:24         videoconference 6:4            wall 143:14 307:13
 understand 8:12 9:5         unwanted 176:14, 19         Videographer 2:18              wandered 217:20
 17:11 22:3, 7 25:9           179:6 188:1, 7, 17, 20      5:8 36:23 37:5                wanna 30:13 31:12
 116:7 127:3 128:15          unwelcome 154:22             55:24 56:3 102:4, 10           32:11, 11, 14, 15
 134:5 135:4, 7               179:5 372:8                 120:24 121:8, 15, 18,          47:15 49:12 51:6
 153:16 154:8, 12, 24        ups 308:17                  21 122:2, 5 144:22              52:9 55:15, 18 57:18,
 171:3, 11 176:24            upset 136:22, 23             145:11, 17 191:24             18 59:5, 19 72:22
 196:1, 22, 24 273:19         163:19 168:13               192:6 242:5, 11                76:21 81:17 88:23
 274:1 277:9 294:20           301:15, 18 302:19           315:21 316:7, 13               123:16 124:5 134:5
 295:20 348:13, 14            304:9 320:13, 13            323:15 353:20 365:3,           162:24 163:3 164:20
 363:9 425:1, 24              343:8 374:6, 6             8, 14 415:6, 9 429:19           176:7 191:13, 13
                             use 81:17 90:13             Videotaped 1:11                 195:8 201:14 208:21
                              91:24 92:1 108:19                                          210:13, 18 224:10, 11
                                           Everest Court Reporting LLC                                        Page: 160
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 162 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  240:1 246:11, 16           warranted 218:22            357:22 374:15                  255:13 256:9, 14, 22
  262:6 265:17 269:17         219:1                      406:14                         257:19 259:6 262:10
  275:18 281:23              wary 375:15                weekly 219:20 227:3             263:18 266:23 268:1
  292:17 300:2 303:12        Washington 71:14           weeks 262:2 307:16              272:6 273:8 274:13
  314:7, 17 321:9             74:1, 9, 21 151:7          323:2, 5 401:19                279:16 286:12
  324:24 325:1 330:2,         345:22                    weigh 417:5                     291:11 293:3 294:5,
 6 332:17 333:17             waste 107:20 397:3         weird 95:4                     17 296:14 297:14
  334:22 344:24 358:9        wasting 21:11, 18          weirded 174:13                  301:4, 13 302:24
  381:19 389:5 392:18         52:6 107:21 359:12        welcome 256:16                  303:10 306:4 307:8
  393:14 396:11              watch 387:13                300:20 408:19 410:2,           308:9 309:23 311:16
  416:23 427:9               watched 7:12 207:19        3 412:7 415:22                  315:17 318:6, 14, 15
 want 7:21 17:9               251:14                    welcoming 135:15                332:4 333:11 340:7,
  30:17 32:18 50:15          watching 105:19            welfare 217:14 298:7           24 346:2 350:21
  51:7, 14 52:21 55:4,       wax 335:19                 well 6:19 16:14 17:9            359:21 362:4 363:2
 19 59:4 84:1 85:5           waxing 315:16               19:19, 21 21:5 23:14           366:8, 11 370:8
  87:5, 8 88:15 90:13        way 12:15 14:6              25:10 33:12 34:23              372:19 373:22 376:9,
  98:2 126:14 127:12          19:21 20:11 29:8           35:12, 15 38:9, 18            20 377:2 378:3, 17
  144:24 164:19 168:6         35:19 48:16, 17 60:7       39:14, 22 41:4 42:10,          381:20, 24 383:2, 7
  177:18 181:11 185:4         65:20 77:19 101:13        23 43:6 44:7 46:1, 5            387:11 388:2, 24
  191:16 195:9 212:8          102:13 109:4 114:11        49:24 50:3, 5, 12              389:10, 23 393:16
  213:15 223:9 230:14         116:2 119:16 124:16,       53:9, 15 54:16 61:11,          396:18 403:5, 9
  233:1 238:4 246:12,        17 125:4 131:13            17 62:5 63:20 64:5              404:15 411:6, 18
 23 247:11, 24 252:1          137:14 143:13 158:3        66:16 68:10, 14                415:17, 24 418:16
  271:20 282:16               163:10 212:10              69:20 71:12 73:11              419:18 420:9 422:23
  283:14 285:12               217:22 220:10              79:12 80:8 82:5, 9,            427:1 429:12
  293:24 299:22               228:20, 24 235:3          11 84:14 85:20, 24             went 54:14, 15 60:13
  303:10 329:14               238:22 269:16              86:2 99:13 109:19              102:16 108:15
  340:13 344:7 349:10         299:22 313:24              112:3 114:6, 14                127:15, 17 162:20
  351:19 359:21, 23           329:15 330:2, 7            120:4 123:6, 19                163:6, 7 169:17
  370:12 381:14 385:4         338:12 344:23              126:17, 20, 22 127:1,          173:8 180:13, 14
  396:15 415:16               349:24 350:17, 18         24 128:4 129:15                 199:15 223:17 233:1,
 wanted 73:6 92:4             353:9 354:24 356:18        130:10 132:17 133:1,          22, 24 251:13 261:12
  107:16 110:24 127:3         357:11, 13, 14 359:8      4 135:2 136:8, 20               289:20 291:6 297:15
  140:4, 5, 6 141:5           378:2 399:4 404:4          138:11 143:12 147:8            307:17, 22 312:24
  166:1 171:18 174:23         414:18, 20 424:14          148:1 149:10 150:6             339:7 340:16 350:1
  183:11 219:6 228:13         425:13                     154:18 155:20                  357:22 404:6 428:14
  247:9 250:5 259:17         ways 181:10 260:3           158:23 160:6 162:16           we're 7:4, 7, 19 8:4,
  265:17 308:18               313:10, 16, 17, 17         163:13 165:5, 24              10 18:10 21:11, 18
  313:10, 23 314:1            337:24 367:23              166:24 169:6, 13               28:7 31:20 35:23, 24
  323:24 324:2 335:3          377:19 379:14              172:4 173:2 177:13             36:11, 20 41:4 48:8
  343:7 348:19 424:4          396:16                     178:2, 8 179:13, 17            52:3, 5, 6, 8 54:20, 21,
 wants 49:3 57:6             web 63:9                    180:19 183:16 184:6           22 55:7, 9, 12, 14
  58:6 59:1 109:17           website 62:23 63:2          185:16 187:6 189:3,            56:7, 10, 13 57:7, 10
  170:14 175:4, 6             64:3 121:10, 17           9 190:13 192:23                 61:3 73:11 74:11
  186:10, 10, 18, 19          417:7                      194:6 201:6 206:11             81:15, 16 101:7
  224:19 237:11              week 131:15 141:18,         208:8 222:19 228:15            124:1 134:15, 16
  314:10 364:21              21 142:1, 12, 13, 14,       230:9, 15 234:10               138:12 145:3, 4
  375:17, 23 416:11          16 143:10 150:20            235:1, 9 239:10                152:12 153:13
  418:7                       152:22 185:2 187:22        245:1, 12 246:8, 14            160:13, 13 167:1
                              229:18 340:17              249:5, 8 254:5                 175:23 177:17 195:1,
                                          Everest Court Reporting LLC                                        Page: 161
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 163 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 3 196:6 214:6               willing 98:21 99:3          157:9, 18 158:13               405:5, 9 406:22
  223:15, 15 224:12           240:10 241:11              159:24 161:6, 13               410:11 411:15
  240:22 242:4 244:13,       willingness 123:8           162:2 164:24 165:10,           416:11, 17 426:12, 17,
 23 248:6 251:18             willy-nilly 427:12         20 167:3, 21 171:6             19 429:23 431:8, 11
  252:5 265:23 271:15        window 223:18               173:13 175:17 177:3            432:1
  278:19 292:6 293:4         wink 276:15                 178:19 181:3, 22              witnessed 116:4
  311:8 323:8, 12, 13,       wish 15:8 203:6             184:12 185:11, 20              194:5 227:3 349:8
 19, 22 324:4, 5, 22, 23      212:4 222:2 255:1          186:2 188:12 190:18           witnesses 393:7, 15
  325:7 330:9 332:11,         335:9 356:21 372:21        191:23 196:19 197:3,           395:21, 23 398:11
 11 335:18 345:9, 12          374:5                     10 200:17 201:22               Wolson 18:10 41:5
  346:20 353:20, 22          wished 76:11                202:10 203:1 205:13            54:24 160:23 195:9
  359:1, 10 362:9            wishes 289:17               206:8 207:16, 22               196:9
  365:6 368:15 371:3,        withdraw 224:3, 18          208:8, 13, 15, 17, 24         Wolson's 56:4
 8 374:19 387:6, 17           326:10 392:7 394:10        209:2, 12, 12, 13             woman 189:4
  390:11 394:6, 7, 7         withdrawing 61:4            210:10 211:20 214:5,          woman's 194:13
  395:8, 19 397:6             224:16 325:10             12 215:5 217:6                  195:11 196:1
  401:23 402:5, 13, 20,       326:11                     219:20 221:13, 17             women 85:12 92:20
 21 403:3, 7 404:15          withdrew 224:8              226:17 228:11 229:5            93:3 116:22 134:24
  415:11, 13, 13, 18, 20      394:20                     231:4 233:22 234:23            135:19 147:5 156:10,
  423:20 425:12 427:4,       witness 5:22 6:3, 5,        235:5, 12, 18 237:8           15, 20, 22 157:13
 6, 6, 12                    15 10:23 13:19 14:5,        239:1, 15 244:8, 10            171:4 176:13, 19
 we've 30:20 117:20          22 16:17 17:3, 6, 19,       245:3 246:3, 14, 17            179:4 183:13 210:2
  319:20 352:8 354:15        23 18:22 20:8, 24           247:3 248:7 255:19             217:11 242:16 244:4
  385:15 388:1 398:17         21:15, 21, 24 22:13        257:9, 17 258:14               245:24 294:7 295:9
  420:9                       24:3 25:17 27:12           259:15 260:8, 12               298:20, 22 299:11, 13,
 What'd 324:1 421:9           28:11 30:16 31:6           263:2, 20 269:2               20 300:17 303:7, 12,
  426:11, 17                  33:15 35:21 36:3           271:7, 9 273:5                15, 22 366:20
 What're 17:20 266:4          37:24 38:16 40:20          277:15 278:3, 12              women's 234:9 299:5
  386:5                       47:3, 17, 19 48:6          280:9 283:4 284:11             300:23 368:8
 WhatsApp 413:18              49:14 51:18 52:11          285:6 287:1, 22               Wonder 159:8
 WhatsApps 142:23             55:5, 19 56:11 57:24       288:3 290:20 291:4            wonderful 131:12
 whatsoever 96:23             60:4 61:5 62:2 68:2        296:9 297:10 298:6            wondering 100:8
  108:21 183:5 261:14         71:16 73:1, 15 75:2        299:18 303:7, 20               334:6
  423:9                       76:14 77:2 78:7, 13        304:22 305:4, 10              Wood 9:19, 21, 24
 when's 39:14 117:22          79:5, 8 81:10 82:24        306:2 307:22 310:16           word 90:13 92:1, 1
 Where'd 138:6, 8, 9          84:9 88:2 89:20            311:12 319:3, 15               115:12 128:13
  411:6                       90:21 91:24 93:8           322:14 323:1 327:2,            136:19, 19, 21 153:4
 whipped 151:24               99:10 100:6, 19           10, 20 329:7, 17, 24            212:1 253:12, 19
 whisper 69:23                103:3 106:12 107:18        331:15 332:13 334:2,           262:11 288:20 310:2,
 whispering 36:2              108:7, 14 111:19          11, 20 335:8 337:17            10, 11, 17 311:10, 19,
  193:16 212:20               112:16 115:16              342:6 343:24 344:8            20 322:22 326:21
 white 177:11, 14             118:19 123:22 125:8        345:6 346:18 348:1             380:4
  284:21                      128:10 130:1, 22           356:2, 10 361:6               wording 97:19
 whitewashed 86:21            131:6 132:20 133:14        367:14 369:9, 15, 21          words 12:18 159:18
 wholesale 258:20             134:7 137:3, 14            374:15 376:16 378:9            170:19 174:21
 wholly 422:10                139:13 141:5 144:8,        382:22 384:24                  220:11 222:15 276:8
 who've 77:24                16 146:2, 8, 17, 22         385:13, 14, 17 386:15          311:2 350:22 375:1
 why'd 347:23                 147:3, 16 149:8, 18        387:1, 20 388:17, 24           425:4
 wife 311:17 329:8            150:4 151:4 152:12         389:2, 3, 11 391:15           work 9:10 10:1 12:3,
 WILLIAM 2:13 6:17            153:16, 24 156:6           392:9, 12, 17 397:9           7 13:15, 24 18:5
                                          Everest Court Reporting LLC                                        Page: 162
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 164 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

  19:21 20:18 33:23          workshops 117:20, 23       XX 126:10, 11, 11, 11,          70:8 93:13 112:24
  34:16 35:9 39:7            world 104:23 236:7         12                              114:13 124:3 128:16
  65:19 70:10, 13, 16        worried 146:19                                             129:7 174:8 180:8
  75:7 78:5 79:2              198:12 243:6 288:8,       <Y>                             199:6 201:23 237:12
  85:15 97:4, 8 109:19       12, 20, 24 290:22          Yeah 15:6 28:6, 8               251:10 308:16 384:3,
  111:14 123:8, 11, 16       worries 194:6               38:12 39:19 42:8, 12          4 410:12 411:1, 1
  133:18, 22 134:16          worry 194:6                 52:20 56:6 57:20, 21           417:23
  156:10, 16 162:21          worse 301:21                58:16 65:16 68:19             yelling 236:13
  163:5 165:16, 16, 17       worth 40:18 41:10,          69:4 74:14 84:3               Yep 40:10 44:1
  179:5 180:11 183:11        14 42:14, 20 94:19          96:11 97:12 100:12             51:10 63:13 123:3
  186:17 217:12 238:1         98:24                      101:18 111:10                  124:10 176:4, 17
  249:21 266:16 285:3,       would've 73:21, 22          114:16 116:7 120:4             190:9 192:20 193:18
 10 286:5, 22 289:5           76:6, 11 132:12, 16        121:5, 12, 12 123:1            218:20 243:8, 15
  300:16, 21 309:9            149:21 150:15              125:23 142:10 145:7            253:4 272:24 292:11
  312:12 316:21 317:8         173:13 187:18              151:16 174:17, 22              293:9 316:19 320:1
  333:1 334:9, 22             250:21 401:13              175:8, 12, 19 176:12           363:20 366:1 371:21
  338:7, 10 343:1            wrap 193:13                 179:1 180:17, 21               380:21 417:4 419:14
  347:7, 11, 20 362:18,      wrapped 205:3               181:21 190:10                 yesterday 178:23
 19 364:5, 8, 12, 16         wreck 100:23                191:18, 23 193:4, 9,           242:17
  374:3 375:1, 3, 6          write 188:4, 19            20 194:12 195:13               Yonchek 96:22
  377:16 394:14               363:23                     197:18 213:5 215:8             97:10 104:7 119:12
  403:14 412:4, 8, 19        writes 177:22 240:9         228:20 229:23 230:6            298:15 303:14
  413:1 414:18 417:11         346:2                      231:5 233:13 237:16,          York 60:21 62:9
  420:3 421:24 422:1         writing 93:1 176:5,        22 241:14 245:3, 11             158:20
 worked 9:12 33:22,          10, 11 421:8, 9             246:22 250:9 252:2,           Yup 57:15 63:16
 24 34:3 43:23 69:20         written 66:24, 24          16 260:1, 3 265:19              208:2 218:12 243:4
  70:8 77:24 142:5            115:5 118:9 129:3          269:7 270:17 272:24            255:4 292:16 316:23
  143:7 266:17 298:8          148:11 150:8 199:2,        281:7 300:12 301:7,            406:9
  342:4 412:12               5 218:4 353:16             8, 21 308:9 317:1
 working 17:16 24:11,         382:23                     323:4 328:14 343:11           <Z>
 19 34:6, 7 40:12            wrong 63:8 97:20            345:20 346:11                 ZABROSKE 2:18
  70:2, 4, 6 115:10           117:5 136:2 141:8, 9       355:11, 17 358:7               5:16
  123:14 124:20, 24           164:16, 17 180:16          365:20, 24 366:10             Zero 229:15
  184:7 225:5 249:6           181:6 198:16, 18, 19       373:4, 5, 9 374:9, 13         Zoom 1:12 2:6, 11,
  286:2 289:16 347:9          234:6 266:15 279:8         380:8 381:1, 5, 9             17 8:17
  348:18 349:10               295:5 303:4 307:1          384:9, 18 389:13              zooming 314:13
  365:18 412:5 414:15         320:6 321:13 337:8         395:7 399:18 402:10,
  421:5                       408:7, 9                  23 407:10, 11 408:22
 workplace 117:19            wrong, 348:22               414:24 415:11, 24
  118:9 237:17 238:1,        wrongly 161:18              419:5 421:10, 21
 9, 10 328:1 332:23          wrote 95:3 143:3            429:8, 15
  384:12                      169:14 175:10             year 10:8 27:3
 work-related 376:11          188:19 189:19              37:18 38:11, 14 70:2,
 works 19:20 27:20            239:16 262:9 333:14       4, 6 94:23 118:6
  35:1, 3 48:16, 18           336:4 348:15 402:1         314:3 361:23 363:5
  52:19, 20 145:10            422:9 423:15               368:3 370:24 372:22
  191:21 239:20                                          403:12 410:24
  243:20 318:14              <X>                        yearly 418:9
  329:15 404:4               X'd 126:18                 years 9:14 10:5
                                                         38:1 40:14 62:14
                                          Everest Court Reporting LLC                                        Page: 163
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 165 of 180
Deposition of DANIEL PIPES                                                 Lisa Barbounis v. Middle Eastern Forum, et. al.

  WORD LIST                  176 (1)                       30 (5)                         60 (5)
                             17th (4)                      30,800,000-some (1)            63 (1)
 <$>                         18 (10)                       30th (1)                       65 (2)
 $14 (3)                     1835 (2)                      31 (1)                         6th (3)
 $1500 (2)                   189 (1)                       316 (1)
 $17 (1)                     18-year-old (2)               320 (1)                        <7>
 $200,000 (1)                19 (5)                        321 (1)                        7 (2)
 $240,000 (1)                19103 (3)                     33,000 (1)                     7,000 (1)
 $27,000 (6)                 1994 (3)                      336 (1)                        7:00 (2)
 $31 (12)                    19-page (1)                   34 (1)                         70 (1)
 $31,000 (1)                 19th (1)                      345 (1)                        75 (1)
 $5,000 (3)                  1st (32)                      347 (1)                        7th (2)
 $7,000 (10)                                               354 (1)
 $7,500 (2)                  <2>                           365 (1)                        <8>
                             2 (3)                         368 (1)                        8 (1)
 <0>                         2:10 (2)                      371 (1)                        8th (3)
 000027 (1)                  2:15 (1)                      374 (2)
 0005 (1)                    2:19-cv-05030-GAM             379 (1)                        <9>
 00060 (1)                    (2)                                                         9:02 (1)
                             2:49 (2)                      <4>                            968 (3)
 <1>                         20 (2)                        4 (25)                         975 (2)
 1 (6)                       2017 (3)                      4:49 (2)                       976 (1)
 1:11 (2)                    2018 (53)                     40 (1)                         977 (1)
 1:21 (1)                    2019 (47)                     406 (1)                        978 (2)
 1:24 (2)                    2020 (8)                      408 (1)                        990 (4)
 10:08 (2)                   207,000 (1)                   417 (1)                        9th (10)
 10:35 (1)                   21 (1)                        428 (1)
 10:45 (2)                   215-391-4790 (1)              45 (1)                         <A>
 10th (9)                    215-569-1999 (1)              4th (6)                        a.m (15)
 11 (8)                      215-665-2000 (1)                                             ability (4)
 11:20 (1)                   218 (1)                       <5>                            able (9)
 11:31 (1)                   22 (3)                        5:08 (2)                       abruptly (1)
 11:34 (5)                   23 (2)                        50 (1)                         absolutely (5)
 11:45 (3)                   23rd (5)                      500 (2)                        abstract (1)
 11:58 (1)                   240,000 (1)                   500-paragraph (1)              abuse (4)
 11th (6)                    242 (1)                       501 (46)                       abused (3)
 12 (1)                      24th (3)                      51 (2)                         abusive (14)
 12:10 (1)                   25 (4)                        515 (1)                        accept (6)
 12:15 (2)                   251 (1)                       52 (1)                         acceptable (7)
 122 (1)                     26 (6)                        54 (1)                         accepted (3)
 12th (1)                    275 (1)                       5th (25)                       access (5)
 13 (1)                      28th (1)                                                     accession (1)
 14 (3)                      292 (1)                       <6>                            accomplishments (1)
 14th (2)                    2950 (1)                      6 (2)                          account (4)
 15 (2)                      29th (1)                      6:40 (1)                       accountable (2)
 1500-dollar (1)             2nd (4)                       6:50 (2)                       accountant (7)
 16 (1)                                                    6:53 (3)                       accounting (6)
 1650 (2)                    <3>                           6:54 (1)                       accounts (2)
 17 (3)                      3 (21)                        6:55 (2)                       accurate (3)


                                             Everest Court Reporting LLC                                          Page: 1
                                      215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 166 of 180
Deposition of DANIEL PIPES                                             Lisa Barbounis v. Middle Eastern Forum, et. al.

 accusation (1)              aforth (1)                answer (229)                   article (5)
 accusations (6)             afraid (1)                answered (18)                  articles (2)
 accused (6)                 aftermath (1)             answering (24)                 ascertain (1)
 accuses (1)                 afternoon (1)             answers (10)                   ascribe (1)
 accusing (3)                agent (1)                 answer's (1)                   ascribed (2)
 acknowledge (2)             ago (28)                  anti-discrimination            aside (4)
 acknowledged (3)            agree (18)                 (1)                           asked (67)
 acknowledges (2)            agreed (20)               anxious (1)                    asking (59)
 acknowledging (3)           agreeing (1)              anybody (9)                    asks (2)
 ACKNOWLEDGMEN               agreement (19)            anymore (10)                   aspect (3)
 T (1)                       agreements (2)            anytime (3)                    aspects (2)
 acquiesce (1)               ahead (35)                anyway (7)                     aspirations (1)
 acquiesced (1)              AIPAC (2)                 apart (1)                      ass (1)
 acquiescence (1)            Airbnb (6)                Apologize (2)                  assault (3)
 act (3)                     al (2)                    apology (1)                    assaulted (3)
 acted (10)                  Alana (18)                apparently (7)                 assent (1)
 ACTION (5)                  Albert (3)                appear (1)                     assert (2)
 actions (6)                 allegation (24)           APPEARANCES (1)                assistant (2)
 active (6)                  allegations (36)          appeared (3)                   associated (2)
 activities (8)              allege (3)                appearing (3)                  ASSOCIATES (1)
 activity (3)                alleged (5)               appears (1)                    assume (2)
 actress (4)                 allegedly (3)             applaud (1)                    assuming (1)
 actual (3)                  alleges (1)               Apple (2)                      assurance (1)
 add (6)                     alleging (2)              Apples (1)                     assurances (1)
 added (1)                   alleviate (1)             application (1)                assure (1)
 addition (1)                allow (10)                applied (2)                    assured (2)
 additional (1)              allowed (25)              applies (1)                    attached (6)
 Additionally (1)            allowing (1)              apply (4)                      attempt (1)
 additions (1)               allude (1)                approached (4)                 attending (1)
 addressed (5)               alluded (1)               appropriate (5)                attention (9)
 addressing (1)              allying (1)               approval (2)                   attorney (2)
 adequate (1)                amazed (1)                approve (4)                    attorney-client (3)
 adequately (1)              American (1)              approved (2)                   attorneys (10)
 adhered (2)                 amount (5)                approximately (1)              attorney's (1)
 administration (1)          amounts (3)               apps (1)                       attributing (1)
 administrative (9)          Amy (17)                  April (20)                     Audio (5)
 administrator (2)           Amy's (2)                 arbitrary (1)                  audit (2)
 admitted (4)                analysis (1)              arcane (2)                     authenticate (2)
 admitting (1)               angels (2)                area (2)                       authenticity (3)
 admonished (1)              anger (1)                 argue (2)                      authority (5)
 advance (5)                 angry (2)                 arguing (1)                    authorization (2)
 advanced (1)                ANN (1)                   argument (4)                   authorize (4)
 advances (8)                announced (1)             Argumentative (11)             authorized (5)
 advice (6)                  announcement (1)          arisen (2)                     authorizing (2)
 affect (1)                  announces (1)             arm (2)                        available (4)
 affection (1)               announcing (1)            arrangement (4)                aware (23)
 affections (1)              annoyed (1)               arrangements (2)
 aforementioned (2)          annually (1)              arrive (1)                     <B>
 aforesaid (1)               anonymous (1)             arrived (1)                    back (79)


                                         Everest Court Reporting LLC                                          Page: 2
                                  215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 167 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 background (1)              blabbering (1)             bumble (1)                     CAVALIER (500)
 backside (2)                black (4)                  bumped (1)                     cc'd (4)
 backstabbing (4)            blank (1)                  bunch (2)                      censor (2)
 bad (9)                     blocked (2)                bury (1)                       censoring (1)
 badly (2)                   Bloom (23)                 business (21)                  centered (1)
 bait (4)                    Bloom's (1)                busyness (1)                   century (1)
 baited (1)                  blowback (4)               butt (4)                       CEO (17)
 Baldino (2)                 board (26)                 buy (1)                        certain (12)
 ballpark (3)                Boards (6)                 Bylaws (20)                    certainly (5)
 bane (3)                    bodily (1)                 Bylaws, (1)                    certification (1)
 bank (2)                    body (3)                                                  certify (2)
 bar (3)                     bogus (3)                  <C>                            cetera (3)
 BARBOUNIS (65)              bonds (1)                  c3 (27)                        chair (2)
 barking (1)                 bone (1)                   c4 (23)                        chairman (7)
 barrage (1)                 bookkeeper (1)             Caitriona (26)                 chambers (1)
 base (1)                    bookkeeping (1)            Caitriona's (3)                chance (5)
 based (19)                  books (2)                  calculate (1)                  change (9)
 basic (1)                   borderline (1)             calculated (2)                 changed (5)
 basically (2)               borders (1)                Call (36)                      changes (9)
 basing (1)                  boss (1)                   called (19)                    changing (1)
 basis (12)                  bossiness (2)              calling (7)                    chaperones (1)
 Bates (1)                   bossing (2)                calls (3)                      chapter (1)
 Bates-marked (1)            bossy (4)                  calumny (1)                    character (1)
 bathroom (4)                bottom (8)                 campaign (7)                   characterization (5)
 beating (2)                 bought (2)                 campaigns (3)                  characterize (4)
 began (6)                   bounce (1)                 Canada (1)                     charge (8)
 beginning (7)               box (1)                    candidates (3)                 charges (1)
 behalf (4)                  Brady (19)                 capable (1)                    charter (1)
 behave (3)                  Brady's (8)                capacity (2)                   check (22)
 behaved (3)                 brand (1)                  card (6)                       checked (3)
 behavior (15)               breach (2)                 cards (1)                      checking (1)
 behavior, (2)               break (20)                 care (8)                       checks (2)
 behavior's (1)              breaking (4)               cared (2)                      child (1)
 believe (53)                brewing (1)                career (1)                     children (7)
 believed (3)                brick (2)                  careful (1)                    chilling (1)
 belong (1)                  brieser@discrimlaw.ne      carefully (2)                  choice (7)
 belongs (1)                 t (1)                      Caroline (2)                   choose (1)
 benefit (1)                 brilliant (1)              CARSON (697)                   chorus (1)
 benefits (5)                bring (15)                 Carson, (1)                    chose (3)
 Bennett (9)                 bring-your-own-device      case (74)                      circles (1)
 Bennett's (3)                (1)                       cases (10)                     Circuit (1)
 BENSON (1)                  Britain (7)                cash (1)                       circumstance (1)
 best (12)                   British (3)                catch (1)                      circumstances (3)
 better (10)                 broadly (1)                categories (1)                 cite (1)
 beyond (4)                  broke (3)                  categorization (4)             CIVIL (5)
 big (5)                     brought (17)               category (1)                   claim (10)
 bill (8)                    brushed (1)                cause (3)                      claimed (2)
 bills (1)                   building (3)               caused (1)                     claims (5)
 bit (3)                     bullshit (1)               causes (1)                     classification (1)


                                          Everest Court Reporting LLC                                          Page: 3
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 168 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 clean (6)                   complex (4)                consequences (8)               correcting (1)
 clear (32)                  compliance (1)             consequences, (1)              corrections (3)
 clearly (6)                 complicated (3)            consider (20)                  correctly (3)
 client (23)                 complicates (1)            considered (4)                 correspondence (1)
 clients (1)                 complication (1)           considering (7)                corroborate (3)
 client's (5)                complications (5)          considers (1)                  corroborated (1)
 clock (7)                   complicit (10)             consist (1)                    corroborating (1)
 close (25)                  component (1)              consistent (1)                 couch (8)
 closed (4)                  comprehensive (5)          consolidated (1)               could've (11)
 closely (9)                 computer (2)               conspiracy (5)                 counsel (16)
 closer (1)                  computer-aided (1)         conspiring (1)                 Counselor (1)
 closes (1)                  computer's (1)             constant (1)                   Counsels (4)
 Code (1)                    concern (14)               contact (11)                   counsel's (1)
 colleague (1)               concerned (23)             contacted (6)                  count (5)
 colleagues (2)              concerning (5)             contacts (5)                   counted (2)
 collect (2)                 concerns (7)               cont'd (1)                     counterclaim (33)
 collected (2)               concluded (4)              contemporaneous (1)            counterclaims (5)
 college (1)                 concluding (1)             content (16)                   counting (1)
 come (80)                   conclusion (8)             contented (1)                  counts (1)
 comes (11)                  conclusions (1)            contention (1)                 couple (3)
 comfortable (4)             concoct (2)                contentment (2)                course (20)
 coming (13)                 concocted (16)             context (10)                   COURT (82)
 command (2)                 concoction (3)             Continue (14)                  courtesy (1)
 commencing (1)              condition (2)              continued (14)                 courtroom (1)
 comment (1)                 conditions (12)            continues (4)                  court's (1)
 comments (6)                conduct (22)               continuing (1)                 cover (1)
 commission (1)              conducted (1)              continuously (1)               COZEN (3)
 commit (1)                  conference (4)             contradict (1)                 crazy (2)
 committee (2)               confidant (2)              contradiction (5)              create (3)
 Commonwealth (1)            confidence (1)             contradictions (2)             created (6)
 communication (3)           confident (1)              contradictory (4)              creative (1)
 communications (4)          confidential (3)           contrary (1)                   credence (1)
 companies (2)               confidentiality (5)        contribution (1)               credibility (4)
 company (12)                confines (1)               control (5)                    credible (11)
 compare (2)                 confirm (3)                controversial (1)              credit (2)
 Compared (1)                confirmed (2)              convenience (1)                criminal (2)
 comparing (2)               confirming (3)             conversation (12)              crisis (2)
 compensate (1)              confirms (2)               conversations (4)              critical (4)
 compensated (2)             confront (1)               convinced (1)                  criticisms (1)
 complain (21)               confronted (2)             convulses (1)                  crossed (1)
 complainants (3)            confusing (1)              COO (1)                        crosses (1)
 complained (21)             congratulate (2)           cooperate (1)                  cross-talk (98)
 complaining (15)            Congratulations (1)        copied (1)                     crowded (1)
 complains (2)               Congress (2)               copying (1)                    crucial (1)
 complaint (59)              conjunction (1)            core (1)                       cunt (1)
 complaints (77)             connected (8)              corner (1)                     current (5)
 complete (6)                connection (8)             corporate (12)                 curtailed (1)
 completed (3)               connived (2)               correct (163)                  custody (1)
 completely (6)              consensual (2)             corrected (1)                  cut (2)


                                          Everest Court Reporting LLC                                          Page: 4
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 169 of 180
Deposition of DANIEL PIPES                                             Lisa Barbounis v. Middle Eastern Forum, et. al.

 cuts (1)                    definitely (12)           different (29)                 distance (1)
 cutting (1)                 definition (2)            differently (1)                distancing (1)
                             definitions (1)           difficult (9)                  distinction (1)
 <D>                         Delaney (10)              diminished (1)                 distinctly (1)
 D.C (3)                     delve (1)                 dinner (1)                     distorted (1)
 D.C. (1)                    demand (4)                direct (5)                     distracted (1)
 D0000017 (1)                demanded (1)              directed (2)                   DISTRICT (4)
 D000024 (1)                 demanding (1)             directive (1)                  disturbing (2)
 D000037 (1)                 den (7)                   directives (1)                 divided (1)
 da (9)                      denial (1)                directly (11)                  doc (1)
 dad (3)                     denied (7)                director (42)                  docket (1)
 Daily (1)                   denies (2)                directors (13)                 docking (1)
 damage (1)                  denounces (1)             directorship (4)               docks (1)
 damages (9)                 denying (1)               directs (1)                    Docs (3)
 damaging (1)                dep (1)                   disadvantage (1)               document (103)
 damn (1)                    depends (4)               disadvantaged (1)              documenting (1)
 Dan (2)                     deponent (3)              disagree (8)                   documents (49)
 dangers (1)                 deponent's (1)            Disagreement (1)               document's (1)
 DANIEL (66)                 deposed (2)               disappear (5)                  doing (41)
 Daniel, (1)                 deposing (1)              disappeared (3)                dollars (4)
 Danny (11)                  deposition (36)           disappointed (5)               dominated (1)
 date (15)                   depositions (4)           discern (1)                    donated (1)
 dated (10)                  depreciation (1)          discipline (1)                 donations (7)
 dates (3)                   DEPUTY (11)               disclose (2)                   donor (9)
 day (31)                    DEREK (11)                disclosed (1)                  donors (10)
 days (7)                    derivative (8)            disclosures (1)                door (4)
 day-to-day (1)              describe (4)              discontent (1)                 double (1)
 deadlines (2)               described (2)             discovery (8)                  doubt (1)
 deal (34)                   describes (1)             discrepancy (3)                doubts (4)
 dealing (7)                 describing (2)            discrimination (11)            download (1)
 dealt (27)                  DESCRIPTION (8)           discuss (7)                    downs (1)
 Dear (1)                    designed (1)              discussed (8)                  downstairs (1)
 deceit (10)                 despite (2)               discussing (3)                 Dr (1)
 deceitful (7)               destroy (4)               discussion (18)                draft (5)
 decide (5)                  detail (9)                discussions (8)                dragged (1)
 decided (20)                detailed (2)              disguised (1)                  drastic (1)
 decides (2)                 details (5)               disgust (1)                    drill (2)
 decision (15)               determination (3)         dishonest (1)                  drinks (1)
 decisions (6)               determine (6)             disinvited (2)                 drive (4)
 declaration (1)             determined (1)            dislike (2)                    dropped (1)
 decrease (1)                determining (1)           disliking (1)                  Due (9)
 deem (1)                    detrimental (1)           dismay (1)                     duly (2)
 deemed (1)                  development (5)           disparages (1)                 duties (2)
 de-emphasize (1)            developments (1)          displeased (2)                 duty (5)
 deep (1)                    devote (1)                displeasure (1)                dynamic (1)
 Defendant (8)               devoted (2)               dispute (1)
 Defendants (2)              dial (1)                  disregarded (1)                <E>
 defense (2)                 difference (7)            disrupted (1)                  eager (1)
 define (1)                  differences (1)           dissuaded (1)                  ear (2)


                                         Everest Court Reporting LLC                                          Page: 5
                                  215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 170 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 earlier (17)                engage (8)                 example (9)                     fail (1)
 early (16)                  engaged (7)                examples (1)                    failure (1)
 earned (2)                  engages (1)                excellent (1)                   Fair (5)
 easily (2)                  English (2)                exception (3)                   fairly (1)
 EAST (159)                  enhances (1)               exchanges (1)                   fall (2)
 EASTERN (8)                 enormous (3)               excluded (3)                    falls (1)
 easy (2)                    entangled (2)              excluding (1)                   false (16)
 editorial (1)               enter (1)                  excuse (5)                      falsehood (2)
 editorializing (1)          entered (3)                excused (1)                     fantasy (1)
 EEOC (5)                    enthusiastic (2)           executive (2)                   far (20)
 eerily (1)                  enthusiastically (1)       Exhibit (10)                    far-reaching (1)
 effect (5)                  entices (1)                exhibition (2)                  faster (1)
 effectively (4)             entire (14)                EXHIBITS (4)                    father (10)
 effects (1)                 entirely (10)              exist (3)                       fault (3)
 efficacy (1)                entitled (2)               existed (1)                     favor (1)
 efforts (1)                 entity (2)                 existence (1)                   favors (2)
 eight (23)                  entrust (2)                exists (1)                      fear (1)
 eight-hundred-some          environment (1)            expand (1)                      feared (1)
  (1)                        equal (1)                  expect (1)                      February (4)
 either (12)                 equals (1)                 expeditious (1)                 fed (2)
 ejected (3)                 equate (1)                 expeditiously (6)               Federal (2)
 ejected, (1)                era (2)                    expense (7)                     feel (9)
 elaborate (1)               Erica (1)                  expenses (6)                    feeling (2)
 elaborated (2)              errata (5)                 experience (2)                  feelings (1)
 elaboration (1)             errors (4)                 experienced (1)                 feels (1)
 elected (5)                 escalation (1)             expert (2)                      feet (2)
 electronic (4)              especially (3)             expires (1)                     fell (1)
 Email (98)                  ESQUIRE (5)                explain (12)                    felt (5)
 Emails (40)                 essentially (6)            explained (9)                   female (12)
 Eman (10)                   EST (1)                    explaining (1)                  fiduciary (1)
 embarrass (1)               et (5)                     explanation (2)                 fight (2)
 embarrassed (1)             ethical (1)                explicitly (1)                  figuratively (1)
 emergency (1)               evening (3)                exposed (1)                     figure (13)
 emotions (1)                events (5)                 exposition (1)                  figured (1)
 emphasis (1)                eventually (1)             exposure (1)                    figuring (2)
 employee (25)               Everest (2)                expound (1)                     file (6)
 employees (38)              everybody (9)              expressed (2)                   filed (7)
 employee's (2)              everybody's (1)            extensive (2)                   filing (2)
 employment (17)             everyone's (7)             extent (16)                     fill (2)
 en (1)                      everything, (1)            external (1)                    filling (1)
 encounter (1)               everything's (2)           extra (3)                       final (1)
 ended (6)                   evidence (10)              extraordinarily (1)             finance (1)
 Endless (5)                 exact (11)                                                 finances (5)
 endorse (3)                 exactly (14)               <F>                             financially (1)
 endorsed (1)                exaggerate (1)             face (15)                       find (24)
 endure (2)                  exaggerating (1)           faces (1)                       finding (5)
 energy (1)                  EXAMINATION (1)            facilitate (1)                  finds (1)
 enforce (1)                 examined (1)               fact (24)                       fine (34)
 enforcing (1)               Examiner (4)               facts (2)                       finish (70)


                                          Everest Court Reporting LLC                                           Page: 6
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 171 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 finished (17)               frankly (3)                glad (2)                       handwrote (2)
 finishing (2)               fraternizing (1)           go (130)                       Hang (1)
 FINK (8)                    fraudulent (1)             god (1)                        happen (12)
 fire (11)                   free (5)                   goes (12)                      happened (48)
 fireable (1)                frequent (1)               going (61)                     happening (2)
 fired (10)                  friendly (1)               GOLD (2)                       happens (2)
 firing (2)                  friends (4)                gonna (253)                    happiness (1)
 Firm (4)                    friendship (2)             good (22)                      happy (22)
 first (58)                  friendships (2)            Goodman (15)                   harass (2)
 fit (3)                     front (19)                 Gotcha (1)                     harassed (4)
 five (23)                   fuckin (1)                 gotta (23)                     harasser (1)
 five-minute (2)             full (8)                   governance (1)                 harassment (41)
 fix (1)                     full-bloomed (1)           governing (1)                  hard (10)
 fixing (1)                  full-blown (1)             Government’s (1)               harmful (6)
 focus (5)                   full-time (1)              Governors (21)                 harsh (1)
 focused (2)                 fully (2)                  GR (1)                         hating (3)
 follow (4)                  fun (2)                    Grace (3)                      have, (1)
 followed (1)                fundraising (3)            grant (1)                      head (13)
 following (8)               funds (3)                  granted (2)                    health (11)
 follows (1)                 funny (1)                  Grayson (1)                    hear (74)
 foot (3)                    further (9)                great (9)                      heard (52)
 footing (1)                 future (12)                green (3)                      hearing (4)
 force (3)                   future, (1)                Gregg (382)                    hearsay (1)
 forced (2)                                             Gregg's (30)                   heart (1)
 forcing (4)                 <G>                        grievances (1)                 he'd (1)
 foregoing (1)               Gabrielle (24)             gross (2)                      held (9)
 forensic (1)                gain (1)                   ground (1)                     hell (1)
 Forever (1)                 gala (1)                   grounds (4)                    Hello (2)
 forget (4)                  Gambill (3)                GROUP (12)                     help (17)
 Forgetting (1)              games (7)                  Guardian (2)                   helpful (1)
 forgot (2)                  Gary (5)                   guess (17)                     helping (1)
 forgotten (1)               gathering (1)              guesses (1)                    helps (1)
 form (199)                  gearing (1)                gunning (3)                    henceforth (2)
 former (1)                  G-E-L (1)                  guy (3)                        here, (1)
 forth (12)                  gender (2)                 guys (39)                      heroes (2)
 FORUM (166)                 general (3)                                               hesitant (1)
 Forum's (3)                 generalizations (1)        <H>                            Hey (7)
 Forum-wide (1)              generally (4)              hair (1)                       hi (1)
 forward (6)                 germane (1)                half (11)                      hid (8)
 forward, (1)                getting (21)               halfway (1)                    hide (2)
 forwarded (1)               giant (1)                  hand (14)                      hiding (6)
 found (18)                  gifted (1)                 handed (3)                     high (3)
 foundation (32)             gig (1)                    handing (1)                    higher (3)
 foundations (3)             ginned (1)                 hand-in-hand (3)               highest (1)
 Four (12)                   gist (1)                   handle (1)                     highlight (2)
 four-page (1)               give (51)                  handled (5)                    highlighted (2)
 fours (1)                   given (6)                  handles (2)                    highly (3)
 fourth (2)                  gives (1)                  hands (4)                      hint (1)
 Frank (4)                   giving (12)                handwritten (8)                hire (5)


                                          Everest Court Reporting LLC                                          Page: 7
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 172 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 hired (1)                   imply (1)                  informed (1)                   interrogatory (1)
 hiring (2)                  implying (2)               informing (1)                  interrupt (26)
 history (4)                 impolite (1)               inherent (1)                   interrupted (7)
 hit (8)                     import (1)                 initial (8)                    interrupting (12)
 Hm (1)                      important (17)             initially (4)                  interruption (1)
 Hold (20)                   importantly (1)            initiate (1)                   interruptions (1)
 Hollin (1)                  imposed (1)                initiated (9)                  interview (11)
 Hollin's (1)                impossible (1)             initiation (2)                 interviewed (9)
 honest (1)                  improprieties (1)          initiative (3)                 interviews (2)
 honestly (2)                impugn (1)                 in-office (4)                  intimate (1)
 honesty (1)                 inaccurate (1)             inquire (3)                    introverted (1)
 hope (2)                    inadvertent (1)            inquired (1)                   invest (1)
 hostilities (6)             inappropriate (14)         inquiries (1)                  invested (2)
 hotbed (1)                  inappropriately (1)        inquiry (3)                    investigate (18)
 hotel (8)                   Inaudible (57)             inquisitive (1)                investigated (17)
 hour (9)                    incessantly (1)            ins (1)                        investigating (4)
 hours (13)                  incident (8)               instance (3)                   investigation (23)
 house (1)                   incidents (1)              instances (4)                  Investigator (5)
 How'd (1)                   include (4)                institution (1)                investment (1)
 huge (1)                    included (3)               instruct (3)                   invite (5)
 Huh (1)                     including (8)              instructed (1)                 invited (7)
 human (5)                   income (2)                 instructing (4)                involve (2)
 hun (1)                     incomplete (6)             instruction (4)                Involved (12)
 hundred (9)                 incomprehensible (2)       instructions (7)               involves (1)
 husband (2)                 inconsist (1)              instructs (1)                  irony (1)
 hush (1)                    inconsistencies (2)        insurance (7)                  irrelevant (2)
 hypothetical (17)           inconsistency (4)          intellectual (1)               IRS (1)
 hypotheticals (8)           inconsistent (3)           intend (1)                     Israel (28)
                             increase, (1)              intense (3)                    issue (22)
 <I>                         increased (4)              intensely (2)                  issued (2)
 idea (28)                   incredible (1)             intention (8)                  issues (22)
 ideal (1)                   incumbent (1)              intentionally (1)              issues, (1)
 ideas (2)                   INDEX (1)                  intentions (3)                 it'd (1)
 identify (4)                indicate (5)               intents (1)                    it'll (1)
 ignorance (1)               indicated (4)              inter (1)                      its (5)
 ill (1)                     indicates (5)              interaction (1)
 illegal (6)                 indicating (1)             interactions (2)               <J>
 imaginary (2)               indication (4)             intercourse (1)                Jack (1)
 imagination (3)             indiscretions (1)          interest (4)                   James (4)
 imagine (1)                 Indistinguishable (98)     interested (7)                 January (3)
 Imagined (2)                individual (2)             interfere (1)                  jcavalier@cozen.com
 immediately (6)             individually (1)           interject (2)                   (1)
 immunity (3)                individuals (4)            intern (5)                     Jeannine (1)
 imperative (1)              indulgence (1)             internal (4)                   job (44)
 implausible (1)             inflicted (1)              interpersonal (1)              jobs (4)
 implemented (1)             influence (1)              interpret (3)                  Jon (38)
 implicate (1)               inform (1)                 interpretation (1)             JONATHAN (1)
 implicates (1)              information (33)           interpreted (2)                Judge (32)
 implication (1)             informational (1)          interrogatories (3)            Judging (1)


                                          Everest Court Reporting LLC                                          Page: 8
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 173 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 judgment (3)                Laura (9)                  likes (1)                      lunch (2)
 July (1)                    Laura's (1)                Likewise (1)                   lure (3)
 jumbled (1)                 LAW (31)                   limit (2)                      lured (2)
 jump (1)                    law, (1)                   limited (2)                    lures (1)
 June (20)                   lawbooks (3)               limiting (1)                   lying (2)
 junkie (1)                  Lawrence (2)               line (5)
 jury (3)                    laws (4)                   lines (5)                      <M>
 justifies (1)               lawsuit (1)                linked (1)                     machine (1)
 justify (1)                 lawsuits (9)               liquidated (1)                 Macs (1)
                             lawyer (15)                LISA (145)                     magic (3)
 <K>                         lawyers (6)                Lisa's (3)                     magically (1)
 keep (43)                   Lea (21)                   list (20)                      main (1)
 keeps (3)                   lead (2)                   list, (1)                      maintain (7)
 Ken (1)                     leadership (2)             listed (12)                    maintained (4)
 kept (5)                    learn (3)                  listen (10)                    maintains (4)
 key (14)                    learned (15)               listened (5)                   major (3)
 kids (3)                    learning (1)               lists (2)                      maker (2)
 kill (2)                    leave (8)                  literally (4)                  make-work (1)
 killer (1)                  leaving (1)                little (18)                    making (19)
 kin (1)                     led (1)                    live (1)                       man (6)
 kind (8)                    Lee (8)                    lives (11)                     managed (1)
 kinds (1)                   leery (1)                  load (1)                       management (19)
 knew (28)                   Lee's (1)                  loaded (3)                     manager (9)
 knife (1)                   leeway (2)                 loading (2)                    managing (2)
 know (416)                  left (11)                  loathed (1)                    Mandeles (1)
 know, (3)                   legal (35)                 Lobitz (1)                     manipulation (1)
 knowing (5)                 legalities (6)             logic (1)                      manipulative (6)
 knowledge (4)               legally (4)                long (26)                      manner (2)
 known (7)                   legitimate (2)             longer (5)                     manual (4)
 knows (11)                  LEIGH (1)                  look (59)                      manufactured (1)
                             length (1)                 looked (21)                    MARC (25)
 <L>                         lengths (1)                looking (16)                   March (39)
 labeled (1)                 lesson (4)                 looks (9)                      mark (3)
 labeling (1)                Letter (24)                lose (2)                       marked (4)
 lacerating (1)              letters (1)                lose-lose (1)                  Market (4)
 lack (12)                   letting (5)                losing (1)                     Marnie (130)
 ladies (2)                  Levy (5)                   loss (4)                       Marnie's (6)
 lap (9)                     Levy's (1)                 lost (5)                       masse (1)
 laptop (21)                 liability (1)              lot (18)                       Matt (77)
 laptop, (1)                 liar (3)                   lots (7)                       matter (26)
 laptops (1)                 Liberty (1)                loud (5)                       mattered (1)
 Lara (9)                    lie (11)                   louder (2)                     matters (7)
 Lara's (2)                  lied (6)                   lousy (1)                      Matthew (1)
 large (2)                   lies (10)                  love (1)                       Matt's (8)
 largely (1)                 lieu (1)                   loving (1)                     McNulty (33)
 larger (2)                  life (17)                  loyalty (3)                    McNulty's (2)
 large-scale (3)             life, (2)                  luck (2)                       me, (2)
 late (6)                    lifted (3)                 ludicrous (2)                  mean (94)
 Laterally (1)               lights (1)                 LUKE (4)                       means (9)


                                          Everest Court Reporting LLC                                          Page: 9
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 174 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 meant (9)                   minutes (11)               names (21)                     numbers (10)
 media (16)                  mis (2)                    name's (1)
 mediate (1)                 misappropriated (1)        narrative (1)                  <O>
 mediated (2)                misappropriation (1)       Nasty (9)                      oath (4)
 medical (1)                 misbehaved (1)             national (1)                   Object (242)
 medium (2)                  misbehavior (5)            natural (2)                    objecting (7)
 meet (1)                    miscategorization (1)      naturally (1)                  objection (32)
 meeting (22)                mischaracterization        nature (10)                    objections (8)
 meetings (6)                (6)                        NDA (6)                        objection's (1)
 MEF (29)                    mischaracterized (1)       NDA, (1)                       observe (1)
 MEF, (1)                    mischaracterizing (3)      NDAs (1)                       Obviously (4)
 Mekelburg (5)               misconduct (15)            necessarily (1)                occasions (2)
 member (4)                  misconstrued (1)           necessary (2)                  occurred (3)
 members (8)                 miserable (1)              need (28)                      O'CONNOR (3)
 memo (14)                   misread (1)                needed (3)                     October (3)
 Memorandum (3)              misrepresentation (1)      needs (8)                      odd (1)
 memorialize (1)             mistake (8)                Neither (2)                    offer (4)
 memorialized (1)            mistakes (6)               nest (2)                       offered (4)
 memories (1)                misuse (1)                 net (3)                        offers (1)
 memorize (3)                mitigated (8)              never (57)                     office (64)
 memorized (1)               mix (3)                    new (21)                       officer (3)
 memory (2)                  mixed (1)                  news (2)                       officers (9)
 men (4)                     Mm-hmm (3)                 newspapers (1)                 Officers, (2)
 mental (4)                  MO (1)                     nice (2)                       offices (3)
 mention (3)                 moan (1)                   night (3)                      official (7)
 MENTIONED (9)               moaning (6)                nine (4)                       Oh (20)
 mentions (1)                moans (1)                  no, (2)                        Okay (169)
 Merville (19)               moment (5)                 Nobody's (1)                   old (10)
 mess (1)                    money (70)                 nods (1)                       omitting (1)
 message (2)                 mongering (2)              noises (1)                     omniscience (1)
 Messages (20)               Month (7)                  noncommittal (1)               omniscient (1)
 messaging (1)               months (32)                Nonprofit (5)                  once (6)
 met (7)                     morning (5)                nonprofits (2)                 one-on-one (2)
 metadata (3)                mother (7)                 nonresponsive (5)              ones (5)
 Meyer (44)                  motion (7)                 nonresponsiveness (1)          one's (2)
 MIDDLE (165)                mouth (1)                  nonsense (1)                   one-syllable (1)
 might've (4)                mouths (1)                 non-tax-deductible (1)         one-to-one (1)
 mild (1)                    move (21)                  Nope (1)                       ongoing (2)
 Miller (1)                  moved (11)                 normal (3)                     online (1)
 Miller's (1)                moving (4)                 Notary (4)                     open (11)
 million (24)                multiple (3)               note (19)                      open-ended (2)
 millions (1)                murder (3)                 noted (5)                      opening (5)
 mind (7)                    muted (1)                  notes (8)                      operations (2)
 minds (2)                   mutual (1)                 Notice (2)                     opinion (1)
 mine (3)                                               notify (1)                     opportunity (8)
 minimizing (1)              <N>                        noting (1)                     opposing (1)
 minimum (1)                 nail (1)                   November (143)                 opposite (1)
 minor (10)                  name (39)                  now, (1)                       order (25)
 minute (15)                 named (1)                  NUMBER (22)                    orders (3)


                                          Everest Court Reporting LLC                                         Page: 10
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 175 of 180
Deposition of DANIEL PIPES                                             Lisa Barbounis v. Middle Eastern Forum, et. al.

 Ordinance (2)               passwords (1)             picture (7)                    PNC (1)
 ordinary (1)                pasted (1)                pictures (1)                   poetic (2)
 organization (27)           patently (1)              piling (1)                     point (44)
 organizationally (1)        path (1)                  pillow (1)                     point-blank (1)
 organizations (4)           patience (1)              pin (1)                        pointed (3)
 organize (1)                Patricia (14)             PIPES (155)                    pointedly (1)
 Original (2)                Patricia's (2)            Pipes-1 (3)                    pointing (4)
 originally (1)              pattern (3)               Pipes-10 (1)                   points (3)
 other's (3)                 pay (19)                  Pipes-11 (1)                   policy (19)
 otherwise, (1)              payday (1)                Pipes-12 (1)                   political (10)
 outcome (2)                 paying (5)                Pipes-13 (1)                   politically (1)
 outline (1)                 payment (1)               Pipes-14 (1)                   politics (7)
 outlining (1)               payments (2)              Pipes-15 (1)                   pool (1)
 out-of-office (1)           pending (25)              Pipes-16 (1)                   poor (1)
 outrageous (1)              penis (6)                 Pipes-17 (1)                   pop (7)
 outs (1)                    PENNSYLVANIA (4)          Pipes-18 (1)                   portfolio (3)
 Outside (4)                 people (55)               Pipes-19 (1)                   portray (1)
 over' (1)                   people's (5)              Pipes-2 (3)                    portrayed (3)
 oversee (2)                 percent (9)               Pipes-20 (1)                   Posepiak (1)
 oversight (2)               perfect (2)               Pipes-21 (1)                   position (31)
 owe (1)                     perfectly (3)             Pipes-22 (1)                   positioned (3)
 owed (3)                    perform (1)               Pipes-23 (1)                   positions (1)
                             period (7)                Pipes-24 (1)                   positive (1)
 <P>                         perks (3)                 Pipes-25 (1)                   possession (4)
 P.C (1)                     permission (13)           Pipes-26 (1)                   possibility (1)
 p.m (16)                    permitted (8)             Pipes-27 (1)                   possible (5)
 PA (3)                      person (33)               Pipes-28 (1)                   possibly (1)
 packed (1)                  personal (17)             Pipes-29 (1)                   Post (5)
 PAGE (16)                   personalities (1)         Pipes-3 (3)                    pot (1)
 pages (7)                   personality (4)           Pipes-4 (3)                    potential (2)
 paid (42)                   Personally (5)            Pipes-5 (1)                    potentially (2)
 panoply (1)                 personnel (5)             Pipes-6 (1)                    power (5)
 paper (1)                   persons (2)               Pipes-7 (2)                    powers (1)
 paperwork (2)               pertained (1)             Pipes-8 (3)                    Practice (3)
 paragraph (4)               pertinent (8)             Pipes-9 (1)                    pre (6)
 parameters (6)              perverted (1)             Place (30)                     pre-authorized (2)
 paraphrased (1)             Philadelphia (8)          Plaintiff (6)                  precedence (1)
 part (38)                   Philly (1)                plaintiffs (7)                 precise (1)
 partially (2)               phone (16)                plan (1)                       precisely (1)
 participant (1)             phonetic (5)              planning (4)                   Predated (1)
 participate (1)             photograph (1)            plate (1)                      predator (1)
 particular (6)              photographs (2)           play (1)                       pre-March (1)
 particularized (1)          photos (1)                played (4)                     preparation (1)
 particularly (7)            PHRA (2)                  playing (7)                    prepared (4)
 parties (3)                 phrase (1)                plea (1)                       Preparing (3)
 parts (1)                   physical (2)              pleasantries (1)               presence (2)
 party (2)                   physically (4)            please (39)                    PRESENT (17)
 pass (1)                    pick (2)                  pleased (4)                    presented (1)
 passed (1)                  picks (1)                 plenty (2)                     presenting (1)


                                         Everest Court Reporting LLC                                         Page: 11
                                  215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 176 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 presently (1)               propositions (1)            quickly (5)                    recognize (3)
 presents (1)                propounded (1)              quid (4)                       recollection (1)
 preservation (1)            Prosser (2)                 quiet (5)                      reconcile (1)
 President (23)              protect (5)                 quit (1)                       record (76)
 press (1)                   protected (2)               quite (4)                      recorded (3)
 Presumably (4)              protection (1)              quiver (1)                     Recording (31)
 pretend (3)                 protest (1)                 quizzed (3)                    records (9)
 pretended (2)               protested (1)               quo (3)                        recruit (2)
 pretty (4)                  protocol (1)                quote (6)                      red (1)
 prevent (2)                 protocols (1)               quoted (3)                     reduce (2)
 previous (4)                prove (2)                   quotes (1)                     refer (4)
 previously (2)              proven (2)                                                 reference (4)
 principals (3)              provide (14)                <R>                            referenced (2)
 printout (1)                provided (3)                races (1)                      references (1)
 prior (8)                   providence (2)              radical (2)                    referencing (11)
 priority (1)                provides (1)                radically (1)                  referred (2)
 private (5)                 providing (1)               raise (8)                      referring (16)
 privilege (17)              proxy (1)                   raised (5)                     reflect (1)
 privileged (4)              psychological (5)           raising (1)                    reflects (1)
 privileged, (1)             psychology (1)              random (2)                     refreshers (1)
 privileges (1)              Public (10)                 Range (5)                      refusal (1)
 pro (4)                     publication (1)             rapidly (1)                    refused (1)
 probably (6)                public-elected (1)          rates (1)                      refusing (1)
 probation (4)               publicly (1)                Raymond (4)                    regard (4)
 probationary (6)            pull (3)                    reach (2)                      Regarding (6)
 problem (45)                pulled (8)                  reached (3)                    regime (1)
 problem, (1)                pulling (1)                 reacted (3)                    regularly (1)
 problems (25)               pulls (1)                   read (115)                     regularly, (1)
 Procedure (3)               punished (1)                reader (2)                     reimburse (3)
 proceed (3)                 punitive (9)                reading (5)                    reimbursed (5)
 proceeded (1)               purchased (2)               reads (1)                      reimbursement (1)
 proceeding (5)              purple (2)                  ready (13)                     reimbursing (1)
 process (6)                 purpose (2)                 real (3)                       reinstated (3)
 produce (6)                 purposes (2)                realize (1)                    reiterate (1)
 produced (7)                pursuant (2)                realized (5)                   reiterated (1)
 producing (2)               pursue (2)                  really (26)                    rejoined (3)
 product (1)                 purveying (1)               rearrange (1)                  relate (2)
 production (7)              purview (3)                 reason (39)                    related (13)
 Professional (1)            push (2)                    reasoning (1)                  relating (1)
 profile (1)                 put (39)                    reasons (9)                    relations (10)
 profit (1)                  puts (1)                    Rebel (2)                      relationship (12)
 Profusely (1)               putting (3)                 recall (11)                    relationships (1)
 prohibit (2)                                            receipt (1)                    relevancy (1)
 prohibiting (1)             <Q>                         receipts (1)                   relevant (6)
 project (10)                question (246)              receive (5)                    relief (1)
 projects (6)                questioning (2)             received (12)                  reluctance (1)
 prominent (1)               questions (65)              receiving (4)                  rely (1)
 promise (2)                 question's (2)              recess (5)                     rem (1)
 promptly (1)                quick (3)                   recite (2)                     remain (5)


                                           Everest Court Reporting LLC                                         Page: 12
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 177 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 remainder (1)               resolve (3)                 roughly (3)                    secret (5)
 remained (2)                resources (5)               round (4)                      secretary (4)
 remaining (1)               respect (1)                 rub (1)                        secrets (7)
 remains (2)                 respective (1)              rule (5)                       section (8)
 remember (113)              respond (3)                 Rules (3)                      see (99)
 remember, (1)               responded (4)               ruling (1)                     seeing (3)
 remind (5)                  responding (6)              rumor (38)                     seek (1)
 reminded (1)                responds (2)                rumor, (1)                     seeks (1)
 remotely (4)                response (20)               rumors (8)                     seen (13)
 remove (1)                  responses (5)               run (2)                        select (2)
 removed (11)                responsibilities (2)        running (1)                    self-evident (1)
 removing (1)                responsibility (10)         ruse (1)                       Self-explanatory (1)
 remuneration (3)            responsible (5)                                            self-reporting (1)
 repeat (2)                  responsive (10)             <S>                            send (16)
 repeated (1)                rest (2)                    sabotage (1)                   sending (2)
 repeatedly (3)              restated (1)                safe (4)                       sense (6)
 repeating (3)               restrictions (4)            safeguards (1)                 sensitive (4)
 repercussions (5)           resulting (1)               safety (4)                     sent (50)
 rephrase (1)                resume (2)                  sake (2)                       sentence (11)
 replace (1)                 resumed (1)                 salary (10)                    separate (12)
 replied (2)                 retain (1)                  Samantha (1)                   September (1)
 reply (2)                   retained (1)                sat (2)                        sergeant (1)
 report (29)                 retaliate (2)               satchel (1)                    serial (1)
 reported (12)               retaliated (1)              satisfaction (12)              serious (5)
 Reporter (79)               retaliation (22)            satisfactorily (4)             Seriously (12)
 reporters (2)               retold (1)                  satisfied (4)                  seriousness (1)
 Reporting (16)              return (11)                 saw (17)                       serve (1)
 reports (14)                returned (2)                saying (87)                    Serving (1)
 represent (14)              returning (2)               says (63)                      session (2)
 representation (1)          reuse (1)                   scared (3)                     set (4)
 Representative (1)          review (9)                  scene (1)                      SETH (64)
 represented (4)             reviewed (3)                schedule (1)                   seth@dereksmithlaw.c
 Representing (7)            reviewing (1)               scholarship (1)                om (1)
 reprieve (5)                reviews (1)                 scope (2)                      setting (2)
 Republican (3)              revise (1)                  screamed (1)                   settle (1)
 reputation (4)              RICO (6)                    screen (9)                     settled (1)
 request (12)                rid (1)                     Screenshot (5)                 seven (14)
 requested (3)               ridiculous (8)              screenshots (2)                seventh (1)
 requesting (1)              RIESER (24)                 scroll (2)                     severely (2)
 requests (6)                right (344)                 scrolled (1)                   sex (28)
 require (2)                 rights (2)                  scrolling (1)                  sexual (74)
 required (1)                rises (1)                   scuttle (3)                    sexually (7)
 requirements (1)            Robinson (12)               scuttled (1)                   Shardelle (1)
 requires (2)                Robinson's (1)              seal (1)                       S-H-A-R-D-E-L-L-E
 research (15)               rogue (2)                   sealing (1)                     (1)
 reserved (1)                role (7)                    search (1)                     share (3)
 resignation (1)             Roman (124)                 second (25)                    shared (5)
 resolution (6)              Roman's (16)                secondary (1)                  Shargel (3)
 resolutions (1)             room (20)                   secondly (6)                   sharing (1)


                                           Everest Court Reporting LLC                                         Page: 13
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 178 of 180
Deposition of DANIEL PIPES                                               Lisa Barbounis v. Middle Eastern Forum, et. al.

 she'd (4)                   sleep (4)                   spread (1)                     stopped (2)
 sheet (5)                   slightly (1)                spreadsheet (1)                stopping (3)
 she'll (1)                  slit (4)                    spring (7)                     stories (7)
 Shikunov (1)                slower (1)                  stab (3)                       story (12)
 shoddy (1)                  small (1)                   Stacey (2)                     strange (2)
 short (2)                   smaller (1)                 staff (28)                     strategy (3)
 Shorthand (2)               smiles (1)                  staffer (1)                    Street (5)
 shortly (2)                 SMITH (12)                  staffers (1)                   stretched (1)
 shot (1)                    snarky (1)                  stamp (1)                      strike (17)
 shoulder (1)                social (5)                  stand (7)                      striking (1)
 should've (5)               software (1)                standing (4)                   strong (1)
 show (25)                   solicitation (1)            standoffish (1)                structure (8)
 showed (10)                 solution (2)                standoffish, (1)               stuck (1)
 shown (2)                   solutions (2)               stands (1)                     stuff (9)
 shows (2)                   solved (3)                  start (10)                     stupid (2)
 shrugs (1)                  somebody (3)                started (19)                   style (10)
 shuffling (2)               someone's (1)               starting (6)                   subject (10)
 sic (7)                     something's (1)             state (8)                      subjected (7)
 side (4)                    sorry (56)                  stated (2)                     subjecting (1)
 SIDNEY (2)                  sort (5)                    statement (15)                 subjects (1)
 sign (9)                    sorts (19)                  statements (32)                submit (5)
 signaled (1)                sought (1)                  STATES (6)                     submitted (5)
 signature (2)               sound (1)                   stating (1)                    Subscribed (1)
 signed (16)                 sounds (1)                  Station (2)                    subsequently (4)
 significant (3)             source (2)                  stations (2)                   substance (1)
 signing (2)                 south (1)                   status (4)                     substantial (1)
 similar (4)                 space (1)                   statute (5)                    substantive (1)
 simple (15)                 speak (36)                  statutes (1)                   successful (3)
 simply (5)                  speakers (1)                stay (6)                       successfully (1)
 simultaneously (1)          speaking (13)               staying (1)                    sucks (1)
 single (12)                 speaks (2)                  steal (2)                      sudden (2)
 single-word (1)             special (3)                 stealing (1)                   suddenly (1)
 Sir (7)                     specialist (7)              stenographic (3)               sue (1)
 sit (5)                     specialize (1)              stenographically (1)           sued (1)
 sitting (8)                 specialized (3)             step (4)                       suffices (1)
 situation (7)               specific (16)               steps (5)                      suggest (4)
 situations (2)              specifically (6)            Steve (2)                      suggested (4)
 six (9)                     specifics (14)              Steven (3)                     suggesting (3)
 sixth (1)                   speculating (5)             stick (3)                      suggestion (2)
 Sixty-two (1)               speculation (1)             stipulate (1)                  suggests (1)
 skeptical (4)               speech (5)                  stipulated (1)                 Suite (2)
 sketched (1)                speed (1)                   stipulations (1)               sum (1)
 skilled (2)                 spend (8)                   stir (1)                       summary (2)
 skills (1)                  spending (2)                stock (1)                      Sunday (2)
 skip (1)                    spent (5)                   stocks (1)                     supervise (3)
 Slack (2)                   spew (1)                    stole (11)                     supervisee (3)
 Slacks (1)                  splitting (1)               stolen (7)                     supervising (1)
 slander (2)                 spoke (13)                  stood (1)                      supervision (1)
 slandering (1)              spoken (2)                  stop (27)                      supervisor (13)


                                           Everest Court Reporting LLC                                         Page: 14
                                    215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 179 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 supervisors (1)             termination (1)            timely (1)                     truly (1)
 support (2)                 terms (4)                  times (12)                     Trust (1)
 supposed (10)               terrible (3)               time's (1)                     truth (11)
 supposedly (1)              testified (16)             tissue (5)                     truthful (1)
 sure (56)                   testify (12)               title (14)                     truthfully (1)
 surprise (4)                testifying (8)             today (66)                     try (24)
 surprised (1)               testimonies (1)            Today's (1)                    trying (26)
 surprises (6)               Testimony (45)             told (80)                      Tuesday (3)
 surprising (1)              Text (20)                  Tommy (13)                     Turn (10)
 suspicious (1)              texting (1)                tomorrow (3)                   turned (9)
 swear (3)                   texts (9)                  tooth (1)                      turning (2)
 sworn (4)                   Thank (27)                 top (7)                        turns (1)
 sympathize (1)              Thanks (5)                 topic (5)                      TV (2)
 systematic (2)              theft (6)                  topics (1)                     Twenty-six (1)
                             Thelma (3)                 total (1)                      twice (2)
 <T>                         theory (1)                 totally (3)                    two (63)
 table (1)                   thereof (1)                touch (4)                      type (4)
 tactics (1)                 thing (41)                 touched (1)                    types (1)
 take (70)                   things (57)                touching (1)
 taken (18)                  thing's (1)                tough (7)                      <U>
 takers (1)                  think (169)                toxic (2)                      ugliness (1)
 takes (1)                   thinking (3)               tracing (1)                    uh-huhs (1)
 talk (45)                   Third (7)                  track (1)                      uh-uhs, (1)
 talked (22)                 Thirdly (1)                trade (13)                     UK (2)
 talking (73)                thirty (1)                 traded (1)                     ultimate (5)
 talks (5)                   this' (1)                  trading (1)                    ultimately (1)
 tank (1)                    this-and-that (1)          trafficking (9)                unable (1)
 tape (1)                    Thomas (12)                train (1)                      unacceptable (1)
 targets (1)                 thoroughly (1)             transcribed (1)                unauthorized (1)
 task (1)                    thought (30)               transcript (4)                 unaware (2)
 tasks (3)                   thoughts (2)               transcription (2)              unbearable (1)
 tax (1)                     thousand (4)               trap (1)                       unchanged (2)
 taxable (1)                 threat (6)                 trapped (2)                    unclear (1)
 tax-deductible (2)          threaten (2)               travels (2)                    uncomfortable (4)
 team (1)                    threatened (2)             treasurer (1)                  underneath (6)
 tech (1)                    threatening (2)            treat (2)                      underpinnings (1)
 technology (2)              threatens (1)              trespassed (1)                 understand (32)
 Telegram (1)                three (30)                 trial (1)                      understanding (5)
 Telegrams (1)               threes (1)                 Tricia (47)                    understands (3)
 telephone (3)               three-something (1)        Tricia's (2)                   understood (6)
 television (2)              threw (2)                  trick (1)                      undertaking (2)
 tell (103)                  throat (2)                 tried (12)                     underway (1)
 telling (25)                throats (1)                trigger (1)                    uneasy (2)
 tells (5)                   thrown (1)                 trip (9)                       unendingly (2)
 ten (20)                    Tiffany (9)                trouble (7)                    unfair (1)
 tense (14)                  till (3)                   troubled (7)                   Unfortunately (1)
 tension (2)                 time (150)                 trouble's (1)                  unhappy (8)
 term (1)                    timeline (1)               troubling (6)                  unilaterally (2)
 terminated (2)              timeliness (1)             true (20)                      unintelligible (11)


                                          Everest Court Reporting LLC                                         Page: 15
                                   215-341-3616 transcripts@everestdepo.com
           Case 2:19-cv-05030-JDW Document 126-14 Filed 04/20/21 Page 180 of 180
Deposition of DANIEL PIPES                                              Lisa Barbounis v. Middle Eastern Forum, et. al.

 UNITED (4)                  viper's (2)                welcome (7)                    word (24)
 universe (1)                virtually (1)              welcoming (1)                  wording (1)
 unknown (3)                 virtues (1)                welfare (2)                    words (11)
 unlawful (1)                vis-à-vis (2)              well (201)                     work (88)
 unpleasant (1)              visit (1)                  went (33)                      worked (14)
 unquote (4)                 visited (1)                we're (126)                    working (25)
 unquoted (1)                vituperation (1)           we've (9)                      workplace (9)
 unrelated (4)               voice (2)                  What'd (4)                     work-related (1)
 untrustworthy (1)           volatile (1)               What're (3)                    works (15)
 unwanted (7)                volunteer (1)              WhatsApp (1)                   workshops (2)
 unwelcome (3)               voyeur (1)                 WhatsApps (1)                  world (2)
 ups (1)                     vs (2)                     whatsoever (5)                 worried (8)
 upset (13)                  vulgarity (2)              when's (2)                     worries (1)
 use (13)                                               Where'd (4)                    worry (1)
 useful (2)                  <W>                        whipped (1)                    worse (1)
 usual (2)                   W-2 (1)                    whisper (1)                    worth (7)
 usurpers' (1)               Wait (14)                  whispering (3)                 would've (12)
                             waited (3)                 white (3)                      wrap (1)
 <V>                         waiting (2)                whitewashed (1)                wrapped (1)
 vagina (4)                  waive (2)                  wholesale (1)                  wreck (1)
 vague (2)                   waived (1)                 wholly (1)                     write (3)
 valid (2)                   walk (1)                   who've (1)                     writes (3)
 value (14)                  walking (1)                why'd (1)                      writing (6)
 variable (1)                wall (2)                   wife (2)                       written (12)
 various (4)                 wandered (1)               WILLIAM (2)                    wrong (24)
 vehicle (1)                 wanna (66)                 willing (4)                    wrong, (1)
 veracity (2)                want (58)                  willingness (1)                wrongly (1)
 verb (1)                    wanted (29)                willy-nilly (1)                wrote (14)
 verbal (2)                  wants (20)                 window (1)
 verbs (1)                   warranted (2)              wink (1)                       <X>
 verified (3)                wary (1)                   wish (9)                       X'd (1)
 verify (1)                  Washington (6)             wished (1)                     XX (5)
 verse (4)                   waste (2)                  wishes (1)
 version (3)                 wasting (5)                withdraw (5)                   <Y>
 versions (2)                watch (1)                  withdrawing (4)                Yeah (119)
 versus (1)                  watched (3)                withdrew (2)                   year (18)
 vice (2)                    watching (1)               witness (284)                  yearly (1)
 victim (1)                  wax (1)                    witnessed (4)                  years (25)
 video (6)                   waxing (1)                 witnesses (5)                  yelling (1)
 videoconference (1)         way (57)                   Wolson (6)                     Yep (26)
 Videographer (33)           ways (11)                  Wolson's (1)                   yesterday (2)
 Videotaped (1)              web (1)                    woman (1)                      Yonchek (6)
 views (3)                   website (6)                woman's (3)                    York (3)
 VII (1)                     week (18)                  women (35)                     Yup (9)
 vindictive (1)              weekly (2)                 women's (4)
 violate (1)                 weeks (5)                  Wonder (1)                     <Z>
 violated (2)                weigh (1)                  wonderful (1)                  ZABROSKE (2)
 violating (1)               weird (1)                  wondering (2)                  Zero (1)
 violation (2)               weirded (1)                Wood (3)                       Zoom (5)
                                                                                       zooming (1)
                                          Everest Court Reporting LLC                                         Page: 16
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